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                          Exhibit A
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   Professional Civil Partnership
        Yann JEZEQUEL
       Christine PINHEIRO
    And Anne-Sophie GRUEL                                            SENT LETTER
        Associated Bailiffs
          44 rue Poliveau
           75005 PARIS




                                              [logo] BAILIFF




                                     CERTIFIED REPORT

   YEAR TWO THOUSAND THIRTEEN, NOVEMBER TWENTY-NINTH
   AT THE REQUEST OF:

   THE GOVERNMENT OF THE REPUBLIC OF GUINEA, represented by the President of the
   Republic in office
   Address for service located at the law-firm DLA PIPER UK LLP
   17 rue Scribe 75009 PARIS


   WHICH STATES:

   That it takes high interest in transcribing the phone records and the conversations between Mamadie
   Touré and Frédéric Cilins.

   Which asks me, as a consequence, in order to ensure the protection of its rights, to note all relevant
   findings and to prepare a report.

   THEREFORE, COMPLYING WITH THIS REQUISITION:

   I the undersigned, Christine PINHEIRO, bailiff at the Tribunal de Grande Instance of PARIS
   [Superior Court], residing at 44, rue Poliveau 75005 PARIS,

   Hereby certified that I received today, at my office and to my attention, a closed envelope,

   I SAW, RECOGNIZED AND FOUND THE FOLLOWING:




                                                                                                        1
                                                                                          CGS&H p. 71
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   Professional Civil Partnership
        Yann JEZEQUEL
       Christine PINHEIRO
    And Anne-Sophie GRUEL
        Associated Bailiffs
          44 rye Poliveau
           75005 PARIS




   I opened the envelope and I found an USB stick inside it.

   I found that this USB stick contains:

   - the following folders:




   - a draft transcript.

   I found that the folders contain audio records.

   I have listened to each of the audio files.

   I subsequently took note that the transcript on the USB stick is the exact transcript of said recordings
   and it is reproduced below:




                                                                                                          2
                                                                                          CGS&H p. 72
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                        RECORDING OF A MEETING OF APRIL 11, 2013

Transcript of recording of a meeting between Mamadie Touré (“MT”) and Frédéric Cilins (“FC”).


REFERENCES:

          Case: 4.11.2013 CW Meeting with Cilins 12-2PM

          File: 0372_001 .WAV



0:00:00         START OF RECORDING
                FBI:   This is special agent Vanessa [Stelli]. This is April 11th, 2013. This is going to
                       be a consensually monitored conversation between the [CHS] and Frédéric
                       Cilins.
18:16           FC     [From the phone of MT] Hello?
                MT:    [On the phone with FC] I can't find where you are.
                FC:    [From the phone of MT] In the room over there. In the airport.
                MT:    No, I can't find it. Which room?
                FC:    [inaudible]
                MT:    All right, I see you.
                FC:    Ah ok


                MT:    Hello.
                FC:    How are you?
                MT:    I'm fine. Are you doing well?
                FC:    [In] good shape?
                MT:    Yeah.
                FC:    Yeah? Do you want to grab a bite?
                MT:    Ok.
                       [inaudible - music]
                FC:    Did Cény drop you off?
                MT:    Cény didn't drop me off because I told him 3 p.m. so he said he couldn't come.




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                                                                                        CGS&H p. 118
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               FC:   The check. Yeah, yeah we want the check and um...
               MT:   Thank you.
               FC:   And um... What was I saying? Yes - what you should get when - if the group is
                     not thrown out and it - its project is confirmed, the 5 that you should get, you'll
                     get it for sure, no problem. Moreover, some people's story, what we are
                     discussing now, that is, instead of being one when you [inaudible], it's going to
                     be 200 now and 800 when the other leaves. 200 now it's because I've tried. You
                     told me try to get an amount right away, because I need for [inaudible] there. So
                     that's why you have 200 -
               MT:   But then you told me 300.
               FC:   I - listen, I thought of getting 300, I got 200. I'll keep trying. 200's for sure, it's
                     accepted. I'll still see if I can get 200-250 maybe, I'll get the most. But I got 200.
                     You see? I'll try, I promise you I'll try.
               MT:   But beside the 5, there will be nothing.
               FC:   There will be the 5 and there will be 800. That will make 6 with what you have.
                     That's one thing, it's already accepted. Depending - listen carefully to what I tell
                     you - because I've always told you that, because I know it's like that. Depending
                     on how it ends. If it's good for him, if we don't cut too right, left, I don't know,
                     there will be more. I don't know how much. There will be 3, 4, 5 more, I don't
                     know. But there will be more. And that's the communication I was given directly
                     by number 1, I don't even want to mention his name. It's like that. Okay? And
                     that's for sure.
1:14:03        MT:   Number one? Michael?
               FC:   No, no.. Beny [whispering].
               MT:   Ok.
               FC:   Ok? Everything I tell you is directly from Beny. The other day when I tell you,
                     I'm - I'm waiting there during the meeting, I went on a journey, I traveled to see
                     him directly, talk face to face, and have - everything I tell you comes from him.
                     Nobody else. All right?
               MT:   I didn't know.
               FC:   Nobody else. Nobody else. I purposely went to see him, to see him and discuss
                     all this thoroughly. I always told him, I always told him. Just last week, I told
                     him, I told Beny, I always repeated that she was - that she’ll never betray you,
                     she'll never betray you, she'll never give the documents to anyone. He told me
                     “look”, he said “look, that's fine, but I want you to go see. I want you to destroy
                     these documents.” He told me, you see, “do what you want but I want you to tell
                     me “I saw Mamadie and the documents, it's finished, there are no more
                     documents.” And with that, I tell you, I repeat, to make it clear in your mind,
                     you'll have the scheduled 5 in any case. You will have them, if they're not kicked
                     off. If they're still in the project. What you will have, whatever happens, is the
                     one million, that is 200 plus 800, you'll have that - see I've got a piece of paper
                     just like that for [he writes on a




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                                                                                        CONFIDENTIAL


               MT:   Who?
               FC:   You know who. There's only one person I speak to. The the the the.... the big
                     boss. So if he says, “I want you to watch when it's destroyed,” I can't lie to him. I
                     can't lie to anybody.
               MT:   So what can I do? Because I tell you I will do it. I've already signed this -
               FC:   This is - sorry - this is not about signing. This is - the deal was that, the deal was
                     to destroy it when we come back, but we must - we're here to make the copies.
                     [Inaudible then silence]
               FC:   Thank you. Do you have a place to put - to put this?
               MT:   Mmm.
               FC:   Let's fold it. Fold it like this?
               MT:   Yes
                     [Silence]
               FC:   Now we take a taxi, I’ll wait for you, you'll take your key, we go there, we
                     destroy them and that way everything’s fine.
               MT:   You can't leave with me, Frédéric
               FC:   Oh dear, as you like, well I don't know. I can't tell him it's done, if it's not done.
                     That's what I - if I haven't seen, I can't tell him. I can't -
               MT:   I told you, I'll do it.
               FC:   I know you'll do it, because it is in your interest to do so, but do you understand
                     what I mean? I can't tell him yes if - I can't tell him that I was there if I wasn't
                     there. I can't lie to him. I can't lie to him.
               MT:   Then, in this case I have to go home, and I'll call you.
               FC:   Ok. You go there. You do it and you give me - you tell me the address where you
                     want us to meet and uh .. You send me a message on the phone and I will take a
                     taxi and meet you wherever you want.
               MT:   Ok.
               FC:   All right?
               MT:   Yes
               FC:   Ok. That's settled. So I will wait for your call then? I'll wait here.
               MT:   Ok.




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                                                                                          CGS&H p. 140
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                          Exhibit B
19-11845-shl          Doc 46-1       Filed 09/09/19 Entered 09/09/19 18:00:38                 Exhibits A-HH
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TRANSLATION
[crest] REPUBLIC AND CANTON OF GENEVA
        Judiciary                                       Geneva, Office of the Public Prosecutor building
        Public Prosecutor                               on October 18, 2013 at 9:15 A.M.




[stamp:] COPY                                           Prosecutor:       Claudio MASCOTTO

                                                        Court Registrar: Michel PECORINI
                                                        Analysts:        Makenga TSHITUNDU and Yvan LOVO


Ref:    CP/262/2013
        P/12914/2013
To be noted in all communications.



       Makenga TSHITUNDU and Yvan LOVO, financial crime analysts, are in attendance at the hearing

                                         MINUTES OF THE HEARING

         Atty. BONNANT assisting:

         Beny STEINMETZ
         Born on April 2, 1956, businessman,
         Domiciled c/o Atty. Marc BONNANT, Chemin Kermely 5, 1208 Geneva 12
         Defendant, already having been read his rights and responsibilities;
         Appearing in accordance with a summons to appear;

         Who declares:


I acknowledge that I am being heard as a defendant within the context of proceedings CP/262/2013, in
fulfillment of letters rogatory of the Republic of Guinea and the United States of America, as well as national
proceedings P/12914/2013. You provide me with a copy of the American request and the decision by the
Swiss Federal Office of Justice to enter into the case.

I am accused of having, since 2005, personally and through the Beny Steinmetz Group (BSG) and Onyx
Financial Advisors SA, which I control at least partially, participated in a promise and/or the granting of
undue advantages to one or more influential persons at the level of the Presidency or Government of the
Republic of Guinea, with a view to the assignment of mining concessions in this country to the Beny
Steinmetz Group, conduct falling within the context of Article 322 septies of the Criminal Code, punishing
the corruption of foreign public officials.

You read me my rights as established under Articles 107 and 158 of the Swiss Code of Criminal Procedure,
copies of which have been provided to me.

I absolutely contest having committed any crime. I have not corrupted anyone. All the corruption allegations
are completely false.



                            [signature] [signature] [signature] [signature] [signature]
                                                                                                CGS&H p. 1
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CP/262/2013                                               Minutes of the hearing of October 18, 2013, page: 2




Further, I confirm for you the terms of the recent letter by my attorney. While I would be willing to speak in
the national proceedings only, I refuse to speak within the context of the mutual assistance requested by
Guinea. With regard to the United States, I have not yet reviewed their request.

You ask me why I do not wish to respond to the Guinean request. The response can be found in the letter
that my attorney sent you on October 9, 2013.

You indicate to me that it would be appropriate for me to raise all the complaints that I am making toward
Guinea in an appeal, which I can lodge against the closure decision. Two judicial authorities, the Federal
Criminal Court and the Federal Court, can then hear my arguments. This is without taking into consideration
the extraordinary remedy provided for under Article 2 of the Federal Act on International Mutual Assistance
in Criminal Matters – Mutual Assistance Act, IMAC. You draw my attention to the fact that my legal
protection is sufficiently guaranteed at this stage of the proceedings. You add that, by refusing to speak
within the context of the mutual assistance proceedings, I also refuse to speak within the context of the
national proceedings, since the minutes of my hearing may then be placed on record in the mutual assistance
proceedings.

I respond to you that I am willing to immediately reply to all questions in the national proceedings.

You draw my attention to this fact, which I already know, that my declarations in the national proceedings
will be placed on record in the mutual assistance proceedings and will form the object, in future, of a closure
decision.

You indicate to me that I will be summoned again in the coming weeks to be heard, and that you will again
ask me whether I agree to speak.

Atty. Marc BONNANT

My client will reexamine his refusal to speak once the outcome of the closure decision on the mutual
assistance proceedings is known. What he will not accept is to speak to the Guinean authorities, since Guinea
is not a constitutional state. Conversely, my client is willing to speak in both the national proceedings and in
the mutual assistance requested by the United States, insofar as the United States undertakes to not transmit
to Guinea the minutes of the hearing of Mr. STEINMETZ.

In relation to participation in acts of public authority by representatives of Guinea, I confirm to you that we
object to these. We have not, however, deemed it necessary to appeal your decision and that of the Federal
Office of Justice, as ONYX has already lodged appeals posing the question of principle of the absence of a
constitutional state in Guinea.

You ask me what the position of Mr. STEINMETZ will be if the ONYX appeal is dismissed. We will continue to
maintain silence until the closure decision. Having said this, if we are unsuccessful in fighting the granting of
mutual assistance to Guinea, this would then pose for my client the question of effectively defending himself
in the national proceedings, and my opinion is that a person cannot defend himself by silence.

After reading, I maintained my position and signed at 9:45 A.M.

                          [signature] [signature] [signature] [signature] [signature]




                                                                                                 CGS&H p. 2
 � REPUBLIQUE ET CANTON DE GENEVE
 �I Pouvolr judiclalre                                              Geneve, batiment du Ministere public
 ........_ Ministere public                                         le 18 octobre 2013 a 9 heures 15




                                                                    Procureur: Claudfo MASCOTTO
                                                                    Greffler: Michel PECORINI
                                                                    AnaJystes : Makenga TSHITUNDU et Yvan LOVO


        Rilf.. CP/262/2013
               P/12914/2013
        i rappeler lors de toule communication.



                  M. Makenga TSHITUNDU et M. Yvan LOVO, analystes en crlmlnallte flnanclere,
                                           asslstent a /'audience

                                             PROCES-VERBAL D'AUDIENCE

                     Me BONNANT assiste
                     Monsieur Beny STEINMETZ,
                    ne le 2 avril 1956, homme d'affaires,
                    domlcilie, c/o Me Marc BONNANT, Chemin Kermely 5, 1208 Geneve 12
                    prevenu , rendu attentif a ses droits et devoirs;
                    qui se presente sur mandat de comparution;
                    · Lequel declare:

       Je prends note que je suis entendu en qualite de prevenu dans le cadre de la procedure CP/262/2013,
       en execution de commissions rogatolres de la Republlque de Guinee et des Etats-Unis d'Amerique,
       alnsl que de la procedure nationale P/12914/2013. Vous me remettez cople de la requate americalne et
       de la decision d'entree en matlere de l'Office federal de la Justice.
       �I m'est reproche d'avofr, des 2005, personnellement et au travers du Beny Steinmetz Group
       (BSG) et d'Onyx Financial Advisors SA, que Je contrOle en tout cas partlellement, partlclpe il la
       promesse eUou a l'octrol d'avantages Indus a une ou plusleurs personnes inffuentes au niveau
       de la presldence ou du gouvemement de la Repubflque de Gulnee, en vue de l'attributron de
       concessions d'exploltation mlniere dans ce pays seen     faveur du Beny Steinmetz Group,
       comportement tombant sous le coup de l'artlcle 322 pu.. CP reprlmant la corruption d'agents
       public etrangers.
      Vous me rendez attenUf            a mes droits au sens des articles 107 et 158   CPP, dont copies m'ont ete
      remises.
       Je conteste absolument avoir commis le moindre crime. Je n'al corrompu personne.. Toutes !es
       aUegatlons de corruption sont totalement fausses.
       Pour le surplus, Je vous confirme les termes du recent courrier de mon avocat. AUtant Je serals dispose
       a m'exprimer dans la procedure nationale exclusivement, autant je refuse de m'exprimer dans le cadre

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 ,'
                                                                                                  CGS&H p. 3
 CP/262/2013                                         Proces-verbal d'audlence du 18 octobre 2013, page: 2



de l'entraide demandee par la 'Guinea. Pour ce qui est �es Etats-Unis, je n'al pas encore pris
connaissance de leur demande.
Vous me demandez pour quelle raison Je ne souhaite pas repondre a la demande guineenne. La
reponse se trouve dans le courrier que mon avocat vous a fait parvenir le 9 octobre dernler.
Vous m'indlquez qu'il me sera lolsible de sou/ever tous les griefs que j'adresse a ra Guinea /ors du
recours que je pourral interjeter contre la decision de cloture. Deux instances judicialres, le Tribunal
penal federal puis le Tribunal federal pourront alors connaitre de mon argumentation. C'est sans
compter la vole extraordlnalre prevue a !'article 2 EIMP. Vous attirez mon attention sur le fatt que ma
protection jurldique est suffisamment garantie a ce stade de la procedure. Vous ajoutez qu'en refusant
de m'exprimer dans le cadre de l'entraide je refuse egalement de m'exprimer dans le cadre de la
procedure nationale, pulsque le proces-verbal de men audition pourrait ensuite !tre verse dans la
procedure d'entraide.
Je vous reponds que je suis dispose a repondre lmmediatement a toutes questions dans la procedure
nationale.
Vous attlrez mon attention sur ce fait, que je connals deja, que mes declarations dans ta procedure
natlonale seront versees dans la procedure d'entralde et feront l'objet a terme d'une decision de cloture.
Vous m'indiquez que je seral a nouveau convoque pour �tre entendu dans les semaines qui vlennent et
que vous me demanderez alors a nouveau sf J'accepte de m'exprimer.
Me Marc BONNANT

Mon client reexamlnera son refus de s'exprimer une fols connu le sort de la decision de cloture de
l'entralde. Ce qu'il n'accepte pas, c'est de s'exprimer pour les autorites guineennes, car la Gulnee n'est
pas un Etat de droit Par centre, mon client est dispose a s'exprimer aussl blen dans la procedure
nationale que dans l'entraide demandee par les Etats-Unls, sous reserve que les Etats-Unis s'engagent
a ne pas transmettre a la Guinee le proces-verbal de !'audition de M. STEINMETZ.
S'agissant de la participation aux actes de l'autorite des representants de la Gulnee, je vous confirme
que nous y sommes opposes. Nous n'avons cependant pas juge necessalre de recourir centre votra
decision et celle de l'Office federal de la justice, des lors qu'ONYX a deja interjete des recours posant la
question de prlnclpe de !'absence d'Etat de droit en Gulnee.
Vous me demandez queue sera !'attitude de M. STEINMETZ si le recours d'ONYX devait etre rejete.
Nous conlinuerons d'opposer le silence jusq1.fa la decision de cloture. Cela dit, sf nous devlons echouer
a combatlre l'octroi de l'entralde a la Guinea, se poserais alors pour mon client, la question de se
defendre efficacement dans la procedure nationale, et man opinion est qu'on ne se defend pas par le
sflence.


Apres lecture, perslste et signe a 9 heures 45

                                                               ,.




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                          Exhibit C
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                The Liechtenstein Foundation




                                         MARXER & PARTNER
                                            RECHTSANWÄLTE
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Marxer & Partner Attorneys-at-Law
Heiligkreuz 6                                                                          7. Foundation Governance                                  29
9490 Vaduz
Liechtenstein                                                                          8. Foundations and Estate Law                             31
Phone +423-235.81.81
Fax     +423-235.82.82                                                                 9. Foundations and Asset Protection                       33
info@marxerpartner.com
www.marxerpartner.com/en                                                               10. Accounting                                            35

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Liechtensteinisches Wirtschaftsrecht                                                   12. Transitional provisions                               38
1st edition 2009, Liechtenstein-Verlag, Schaan
ISBN 978-3-905762-04-4                                                                 13. Taxes and Fees                                        39

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                                                     1. The Liechtenstein Foundation and Its Advantages

                                                     A foundation is used to make assets legally independent from the
                                                     founder by transferring them to a legal entity in its own right, i.e. the
                                                     foundation. Unlike a corporation, a foundation has no members but
                                                     does have beneficiaries who are entitled to enjoy the foundation as-
                                                     sets and/or income according to the will of the founder.

                                                     The new Liechtenstein foundation law came into force on 1st April
                                                     2009. It offers both common-benefit (charitable) and private-benefit
                                                     foundations an attractive legal basis and therefore provides Liechten-
                                                     stein with a good starting position in the «competition for foundation
                                                     law regimes». In international legal literature, the new foundation law
                                                     has rightly been described as systematically and substantively first-
                                                     rate, indeed as pioneering.

                                                     The Liechtenstein foundation is an excellent tool for estate planning
                                                     and asset protection. Some of its advantages are:



                                                      Flexible System of Beneficial Interests:
                                                       The founder has complete freedom regarding whom he wants to
                                                       appoint as the beneficiary of the foundation. He also has an entire-
                                                       ly free choice regarding how to shape the respective beneficial in-
                                                       terests. Thus it is possible, inter alia, to determine the amount and
                                                       timing of each and all distributions and to set terms and conditions.
                                                       A distribution can comprise the entire income of the foundation’s
                                                       assets in any given year or pertain to an annual fixed amount. It
                                                       is also possible to make distributions payable only once the ben-
                                                       eficiaries reach a certain age. Similarly, it is permitted to define
                                                       only a class of potential beneficiaries (such as the founder’s family)
                                                       and to leave it to the discretion of the foundation council to whom
                                                       it will make distributions and in what amount. The arrangements
                                                       governing beneficial interests can also be modified provided the
                                                       founder has made provision for this to happen. Besides, the found-
                                                       er can provide for a combination of private-benefit and common-


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       benefit purposes by dedicating some of the foundation's assets to                              Continued Commitment of the Founder is Possible:
       common-benefit purposes and the rest to supporting his family or                                Liechtenstein law allows the founder to retain broad powers over
       others. Similarly, it is also possible to convert a family foundation                           the foundation he has established. Thus, the founder may become
       into a charitable foundation after a certain time.                                              a member of the foundation council or may appoint himself as the
                                                                                                       foundation's beneficiary. He can also reserve the right to revoke
     Estate Planning for Many Generations to Come:                                                    the foundation, amend the Foundation Articles or dismiss and ap-
      In testamentary dispositions it is usually impossible to make ar-                                point members of the foundation council. By contrast, the founda-
      rangements lasting several generations. Furthermore, the moni-                                   tion may also be designed by the founder in such a way that he has
      toring of testamentary stipulations can only be carried out with                                 no power over it whatsoever.
      great difficulty, especially if the heirs live in different countries. In
      addition, provided they are unanimous, in most cases the heirs                                    Besides, the founder may set up other executive bodies in addition
      can deviate from instructions contained in the will. With a Liech-                                to the foundation council. On the one hand, these may be control-
      tenstein foundation, however, the founder can exactly specify the                                 ling bodies which ensure the implementation of the founder’s will
      beneficiaries across many generations. There is no «rule against                                  in the long term (so-called protectors). On the other hand, the exec-
      perpetuities» in Liechtenstein law. The foundation council carries                                utive bodies may be entrusted with powers such as investment
      out these instructions and checks their observance. Provided the                                  decisions or even decisions regarding distributions. The founder
      founder has made provision for it to happen, the arrangements                                     may designate successors for all members of the executive bod-
      governing beneficial interests can be modified.                                                   ies. Finally, the founder may, if he so desires, name the foundation
                                                                                                        after himself so that his name – especially with common-benefit
     No Lengthy Probate is Necessary:                                                                  foundations – is «perpetuated» in a positive sense.
      The assets of the foundation are not within the estate of the found-
      er since he or she is not the owner of the foundation’s assets;                                 Asset Protection:
      instead, the foundation itself, being a legal entity, owns them. For                             By establishing a Liechtenstein foundation, personal assets can be
      this reason there will be no probate proceedings in relation to the                              protected from unjustified interference by third parties («asset pro-
      foundation’s assets upon the founder’s death. This is a big advan-                               tection»). Since Liechtenstein has only concluded enforcement trea-
      tage, especially if the foundation assets (bank accounts, real es-                               ties with Switzerland and Austria, foreign judgments from other
      tate, etc.) are situated in different countries or the founder has lived                         countries are not enforced in Liechtenstein. Therefore, legal action
      in different locations. In such cases, probate can be both very time-                            against a Liechtenstein foundation must in most cases be brought
      consuming and costly. In the event of a beneficiary's death, his or                              before Liechtenstein courts. Furthermore, a Liechtenstein founda-
      her beneficial interests do not form part of their estate. Instead,                              tion is an effective way to protect the founder and the beneficiaries
      the successor beneficiaries as determined by the founder become                                  against political turmoil in their home countries.
      the foundation’s new beneficiaries. They hence need not wait for
      the outcome of any probate proceedings but gain access to their                                 Preservation of Family Assets:
      foundation benefits immediately provided the founder has not                                     By transferring his assets to a Liechtenstein foundation, the found-
      arranged otherwise.                                                                              er can ensure that family assets are kept together across genera-
                                                                                                       tions. The same applies, for instance, if he transfers shares of his


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       closely held company to a foundation. Under Liechtenstein law a                                 Liechtenstein has a progressive and stable legal, economic and
       foundation can hold a company’s shares in accordance with the                                   social regime. The authorities are pro-business and customer-
       founder’s wishes for decades. The flexibility necessary for any con-                            orientated. Unlike in other countries, even during the economic
       ceivable economic activity can be achieved by way of an appro-                                  crises of recent years no government aid to banks or other finan-
       priate design of the foundation documents. If no foundation is set                              cial intermediaries has proven necessary. Standard & Poor's and
       up, the assets of the deceased including the shares in his family                               Moody's have given the country a triple A rating.
       business are, in most cases, divided up between his heirs. If the
       heirs die, then their own heirs come into play and so forth. It will                            In the fight against financial crime, Liechtenstein has continually
       therefore not be possible to preserve the family assets or the fami-                            adapted its regulations to the latest developments. The country
       ly business under the same management for a long time.                                          has implemented the third EU Money Laundering Directive and
                                                                                                       the FATF recommendations and thus adheres to the highest inter-
     Decades of Tradition of Liechtenstein Foundation Law:                                            national standards in combating money laundering and organized
      In recent years, many countries have discovered the foundation                                   crime. Liechtenstein has also concluded agreements with several
      and have adopted new foundation legislation, often following the                                 countries permitting the exchange of tax information on reasonable
      Liechtenstein model. Liechtenstein has a more than 80-year-old tra-                              request. There is, however, no automatic exchange of information
      dition in this field. Legal practitioners, the courts and administrative                         and non-individualized inquiries («fishing expeditions») are prohibit-
      authorities are intimately familiar with foundation law and practice.                            ed. Liechtenstein thus meets the globally accepted standards in
      This is particularly true for our law firm, which was founded in 1925.                           the field of tax, which is why the country appears on the OECD’s
      The high number of court decisions in the area of foundation law                                 White List. Even with all this, Liechtenstein has preserved its tra-
      contributes to legal certainty. In addition, the Foundation Articles                             ditional advantages: taxes are low and predictable and there are
      may provide that disputes between the foundation and its ben-                                    strict laws in place designed to safeguard the proper conduct of
      eficiaries must be decided by arbitration rather than the public                                 business.
      courts.
                                                                                                     Marxer & Partner Attorneys-at-Law: Your Contact for
     Liechtenstein as a Modern Financial Center at the Heart of                                      Foundation-Related Matters
      Europe:                                                                                         Marxer & Partner, founded in 1925, is the oldest and largest law
      Liechtenstein borders Austria and Switzerland and is easily acces-                              firm in Liechtenstein and has decades of experience and expertise
      sible. Since 1923 there has been a customs and monetary union                                   in foundation law. In Section 14, you will learn how Marxer & Partner
      with Switzerland. Since 1995 Liechtenstein has been a member of                                 can advise and assist you with all foundation matters.
      the European Economic Area (EEA) and thus participates fully in
      the free movement of goods, services and capital within the Euro-
      pean single market. In addition, Liechtenstein is a member of the                             2. Sources of Liechtenstein Foundation Law
      WTO, EFTA, the UN, the Council of Europe, the OSCE and many
      other international organizations.                                                            The Liechtenstein foundation law was codified in 1926 and, up until
                                                                                                    very recently, had been amended only selectively. Its provisions have
                                                                                                    been used as a model for a number of foreign legislation, such as the


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     Austrian Private Foundation Act of 1993, the Panamanian Law on the                           3. Definition and Types of Foundations
     «fundación de interés privado» of 1995 or Jersey’s new Foundation
     Act of 2009.                                                                                 The Foundation as a Special-Purpose Fund
                                                                                                  The foundation is defined in § 1 of the new foundation law. The found-
     In order to adjust to the latest scientific findings on «Foundation                          er transfers assets to a legal entity, i.e. the foundation, for the long-
     Governance» extensive preparations for a re-enactment of the Liech-                          term achievement of a specific purpose designated by him. The foun-
     tenstein foundation law were carried out from 2001 to 2008. Liech-                           dation assets are legally separated from the founder’s private assets.
     tenstein financial service providers including Marxer & Partner as well                      A foundation has no owners or members but does have beneficiaries,
     as experts in international foundation law were closely involved in the                      i.e. individuals in whose favor the foundation purpose is achieved and
     government’s reform work. On 26 th June 2008, the new foundation                             which may include the founder himself. The founder if he so desires
     law was passed by Parliament and published in the Liechtenstein law                          can retain certain rights subsequently to the creation of the founda-
     gazette (LGBl.) 2008 no. 220. While maintaining the traditional liber-                       tion. In order to achieve the founder's intentions, the foundation makes
     alism of Liechtenstein foundation law, new and innovative solutions                          use of its executive bodies, particularly the foundation council.
     meeting the highest standards of modern foundation law were de-
     vised on many issues.                                                                        Every foundation must have a foundation purpose. Although the found-
                                                                                                  er has a free choice with regard to this, the foundation can only carry
     The new foundation law is enacted in art 552 §§ 1- 41 of the Persons                         on a commercial business to a very limited extent, e.g. if the business
     and Companies Act (PGR) and came into force on 1st April 2009.                               directly serves the purpose of a common-benefit foundation. A public-
     Henceforth, these provisions will be referred to only as §§ 1- 41. The                       benefit foundation is therefore allowed to run a hospital. Within these
     legislative text is available for download in German and English on                          limits, the foundation has full legal capacity and the power to conclude
     www.marxerpartner.com/en. In addition, the general section on legal                          any type of legal transaction.
     entities laid out in art 106 -245 PGR applies to foundations, too. The
     current version of the PGR can be viewed on www.gesetze.li (in German                        The main distinction is made between common-benefit and private-
     only).                                                                                       benefit foundations:

     Since 1995 Liechtenstein, while fully maintaining the Customs Trea-                          Common-Benefit Foundations
     ty with Switzerland, has participated in the European Economic Area                          Under § 2 para 2, a common-benefit foundation is a foundation whose
     (EEA), to which all EU countries as well as the EFTA countries Ice-                          activities are entirely or predominantly intended to serve common-ben-
     land, Norway and Liechtenstein belong. Further information can be                            efit purposes. It supports the public in whatever area may be required:
     found on www.liechtenstein.li/en. Thanks to the EEA Agreement, the                           charity, religion, science, culture, sport or ecology. A common-benefit
     four fundamental freedoms of the EU, namely the free movement of                             foundation can also address a limited group of people only, e.g. by
     goods, persons, services and capital, also apply to Liechtenstein. As                        providing financial support for needy employees of a particular company
     a consequence, entities created under Liechtenstein law must not be                          including their dependents. However, a family foundation is, by operation
     discriminated against in any EU or EEA country.                                              of law, never a common-benefit foundation even if it is aimed at
                                                                                                  supporting only those family members who are in need.




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     Private-Benefit Foundations                                                                   sons or legal entities domiciled anywhere in the world. The declaration
     Pursuant to § 2 para 3, a private-benefit foundation has entirely or                          of establishment must be in written form and requires authentication
     predominantly private or personal purposes. If it is unclear whether                          of the signatures of the founder(s).
     the common-benefit purpose or the private-benefit purpose predomi-
     nates, which is a rare case, the foundation is characterized as being                         A foundation can also be set up by a Liechtenstein trustee as the
     common-benefit. In the Foundation Articles it is also possible for the                        founder’s agent. In this case the identity of the founder is not disclos-
     founder to specify certain «time phases» whereby the foundation is,                           ed to the authorities. However, it is still the principal and not the agent
     for example, a family foundation during his lifetime but converts into a                      who is entitled to exercise the founder’s rights (see Section 5.1).
     common-benefit foundation after his death.
                                                                                                   The minimum capital of a foundation is 30,000 Swiss francs, euros or
     § 2 para 4 provides a definition of the family foundation. «Pure family                       US dollars. Following the acquisition of legal personality, the found-
     foundations» are foundations whose assets «exclusively serve the                              er can always make subsequent endowments. Third parties can also
     defrayal of costs of upbringing or education, provision for or support                        donate funds to the foundation. The term «foundation assets» refers
     of members of one or more families or similar family interests» where-                        to the entire assets of the foundation including subsequent endow-
     as «mixed family foundations» are foundations «which predom-                                  ments and donations. Liechtenstein foundation law recognizes no duty
     inantly pursue the purpose of a pure family foundation but which                              to preserve assets and no prohibition of subsequent contributions.
     supplementally also serve common-benefit or other private-benefit                             However, the foundation council is prohibited from making distribu-
     purposes».                                                                                    tions to beneficiaries if this would diminish the amount owed to the
                                                                                                   foundation's creditors.
     It is also possible to set up a «maintenance foundation» for the pur-
     pose of providing for certain individuals or a family without there hav-                      Foundation Documents
     ing to exist a situation of need. Furthermore, a private-benefit founda-                      The declaration of establishment is embodied in the foundation docu-
     tion can be used to hold shares in a company which, in turn, operates                         ments. The Foundation Articles, or Foundation Charter (referred to in
     a business («holding foundation»). The purpose of this type of foun-                          the legislation as the «Foundation Deed»), contain the key elements
     dation is to exert a dominant influence on company policy. By contrast,                       of the foundation and must be signed by either the founder or the
     a private-benefit foundation is not entitled to directly run a business                       founder's agent with the signatures authenticated. § 16 para 1 lists
     itself.                                                                                       the mandatory content of the Foundation Articles, e.g. the name of the
                                                                                                   foundation, the foundation purpose, the appointment and functioning
                                                                                                   of the foundation council, and the identity of the founder or his agent
     4. Setting up a Foundation                                                                    should the founder decide to remain anonymous. Hence, if a founda-
                                                                                                   tion is set up by an agent, the founder need not sign any foundation
     A foundation is set up either inter vivos by the socalled «declaration                        documents and is not identified in the Foundation Articles.
     of establishment» or mortis causa by means of a testament or inheri-
     tance contract. The declaration of establishment (§ 14) is a declaration                      § 16 para 2 contains optional elements of a foundation which have to
     of intent by the founder to set up a foundation. An inter vivos founda-                       be included in the Foundation Articles in case the foundation at hand is
     tion may have one or more founders. These may be either natural per-                          to feature such elements. This includes provisions regarding the reser-


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     vation of founder's rights or else the empowerment of the foundation                            Private-benefit foundations, e.g. family foundations, need not be en-
     council to amend the Foundation Articles and By-Laws. If By-Laws or                             tered in the Public Register. They acquire legal personality immediately
     Regulations are, or may be, issued, there must be a reference to this                           once the declaration of establishment has been made. Nevertheless,
     fact in the Articles.                                                                           under § 20 a so-called «notification of formation» must be deposited
                                                                                                     with the Land and Public Register Office within 30 days. This notifica-
     Under § 17, in addition to the Foundation Articles, the founder can also                        tion must contain the foundation's name and purpose as well as the
     set up By-Laws (referred to in the legislation as a «Supplementary                              identity of its Representative (see Section 5.5) and the members of
     Foundation Deed»). The By-Laws must originate either from the found-                            the foundation council. It must also certify that the founder has validly
     er or his agent and can deal with areas that need not necessarily be                            designated the beneficiaries or the class of beneficiaries. The accu-
     included in the Foundation Articles such as provisions regarding the                            racy of the notification of formation must be certified by an attorney
     beneficiaries. By-Laws can be issued only if the Foundation Articles                            admitted in Liechtenstein, by a professional trustee or by a holder of
     specifically say that they can. In addition, they are not permitted to                          an entitlement in accordance with art 180a PGR. On each amendment
     contradict the Foundation Articles. Besides Foundation Articles and                             of a fact contained in the notification of formation, a notification of
     By-Laws, it is also possible to adopt Regulations (§ 18). These can be                          amendment must be deposited. The Land and Public Register Office
     issued by the founder and his agent as well as by the foundation coun-                          is entitled to verify the accuracy of the deposited notifications. Upon
     cil and contain internal arrangements or instructions such as asset man-                        application of the foundation, the Land and Public Register Office is-
     agement targets. Here too, Regulations can be created only if the                               sues an official confirmation of the deposition of these notifications.
     Foundation Articles specifically say so. By contrast, the «letter of wish-                      The Land and Public Register Office is not permitted to provide any
     es», which is a letter of intent written by the founder and addressed                           information to third parties except to confirm that the unregistered
     to the foundation council, is no foundation document and therefore                              foundation is in existence. This excludes information granted to certain
     has no binding effect. However, it can be taken into account when                               Liechtenstein government agencies.
     interpreting the founder's intentions.

     Entry in the Public Register / Notification of Formation                                        5. Organization of the Foundation
     Subsequent to the declaration of establishment, common-benefit
     foundations must be entered in the Public Register. It is only by being                         5.1. The Founder
     registered that they become legal entities. Under § 19 para 3 in con-
     junction with art 90 of the Public Register Ordinance, the entry must                           The founder is the central person in foundation law: The purpose of
     contain facts such as the foundation's name, the foundation purpose                             a foundation is to carry out his or her intentions. The founder can be
     as well as the identity of the members of the foundation council and of                         either an individual or a legal entity domiciled in Liechtenstein or abroad.
     the auditors provided auditors have been appointed (see Section 5.3).                           A foundation may, except where it has been set up by testamentary
     Other details like the name of the founder or his agent or the identity                         disposition, have one or more founders. The founder has all the rights
     of the beneficiaries are not registered. As regards registered facts,                           contained in § 3, particularly the right to apply for supervisory mea-
     anyone can obtain a register extract from the Land and Public Register                          sures with the Princely Court of Justice. Besides, the founder can apply
     Office (GBOERA; www.gboera.llv.li) on request.                                                  to the Court in order to have an incorrectly adopted dissolution can-
                                                                                                     celed or, conversely, move for the adoption of a dissolution wrongfully


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     denied. The founder can also be a member (or chairman) of the foun-                           ceases to exist, the rights lapse unless the foundation documents pro-
     dation council or of another executive body. He can also be a benefici-                       vide otherwise. Where a foundation is established on a fiduciary basis
     ary of the foundation and, in fact, even its sole beneficiary.                                by an agent, it is not the agent but the principal, i.e. the person having
                                                                                                   funded the foundation, to enjoy the rights of § 30. However, these
     Even where a foundation is established on a fiduciary basis by a trust-                       rights can be exercised by an agent on behalf of the principal.
     ee acting as an agent, the principal, i.e. the person funding the foun-
     dation, will always be the actual founder in the eyes of the law. This                        If the founder exercises his right of revocation, the foundation council
     enables the founder to remain anonymous to the outside world if he                            must adopt a resolution to dissolve and liquidate the foundation. Any
     so desires. Naturally, his identity must be revealed to the members of                        assets remaining must be distributed to the ultimate beneficiary. The
     the foundation council as this is the only way for them to help carry                         founder having exercised the right to revoke the foundation is deemed
     out his intentions.                                                                           to be the ultimate beneficiary himself unless the foundation docu-
                                                                                                   ments provide otherwise.
     Right of Revocation
     As long as the foundation has not come into being, the founder is                             Right of Amendment
     able to revoke the declaration of establishment at any time. Hence                            When exercising the right of amendment (§ 30), the founder can freely
     foundations that need to be registered can be freely revoked until their                      amend the declaration of establishment as well as the foundation doc-
     entry in the Public Register. All other foundations can be revoked until                      uments without, however, revoking the foundation. Hence the found-
     the signature on the Foundation Articles is authenticated. In case of                         er may, for instance, appoint new beneficiaries including himself. As
     foundations mortis causa, it suffices to amend the testamentary dis-                          always, the foundation council can only carry out distributions if to do
     position accordingly.                                                                         so will not diminish the amounts owed to the foundation's creditors.

     Once the foundation has come into being, it will generally be irrevo-                         Consequences of Granting Certain Rights to the Founder
     cable. The founder no longer owns the assets he has contributed to                            The existence of rights as laid down in § 30 (right to revoke the foun-
     the foundation. The foundation is a separate legal entity with the pur-                       dation or to amend the declaration of establishment) can have a variety
     pose to pursue the founder's will as laid down in the foundation docu-                        of consequences. For instance, it can be argued that the founder has
     ments. However, under § 30 the founder is permitted to declare in the                         not irrevocably transferred his assets to the foundation and that there-
     Foundation Articles that he retains the right to revoke the foundation                        fore the Statute of Limitations for forced heirship claims against the
     and/or to amend the foundation documents. If the founder has done                             foundation only begins to run on the founder's death. Furthermore, it
     so, he can exercise these rights by a simple declaration to the founda-                       could be asserted that these founder’s rights are subject to enforce-
     tion council without the need to observe any particular form.                                 ment and thus capable of being attached by any of the founder's cred-
                                                                                                   itors. Should this viewpoint be upheld by the courts, the creditor hav-
     These rights of the founder cannot be assigned or bequeathed nor                              ing attached the founder’s rights could declare a revocation himself
     may they be delegated to the foundation council. If the founder is a                          or could appoint the founder as the sole beneficiary using his powers
     legal entity, no reservation is permitted. In case of multiple founders,                      of amendment. To date, there is no Liechtenstein case law on this
     these rights can only be exercised by all the founders jointly provided                       subject.
     the Foundation Articles do not direct otherwise. If one of the founders


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     Moreover, in case of a right of revocation the beneficiaries have no                             resents it. Its main task is the furtherance of the founder’s intentions.
     right of information and disclosure under § 9 provided the founder                               The foundation council must consist of at least two members who
     himself is the ultimate beneficiary. Under § 11 the founder can appoint                          can be either individuals or legal entities domiciled in Liechtenstein or
     either himself, an audit company or a trusted person as a control body.                          abroad. According to art 180a PGR, one foundation council member
     Such a control body must carry out an annual review of the proper                                must be either a Liechtenstein trustee or a person with similar sta-
     use of foundation assets. If a control body is set up, the beneficiaries                         tus (a «180a Person»). Both the founder and the beneficiaries can be
     are only permitted to request information about the purpose and orga-                            members of the foundation council.
     nization of the foundation or about their own rights in relation to the
     foundation.                                                                                      The Foundation Articles must contain provisions on the appointment,
                                                                                                      dismissal, term of office, adoption of resolutions and power of rep-
     Finally, the reservation of founder rights has possible consequences                             resentation (authority to sign) of the foundation council. With regis-
     for the tax situation abroad. Due to the economic approach in tax law,                           tered foundations, the name, date of birth, nationality and place of
     «controlled foundations» are often treated as fiscally transparent and                           residence, or else the corporate name, domicile and registered office,
     foundation assets continue to be attributed to the founder himself. On                           of the members of the foundation council as well as the authority to
     the other hand, there will normally be no gift or inheritance tax liability                      sign (collective or single) must be entered into the Registry. In case
     with controlled foundations since there has been no effective financial                          of non-registered foundations, these details must be recorded in the
     divestment.                                                                                      notification of formation. Foundation council members can be either
                                                                                                      paid or unpaid. The foundation council must be appointed for the first
     Contracts of Mandate                                                                             time by either the founder or the founder’s agent upon the foundation’s
     The founder can, if he so desires, conclude a Contract of Mandate                                establishment. Unless provided otherwise, the appointments are
     with the members of the foundation council. The founder is granted a                             valid for a three-year term with multiple reappointment being permit-
     power of instruction, e.g. with regard to the exercise of the foundation                         ted. Frequently, foundation council members are granted the right to
     council's discretion in case of discretionary foundations. The obliga-                           co-opt new members (co-optation). In addition, it is often provided in
     tions of the council members arising from the Contract of Mandate are                            the Foundation Articles that members can appoint a successor in the
     purely in personam: their duties as members of the executive body al-                            event of death, incapacity or departure from office.
     ways prevail. However, within these limits members of the foundation
     council are perfectly free to conclude Contracts of Mandate.                                     Amendment Rights of the Foundation Council
                                                                                                      Subject to the conditions contained in §§ 31 et seq., the foundation
                                                                                                      council has the right to amend the Foundation Articles and By-Laws.
     5.2. The Foundation Council                                                                      An amendment of the foundation purpose by the foundation council
                                                                                                      or another executive body is only allowed «if the purpose has become
     Composition and Functions                                                                        unachievable, impermissible or irrational or if circumstances have
     In order to achieve the founder's intentions, the foundation makes use                           changed to the extent that the purpose has acquired a quite different
     of its executive bodies. The only compulsory executive body of any                               significance or effect, so that the foundation is estranged from the
     foundation is the foundation council (§§ 24 et seq.). It manages the                             intention of the founder». The presumed intention of the founder is
     business of the foundation (administration, bookkeeping etc.) and rep-                           crucial. In addition, the right of amendment must be expressly provid-


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     ed for in the Foundation Articles. If no power of amendment has been                          dations but also private-benefit foundations whose Foundation Arti-
     included in the Foundation Articles, the foundation purpose can only                          cles make them subject to voluntary oversight by the Foundation Su-
     be altered by judicial decree.                                                                pervisory Authority, the auditors constitute a mandatory body of the
                                                                                                   foundation. The auditors are under an obligation to verify once a year
     According to § 32 either the foundation council or another executive                          whether the foundation assets are being managed and used in accor-
     body can be given the authority to amend other contents of the Foun-                          dance with the foundation purpose. An audit report must be submitted
     dation Articles (apart from the foundation purpose) or of the By-Laws.                        to both the foundation council and the Foundation Supervisory Author-
     This can include, for example, the foundation's organization or benefi-                       ity. Auditors, auditing firms, professional trustees or trust companies
     cial interest arrangements provided, however, that the foundation pur-                        can be appointed as the auditors.
     pose is not affected. In addition, the foundation council must have a
     substantively justified reason to do so. The right pursuant to § 32 must                      The auditors must be independent of the foundation. In particular, the
     be included in the Foundation Articles. In the absence of such a provi-                       following are prohibited from acting as auditors: anyone who belongs
     sion, any amendment of either the Foundation Articles or the By-Laws                          to an existing foundation body such as the foundation council; anyone
     can only be ordered by a judge.                                                               who is an employee of the foundation; anyone with close family ties
                                                                                                   to members of executive bodies of the foundation; or anyone who is
     Liability of the Foundation Council                                                           a beneficiary of the foundation. The auditors are appointed by judicial
     The foundation council is responsible to fulfill the foundation purpose                       decree, the foundation and the Foundation Supervisory Authority both
     in strict compliance with the provisions in the foundation documents.                         being a party to the proceedings. Either the founder or the foundation
     The members of the foundation council are personally liable under art                         council can make two proposals stating their preference.
     218 et seq. PGR for any negligently or intentionally caused loss. In the
     declaration of establishment, the liability of unpaid council members                         With common benefit foundations, the Foundation Supervisory Author-
     for slight negligence can be excluded. Entitlement to compensation is                         ity can waive the requirement to appoint auditors at the foundation’s
     primarily enjoyed by the prejudiced foundation. On a subsidiary basis,                        request in two cases. Firstly, this is possible if the foundation's as-
     creditors themselves may make a claim. Art 182 para 2 PGR codifies                            sets amount to less than 750,000 Swiss francs and the foundation
     the «Business Judgment Rule», whereby a member of the administra-                             does not publicly call for donations or run a business along commercial
     tion is deemed to act diligently «if in his commercial decision-making                        lines. Secondly, an exemption can be accorded if it appears reasonable
     he is not governed by irrelevant interests and it must reasonably be                          to do so for other motives. This will be the case if, for example, the
     assumed that he is acting for the good of the legal entity on the basis                       foundation pursues an investment and distribution policy in such a way
     of appropriate information».                                                                  as to enable direct oversight by the Foundation Supervisory Authority.
                                                                                                   Direct oversight is possible, inter alia, where the assets and their per-
                                                                                                   formance are easily verifiable.
     5.3. The Audit Authority
                                                                                                   Outside the aforementioned cases of mandatory appointment of au-
     According to § 27, every foundation subject to the supervisory over-                          ditors, it is possible to provide for a voluntary appointment of auditors
     sight of the Foundation Supervisory Authority (see Section 7) must                            in the Foundation Articles. Voluntary auditing does not entail any duty
     appoint an audit authority. Thus, in the case of common-benefit foun-                         of oversight by the Foundation Supervisory Authority. Finally, the foun-


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     dation council is always at liberty to instruct external auditors to check                      the extent of any relevant powers. § 28 mentions executive bodies to
     individual transactions in any particular case without granting them the                        be used «to specify a beneficiary from the category of beneficiaries,
     status of an executive body.                                                                    to specify the time, level and condition of a distribution, to manage
                                                                                                     the assets, to advise and assist the foundation council, to monitor the
                                                                                                     administration of the foundation in order to safeguard the purpose of
     5.4. The Control Body and Other Executive Bodies                                                the foundation, to reserve consents or issue instructions, as well as to
                                                                                                     safeguard the interests of the foundation participants». These executive
     Control Body                                                                                    bodies can be given rights to advise, consent, instruct or veto. They
     The founder may specify in the Foundation Articles that a control body                          do, however, not have any representation authority. Nevertheless, it is
     pursuant to § 11 is or can be established. The control body is under                            possible for the foundation council to grant them – or any third party –
     an obligation to verify once a year whether the foundation assets are                           legally valid powers of attorney.
     being managed and distributed in accordance with the foundation pur-
     pose. A report must be submitted to the foundation council. In the                              In practice, protectors, collators and asset managers are appointed
     event of the foundation council’s non-compliance with the foundation                            quite often. These executive bodies are not defined legally, so their
     purpose, the control body must inform the beneficiaries and the court.                          powers must be described in the foundation documents. Even so, a
     If a control body is established, the beneficiaries are not permitted                           certain semantic content has established itself over time in this re-
     to assert the full rights of information and disclosure as stated under                         gard. Thus, a protector is used as an optional monitoring body for the
     § 9 (see Section 6). Instead, they can only inspect the foundation docu-                        foundation and will mediate between the foundation council and the
     ments and request information about the purpose and organization of                             beneficiaries. Generally, protectors come from the founder's family or
     the foundation and about their own rights in relation to the foundation.                        circle of friends or else are family advisers. The protector may also be
     In addition, the beneficiaries can require the submission of the control                        granted approval rights in relation to amendments of the Foundation
     body’s reports.                                                                                 Articles and By-Laws or the dissolution of the foundation, as well as
                                                                                                     the right to appoint and dismiss members of the foundation council
     The founder himself, a judicially appointed auditor or a trusted advisor                        (appointor) or a right of approval to this effect.
     of the founder may be appointed as the control body. The «trusted
     advisor» (confidant) is one or more natural persons specified by the                            With discretionary foundations, a collator is sometimes granted the
     founder who have sufficient specialist knowledge in the sphere of law                           right to choose a beneficiary from the class of beneficiaries or the right
     and business to be able to perform their duties. This includes, for ex-                         to identify the date, amount and conditions of a distribution. These po-
     ample, an attorney who is also a friend of the founder. The confidant is                        wers are often granted to the protector instead, especially if no collator
     not appointed by the court but must be independent of the foundation                            is appointed. Finally, sometimes an asset manager is set up as a
     council.                                                                                        voluntary body responsible for the management of the foundation’s
                                                                                                     bankable assets. The asset manager can be given administrative au-
     Additional Executive Bodies                                                                     thority with regard to the bank.
     Besides this, the Foundation Articles may specify that additional exec-
     utive bodies are or can be established pursuant to § 28. The founder is
     largely free in this respect as well as in the choice of the members and


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     5.5. The Representative                                                                          ence to the By-Laws where they are specified. The inclusion of an
                                                                                                      explicit reference in the Foundation Articles that the beneficiaries are
     According to art 239 et seq. PGR, foundations must appoint a Repre-                              designated in the By-Laws is mandatory.
     sentative to carry out representation in relation to the Liechtenstein
     authorities. The Representative is a process agent of the foundation                             § 5 defines the beneficiary as «the natural person or legal entity that
     and, by operation of law, can be served, on behalf of the foundation,                            with or without valuable consideration in fact, unconditionally or sub-
     with any statement and communication whatsoever from all domes-                                  ject to certain prerequisites or conditions, for a limited or unlimited
     tic courts and administrative authorities. The Land and Public Regis-                            period, with or without restrictions, revocably or irrevocably, at any
     ter Office (GBOERA) can waive the duty to appoint a Representative                               time during the legal existence of the foundation or on its termination
     if the foundation’s representation is secured otherwise or if a domes-                           derives or may derive an economic benefit from the foundation (ben-
     tic delivery address has been designated. If the foundation has no                               eficial interest)». The identity of the beneficiaries will not be made
     Representative and if none of these exceptions apply, the foundation                             public and will not be registered in the Public Register or included in
     will be dissolved and liquidated after a request of GBOERA to reme-                              the Notification of Formation.
     dy this situation will have been ignored. The Representative must
     be appointed at the time of the declaration of establishment and,                                The law provides for four categories of beneficiaries. Entitled beneficia-
     with registered foundations, must be entered in the Public Register.                             ries (§ 6 para 1) are beneficiaries who, on the basis of the foundation
     In this case, his name will appear in the relevant register extracts.                            documents (the Foundation Articles, By-Laws or Regulations), have a
     With non-registered foundations, the Notification of Formation must                              legal claim to benefit, to a specified or specifiable extent, from the
     contain the Representative’s details. The Notification of Formation’s                            foundation assets or foundation income. Therefore, in relation to the
     content will, however, not be disclosed to third parties. This does                              foundation, entitled beneficiaries have a legally enforceable right to
     not affect the right of disclosure to domestic criminal prosecution                              their benefit. Any discretion of the foundation council to this effect is
     authorities, the Liechtenstein Financial Intelligence Unit (FIU;                                 excluded.
     www.fiu.llv.li) and the Liechtenstein Financial Market Authority (FMA;
     www.fma-li.li).                                                                                  Prospective beneficiaries (§ 6 para 2) are individuals who have a legal
                                                                                                      entitlement laid down in the foundation documents to be appointed at
                                                                                                      a later date as a successor to an entitled beneficiary. This may be the
     6. The Beneficiaries                                                                             case after the occurrence of a condition precedent or the reaching of
                                                                                                      a specific date (such as the demise of a prior beneficiary). Potential
     When setting up a foundation, particular attention must be paid to the                           beneficiaries who have no right to become an entitled beneficiary but
     foundation purpose. The Foundation Articles must state the foundation                            instead simply have an uncertain prospect of maybe obtaining a dis-
     purpose including the designation of named beneficiaries or of bene-                             tribution in the future are not prospective beneficiaries in the sense
     ficiaries identifiable on the basis of objective criteria. Alternatively, a                      of § 6 para 2. Whether there is a legal entitlement or not can only be
     class of beneficiaries can be designated. Only common-benefit foun-                              determined by interpreting the foundation documents.
     dations need not specify beneficiaries or a class of beneficiaries. In
     practice, the beneficiary or beneficiaries are often not identified in the                       The third category of beneficiaries are the discretionary beneficia-
     Foundation Articles themselves: instead, the Articles contain a refer-                           ries (§ 7). They belong to the class of beneficiaries specified by the


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     founder, their beneficial interest being placed in the discretion of the                         law recognizes no duty to preserve the foundation assets, the foun-
     foundation council or another body appointed for this purpose (such                              dation council is prohibited from making distributions to beneficiaries
     as a protector or collator). Foundations with discretionary beneficiaries                        if this would diminish the amount owed to the foundation's creditors.
     are called discretionary foundations. Discretionary beneficiaries have                           The founder may also designate himself as either the sole beneficiary
     no legally enforceable claim to receive any particular benefit from the                          or as one of several beneficiaries. Furthermore, under § 30 the found-
     foundation: they only have a legal right to obtain a distribution once                           er can reserve the right to amend the declaration of establishment
     the foundation council has adopted a Resolution in this respect. Once                            (see Section 5.1), making it possible for him to amend the rules govern-
     the distribution has been made, all the discretionary beneficiary's                              ing the beneficiaries at any time. Within the framework of §§ 31 et
     rights are extinguished. However, discretionary beneficiaries do have                            seq., the foundation council can be granted a right to amend the rules
     inspection rights under § 9 but only insofar as their own rights are                             governing beneficiaries contained in the Foundation Articles or in the
     concerned.                                                                                       By-Laws (see Section 5.2).

     An ultimate beneficiary (§ 8) is a beneficiary who, in accordance with                           Usually, the foundation documents create a cascade of beneficiaries
     the foundation documents, is intended to receive the remaining as-                               by appointing secondary beneficiaries who gain their beneficial inter-
     sets following the liquidation of the foundation. If no beneficiary exists                       est upon the death of the primary beneficiary. It is often also specified
     at all, the foundation's assets go to the Principality of Liechtenstein,                         who will be the third, fourth and fifth rank beneficiaries etc. In the
     which must make use of the assets, to the extent possible, in ac-                                event of a beneficiary's death, his or her beneficial interest does not
     cordance with the foundation purpose.                                                            form part of the estate because the entitlement is extinguished on the
                                                                                                      beneficiary's death. It is then the beneficiaries next in line who come
     Since the designation of beneficiaries is regarded as an essential                               into play. Legal status as a beneficiary is strictly personal and not trans-
     part of the foundation establishment process, the Foundation Arti-                               ferable or inheritable unless the founder issues express instructions
     cles must include the designation of named beneficiaries or of bene-                             to the contrary. Finally, the Foundation Articles or By-Laws must also
     ficiaries identifiable on the basis of objective criteria. Alternatively, a                      contain a provision for the distribution of assets in the event of the
     class of beneficiaries can be designated. There are three exceptions to                          foundation's dissolution.
     this rule. Firstly, this provision does not apply in the case of common-
     benefit foundations since, by definition, they serve the general public                          Rights of the beneficiaries
     (§ 107 para 4a PGR). Thus common-benefit foundations can, but need                               The foundation is not a corporation over which shareholders can exert
     not, specify particular beneficiaries. Secondly, it is permissible for the                       influence based on their stake in the company. In order to address the
     Foundation Articles to contain an express reference to the By-Laws                               risk that the members of the Foundation Council might be behaving
     and to leave the identification of the beneficiary or beneficiaries to the                       like the owner of the foundation assets, § 9 grants the beneficiaries
     By-Laws. In practice, this happens very often. Thirdly, in exceptional                           information and disclosure rights. These rights are enjoyed not just by
     cases it may be that the beneficiaries are evident in light of the foun-                         the entitled beneficiaries and the prospective beneficiaries but also by
     dation purpose.                                                                                  the current discretionary beneficiaries. However, persons who have
                                                                                                      only a prospect to a future discretionary benefit do not enjoy them.
     A beneficial interest can relate to the foundation income only or also                           Beneficiary rights include the right to view documents and the right to
     to the foundation assets (principal). Although Liechtenstein foundation                          receive general, reporting and accounting information. The beneficiary


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     has the right to inspect business records and documents and to make                             dation or about their own rights in relation to the foundation. Besides,
     copies thereof and also to examine and investigate all business con-                            the beneficiaries will not have any information rights if the foundation
     duct personally or through an agent.                                                            is subject to supervision by the Foundation Supervisory Authority (see
                                                                                                     Section 7). In each case, however, beneficiaries have the irrevocable
     However, the law contains certain restrictions on beneficiary rights.                           right to ask the judge to redress any grievances.
     First, these rights are only enjoyed by the beneficiary «insofar as his
     rights are concerned». The beneficiary has to be directly and personally
     affected. Thus, events in the past occurring prior to the acquisition of                        7. Foundation Governance
     the beneficial interest can only be investigated if they directly affect
     the beneficiary's current rights. Second, there is a very comprehen-                            Foundation governance is taken to mean all the rules that contrib-
     sive general misuse clause under which this right must not be exercised                         ute to make the foundation bodies act in accordance with their duties
     with dishonest intent, in an abusive manner or in a manner that con-                            and in the interest of the founder. Regulations designed to protect
     flicts with the interests of the foundation or other beneficiaries. Third,                      the foundation against any misconduct by its executive bodies are ex-
     beneficiary rights may exceptionally be denied «for important reasons                           tremely important due to the absence of any owners who could play
     to protect the beneficiary» such as to prevent a young person’s idle-                           a supervisory role (shareholders, for example). They are also vital due
     ness after he has learnt of his beneficial interest.                                            to the potential for possible conflicts of interest, e.g. of members of
                                                                                                     the foundation council. A distinction can be drawn between external
     Beneficiary rights have to be asserted in civil proceedings. The Articles                       governance in the sense of supervision by state authorities and inter-
     can, however, also provide for mandatory arbitration in Liechtenstein                           nal governance in the form of mutual monitoring rights of foundation
     or abroad. The existence of beneficiary rights is presumed, the per-                            participants. When the new Liechtenstein foundation law was created,
     missibility of restrictions has to be proved by the foundation council.                         special emphasis was placed on instituting a modern system of foun-
     Often the foundation documents state the possible reasons for which                             dation governance. One innovation is that the Foundation Supervisory
     a request for information may be refused. Although these reasons                                Authority itself is not entitled to order coercive measures. Instead,
     bind neither the court nor the foundation council, the corresponding                            just like foundation participants, the Authority has to apply to a court
     provisions must be taken into account when assessing the balance                                for them to be instituted. This combination of ongoing supervision and
     of interests.                                                                                   judicial decision-making authority (application-based court supervision)
                                                                                                     is indeed a role model.
     §§ 10 -12 provide important exceptions, which partially suspend the
     beneficiary rights under §9, in situations where the foundation council                         Common-Benefit Foundations
     is supervised by other participants. If the founder has reserved a right                        Under § 29, common-benefit foundations are subject to the supervi-
     of revocation under § 30 (see Section 5.1) and he is himself the ulti-                          sion of the Foundation Supervisory Authority (STIFA). STIFA is a depart-
     mate beneficiary, then the beneficiaries will not have any information                          ment of the Land and Public Register Office and must ensure ex officio
     rights because in this case the founder himself already has a consider-                         that foundation assets are managed and disbursed in accordance with
     able ability to exercise control and monitoring. If a Control Body is set                       the foundation purpose. To this end, it is entitled to demand any infor-
     up under § 11 (see Section 5.4), the beneficiaries are only permitted                           mation from the foundation’s executive bodies and can also inspect
     to request information about the purpose and organization of the foun-                          the foundation’s books. Furthermore, STIFA is required to check the


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     annual report produced by the foundation's auditors. Coercive mea-                                 8. Foundations and Estate Law
     sures such as the removal of foundation bodies, the conduct of special
     audits or the annulment of resolutions of the Foundation Council must                              As a general rule, a beneficial interest is awarded ad personam so that
     be applied for by STIFA in the Princely Court of Justice.                                          after the death of a beneficiary it is the beneficiaries next in line and
                                                                                                        not the heirs of the deceased beneficiary who will obtain a beneficial
     For the purposes of internal governance, under § 27 every common-                                  interest. If it is intended for a beneficial interest to be inherited, this
     benefit foundation must be audited by independent auditors. In addi-                               must be explicitly provided for in the foundation documents. There-
     tion, any participant, i.e. the founder, the beneficiaries and all foundation                      fore, if the deceased was a beneficiary during his lifetime only, his or her
     executive bodies and their members have the right to petition the court                            foundation benefits do not form part of the estate. This was confirmed
     to initiate supervisory measures. STIFA is a party in these proceedings.                           by the Liechtenstein Constitutional Court (www.stgh.li).

     Private-Benefit Foundations                                                                        This has nothing to do with the question of whether and how a contri-
     Private-benefit foundations whose Foundation Articles make them                                    bution of assets by the deceased to a foundation can be challenged by
     subject to supervision by STIFA must also undergo, as far as super-                                his heirs for breach of their compulsory portion («forced heirship»). Ac-
     visory matters are concerned, the same regime as common-benefit                                    cording to § 38 para 1, every contribution of assets to the foundation,
     foundations. If the Foundation Articles do not make them subject to                                including an additional or subsequent endowment (see Section 4), can
     voluntary foundation supervision, private-benefit foundations are not                              be challenged by the contributor’s heirs in the same way as a donation.
     subject to any ongoing state supervision. For this reason, internal                                In practice, therefore, heirs whose compulsory portion is prejudiced by
     governance is well developed. Firstly, beneficiaries have comprehen-                               the establishment of, or subsequent endowment to, a foundation by
     sive access and information rights under § 9: they have the right to in-                           the deceased sometimes bring «compulsory portion supplementary
     spect the business records and documents and to make copies thereof,                               claims» against Liechtenstein foundations. The competent forum for
     and also to examine and investigate all business conduct personally                                such claims is the Princely Court of Justice. The action is not directed
     or through an agent, provided this right has not been restricted (see                              against the very existence of the foundation but rather seeks the de-
     previous section).                                                                                 livery, by the foundation to the claimant (i.e., the forced heir), of that
                                                                                                        amount of assets required to give the claimant that which he or she is
     In addition, with private-benefit foundations too, all participants (found-                        entitled to by the applicable forced heirship legislation. Thus, in case of
     ers, beneficiaries and executive bodies as well as their members) have                             a successful claim the foundation is ordered to pay to the claimant a
     the right, under § 29 para 4, to apply directly to the Princely Court of                           specified monetary amount rather than being dissolved.
     Justice for supervisory measures such as the removal of foundation
     bodies, the conduct of a special audit or the cancelation of resolutions                           If conflict of laws rules make Liechtenstein law applicable, § 785 of the
     taken by the foundation council. Finally, the court may, either on re-                             General Civil Code is applied, whereby on application by any child or
     quest by the parties or ex officio and possibly in response to a com-                              spouse entitled to a compulsory portion, gifts (and thus contributions
     munication from STIFA or the public prosecutor, order an amendment                                 of assets to a foundation) must be taken into account when calculating
     of the foundation documents provided the preconditions contained in                                the estate (compulsory gift portion). Contributions to common-benefit
     §§ 33 et seq. are met. In these proceedings the Foundation Supervi-                                foundations are, however, not taken into account. The same applies to
     sory Authority has the status of a party.                                                          contributions made to a foundation earlier than two years before the


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     death of the contributor. If the founder has reserved founder’s rights un-                        9. Foundations and Asset Protection
     der § 30 (see Section 5.1), this two-year period, according to prevailing
     doctrine, does not start to run until either the death of the founder or his                      Asset Protection generally means the protection of private assets
     irrevocable renunciation to exercise powers over the assets concerned.                            from civil money judgments. Liechtenstein law has managed to strike
                                                                                                       an appropriate balance between the legitimate interests of the found-
     If there is a case with an international connection (in other words, if the                       er in the protection of assets, on the one hand, and the interests of the
     deceased was not a Liechtenstein citizen residing in Liechtenstein),                              creditors in the collectibility of their debts against the foundation, the
     compulsory portion supplementary claims are governed by the law                                   founder or the beneficiaries, on the other.
     stipulated in art 29 of the Liechtenstein Private International Law Act.
     This provision declares applicable the law of the state whose citizen                             Creditors of the Foundation
     the deceased was at the time of his death. However, the deceased is                               Under § 37 para 1, a creditor of the foundation can only pursue his
     entitled to opt, in his Will, for the law of the state of his last habitual                       claims against the foundation assets themselves. There is no personal
     residence to be applicable. In addition to the law governing the succes-                          liability on the part of the founder or other persons, e.g. the beneficia-
     sion, a compulsory portion claim must also (i.e., cumulatively) be in                             ries or the foundation council members. Only if the founder has not fully
     accordance with the law governing the acquisition process itself. If,                             paid in the dedicated assets can the foundation council be required
     therefore, a French testator made an inter vivos donation to a Liechten-                          to provide the creditors with all necessary information regarding the
     stein foundation and provided for Liechtenstein law to be applicable to                           enforceability of their claims, including the identity of the founder. The
     this endowment, a claim, brought against the foundation by his heirs,                             founder can, however, always avert this by simply making the pledged
     to supplement the compulsory portion will only be successful if all the                           contribution to the foundation. Finally, under § 37 para 2 the Founda-
     preconditions contained in both French and Liechtenstein law are met,                             tion Council is prohibited from making distributions to beneficiaries if
     e.g. compliance with both the French and the Liechtenstein statutes                               this would diminish the amount owed to the foundation's creditors. If
     of limitation. If the claim to supplement the compulsory portion turns                            the foundation's executive bodies act against this provision, they will
     out to be prescribed under Liechtenstein law, the claim cannot be suc-                            be liable for damages (see Section 5.2).
     cessfully made.
                                                                                                       Creditors of the Founder
     If the applicable estate law is that of a Common Law country, claims                              Under § 38 para 1, creditors of the founder who cannot recover dam-
     to supplement the compulsory portion are, in most cases, irrelevant                               ages against him because he has transferred assets to a foundation
     since Common Law countries normally do not know forced heirship                                   may dispute this endowment according to the Liechtenstein Legal Rem-
     rules. If, therefore, English or New York law is the law governing                                edies Code. In addition, creditors of the founder may, in very excep-
     the succession, the children of the deceased person do not have a                                 tional cases, gain access to the foundation’s assets by way of «reverse
     compulsory portion and, therefore, cannot make any claim against a                                piercing» if the founder effectively misuses the foundation. This would
     Liechtenstein foundation. Questions about how to treat, for Liechten-                             be the case, for example, if the founder still took all decisions regard-
     stein conflict of laws purposes, the English family provision rules or                            ing the foundation without ever even involving the foundation council.
     the elective share statutes known in some US States have not arisen                               As the Constitutional Court has made clear, the mere reservation of
     before Liechtenstein courts so far.                                                               founders’ rights or the existence of a contract of mandate between
                                                                                                       the founder and the members of the foundation council does not lead


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     to a «lifting of the foundation veil» and will thus not give rise to reverse                      lacking in this respect, it is unclear how foreign courts would decide
     piercing.                                                                                         such matters. There is, therefore, the risk that foundation assets
                                                                                                       situated abroad, such as bankable assets deposited at a foreign bank,
     Finally, the law does not exclude an enforcement of the founders’                                 would be seized by the competent court at the bank’s domicile disre-
     rights under § 30 (see Section 5.1). Thus, it could well be that the                              garding the enforcement privilege awarded by Liechtenstein law.
     courts would affirm the enforceability of founders’ rights in favor of
     creditors, at least if the founder has reserved the right of revocation                           Private International Law
     and is, at least in part, the ultimate beneficiary; or else, if the found-                        The applicable law for creditor disputes is set out in art 75 of the Le-
     er has reserved the right to comprehensive amendments. The courts                                 gal Remedies Code. Simply put, a cumulative connection is necessary
     could thus allow the founder’s creditors to exercise his rights in his                            in order to successfully raise an enforcement claim: only if the claim
     place. To date, there is no Liechtenstein case law on the subject.                                is permitted under both the law of the residence or domicile of the
                                                                                                       debtor and the law governing the acquisition process itself, can it be
     Creditors of the Beneficiaries                                                                    enforced.
     Creditors of beneficiaries can be indemnified out of distributions which
     have already been made to the beneficiaries since those distributions
     represent an integral part of the beneficiaries’ own assets. Under § 36                           10. Accounting
     para 1, the founder of a family foundation (see Section 3) may provide
     in the Foundation Articles «that the creditors of beneficiaries shall not                         Foundations which operate a business along commercial lines, which
     be permitted to deprive these beneficiaries of their entitlement to a be-                         is only permissible under very limited circumstances (see Section 3),
     neficial interest or prospective beneficial interest acquired without valu-                       will be subject to the general accounting standards contained in art
     able consideration, or individual claims arising from such an interest, by                        1045 et seq. PGR. These foundations must produce a balance sheet
     way of safeguarding proceedings, compulsory enforcement or bank-                                  as well as annual audited financial statements (balance sheet, income
     ruptcy». The founder can thus specify that the entitlement of Entitled                            statement and appendix, if applicable). For all other common-benefit
     Beneficiaries or Prospective Beneficiaries (see Section 6) against the                            or private-benefit foundations, the foundation council must, pursuant
     family foundation is not enforceable in favor of the beneficiaries’ cred-                         to § 26, keep records of the use of foundation assets. These records
     itors. Again, this does not hold true for amounts already distributed.                            must conform to the principles of proper accounting. The comprehen-
                                                                                                       siveness of the records depends on the financial circumstances of the
     In case of a mixed family foundation, this enforcement privilege ap-                              foundation. However, there is no general duty to carry out detailed
     plies only to those entitlements which serve the defrayal of costs of                             bookkeeping at all. In addition, a Schedule of Assets must be maintain-
     upbringing or education, provision for or support of family members or                            ed, showing the asset position and the asset investments. All books
     similar family interests. The enforcement privilege must be included in                           and records and business correspondence must be kept for ten years.
     the Foundation Articles. Similar provisions exist in other jurisdictions,
     such as in many U.S. states (spendthrift trusts or protective trusts).                            With registered foundations whose Foundation Articles forbid them to
                                                                                                       run a business along commercial lines, the Foundation Council must
     Nevertheless, the enforcement of a said privilege is problematic where                            go through a yearly Declaration Procedure pursuant to art 182b PGR.
     enforcement proceedings have a foreign element. Since case law is                                 Every year, a declaration signed by the foundation council must be


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     submitted to the Land and Public Register Office (GBOERA) confirm-                               dissolution exists but no resolution in favor of dissolution has been
     ing that for the previous fiscal year there is a statement of assets and                         adopted by the foundation council, the beneficiaries or the Foundation
     that no business was run along commercial lines. Failing this, the Land                          Supervisory Authority (STIFA) can apply for a court order dissolving the
     and Public Register Office must alert the foundation and, after at least                         foundation. Conversely, the court must, again on application by either
     another twelve months, initiate dissolution and liquidation proceedings                          the foundation beneficiaries or STIFA, set aside an improperly taken
     (art 971 PGR). In addition, a penalty may be imposed. The correctness                            decision to dissolve the foundation.
     of the declaration may be reviewed by GBOERA within two years if
     the declaration is not confirmed by an auditor or an auditing com-                               Liquidation
     pany. – With non-registered foundations, i.e. with the vast majority                             Dissolution of the foundation results in the initiation of liquidation pro-
     of private-benefit foundations, no declaration procedure needs to be                             ceedings. The foundation’s liabilities must be settled, the assets must
     performed.                                                                                       be sold and the liquidation proceeds must be distributed among the ul-
                                                                                                      timate beneficiaries. If no beneficiaries can be ascertained at all, which
                                                                                                      is extremely rare, the proceeds of liquidation go to the Principality of
     11. Termination of the Foundation                                                                Liechtenstein, which must apply the assets in a manner as compati-
                                                                                                      ble as possible with the existing foundation purpose. With registered
     Dissolution                                                                                      foundations the distribution can usually only take place six months
     The termination of a foundation, governed by art 130 et seq. and                                 after the dissolution has been published (half-year block) and after three
     art 552 §§ 39 et seq. PGR, requires (a) a reason for the dissolution,                            public invitations to register claims (debt calls, creditor calls) have been
     (b) the initiation of liquidation proceedings, and (c) a confirmation of                         issued. With foundations that are not registered in the Public Register,
     deletion of the Public Register entry. The dissolution itself changes the                        i.e. with almost all private-benefit foundations, no creditor call and no
     foundation's purpose: thenceforth, the foundation must align all its ac-                         half-year block take place.
     tivities towards the termination of its existence. Possible reasons for
     dissolution include the institution of bankruptcy proceedings in relation                        Cancelation
     to the foundation assets, a court order or a decision in favor of disso-                         On completion of liquidation proceedings, the Office of Land and Pub-
     lution by the foundation council.                                                                lic Registration (GBOERA) issues a certificate of cancelation. For this
                                                                                                      purpose, a cancelation permit from the Tax Authority stating that all
     In most cases, it is the foundation council which decides to dissolve                            taxes have been paid is required. In case of foundations supervised
     the foundation. Such a resolution is compulsory if the council has re-                           by STIFA, STIFA must be informed of the cancelation. If, after can-
     ceived a lawful revocation by the founder, if the foundation's purpose                           celation of the foundation, undistributed foundation assets come to
     has been achieved or can no longer be achieved, if the foundation’s                              light, GBOERA must, at the request of interested parties (such as for-
     statutory lifetime has expired, or if other grounds for the foundation’s                         mer beneficiaries and foundation council members or creditors) or sua
     dissolution as derived from the articles apply. If, for example, the entire                      sponte, open «Subsequent Liquidation Proceedings» (Nachtragsliqui-
     assets of the foundation have been distributed to the beneficiaries, the                         dation) regarding the canceled foundation. During these proceedings,
     foundation council must decide in favor of dissolution. In the absence                           the detected assets are distributed by official liquidators. Foundations
     of any provision to the contrary in the Foundation Articles, a decision                          supervised by STIFA must inform STIFA of subsequent liquidation pro-
     in favor of dissolution must be adopted unanimously. If a ground for                             ceedings. In order to bring claims against a canceled foundation, the


36                                                                                                                                                                                   37
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     Princely Court of Justice must, on application by a participant, appoint                       2009, can be found in Marxer & Partner, Companies and Taxes in
     a curator for the canceled foundation.                                                         Liechtenstein, 8 th edition, Liechtenstein Verlag, Vaduz 2003, p. 85-104.

     Conversion and Change of Domicile                                                              The principle of «old law for legacy foundations» is, however, signifi-
     Under § 41 private-benefit foundations can, without dissolution and                            cantly restricted in two ways. Firstly, and in very simplifying terms,
     liquidation, be converted by the foundation council into an Anstalt                            any dealings with the Land and Public Register Office (GBOERA), e.g.
     («Establishment») or a Treuunternehmen («Trust Enterprise») provid-                            upon the replacement of a foundation council member, are governed
     ed the foundation purpose and the founder’s will are respected.                                by the new law. All legacy foundations have to file a Transitional Notice
     Anstalts and Trust Enterprises are Liechtenstein legal entities. The                           («Überführungsanzeige») containing the same information as a notifi-
     conversion must be authorized by the Foundation Articles. The con-                             cation of formation (see Section 4). Secondly, art 1 para 4 of the tran-
     version leads to an automatic transfer of assets to the new entity.                            sitional provisions contains a list of those provisions of the new law
     However, all rights of third parties, e.g. of the foundation’s creditors,                      that also apply to foundations established before 1st April 2009. These
     are upheld. Liechtenstein law does not provide for a merger between                            are mainly rules relating to foundation governance, e.g. rules on the
     foundations.                                                                                   beneficiaries’ rights to information and disclosure, on supervision by
                                                                                                    STIFA or on the right of the foundation council to amend the founda-
     Pursuant to art 234 PGR, it is possible to transfer the domicile of a                          tion documents.
     Liechtenstein foundation abroad, and thus change the law applicable
     to the foundation, without the foundation being liquidated in Liechten-                        Thus, the provisions on access to information by beneficiaries
     stein and then being reestablished abroad. For this purpose, a permit                          (§§ 5 -12; see Section 6) also apply to all existing foundations. All
     from the Land and Public Register Office is required, which will only                          existing common-benefit foundations had to be entered in the Public
     be granted if, inter alia, the laws of the foreign country allow a Liech-                      Register by 1st April 2010 and subjected to supervision by STIFA.
     tenstein legal entity to become domestic without liquidation and sub-                          Finally, the transitional provisions contain ways to restructure private-
     sequent reestablishment.                                                                       benefit foundations which would be void under the new law due to the
                                                                                                    absence, in the Foundation Articles or By-Laws, of even rudimentary
                                                                                                    criteria on the beneficiaries or the class of beneficiaries (see § 16 para
     12. Transitional provisions                                                                    1 (4) of the new law and Section 6).

     Principle and Restrictions
     Liechtenstein’s current foundation law as described above took effect                          13. Taxes and Fees
     on 1st April 2009. The question of which provisions of the new law
     should apply to foundations set up before this date («legacy founda-                           Currently, foundations generally pay a reduced annual capital tax of
     tions») is governed by the detailed transitional provisions. These can                         1‰ of the foundation assets, the minimum being 1,000 Swiss francs
     be found in art II of the Act of 26 th June 2008, law gazette 2008 no.                         per annum (art 83 Tax Code). The minimum amount must be paid to
     220, as amended by law gazette 2009 no. 247. In principle, the new                             the tax authority (www.stv.llv.li) for one year in advance. More infor-
     foundation law applies only to foundations set up on or after 1st April                        mation on the current Liechtenstein tax law can be found in Marxer &
     2009. An overview of the old law on foundations, valid up to 31st March                        Partner, Companies and Taxes in Liechtenstein, 8 th edition, Liechten-


38                                                                                                                                                                               39
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     stein Verlag, Vaduz 2003, p. 155 -187. However, in May 2010 a bill to
     enact a new Tax Code was introduced in Parliament. The bill is set to                               In all cases, however, Liechtenstein will only provide assistance to a
     enter into force on 1st January 2011. According to the new law, foun-                               foreign country provided a well-founded and specific request for infor-
     dations will be taxed at a slightly higher rate. The definite tax rate is still                     mation, which is subject to strict conditions, has been made. Amongst
     subject to parliamentary discussion.                                                                others, the request must contain information as to the identity of the
                                                                                                         taxpayer whose liability is in question; and it must state the precise
     The fees of the Land and Public Register Office are dealt with in Sched-                            facts of the case including the nature, form and time span of the re-
     ule 2 to the GBOERA Fees Ordinance. For example, the registration                                   quested information. There is no automatic exchange of information
     fee is 700 francs and the fee for filing a notification of formation 300                            in tax matters and non-individualized inquiries (so-called «fishing ex-
     francs. Costs for a certified official confirmation or a certified register                         peditions») are not permitted.
     extract amount to 15 francs. The fees of the supervisory authority
     (STIFA) for the evaluation of audit reports (200-1,000 francs), for
     deciding about an exemption from the duty to appoint an auditor (150                                14. What Can Marxer & Partner Do for You?
     francs) and for the inspection of foundation documents (150 to 2,000
     francs) are cited in art 13 of the Foundation Law Ordinance. If STIFA                               Marxer & Partner Attorneys-at-Law was founded in 1925. The oldest
     needs to apply to the court for supervisory measures, hourly fees of                                and largest law firm in Liechtenstein consists of approximately 30
     150 francs are assessed.                                                                            lawyers and 60 administrative professionals and offers international
                                                                                                         companies and individuals comprehensive legal advice and support in
     Like all other jurisdictions surveyed by the OECD’s «Global Forum on                                all areas of law. Our activities focus mainly on foundation, trust, corpo-
     Transparency and Exchange of Information for Tax Purposes», Liech-                                  rate, estate and tax law. As to foundations, we are frequently asked to
     tenstein has committed to tax information exchange on request as pro-                               give legal opinions, to represent the foundation or beneficiaries before
     vided for in art 26 of the OECD Model Convention. Liechtenstein will,                               Liechtenstein courts and administrative authorities or to act as arbitra-
     however, only grant legal and administrative assistance in tax matters                              tors. Besides, we can also take on the establishment and administra-
     and fiscal crimes if this is stipulated in an international treaty applicable                       tion of your foundation.
     between Liechtenstein and the requesting state. On 1st July 2010,
     Liechtenstein had concluded bilateral tax treaties (TIEAs – short for                               A foundation can be set up easily. There is no need for you to be pres-
     «Tax Information Exchange Agreements» – or double taxation agree-                                   ent before a notary public, a court or an administrative authority. The
     ments) with 16 countries, 14 of them (e.g. the treaties with Germany,                               foundation documents can be drafted in any language. Our lawyers
     the UK, the US and France) providing for an exchange of information                                 will correspond with you in many different languages. We have 85
     on reasonable request. The agreement between Liechtenstein and the                                  years of experience with foundation matters, especially in dealing with
     UK is special in that it includes the «Liechtenstein Disclosure Facility»                           complex family and financial structures involving different legal sys-
     (LDF) offering UK taxpayers a unique opportunity of becoming UK tax                                 tems. Over the decades, we have built up a large cooperative network
     compliant under very favorable terms (see www.marxerpartner.com/ldf                                 with leading law firms, accountants, trust companies, asset managers
     for further information). Thanks to these agreements, Liechtenstein fi-                             and banks worldwide. Marxer & Partner is the Liechtenstein member
     gures on the OECD White List as a jurisdiction having «substantially                                of Lex Mundi (www.lexmundi.com), a worldwide association of lead-
     implemented the internationally agreed tax standard».                                               ing independent law firms.


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     We are very happy to give you a personal overview of our services.
     Please feel free to contact any of our lawyers. For a list of our partners
     and associates, including biographical notes, see
     www.marxerpartner.com/en.

     Further Reading:
      Dominique Jakob: Die liechtensteinische Stiftung. Eine struktu-
        relle Darstellung des Stiftungsrechts nach der Totalrevision vom 26.
        Juni 2008 («The Liechtenstein Foundation»), published by Marxer
        & Partner; Liechtenstein Verlag, Schaan 2009, ISBN 978-3-905762-
        03-7, German only.
      Marxer & Partner: Liechtensteinisches Wirtschaftsrecht («Liech-
        tenstein Business Law»); Liechtenstein Verlag, Schaan 2009, ISBN
        978-3-905762-04-4, German only.




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                             MARXER & PARTNER
                                   RECHTSANWÄLTE

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                       info@marxerpartner.com · www.marxerpartner.com/en
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                          Exhibit D
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The Balda Foundation

Heilig Kreuz 6

9490 Vaduz

Liechtenstein




                                                                           October 15, 20 l 0.




Dear Sirs,



I her!3bY kindly request you to consider, in your full discretion and subject to your
procedures for review and evaluation of distributions, to grant me a distribution· to
support me with my housing cost and living expenses in general.

Yours sincerely,




                        23, Quai du Mont Blanc, 1201 Geneva, Switzerland



                                                                               CGS&H p. 6
                                                                                BSGR_LCIA_2_0037276
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      CIRCULAR LETTER RESOLUTION OF THE FOUNDATION COUNCIL OF


                                 BALDA FOUNDATION
                                      October 18, 2010.


 Pursuant to § 7 of the Statutes of Balda Foundation, Vaduz, dated 12/19 June and 1 July
 2009, the content of any beneficial interest as well as the prerequisites and the procedure of
 an eve'ntual appointment of funds and/or income to Beneficiaries are subject to the absolute
 discretion of the Foundation Council as shall be resolved in the manner determined
 thereafter and in the By-laws.

 Pursuant to Art. II. 1. of the By-laws of the Foundation dated 12 December 2005, the power
 to appoint a beneficial interest is vested in the Foundation Council. It is in the Foundation
 Council's free and absolute discretion to decide from time to time whether, when and for the
 benefit of which member(s) of the Class of Beneficiaries of the Foundation distributions,
 grants or other benefits shall be made or awarded, to what extent, in which shares and
 proportions and in which manner distributions, grants or other benefits shall be made or
 awarded and whether any distribution, grant or other benefits shall be made or awarded to
 the debit of the principal assets of the Foundation and/or the income thereof.

 Pursuant to the statutes of the Balda. Foundation, the Foundation Council may pass
 resolutions in writing on proposals. Such resolutions by circular letter require the unanimous
 consent of all members. Substitution is not permitted.


                                       RESOLUTIONS:


 Further to the written request received from Mr Beny Steinmetz on October 15, 2010, in due
 consideration of the above and in exercise of the powers conferred upon us we have
 considered to make a distribution to Mr Beny Steinmetz to support him with his housing cost
 and livelihood in general.

 Therefore, we hereby unanimously resolve as follows:

 •   To appoint as beneficiary Mr Beny Steinmetz for an amount of US$ 1,000,000
                    '
                   /
 The distribution /bf the mentioned benefit will be effected according to the appointed
 beneficiary's request.




 Me Marc Bonnant




 Rothschild Trust'Guernsey limited




                                                                                 CGS&H p. 8
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                               BALDA FOUNDATION
                                         (the "Foundation")


            MINUTES OF THE MEETING OF THE FOUNDATION COUNCIL

                                  held on July 1, 201 O at 11.30h
                                     in Vaduz, Liechtenstein



   Notice:           Notice to this meeting was waived by all persons entitled thereto.


   Present:

   Foundation Council ;

       11   Dr Peter Goop (''PG")
       11   Me Marc Bonnant ("MB")
       11   Rothschild Trust Guernsey limited, represented by Messrs Robert
            Payne ("RP") and Richard Baldock ("RB")

   By invitation ;
       •    Mr. Jesus Cortes ("JC") of Marxer & Partner
       •    Mrs. Sandra Merloni - Horemans ("SMH") of Onyx Financial Advisors
            limited
       •    Mr. Dag Cramer ("DLC") and Ms. Melissa Chapman ("MC") of BSG
            Management Services limited
       •    Mr. David Clark ("DMC")




            1. Waiver of the convening notices
            2. Ratification of'the Board Minutes of November 25, 2009
            3. Review and approval of the financial statements for the period ending
                December 31, 2009
            4. Review and ratification of historical overview for the period 2002 to 2009
            5. Review of treasury and cash forecast report
            6. Review of treasury policy
            7. Investment proposal; BSG Mercury
            8. Review of charity report and proposal
            9. Review and ratification distributions report
            10. Discussion on increase advisory fees for Mr B. Steinmetz
            11. BSG Management Service Companies ; Review Cost Report 2009
            12. Review and discussion Onyx Bonus Payment Proposal
            13. Miscellaneous




                                                                                  CGS&H p. 17
                                                                                    BSGR_LCIA_2_0037287
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   1. Introduction / General comments

   After being confirmed that there was a quorum in accordance with the Statutes of the
   Balda Foundation (hereinafter referred to as the "Foundation"), the meeting was
   declared open and it was said that it had been called to discuss the agenda as
   mentioned above. PG was elected chairman and SMH was appointed as secretary.




   After review, it was decided to approve the following resolution ;



          The minutes of the meeting of the Balda Foundation dated November 25,
          2009 were ratified by the Members of the Foundation Council._



   The financial statements of the Balda Foundation as of December 31, 2009, as were
   presented and as approved by the Board of Directors of NYSCO Management Corp.,
   were presented to the Foundation Council for discussion and approval.

          Resolution

          It was agreed to approve the financial statements as of December 31,
          2009.



   DLC presented the Foundation Council Members with an update in respect of the
   current and proposed investments within the underlying structures of the Foundation.
   It was suggested that the Foundation Council should acknowledge the decision of the
   Board of Directors of "NYSCO Management Corp." in respect of the current and
   proposed investments as detailed in the investment report and the financial
   statements of December 31, 2009.

          Resolution:

          It was agreed to acknowledge the decision of the Board of Directors of
          NYSCO Management Corp. in respect of the current and proposed
          investments under the Foundation.



   DLC presented the Foundation Council with a historical overview of the results and
   variation in the NAV of the Balda Foundation during the period 2002 to 2009, as were
   presented and as approved by the Board of Directors of NYSCO Management Corp.

          Resolution :

          After discussion, it was agreed to approve and ratify the historical
          overview for the period 2002 to 2009.




                                                                            CGS&H p. 18
                                                                               BSGR_LCIA_2_0037288
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    MC presented the Foundation Council with the treasury and cash forecast report for
    201 O as was included in the board pack

           Resolution:
           After discussion, it was agreed to approve the treasury and cash report
           for the year 201 o.
   7.

   MC presented the Foundation Council with the draft Treasury Policy (as discussed
   during previous meetings) and recommended that this be approved and adopted by
   the Foundation Council in respect of the Foundation and its subsidiaries.

           Resolution:
           After discussion and review, it was agreed to adopt the Treasury Policy
           (which shall be included in these minutes as Annex A).
    8.

   Following receipt of the proceeds from the transaction which BSG Resources Ltd
   concluded with Vale in respect of BSGR's iron ore project in Guinea, and the
   subsequent substantial liquidity in the foundation, DLC confirmed to the Foundation
   Council that the group was actively reviewing opportunities (in capital markets) to
   conservatively invest on a long term basis. He subsequently introduced the
   Foundation Council to Mr Nie Spicer ("NS") as BSG's analyst with BSG Capital
   Markets in London.

   NS presented the Council with a proposal for a segregated investment portfolio as
   was included in the board pack; he explained the recommendations and processes
   for setting up endowment type mandates for a selected group of managers which will
   focus on long term real capital appreciation.

           Resolution:
           After discussion, the foundation council agreed in principle to approve
           the proposal and method for setting up a segregated investment
           portfolio and agreed with DLC and NS that they will provide the
           foundation council with an update on the selection of (and allocation to)
           the managers as well as proposed benchmarks for the portfolio.
   9.

   The Foundation Council discussed the report on the charities which was included in
   the board pack.

           Resolution:
           After discussion, the foundation counci.1 approved the report and agreed
           to continue supporting the proposed children's charities.




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   The Foundation Council reviewed the distributions made during the period 2004 to
   June 2010 to both Mr Beny Steinmetz and Miss Merav Steinmetz. PG requested MC
   to change the denomination of the distributions made to Mr Steinmetz to support him
   with his living expenses in Switzerland to which she agreed.

          Resolution :

          After discussion, the Foundation Council reconfirmed all distributions
          made to Mr Beny Steinmetz and Miss Merav Steinmetz during the period
          2004 to June 2010.

    11.

   At the request of DLC, the Foundation Council considered the proposed increase of
   the advisory fees, payable under the advisory contract between Mr Beny Steinmetz
   and the Balda Foundation dated January 1, 1998, back to the level before April 2008;
   in effect, representing an increase from the current amount of WSD 300,000 per year
   to USD 400,000 per year.

          Resolution :

          After discussion, the Foundation Council (a) approved the proposed
          increase in advisory fees for the services provided by Mr Beny
          Steinmetz and (b) agreed to authorise Mr Marc Bonnant to represent the
          Foundation and to execute, on its behalf, the corresponding addendum
          to the advisory services agreement between Mr Steinmetz and the
          Foundation, which shall have effect as from July 1, 2010 (which shall be
          included in these minutes as Annex B) .



   Following the substantial increase in the foundation's assets, the Foundation Council
   considered to increase the fees of each of the foundation council members from CHF
   50,000 to CHF 80,000 (this last amount representing the level of the fees before April
   2008).

          Resolution :

          After discussion, the Foundation Council approved the proposed
          increase in foundation council fees, which increase shall have effect as
          from July 1, 201 O.



   DLC presented the Foundation Council Members with an update on the 2010
   expense report of the BSG management companies which continues to show a
   continued decrease in comparison to the 2008 and 2009 budgets.

          Resolution:

          After discussion, it was agreed to ratify the 201O expense budget and
          report of the BSG management companies.




                                                                              CGS&H p. 20
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   The Foundation Council confirmed having received the proposal to grant Onyx
   Financial Advisors Limited ("Onyx") a bonus payment. In view of the significant
   growth in the foundation's NAV (and as reflected in the financial statements), the
   Foundation Council considered to remunerate Onyx in recognition for their efforts, by
   payment of a bonus equal to 0.5% of the funds received by the Balda Foundation at
   the time of the closing of the Vale transaction.

          Resolution:

          After discussion, the Foundation Council approved to grant Onyx
          Financial Ad�isors Limited a bonus payment of USD2,500,000.

   There being no further matters to discuss, the Meeting was declared closed and in
   presence of the afore mentioned attendants this document was executed.




                                                                             CGS&H p. 22
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      CIRCULAR LETTER RESOLUTION OF THE FOUNDATION COUNCIL OF

                            BALDA FOUNDATION
                                  April 28, 201 0.


Pursuant to the statutes of Balda Foundation, of Heilig Kreuz 6, 9490 Vaduz,
Liechtenstein, the Foundation Council may pass resolutions in writing on proposals.
Such resolutions by circular letter require the unanimous consent of all members.
Substitution is not permitted .


                                  RESOLUTION:


Further to the investment proposal received from Dag L. Cramer on April 28, 201 0 in
respect of the operations of BSG Resources Limited in Guinea, we hereby decide as
follows ;

To approve the entering into by BSG Resources Ltd into a joint venture with Vale
S.A. with respect to the Balda Foundations' wholly (indirectly) owned subsidiary BSG
Resources (Guinea) Limited in relation to the designing, financing, development and
operation of certain iron ore mines in the Republic of Guinea owned (ind irectly) by
BSGR Guinea, the transportation and export of these minerals and the construction
of the        infrastructure and facilities as described in the investment proposal.

For




                                              Peter Goop




                                                                       CGS&H p. 27
                                                                         BSGR_LCIA_2_0037297
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                          Exhibit E
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       C I RC U LAR LETTER RESOLUTION OF T H E FOU N DATION COU NCI L O F


                                   BALDA FOU N DATION
                                          March 3 0 , 201 1 .


 P u rsuant to § 7 of the Statutes of Balda Fou ndation, Vaduz, dated 1 2/1 9 June and 1 July
 2009, the content of any beneficial i nterest as wel l as the prereq u isites and the p roced u re of
 an eventual appointment of funds and/or income to Beneficiaries are subject to the absol ute
 discretion of the Foundation Cou ncil as shal l be resolved in the manner determi ned
 thereafter and in the By-laws .

 P u rsuant to Art. I I . 1 . of the By-Laws of the Foundation dated 1 2 December 2005 , the power
 to appoint a beneficial interest is vested in the Foundation Counci l . It is in the Foundation
 Council's free and absol ute discretion to decide from time to time whether, when and for the
 benefit of wh ich member(s) of the Class of Beneficiaries of the Fou ndation distributions,
 grants or other benefits shall be made or awarded, to what extent, in which shares and
 proportions and i n which manner distri butions , g rants or other benefits shal l be made or
 awarded and whether any d istribution , grant or othe r benefits shall be made or awarded to
 the debit of the principal assets of the Foundation and/or the i ncom e thereof.

 P u rsuant to the statutes of the Balda Fou ndation , the Fou ndation Council may pass
 resol utions in writing on p roposals. Such resol utions by circular letter req uire the unani mous
 consent of al l members. Su bstitution is not perm itted.


                                          RESOLUTIONS:

 Further to our meeti ng with Mr Beny Steinmetz on November 1 7, 20 1 O and s u bsequent
 diSCL!SSions with M r Dag Cram er, in due consideration of th e above and in exercise of the
 powe rs conferred upon us we have considered to make a distrib ution to Mr Beny Steinmetz.

 Therefore , we hereby unanimously resolve as fol lows:

 •   To appoint as beneficiary Mr Beny Steinmetz for an amount of US$ 20, 000,000

                 n of the mentioned benefit wil l be effected according to the appoi nt,




                                                                                    CGS&H p. 51
                                                                                       BSG R_LC I A_2_0037557
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Me Marc Bonnant

Dr Peter Goop

Rothschild Trust Guernsey Limited

                                                                                 March 22, 201 1 .




Dear Council Members,



Further to our conversations over the past few months, I would now like to formalize my request
for a distribution by the Balda Foundation in order to support me to assist Scorpio Real Estate
(an Israeli company under my private ownership) w:i:th its commitments.

I therefore hereby kindly request you to consider, in your full discretion and subject to your
procedures for review and evaluation of distributions, to grant me a distribution in the, amount of
USD20,000,000.

I look forward to hearing from you andappreciate your consideration.
Yours truly




                           23, Quai du Mont Blanc, 1201 Geneva, Switzerlan9-




                                                                                  CGS&H p. 52
                                                                                     BSGR_LC IA_2_0037558
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                          Exhibit F
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 Witness Statement of Benja m i n Steinmetz




      I N TH E MATTER OF AN ARBI TRAT I O N U N D E R T H E ARBITRATI O N R U L E S O F
                T H E LO N D ON I NT E R N ATIONAL COU RT O F ARBI TRAT I O N

                                                    CAS E N O 1 42683

                                                        B ETWEE N




                                                        VALE S.A.

                                                        (C lai mant)



                                                            and



                                             BSG R ESO U RC ES LI M ITED

                                                      (Respondent)




                                                  Witness Statement

                                               B E NJAM I N STE I N M ETZ




 I, B E NJAM I N ST E I N M ETZ, will say as fol l ows:

 I.              I wa nt to make a n u mber of matters clear at the begi n n i ng of th is statement, wh ich I w i l l
                 expand upon later.

2.               F i rst, n either I nor any of the businesses with which I am associated have, to my
                 knowledge, or at my d i rection been involved i n any corruption, b ribery or other crim i nal
                 activities.




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 66.             So while I was aware that Pentler was going to try to ask Ms Tcure to restate the falsity of
                 the allegations she had made and get her to withdraw them again. I never assumed that they
                 would be able get her to withdraw the statements. or that such a withdrawal would lead to
                 the end of the Comite Technique process. I accordingly advised BSGR that it needed to
                 carry on dealing with the allegations contained i n the Cornice Technique letter.

 67.             I did not offer money. through Mr Cilins or in any other way. for Ms Toure to sign a further
                 statement or destroy documents. Mr Cilins did not travel to America on my or BSGR's
                 instructions - or with our authority. He was not authorised by me or BSGR in any capacity
                 whatsoever. When I found out about his arrest I was as shocked and surprised as anyone.

 68.             As to the transcripts of Mr Cilins conversations with Ms Toure, I would say just one thing.
                 (There is much more to say about the transcripts, but I will leave that to submissions from
                 BSGR's lawyers).     It is a very common thing for people to speak as if they have my
                 authority. when they do not. I have experienced it many times. People seek to improve
                 their position in a negotiation by saying they know me, or have access to me or speak with
                 my authority. In truth, no one does. I can't bind any company or organisation and only
                 make recommendations or provide my advice. This is not a form of arrogance, it is just a
                 statement of what often happens. I recognise that I have influence and people may seek to
                 improve their position by claiming an association they do not have. This happens regularly
                 when someone approaches me and says that someone else has said something in my name.
                 There is little I can do about it - except to make it very clear when I do give authority to
                 speak in my name. This was not one of those occasions. I repeat. Mr Cilins did not travel
                 to speak to Ms T cure with my authority, on my behalf or on behalf of BSGR or anyone
                 associated with BSGR.

       F. THE NEGOTIATIONS WITH VALE

69.              Turning now to the deal with Vale, there was plenty of interest in the Simandou project.
                 BSGR was engaged in talks with various third parties about the project. including Chinalco.
                 Once we had ceased discussions with the Libyan Investment Authority and Chinalco, we
                 were in active discussions with Baosteel. Although I now know that there had been some
                 emails a little earlier. for me. Vale's interest came following the lndaba conference in
                 February 20 I 0, after which Vale conducted a site visit of Simandou blocks I and 2. After the
                 site visit, although I am not sure exactly when. Eduardo Ledsham met with me and Mr
                 Cramer in London and suggested a deal. I now cannot recall the details of what he
                 suggested. but I do remember that I countered with a proposal similar to the deal which
                 was eventually done. Mr Ledsham said he would have to discuss it with the Vale



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                 management. He came back the next day and said that Vale was indeed interested in a deal
                 on those terms.

 70.              From that expression of interest until completion BSGR and Vale worked at great speed to
                 get the deal done. As can be seen from the deal that was done, it suited both parties.
                  BSGR was not desperate to sell and would have found other counterparties if the Vale deal
                 had not come off, but, all the same, we were more than happy to partner with Vale who
                 had the balance sheet and experience to take the project forward. In fact, the negotiations
                 went very well. Although intense, they were conducted in a cooperative and constructive
                 spirit. The deal meant much more to us than the $500 million payment: we also saw it as a
                 deal to secure the project in the long term. Only a large corporate with a strong balance
                 sheet had the financial capability to commit the US$ I O billion plus and complete the project.
                 Accordingly, the greatest success of the deal for BSGR was that Vale committed to
                 providing the funds, even though the cost of that funding was so high at 1 6%.

 71.             I was involved in the headline commercial negotiations, although my contributions, as
                 always, remained subject to the board's approval and I made that clear to Vale several
                 times.   The deal was very intensive and the BSGR team spent many hours and days in
                 meetings with Vale and with the two teams of lawyers first in Brazil and then in London.
                 Negotiating and getting deals done is one of the areas where I am able to provide real value
                 for the BSG group and I accordingly played a role in these negotiations with Vale. BSGR
                 board members, such as Mr Cramer, were fully involved and the board was kept updated
                 constantly. The BSGR "team" was split and different people were involved in different
                 strands. Mr Struik, for example, was dealing with all of the technical issues while Yossie
                 Tchelet dealt with the financial due diligence. I would have had nothing to add to these
                 conversations and was not involved with them.

 72.             I attended the initial meetings with Vale in Rio de Janeiro in March 20 I 0.          Daniella
                 Chimosso dos Santos, Vale's senior lawyer. was in all of the meetings but the focus was
                 always commercial. As one would expect, these meetings were cordial and concentrated
                 on the business opportunity. The impression Vale gives of them in their statement of case,
                 that the sole or main content of the discussions surrounded how BSGR obtained its
                 licences and FCPA type enquiries, is entirely false. Had that been the principal topic of
                 conversation it is unlikely that negotiations would have progressed very far given the tone
                 that that would have set. Instead we spoke about the opportunity. Vale was as keen to
                 impress as BSGR was, if not more so. They took every opportunity to tell us about their
                 operating and marketing capacities and wanted to give the impression that they were the




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                 best in the world. They were also keen to explain that they were knowledgeable about the
                 geology of the Simandou region because of the geological similarity to its Carajas mine in
                 Brazil - which the BSGR team, at Vale's invitation, went to visit.

 73.             In addition I met with Roger Agnelli, then Yale's CEO, several times. We got on well and
                 discussed this deal as well as several other possible deals between Yale and BSGR. Mr
                 Agnelli, Jose Martins, Clovis Torres and other senior managers were all very complimentary
                 about the work BSGR had done on the ground in Guinea. They told us that we had done a
                 world class job in a very short time. Shortly after we had completed the Yale deal, Mr
                 Agnelli, Mr Etchart, Mr Cramer and I took a trip to Panama together where we dined with
                 the President in order to discuss a possible Panamanian copper project that BSGR had
                 sourced previously and had already spent time and money looking into. I had suggested it
                 to Mr Agnelli as another deal BSGR and Yale could do together. Mr Agnelli told me that he
                 had looked at the mine twice already and rejected it each time. However, he said that
                 because I had asked he would look at it again, and make the effort to come to Panama with
                 Mr Etchard to have dinner with the Panamanian President. We got as far as signing a
                 memorandum of understanding with Yale in relation to this deal, although it then did not go
                 ahead because there was, if I remember correctly. some kind of land rights dispute with
                 local people around the mine. I was also invited co the opening of Yale's coal mine in
                 Mozambique where I was presented to the President of Mozambique as Yale's esteemed
                 partner in its Guinea project and BSGR brought to their attention other possible deals,
                 including. for example, in Africa. Russia and Kazakhstan. Relations between me and Mr
                 Agnelli. and between Yale and BSGR more generally. were very friendly and cooperative
                 and there was plenty of goodwill. Indeed the collaboration between a very large
                 corporation and a smaller company with an entrepreneurial spirit was a great combination.

74.              Later, once the Government of Guinea started its campaign against us and before he was
                 replaced, Mr Agnelli called me to tell me that George Soros had just called him. It was
                 soon after Rio Tinto had paid US$700 million to stay in Guinea. Mr Soros asked Mr Agnelli
                 to meet him and Mr Agnelli wondered whether I should go with him but, in the end, went
                 alone. He reported back to me that Mr Soros had told him that the Simandou project was
                 in jeopardy but that the issue could be solved by paying the government US$500 million.
                 Mr Agnelli wanted co know what I thought. I told him that I would recommend refusing
                 that deal - or anything like that. BSGR had done nothing wrong. Rio Tinto, on the other
                 hand, did not have a licence and had behaved terribly while they were in Guinea which
                 were reasons why they had no choice but to pay if they wanted to stay in or return to the
                 country. Not only had we acquired all our rights properly, we were committed to investing



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                 US$ I bil lion into the co u n try in respect of the Trans-Gu inean railway, as wel l a fu rther
                 US$ I O b i llion in the project itself. We should not be extorted to pay any more.

 75.             Val e refers to rumou rs about my reputation i n the diamond busi n ess i n Africa.20 They do
                 not substantiate the allegations.     I bel ieve I and our diamond business have an excellent
                 reputat i o n and know of nothi ng that would suggest otherwise. I n any case, this was not
                 mentioned to u s at the time and I can only imagi ne Vale refer to it now sim ply co attempt
                 to d iscred it BSGR.

 76.             The FCPA/ABL due d i l igence was an important strand of a deal that contai ned many strands
                 of wo rk. It was no more prominent than normal i n this type of deal. I n any case, BSG R and
                 I were only too happy to an swer the questions and provide the i nformation and comfort
                 req u i red.


 77.             As co my involvement in th is aspect of the deal, I remember, of cou rse, being asked to s ign
                 and sign i ng the anti-bri bery certificate that was requi red by Vale.      I do not spec ifically
                 remem ber sign i ng the document itself but am confi dent that I read it at the time as I wou ld
                 have real ised it was an important document. I a l s o would have taken advice on i t s contents
                 from our lawyers on th e deal. Skadden . Looking at it again now, I was quite correct to sign
                 it. Based on my knowledge both then and now, it is true.

 78.             The only other aspect of the negotiations that related to the FCPA issues that I recall was a
                 short deli beration that I participated i n about whether the Pentler relationship should be
                 d isclosed . I cannot remem ber if it was someone from the BSG R side or Skadden themselves
                 who mentio ned it fi rst. Skadden knew th e relationship we had with Pentler becau se they
                 had a.d vised o n the d ispute I refer to above. I was am bivalent as to whether Pender should
                 be d isclosed, and li stened to th e advice that was given. Th e advice was that we did not have
                 to d i sclose the relationship. They were our former partner and shareholder in the busi n ess
                 and the existence of a m inority shareholder in the business was a matter of record from
                 th e accou nts and elsewhere. As to M s Toure or lbrahima Tou re o r the Pender owners as
                 i n d ivi d uals, that question d id not even occur to us. There was never a relationship with Ms
                 Tou re. The only relationship with M r T cure was as an em ployee (an d this was disclosed).
                 And there was no relatio nship with the Pentler owners as individuals - only with Pentler
                 i tself. I n any case, had the advice been co d isclose the relationship with Pentler, that is what
                 would have been done.

       G . VA LE AND THE GOVE R N M E N T O F L I B E R IA

10
     SoC, para 55 and Witness Statement of Alex Monteiro, dated 29 Jan u ary 20 I 5, paras 36 and 3 7.


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                          Exhibit G
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                                                                    CONFORMED COPY




                                     BSG RESOURCES LIMITED


                                                     and


                                                VALE S.A.


                     _______________________________________________


                         JOINT VENTURE FRAMEWORK AGREEMENT

                     _______________________________________________




                                           Dated: 30 April 2010




 This page is part of the Joint Venture and Framework Agreement entered into as of 30 April 2010 by and
 between BSG Resources Limited and Vale S.A.
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shall be translated into dollars at the Exchange Rate on the day immediately prior to the date of
this Agreement (or, if such date is not a Business Day, on the Business Day immediately
preceding such day).


1.7     BSGR Limitations Exchange Rate. Where it is necessary to determine whether a
monetary limit or threshold referred to in Schedule 5 has been reached or exceeded and the value
of the Claim is expressed in a currency other than dollars, the value of that Claim shall be
translated into dollars at the Exchange Rate on the date of receipt by BSGR of written
notification from or on behalf of Vale in accordance with the provisions of this Agreement of the
existence of such Claim (or, if such day is not a Business Day, on the Business Day immediately
preceding such day). The amount of any sum payable by BSGR in discharge or settlement of
such Claim shall be converted into dollars (where such amount is expressed in a currency other
than dollars) at the Exchange Rate on the date of such amount being agreed or finally determined
("Settlement Date"), provided always that any such sum shall continue to be payable even if
after conversion into dollars the relevant sum at the Settlement Date would be below a relevant
monetary limit or threshold referred to in Schedule 5.


1.8     BSGR Awareness. A reference in this Agreement to "so far as BSGR is aware", "so far
as any BSGR Guinea Group Company is aware" or "to the knowledge of any BSGR Guinea
Group Company" or any similar reference shall be construed as the actual knowledge as at the
date of this Agreement of Yossie Tchelet, Marc Struik, Asher Avidan and David Clark of BSGR,
David Barnett (in his capacity as an external advisor) and Benjamin Steinmetz (in his capacity as
an external advisor to BSGR/the Balda Foundation) (the "BSGR Principals"), together with
such knowledge as the BSGR Principals should have had, taking into consideration their office
and respective duties, had they each made all reasonable enquiry in relation to the matter in
question as at the date of this Agreement.

Section 2.       Sale and Purchase of the Sale Shares


2.1     Sale and Purchase. On the terms and subject to the conditions of this Agreement, at
Completion BSGR shall sell and transfer and Vale shall purchase, or procure that a wholly-
owned subsidiary of Vale shall purchase, for the Purchase Price, all of the Sale Shares free and
clear of all Encumbrances. Full title to, and legal and beneficial ownership of, all of the Sale
Shares, together with all rights and benefits attaching to them, shall pass to Vale or its nominated
subsidiary upon Completion.

2.2     Designation. Vale shall have the right to designate a wholly-owned subsidiary to
purchase the Sale Shares as set out in Section 2.1 by written notice to BSGR to be received no
later than the Completion Date, provided that Vale shall remain responsible for its obligations
hereunder and shall procure that such wholly-owned subsidiary complies with the provisions of
this Agreement, as applicable.




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                   IN THE MATTER OF ARBITRATION NO 142683
                UNDER THE LCIA ARBITRATION RULES BETWEEN:




                                     VALE S.A.
                                                                            Claimant

                                       -and-


                            BSG RESOURCES LIMITED

                                                                         Respondent




               _____________________________________________________

                    WITNESS STATEMENT OF ALEX MONTEIRO
               _____________________________________________________




                                      CLEARY GOTTLIEB STEEN & HAMILTON LLP
                                                                One Liberty Plaza
                                                            New York, NY 10006
                                                                     United States
                                                      Telephone: +1 212 225 2000
                                                       Facsimile: +1 212 225 3999

                                                                      City Place House
                                                                  55 Basinghall Street
                                                              London EC2V 5EH, UK
                                                         Telephone: +44 207 614 2200
                                                          Facsimile: +44 207 600 1698

                                                                 Counsel for Claimant
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      memorialize agreed-upon commercial terms in a transaction agreement, and negotiate the

      other terms and conditions around the transaction. I was first introduced to BSGR by Mr.

      Ledsham during meetings held in Rio de Janeiro, Brazil in early March 2010.


II.   DUE DILIGENCE DISCUSSIONS WITH BSGR

      A.       March 2010 Meetings in Rio de Janeiro

9.    In March 2010, Vale and BSGR held three meetings at Vale’s offices in Rio de Janeiro to

      discuss the proposed joint venture. I attended these meetings with Ledsham, Daniela

      Chimisso (Vale Deputy General Counsel), among others from Vale.

10.   BSGR was represented at these meetings by Beny Steinmetz (BSGR’s principal), Yossie

      Tchelet (Chief Financial Officer of BSGR), Asher Avidan (Chief Executive Officer of

      BSGR and BSG Resources (Guinea)), and David Barnett (internal counsel at BSGR).

11.   One of the main topics at these meetings was understanding how BSGR had obtained its

      rights to Simandou Blocks 1 and 2 after they were revoked from Rio Tinto, despite

      BSGR’s lack of experience in the iron ore mining business and small size relative to

      other mining companies. BSGR was very responsive to Vale’s concerns in this respect.

12.   First, BSGR provided a clear explanation as to why Rio Tinto lost its concession in the

      first place. BSGR explained that Rio Tinto had held the rights covering Simandou

      Blocks 1 and 2 for more than a decade, yet had done very little to develop the area.

      Based on my knowledge of the Guinean Mining Code, which requires certain

      development milestones to be met or else the Government will revoke rights over 50% of

      the areas, it was clear that withdrawal of Rio Tinto’s concession was proper as a

      consequence of its inaction.


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                          Exhibit I
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     To:        'David . Trafford@sc.com'[David . Trafford@sc.com]
     Cc:        Dag Cramer[dag@bsgms.com]
     From:      Beny Steinmetz
     Sent:      Tue 1 3/04/201 0 4:27:45 PM
     Subject:   Re:

     Thanks , we are getting similair answers from our side . I think bottom line , 2% is the right price
     incl client risk .

     ----- Original Message -----
     From: Trafford , David <David.Trafford@sc.com>
     To: Beny Steinmetz
     Sent: Tue Apr 1 3 1 8: 09 : 5 1 201 0
     Subject: RE:

     I hope it is not too late. The person I have spoken to is actually
     called David Tucker (0782732241 3 / dtucker@hatch-europe.com ) and he
     works for Hatch Engineers in London . He is on holiday hence it took a
     while for him to come back to me.

     Tucker said that a fee of USC0.30 (30 cents) per tonne might be
     appropriate, but with current market pricing that is too low and a
     figure of 1 to 1 .5% is more likely. For that price the agent should
     take some payment risk and some financing risk. I nsurance and freight
     would be "spot" depending on whether customers want to buy FOB or C I F .

     A marketing agreement should b e for a short period o f time a n d have
     break clauses. To look at a longer term arrangement and perhaps one
     including exclusivity - it could be geograph ic exclusivity - then the
     agent should work off a lower commission and also give some assurance to
     the producer about volumes. You would want to know who else they act
     for, how successful the marketing arrangements have been and how long
     they h ave been doing it (obviously does not apply in your case).

     A big issue is if the agent is also a producer. How do you know that
     you got the best price / terms / customers for your product. How to
     build a brand for your product in competition with your agent's own
     brand.

     We are going to come back to Dag in answer to h is q uestion . In the
     meantime, I hope that this is helpfu l .

     Kind regards
     David
     +4420 7885 5459 Direct line
     +44 79 1 755 4567 Mobile

     -----Orig inal Message-----
     From: Beny Steinmetz [mailto:beny@onyx-suisse.com]
     Sent: 1 2 April 201 0 1 6 :28
     To: Trafford, David
     Subject: Re:

     David , can your guys be able to tell me what is the right number (%)
     for an off take agreement to be charged by the Buyer . To incl all
     relevant staff ,on buyer , like cumstmer risk responsabilty on payment




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      ,time and legnth of payment , market research and knowledge ( custemr
     base ) etc . .
     What does trading comanies charges normaly ??
     Beny


     ----- Original Message -----
     From: Trafford , David <David .Trafford@sc.com>
     To: Beny Steinmetz
     Sent: Mon Apr 1 2 1 2:33:38 201 0
     Subject: RE:

     I have briefed the team and discussed likely pricing. We intend to send
     you a short (three or fou r pages) presentation tomorrow. Is that OK?
     Kind regards
     David
     +4420 7885 5459 Direct line
     +44 79 1 755 4567 Mobile

     -----Orig inal Message-----
     From: Beny Steinmetz [mailto:beny@onyx-suisse.com]
     Sent: 1 2 April 201 O 1 1 :33
     To: Trafford, David
     Subject:

     David , was good meeting with y . This letter on potential financing on
     thr Guinea project with pricing range is very important . Pis expedite .
     Thanks Beny
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                      Exhibit J
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Press Release / April 19, 2013

DAMNING VIDEO AND CONTRACTS SHOW BSGR WAS LYING IN GUINEA MINING
SCANDAL

   Tweet (https://twitter.com/intent/tweet?text=Damning video and
  contracts show BSGR was lying in Guinea mining
  scandal&url=https://www.globalwitness.org/en/archive/damning-                 Share (https://www.facebook.com/dialog/share?
  video-and-contracts-show-bsgr-was-lying-guinea-mining-                       app_id=1573433759567938&display=popup&href=https://www.globalwitness.org/
  scandal/&via=global_witness)                                                 video-and-contracts-show-bsgr-was-lying-guinea-mining-scandal/)

  DONATE (/EN/DONATE/)                                                    



                                                      BSGR and the former Guinean President's wife




Beny Steinmetz Group Resources says there was no corrupt behaviour in its acquisition of licences to one of the world’s largest iron ore concessions, in
the West African nation of Guinea. It asserts that the wife of a former Guinean dictator had no involvement in its business dealings. All such allegations, it
says, are part of a smear campaign.

Global Witness has seen evidence to the contrary.

A series of secret contracts seen by Global Witness spell out how BSGR promised Mamadie Touré (sometimes known as Mamadie Conté) millions of
dollars and shares in the massive Simandou iron ore concession in return for help in acquiring the licences. Along with the stake in Simandou – a
mountain range in the forested region of southeastern Guinea – Mme Touré was also promised stakes in uranium and bauxite mines that were granted to
BSGR. Mme Touré was, at the time the deals were signed, one of the four wives of Guinean dictator Lansana Conté, who came to power in a 1984 coup,
ruling the country until his death in December 2008. BSGR acquired the licences to Simandou two weeks before he died.

Just as contentious is the allegation by a Guinean mining review committee that BSGR asked Mme Touré to ensure that licences to Simandou were taken
away from the company then holding them – the mining giant Rio Tinto. Blocks 1 and 2 – half the concession - were confiscated from Rio in July 2008,
five months before they were granted to BSGR. The Guinean government said at the time that Rio had not met production deadlines.

A leaked video (http://youtu.be/HOfNE2gZH1o) from a September 2006 meeting held by BSGR – an edited version of which we post online today - shows
Mme Touré at the event with top BSGR o icials. One of those who speak at the event is Frédéric Cilins, an adviser to BSGR who was arrested on Sunday in
Florida, standing accused of obstructing a federal grand jury investigation into BSGR by seeking to destroy the secret contracts.

The FBI arrested Mr Cilins in a sting operation, a er he allegedly tried to pay Mme Touré to hand over contracts she had signed in relation to Simandou in
order for them to be destroyed, according to the indictment. Mr Cilins also instructed Mme Touré to tell the FBI, should she be questioned in relation to
Simandou, that she had no involvement with BSGR, the indictment says.

Mme Touré now lives in Jacksonville, Florida, where she owns three properties. Property records indicate that Mr Cilins and another o icial who has
worked for BSGR may have been tied to the purchase of these properties. Global Witness faxed a list of questions to a number listed as being for Mme
Touré on Thursday evening but received no reply.
BSGR did not 19-11845-shl
              reply to questions e-mailed
                                     Docby46-1Global Witness
                                                      Filed on Thursday a ernoon
                                                             09/09/19       Enteredrelating to its dealings
                                                                                         09/09/19           with Mme Touré.
                                                                                                        18:00:38              Global Witness
                                                                                                                          Exhibits    A-HHhas been
seeking comment from BSGR on corruption allegations since November Pg last
                                                                        67 year.
                                                                            of 216
                                                                                 The company has declined to engage with us, instead saying that our
refusal to provide a pre-publication copy of our planned reports was “deeply suspicious”, and accusing us of orchestrating a smear campaign. BSGR has,
at the same time, been using the law firm Mishcon de Reya – former lawyers to Princess Diana - to try to force us to give up our source material.

BSGR has denied all allegations of corruption and said that it is committed to transparency, saying in a press release of 25 March this year that it
“acquired its exploration and mining rights in Guinea a er a fully transparent and legal process”. In the same statement, BSGR also denounced the
Guinean government as “illegitimate” and said the mining review process was biased and contrary to the Guinean constitution. A er Cilins’ arrest, BSGR
issued a new statement saying that he is not an employee of the company – although in a letter to the mining review committee, BSGR acknowledged
that Mr Cilins has represented BSGR in meetings.

"BSG Resources has over 6,000 employees and operates in 12 countries globally… We are not aware of any allegations against any of our employees,”
BSG Resources said in the statement. “Allegations of fraud in obtaining our mining rights in Guinea are entirely baseless."

The Simandou flip

Global Witness has previously raised concerns about BSGR’s acquisition of blocks 1 and 2 of Simandou, noting the huge profits that the company made
by flipping half their interest on to Vale, the world’s largest miner of iron. BSGR paid nothing for its rights to Simandou and sold 51% of its stake to Vale in
2010 for $2.5 billion. Of this sum, $500 million was paid out immediately, with the remainder to be paid in stages. Even allowing for the $160 million that
BSGR says it invested in Simandou and a neighbouring concession, the profit was immense. The Guinean government’s entire annual budget in 2010
amounted to just $1.2 billion.

BSGR struck the deal with Vale under a period of o en brutal military rule from December 2008. Longstanding opposition figure Alpha Condé was elected
President two years later and, pledging to fight against corruption, launched a review of past mining contracts. The review committee has, among other
matters, written to BSGR with detailed questions over alleged corruption linked to the Simandou deal and the way in which BSGR obtained its blocks.

In November last year Global Witness issued a statement, calling on BSGR to provide full answers to these allegations. Since then, we have seen three
leaked letters from BSGR to the review committee, denying the allegations. In particular, BSGR states in a March 15 letter to the review committee that
that Mamadie Touré was not married to President Conté and that questions relating to her were in any case “not pertinent…. As BSGR has never
approached Mme Touré on the subject of the Simandou project”.

There is an abundance of reports and news articles from the Guinean media stating that Mamadie Touré was one of President Conté’s wives. This is also
accepted as fact by Guinea’s mining review committee. In Global Witness’ opinion it seems unlikely that so many sources in Guinea are mistaken.
Furthermore, it does not seem clear why BSGR would seek to question her relation to the former president if she was in no way connected to the
company.

Still less credible is that BSGR “never approached Mme Touré on the subject of the Simandou project”.

Text, lies and video tape

In the video taken at a BSGR public relations event of 19 September 2006, Mme Touré – in the presence of Mr Cilins and surrounded by military guards, is
introduced to: Asher Avidan, President of BSGR since June 2006; Roy Oron, a senior BSGR o icial who was described in the Guinean press at the time as
being the General Manager of BSGR Afrique and who was CEO of all of BSGR from 1998 to 2007; and Mark Struik, at the time BSGR’s Chief Operating
O icer and currently the CEO of its Mining and Metals Division. The person introducing the BSGR o icials to Mme Touré is her brother, Ibrahima Sory
Touré, then the Vice-President of BSGR’s Guinean subsidiary.

The video also shows Mr Struik announcing, in English, BSGR’s plans to start drilling in Simandou in November 2006 – despite the rights to the
concession still belonging to Rio Tinto and there being no plans for Rio to give them up. Mr Cilins – the suspect recently arrested in Florida - is
interpreting for Mr Struik.

The previous year, BSGR had formally initiated its relationship with Mamadie Touré by agreeing to a “collaboration contract”, which is referred to in a
later termination contract seen by Global Witness. Global Witness has seen a series of other agreements bteween BSGR and a iliated entities. These
agreements include:

--: An undated declaration signed by Mamadie Touré, representing a company called Matinda, that she received $2.4 million, which was payment
stemming from her 2005 “collaboration contract” with a company called Pentler Holdings Ltd, registered in the British Virgin Islands. Pentler Holdings,
registered by the company services firm Mossack Fonseca & Co. was a corporate vehicle that held 17.65% of BSGR Guinea.

It should be noted that the US indictment states that the “cooperating witness” (whom we know to be Mamadie Touré) has acknowledged that she has
received funds at a bank account she controls in Florida.
--: Various promises of payment (it isDoc
               19-11845-shl           unclear  whetherFiled
                                            46-1       all were09/09/19
                                                                honoured, or whether
                                                                              Entered they09/09/19
                                                                                           were subsequently     revised). These
                                                                                                          18:00:38                documents
                                                                                                                            Exhibits     A-HH notably include
a “commission contract” of 27 February 2008, signed by Asher Avidan Pgon68    of of216
                                                                          behalf    BSGR and by Mamadie Touré on behalf of her company Matinda,
saying that “BSG Resources commits to give a total sum of four million dollars as a commission for obtaining blocks 1 and 2 of Simandou, situated in the
Republic of Guinea.” The contract says that “Matinda and Co. commits… to do everything necessary to obtain from the authorities the signature for the
obtaining of the said blocks in favour of the company BSG Resources Guinea.” BSGR “proposes” to distribute the commission in two halves: $2 million
directly to Matinda and the other half to “people of good will who will have contributed to the facilitation of the granting of the said blocks”. The contract
also commits BSGR to building “school infrastructure” in Guinea belonging to Matinda.

A further undated “termination contract” (July 2010, according to one source) that ends the Pentler-Matinda relationship and in which Pentler commits
to pay Matinda “$3.1 million for its part in all the activities carried out in Guinea”. This document is signed by Mme Touré and by an unknown individual
for Pentler.

--: The granting to Mme Touré’s company Matinda of five per cent of BSGR’s Simandou blocks and also to its uranium and bauxite (aluminium ore) blocks
in Guinea.

Florida property

Property and corporate documents related to Mme Touré’s three houses in Jacksonville, Florida, where she moved to a er the death of President Conté,
also indicate a link to BSGR.

One of the properties Mme Touré is listed as owning in Florida’s property records is

4658 Fern Hammock Drive, which was sold 50% to Mme Touré under her own name and 50% to her company Matinda and Co. LLC. The “Articles of
Organisation” for Matinda and Co list its original registered agent as the Aventura, Florida-based lawyer Adam R. Schi man. Mr Schi man is the
registered agent for several companies, including at least two where the owners are listed in a 2012 corporate document as: Avraham Lev Ran, who signs
on behalf of the BSGR vehicle Pentler in a 20 February 2006 “letter of engagement” agreed with Mme Touré; and Mr Cilins. Another company that Mr
Schi man is the registered agent for, FMA USA, also has Mr Lev Ran and Mr Cilins as its owners.

When taken together – the video, the contracts, the property documents and the US indictment – there is compelling evidence that BSGR obtained its
rights to one of the world’s most important mining assets through bribery. BSGR’s replies regarding Mme Touré and Mr Cilins fail to convince. Instead of
answering our questions seriously, the company has resorted to labeling us as part of a plot and refusing to engage with us.

Answers please

As the US Department of Justice investigates the company’s behaviour in Guinea and as the Guinean government persists in asking di icult questions,
BSGR should realise this is not a plot. The issues being raised are serious and matter very much for the people of Guinea, whose lives have for decades
been blighted by corruption.

In light of Mr Cilins’ arrest and the release of this new evidence, it’s time BSGR stopped dodging the questions – and started providing answers.

Contact:

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Simon Taylor: +44 7957 142 121. E-mail: staylor@globalwitness.org

Notes to Editors:

The video discussed in the story above is available on Youtube: http://youtu.be/HOfNE2gZH1o (http://youtu.be/HOfNE2gZH1o)

Global Witness has published two previous press releases on BSGR. See our statement of 16 April, “Corruption arrest in US puts Beny Steinmetz Group
Resources in the frame (http://www.globalwitness.org/library/corruption-arrest-us-puts-beny-steinmetz-group-resources-frame)”, and our statement of
9 November 2012, “Beny Steinmetz Group Resources must publicly address questions over Guinea mining concession
(http://www.globalwitness.org/library/beny-steinmetz-group-resources-must-publicly-address-questions-over-guinea-mining-concession)”.
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                          Exhibit K
11845-shl   Doc 46-1           Filed 09/09/19 Entered 09/09/19 18:00:38                                             Exhibits A
                                         Pg 70 of 216     Exhibit C-3
                                                                                               Confidential
                                                                                  Attorney-Client Privileged
                                                                                     Attorney Work Product

                                         Certification of Benjamin Steinmetz
                !. In connection with the business of BSG Resources (Guinea) Ltd. and/or the
                   transactions between BSG Resources Limited and Vale S.A. contemplated in the
                   Joint Venture Framework Agreement dated                April 2010 (the "Framework
                   Agre<:ment''), I have complied and will comply with the prohibitions of "Anti­
                   Bribery Laws" (Anri-Bnliery Laws include any applicable anti-bribery law, rule, or
                   regulation of any locality, or any other Jaw, rule or regulation of similar pUipOse and
                   effect).

                2. In connection with the business of BSG Resources (Guinea) Ltd. and/or the
                   transactions contemplated in the Joint Venture Framework Agreement, I have not and
                   will not, directly or indirectly including through a third party:
                        a. Pay, offer, promise, or auth.oriZe the payment of money or anything of value,
                           to a Government Official. us aefined below, or to anyone else, while knowing
                           or having reason to believe that any portion oi such exchange is for the
                           purpose of:

                                i. corruptly influencing any act or decision. of such Govemmcnt
                                   Official(s) in their official capacity, including the fuilurc to perform an
                                   official function, in order to assist BSG Resou.--ces (Guinea) Limited or
                                   any other person in obtaining or retaining business, or directing
                                   business to any third party;
                               ii. securing an improper advantage;
                              iii. cotn1ptly inducing such Gove=ent Official(s) to use their influence
                                   to affect or influeoce any act or decision of a Govemmenr Authority in
                                   order to assist BSG Resources (Guinea) Limited or any other person in
                                   obtaining or retaining business, or directing :business to any third party;
                                   or .
       )                      iv. providing an unlawful personal gain or benefit, of financial or other
                                  value, to sucii Govenunent Official(s ).

             "Government Official" means (i) an employee., officer or representative of, or l!il)' petSOn
            olherwise aeting in. an official capacity for or on behalf of, (a) a national government,
            political subdivision then:of; or local jurisdiction therein; (b) an instrumentality, board,
            commission, court, or agency, whether civilian or military, of any of the above, however
            constituted; (c) a govermnent-owned/govemment-controlled association. or�tion,
            business or enterprise; or (d) a P.Olitical party (collectively "Government Authority''); (ii) a
            legislative, administrative, or judicial official, regardless of whether elected or appointed; (iii)
            an officer of or individual who holds a position in a political party; (iv) a candidate for
            political office; (v) an individual who holds any other official, ceremonial, or other appointed
            or inherited position with a government or any of ils agencies; or (vl') an officer or emp!ayu
            of a supra-m.rtional organization (e.g., World Bank, United Nations, Intematioael Monetary
            Fund, OECD).




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                 3. l do not know or have reason 10 believe that BSG Resources (Guinea) Limited, its
                    subsidiaries and affiliates or their respective officers, directors, employees., or anyone
                    acting on their behal.4 or any third party in connection wit.Ii the business of BSG
                    Resources (Guin�) Ltd. and/or the lr.lllSactions conremplated in the Joint Venture
                    Framework Agreement has paid or will pay, offer, promise, or authorize the payment
                    of money or anything of value, directly or indirectly, to a Government Official while
                    knowing or having reason IO believe that any portion of such exchange is for lhe
                    purpose of:
                         a. corruptly influencing any act or decision of such Govemment Official(s) in
                            their official capacity, including the failure to perfoc:n an official function, in
                            order to assist BSG Resources (Guinea) Limited or any other person in
                            obtaining or retaining business, or directing business to 2ny thixd party;
                         b. securing an improper advantage;

                         c. corruptly inducing such Govemmcnt Official(s) to use their influence to affect
                            or influence any act or decision of a Government Authority in order to assist
                            BSG Re.sources (Guinea) Limited or my other person in obtaining or retaining
                            business. or directing business to any third party; or
                         d. providing an unlawful personal gain or benefit, of financial or other value, to
                            such Government Official(s).

                 4. With respect to my current and future activities in connection with the business of
                    BSG Resowces (Guinea) Ltd. and/or the transactions contemplated in the Joint
                    Ventme Framework Agreement, if any, 1 will comply with the BSG Resources
                    {Guinea) Llinited Anti-Bribery Compliance -Program to be provided by Vale S.A.

             I agree to immediately notify the Vale S.A. if subsequent developments cause the
             certifications and information reported hereinafter to be no longer accurate or complete.



       :)




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                          Exhibit L
Beny Steinmetz reveals all cards                                                                                       Page 1 of 9
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                          Israel News | Middle East | World | Magazine | Jewish World | Opinion | Culture |
                          Travel | Health & Science | Business | Tech | Art | ‫עברית‬


  Weather: 28C       Tel Aviv-Jaffa                                                                                 web




                          Beny Steinmetz reveals all cards
                          World's richest Israeli breaks years-long silence, opening up                                              yed in a frame
                          about allegations of bribery in Guinea to get concessions,
                          rivalry with American tycoon George Soros, running away from
                                                                                                                                     mation you enter
                          media, complicated relations with birth country
                                                                                                                                     t does not allow
                          Tsach Shpitsen | Published: 06.30.13 , 07:27
Beny Steinmetz
Photo: Sivan Farag        "Am I an Israeli?" Beny Steinmetz wonders out loud. "That's a good question."

                          Sitting at the table, speaking in a swift flow of Hebrew and heavily-accented
    facebook              English, Beny Steinmetz seems as Israeli as falafel. His gaunt, jeans-clad
                          visage and his direct and often impatient talk do not betray his immense
    print                 wealth.
    send to friend                                                              But the occasional offhand
    comment                 Alleged Corruption                                  way in which he talks about
                                                                                billion-dollar deals in exotic
                            US arrests man linked to Israeli tycoon in Africa   countries and his personal
                            graft probe                                         acquaintance with African
                            Reuters                                             rulers hint at his ranking at
                                                                                the top of the world's
                            Beny Steinmetz' rep in Guinea charged with          wealthiest individuals.
                            obstructing investigation into potential illegal
                            payments made to obtain mining concessions in  Considered the richest
                            West African country                           Israeli in the world,
                                                                           Steinmetz's shying from the
                                                                           public eye has shrouded
                          him in mystery, deepened even more by the nature and location of most of his
                          dealings, which stretch from Sierra Leone to Kosovo.

                          Unlike fellow tycoon Lev Leviev, who often deigns to expound on his business
                          with the media, Steinmetz keeps to behind the scenes, even while leaping
                          between his Israeli estates to his businesses worldwide.




https://www.ynetnews.com/articles/0,7340,L-4398445,00.html                                                                9/9/2019
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                 Unlike Leviev, avoids talking to media (Photo: Zvika Tishler)


                 It is during his current leap to Israel, for the purpose of visiting his son who
                 serves in an infantry regiment in the IDF, that Steinmetz has
                 uncharacteristically agreed to this interview, one of the few interviews he has
                 given in his life.

                 This irregular decision to break his long silence was not without motive.
                 Steinmetz and his company, BSGR (Beny Steinmetz Group Resources), are
                 currently embroiled in an alleged corruption affair in Guinea, Africa, and the
                 taciturn tycoon is anxious to defend his and his company's good name.

                 According to suspicions, BSGR, a mega-corporation involved in resource
                 mining, including diamonds, gold and iron, bribed top government officials to
                 receive prospecting concessions in the poor African country.

                 One of BSGR's Guinea partners is currently standing trial in the US, and the
                 affair is closely followed by the world's economic media.

                 Therefore, the media-shy Steinmetz is now haunted by his name, and his
                 photograph appears next to snappy headlines on corruption in Africa, in an
                 affair in which every detail is closely scrutinized and reported.

                 To this interview he arrived without an entourage, accompanied only by the
                 Dutch CEO of BSGR, and without preconditions, armed only with his
                 convictions.

                 At the outset, Steinmetz clarified that he was not adept with the details of the
                 affair ("I don't get down to the ground much in Guinea"), but as the
                 conversation progressed he exhibited an impressive familiarity with every
                 aspect and document related to the affair.

                 It's clear he is troubled. "I was dragged into an insane situation," he says, "and
                 I want to paint a clearer picture."

                 'Middle-class must be taken care of'
                 Steinmetz, 57, was born in Netanya. His father was one of Israel's pioneers in
                 the diamond industry, and his son promptly followed in his footsteps after his
                 army service.

                 Today, 36 years later, he runs a diamond and iron mining empire, and deals in
                 real estate, gas and oil, as well.

                 His company, BSGR, has a unique corporate structure: It's controlled by a trust
                 fund, of which Steinmetz is a beneficiary. Thus, he does not fill any official role
                 and is "uninvolved," he claims, in the corporation's management.

                 He prefers to call himself an "advisor" or "emissary" for the group. "I don't
                 make decisions in BSGR," he reiterates. "The group works in many countries
                 and has a very varied activity. I'm not involved in all the activities, but only
                 advise in those I can contribute of myself and of my connections."

                 The question of Steinmetz's ownership over BSGR, as well as the issue of his
                 Israeli citizenship, has been making the Israeli Tax Authority (ITA) busy over
                 recent years.




https://www.ynetnews.com/articles/0,7340,L-4398445,00.html                                                      9/9/2019
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                 According to the ITA, Steinmetz has devised an exceptionally creative tax
                 construction for the corporation, thanks to which he pays too low rates; but
                 Steinmetz claims his tax plan is completely legitimate and stands to all trust
                 fund taxation laws.

                 Unrelated to taxation, do you define yourself as Israeli?

                 "I was born here, I went to the army here. My children grew up and went to the
                 army here. I feel international-Israeli. I also have a French passport."

                 Why don't you leave Israel completely, especially in light of your dispute with
                 the Tax Authority? You have your businesses in Switzerland. Live there.

                 "I do live there. I don't live here."

                 But you still have a home in the community of Arsuf.

                 "What does that have to do with it? I don't have businesses in Israel. My
                 businesses here were no great success. I love this country like any Israeli, but
                 that doesn't matter. There are many Israelis who live abroad and love the
                 country."

                 Are you emotionally connected to Israel? Do you care what happens here?

                 "Of course I care, but I don't read Israeli newspapers regularly."

                 Do you vote?

                 "No. I don't have an Israeli driver's license or an Israeli ID card."

                 What do you think about the Israeli anti-tycoon wave?

                 "I'm not involved. I think it's unnecessary, that it's a shame. I don't think
                 capitalism has been exploited here, though I must say I'm not very familiar with
                 the Israeli market. I don't live here and I'm not involved, but I think anything like
                 hatred and populism isn't right.

                 "It isn't restricted to Israel, but happens in other countries too. I think success is
                 a good thing, not bad, and I know that no one wants a situation here where big
                 businessmen say, 'I've had enough with Israel. I'm going to invest abroad.' It's
                 very bad for Israeli economy. Success isn't a bad thing."

                 Nonetheless, isn't a change in priorities warranted?

                 "Maybe the system needs an overhaul. Maybe more care should be taken with
                 regard to the poor and the middle class, but hating the rich doesn't help. That's
                 my opinion on the matter, but it's not very informed."

                 'We were naïve'
                 Steinmetz's Guinea adventure began in 2006. BSGR examined the African
                 country – just as it does many other points on the globe – and decided to get
                 into the picture. Guinea, a former French colony on western Africa, is one of
                 the world's poorest nations. Despite the huge potential of its natural resources
                 – including gold and iron – most of its nine million citizens are illiterate, and
                 their life expectancy is below 50 years.

                 In 2006, BSGR bid and won two concessions to prospect for iron ore in
                 eastern Guinea. They soon made an impressive discovery in a region called
                 Zogota. "We were very excited," smiles Marc Struik, in charge of natural
                 resources in the firm.

                 "We thought this is a very serious find. At the time, iron ores was a highly
                 valued commodity, and we estimated there were billions of tons of high-quality
                 iron ore. In the end it was much less, but still it's a very special find."

                 In 2008, Guinea saw a dramatic course of events: The government decided to
                 take part of the mining concessions owned by the Rio Tinto company – an
                 Australian mining giant which held the rights for 12 years – in an area called
                 Simandou, one of the world's largest iron-ore deposits.

                 BSGR seized the opportunity, filed a request for the prospecting concessions
                 in the area and on December 2008 outbid its competitors and won the coveted
                 concession.

                 But the deal was crooked, say the firm's detractors: BSGR got the concessions
                 for a paltry sum. They say the company paid nothing – except for ridiculously
                 low tolls – for a huge golden egg, rare resources which belong to the destitute
                 Guineans.

                 Steinmetz chuckled. "It's the same all around the world," he said. "It's exactly
                 like no one pays anything to the State of Israel for the right to prospect for gas,
                 but only royalties and taxes for the gas itself.




https://www.ynetnews.com/articles/0,7340,L-4398445,00.html                                                         9/9/2019
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                 "When you sell a prospecting concession you're only selling potential. You pay
                 tolls for the right to invest and look for something."

                 How come you won the concession? There were other bidders.

                 "We proved to them the company works fast, employs a lot of personnel, that
                 we have engineering and financial capabilities and that we came to do
                 business. The government had a lot of positive data on us."

                 In April 2010, less than two years after winning the concession, BSGR closed
                 one of its largest deals, and inadvertently supplied its detractors with more
                 ammunition: It partnered up with Brazilian mining giant Vale, which bought
                 51% of the Guinean project for a gargantuan $2.5 billion – $500 million of
                 which Vale promptly anted up.

                 Not bad for BSGR's initial investment of only $160 million, but also, according
                 to Steinmetz, where the troubles began.

                 "The problem started probably because of grudge over the sale to Vale.
                 People were saying the BSGR bought property for $100 or $200 million and
                 sold it for $5 billion. It's not true: It sold 10% for $500 million with an option to
                 rise to 51% for an addition $2 billion."

                 Equipped with a cash-rich partner, Steinmetz's people continued to work
                 vigorously at the promising Guinea project. But meanwhile, the country saw a
                 regime-change: Incumbent President Alpha Condé was elected and with him
                 the positive atmosphere the corporation enjoyed rapidly evaporated.




                 Guinea President Alpha Conde (Photo: AFP)


                 "At first we were glad about the elections," Steinmetz says bitterly. "We saw
                 that the leader of the Junta which controlled the country relinquished his power
                 with dignity, and we thought it was a good sign for the region's stability. We
                 were naïve."

                 Can you put your finger on the point in time where you think things started to
                 go wrong?

                 "I recall in 2011 the company held a ceremony, with Vale's CEO and former
                 Brazilian President Lula da Silva in attendance. The Guinea project CEO
                 approached me and said, 'Listen, son, there's something strange going on.
                 They haven't invited BSGR to sit with Lula and the president, Alpha Condé.

                 "I was there as the company's emissary and I didn't think too much of it, but the
                 CEO immediately realized something was wrong."

                 The second portent appeared two weeks later, when Alpha Condé
                 unexpectedly halted BSGR's works on a train in Guinea, due to its commitment
                 to develop infrastructure in the country as part of the concession deal.

                 "They said they want to cease the operations because the price is too high,"
                 Steinmetz said. "Do you understand how chaotic that place is? What do they
                 care how much it costs; the company gave it for free! Moreover, it wasn't too
                 expensive. After all, in charge of the operation was one of Brazil's largest
                 construction firms, one of the largest in world, not some anonymous contractor.

                 "All of a sudden they started saying nonsense such as, 'The train is too narrow,
                 we want it wider.'




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                 "There was another thing. There was a Vale dinner which I attended, in which
                 Lula, who just finished his presidency, asked the Guinean president how he
                 intended to get finance for his country.

                 "What did Alpha Condé answer? He said, 'I'll go to my friends – Muammar
                 Gaddafi, Ahmadinejad and Hugo Chavez – they'll help.' Do you understand what
                 this is about? You must understand: In countries like Guinea, the president is
                 everything. It's Alpha Condé."

                 'It's utter garbage'
                 The bomb exploded for BSGR on October 30, 2012 in the form of an official
                 letter from a committee that examines contracts and concessions in the
                 resources area in Guinea.

                 The committee was established by the new regime with the express purpose of
                 investigating all the mining contracts signed between the state and private
                 businesses.

                 Under the title "Accusations," the committee listed a long series of harsh
                 allegations of corrupt conduct by BSGR.

                 Among others, the company was accused it had given precious gifts –
                 including a miniature model of a diamond studded car – to Guinea's former
                 mining minister, and paid a sum of $2.5 million in cash to a woman named
                 Mamadie Touré, who was romantically involved with President Condé.

                 The allegations painted a serious picture: BSGR's concessions to prospect for
                 iron in Simandou and in other regions were allegedly obtained by corrupt
                 means.

                 "This letter is a joke," Steinmetz raged. "All the committee members are the
                 president's puppets. It's a ridiculous and deceitful report. All this nonsense that
                 we gave away watches, cars."

                 But you really did give a diamond-studded car.

                 "It's true, the company gave a small model of a diamond-studded car in a
                 formal ceremony, in front of a TV camera in the presence of dozens of people.
                 It's a standard corporate gift by BSGR, worth $1,000. In production costs it was
                 $700. We gave over 50 such gifts worldwide. Come on, isn't this a joke?"

                 And the watch you gave former President Condé?

                 "We never gave any watch. It's utter garbage."

                 The committee noted a meeting that took place between you and former
                 president Condé in a Geneva hospital, where he was hospitalized. They claim
                 you went there to convince him to give you the concession.

                 "I was never in a hospital in Geneva, never in my life. Even if you kill me, I
                 wouldn't know how to get to a Geneva hospital. It's a joke."

                 This is where Frederic Cilins comes in, the man who will move the story from
                 Guinea to New York. The Americans got involved in January 2013, after they
                 became suspicious that sources within BSGR are involved in bribery in
                 Guinea; apparently they suspected money laundering and questionable money
                 transfers from Africa to the United States.

                 For the purpose of the investigation, the FBI enlisted Mamadie Touré, the
                 president's lover.

                 Touré had numerous phone conversations with Frederic Cilins, a French
                 citizen who was BSGR's partner on the Guinea project. In these talks, which
                 Touré recorded for the FBI, Cilins is heard pleading with Touré to destroy
                 documents which allegedly pertain to the bribery affair in Guinea, and
                 promises her millions of dollars in return.

                 In April 2013, Cilins was arrested by the FBI in a Florida airport, and 10 days
                 later an indictment was filed against him on charges of obstructing justice and
                 incitement to perjury.

                 In one of the recording, the FBI claims, Cilins specifically names Beny
                 Steinmetz. Following is a transcript, released here for the first time, of one of
                 the phone conversations:

                 "I went especially to meet him (Steinmetz), and talk to him about all this in a
                 very clear way. I told him last week: 'Touré will never betray you. Touré will
                 never give the documents. He told me, 'That's fine, but I want you to go and
                 see – I want you to destroy these documents.'" The American prosecutor also
                 noted that Steinmetz and Cilins were very close.

                 Do you know Frederic Cilins?




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                 "I met him three or four times, after the Vale deal was closed."

                 The prosecutor said you were close.

                 "Am I close with anyone? This is completely false data. Simply untrue.
                 Anyway, I shouldn't discuss matters which are currently under investigation. I
                 was not approached by anyone, it's all hearsay and someone is running a
                 campaign."

                 What's the explanation?

                 "Let Cilins explain. He's in court. What there is are plenty of news reports, a lot
                 of media and a lot of gossip. I'm not aware that there are any questions related
                 to me or the company."

                 Cilins claims Mamadie Touré tried to extort BSGR. Is that true?

                 "I can tell you this: The company was the target of numerous extortion
                 attempts. We never surrendered to these attempts. We buffeted them
                 resolutely."

                 In a letter sent to you by the Guinea committee it was claimed Mamadie Touré
                 got $2.5 million from you.

                 But Steinmetz denies the allegation vehemently. "I'm not the issue here," he
                 says. "The issue is that neither BSGR nor I did anything wrong, only good
                 things. The company here is the victim, whose assets are the target of robbery.
                 Let me tell you another thing: I've been working in this field for 36 years: The
                 day after I was released from the army, in 1977, I boarded a plane and flew to
                 Belgium. Since then I worked in over 50 countries, and we never had any
                 problems. There were successes, there were failures, but we never appeared
                 in court.

                 "There, even now, after this affair came about, no one came out and said that
                 this happens to them as well with Steinmetz or with BSGR. If someone is a
                 sexual predator, and someone brave enough testifies against him, usually
                 other women come out and complain too. Not with us. There are no skeletons
                 in the closet.

                 "The company doesn't pay anything to anyone, not one penny to politicians;
                 we simply don't do this kind of things. This is a well-oiled, evil machine which
                 operates against BSGR and me, run by the president and his associates."

                 'Wait, it's not over'
                 Steinmetz points two fingers on the Guinea affair. The first is directed at
                 President Alpha Condé, who he calls "corrupt" and "obsessive." The second,
                 more complex and fantastic, is directed toward billionaire George Soros, the
                 American tycoon who made his fortune on the currency exchange. His worth is
                 estimated at $14 billion, which ranks him among the world's richest men.

                 Soros has several fingers in the Guinea pie. Among others, he gave
                 substantial donations to aid groups in the country. These groups, said
                 associates of BSGR, took part in the change of public opinion against the
                 corporation and stand behind the corruption allegations.

                 According to a Bloomberg report, Soros financed the first investigation against
                 BSGR, which led to the committee's report.

                 "Soros hates us," says an associate of BSGR. "He thought for some reason
                 that Beny mocked him when he lost money in Russia, even though it's not true.
                 He's Alpha Condé's friend, and apart from that, he doesn't like Israel. He
                 donates to a lot of pro-Palestinian groups."

                 Soros himself responded to the claims that he has a personal feud with
                 Steinmetz in an interview with the Financial Times: "I have no business interest
                 in the mining industry of Guinea and have no intention of acquiring any. I have
                 not met Mr. Steinmetz nor have I ever spoken with him. I have no personal
                 grudge against him."

                 Soros is just trying to help the people of Guinea, isn't he? He makes
                 contributions to organizations aiding the Guineans.

                 "Great help. If there wouldn't be business investments in Guinea, none of the
                 citizens would benefit. Investors need to get rewarded for their investment,
                 especially in unstable countries. Even Soros wants to make money when he's
                 investing up against the Pound. To me it's capitalistic hypocrisy, it's nonsense.
                 The social organizations tried to persuade Alpha Condé to issue a new mining
                 bill; if under this law no one would invest, then what is it good for? How is it
                 helping the people? All the major mining companies have left the country."

                 So you're going against the social organizations?




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                 "No. I'm sure that some of them are doing a great job, that's not the issue.
                 What I'm saying is that Guinea has a corrupt leader, who has found a target
                 that's easy to fight. He doesn't think we will fight back; perhaps he is
                 inexperienced with Israelis. It is war, and I'm telling you we will win in."

                 At this point it seems they are beating you.

                 "Who's beating us?!"

                 Soros. The Guinean government. You are now under attack, and your
                 reputation was damaged.

                 "Let's wait until the end. It's not over yet. They may have damaged mine and
                 BSGR's reputation with their accusation campaign, but it's not over."

                 Does it make you regret entering Guinea?

                 "In business you never regret. If I regret, I just sit at home all day and cry over
                 the things I did or did not do. We are businessmen. We are fighters, we are at
                 war and we will win. We will not give these concessions back."

                 Meanwhile, the project in Guinea is stuck.

                 "That's right. Nothing will happen there in the next 10 years, and it's sad.
                 BSGR came to Guinea, invested hundreds of millions of dollars. It could have
                 been possible now to export iron ore after a $10 billion investment. The whole
                 region would bloom. One year of production would have doubled or tripled
                 Guinea's GDP.

                 "What happened there is that a bad president came to power, and for his own
                 personal reasons, he stopped the work. It's all agenda, politics, corruption and
                 tales. The committee that was put together there is fraud; it's not like having a
                 Sheshinski or a Tzemach Committee here, when you know their intentions are
                 clean; these committees were not established to just get Tshuva. It's different
                 in Guinea. It's simply African corruption at its worst, and the terrible thing here
                 is that they mask it as carrying about Guinea."

                 'Some would say I'm cold-hearted'
                 How much does this concern you? Is it an annoying background buzz or an
                 urgent matter?

                 "It's not urgent. I have 11,000 things to deal with. It's more of an annoying
                 buzz. Although it is bad publicity. The company works all over the world, and
                 up until today it had the best reputation possible. In a nutshell, it is a disturbing
                 background buzzing. But it does not keep me up at night."

                 Is there anything that does keep you up at night?

                 "Of course. Everyone has something like that. I'm a family man, and my family
                 is very important to me. But business does not keep me from sleeping."

                 You didn't lose any sleep even after leaving the Isramco partnership just a
                 moment before the natural gas in the Tamar gas field was found?

                 "In retrospect it was a rough business error, but I have a long list of mistakes."

                 Did your gut feeling mislead you?

                 "Whoever only has good gut feelings is probably doing very little. I can tell you
                 about a very long list of mistakes I have made, alongside many successes."

                 You're not the emotional type.

                 "I don't know how to answer that. It's hard for me to characterize myself. I think
                 I'm balanced. Some people might say I'm cold-hearted.

                 And hate the media. And avoid interviews.

                 "That's right. I have no interest in it. It's not because I'm shy or scared, it's just
                 not my style. I don't need it. It angers me that a timed, planned and paid
                 smearing campaign is run against me in the press. We will fight it and we have
                 already won the lawsuit we filed in London."




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                 Idan Ofer, Steinmetz's opponent for world's richest Israeli (Photo: Yaron Brener)


                 Isn't it important for business, to keep in touch with the media?

                 "Not for my business. I was almost never interviewed. The media does not set
                 anything, and the truth is that I don't really care what everyone thinks."

                 The international media, by the way, has yet to determine whether you or Idan
                 Ofer win the title of the richest Israeli in the world.

                 "That's nonsense."

                 With all honesty, how much is money important to you?

                 "I care about my family and I care about the interest, the challenge and the
                 doing. Money is secondary, but of course I have a great privilege to say that."

                 'There are enough anti-Semitic businessmen'
                 "I would want you to know everything, from A to Z. The whole case is slander.
                 It's all nonsense, but unfortunately there's a legal procedure and I can't
                 respond to everything" is what the Israeli businessman Michael Noy claims
                 from France, after his name has also been mentioned in this affair.

                 Noy and Frederic Cilins were business partners in 2006-2008 in BSGR
                 Guinea, and according to the FBI, Noy was involved in an attempt to destroy
                 Mamadie Touré's documents. In a recording that is first revealed here, Noy is
                 heard speaking with Cilins.

                 Noy: "Did she agree to give you everything?" (The FBI claims he is referring to
                 the documents)

                 Cilins: "Yes. It's done."

                 Noy: Really?

                 Cilins: "Yes. I now have everything that was on one side and will have the rest
                 Saturday night."

                 Noy: "That's good. But I believe… that Touré should leave."

                 In another recording, Cilins is heard reporting to Noy that Touré has signed a
                 statement (which was false according to the FBI) in which she had no contact
                 with BSGR. In that same conversation, Cilins reports to Noy that Touré also
                 told him that the US authorities are interested in a compromise.

                 Noy sounds interested in what Touré said to the authorities and how the
                 meeting ended. Cilins responds to his questions and afterwards is heard
                 saying: "We shouldn't talk so much on the phone."

                 "I cannot refer to the content of the recordings because it is under
                 investigation," Noy explains, "but many of the quotes in the transcripts are not
                 in the recordings. There's talk that's half French and half African.

                 "It is also unclear from the recordings which documents they're talking about
                 and why they started recording only in March, and what happened in the entire
                 year that had passed from when we spoke with her and her representatives
                 and found out they were spreading fake paperwork?"

                 Are you claiming that Touré is the one who tried to extort you?

                 "There were several instances in the past year in which she or other
                 representatives approached with the papers to BSGR and requested that they
                 pay fees. Even though we have no relation with BSGR since 2008, they turned
                 to us to help them get out of this mess.

                 "At least 10 people claim they brought on the deal and deserve to get money
                 but that's how it is when you get to Africa. They tell you that there are 10
                 people waiting for you downstairs and you don't understand because you didn't
                 make appointment with anyone and all these people come and say they want




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                 to be your partners. One sells you a forest; the other sells you a mine that
                 doesn't belong to him. That's how it works and it's not because they're bad or
                 deceitful. They're innocent and that's how it works."

                 Noy, 62, turned to the global commodity market at the age of 36. He exported
                 luxury goods, including perfumes, from France to Russia. After that he tried
                 selling medicine to Russia and China. In the mid '90s he met Cilins, and the
                 two formed a company called CW FRANCE. According to him, the company
                 mainly dealt with selling medicine to Africa.

                 "We even sold medicine to the Defense Ministry," Noy claims. "We saved
                 hundreds of thousands of dollars to the State."

                 How did you get to work in Guinea?

                 "We sold drugs all over Africa, not just Guinea. Guinea is a pretty small market
                 of ours. We worked in Uganda, Kenya and Congo."

                 And how did you reach a deal with BSGR?

                 "It was entirely a coincidence since we knew their general manager at the time,
                 Roy Oron, from a previous job in South Africa. Oron asked us whether we work
                 in Guinea and was mainly interested in the area of Simandou."

                 So you were actually the ones to make the connection with Guinea?

                 "Yes, you could say that."

                 What about the allegation that they gave bribes for concessions?

                 "BSGR did not pay a dime. At first they didn't want this business. I pushed
                 them to take it and they did not pay one dime for this contract. They took on a
                 great risk. They did not receive inheritances or gifts. They worked in places no
                 normal person would go to."

                 But the recordings have Cilins talking about Steinmetz and his awareness of
                 the document shredding.

                 "There's just bashing Beny without knowing. I know how they got the
                 concessions. I know that where they invested $200 million where you wouldn't
                 even invest $10. When he said I should invest I told him to do it on his own, I
                 won't put $5 in that place. It's madness. It's all nonsense."

                 The FBI claims that in a
                 strange coincidence, you embarked on a cruise from the US two days after
                 Cilins' arrest?

                 "I, Cilins and Avi Lev Ran (another business partner of the two in BSGR
                 Guinea) had to leave two days after the arrest. I was supposed to go on a
                 cruise to Europe that had been planned three and a half weeks ahead of time.
                 Lev Ran had planned on going on a plane that was booked three weeks in
                 advance, and I intentionally did not want to change anything so that no one
                 would think we were running away. We left as planned."

                 What do you have to say to those writing about this story?

                 "Do not destroy the Israeli reputation. There are enough anti-Semitic
                 businessmen and anti-Israelis who are trying to ruin and make problems for
                 Israeli companies. In this story, 99.9% of what you hear is nonsense."

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                      Exhibit M
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                      DIRECT SUMMONS TO      . BEFORE THE CRIMINAL
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                                     COURT   OF PARIS




         THE date OF Month, TWO THOUSAND AND TIDRTEEN


         UPON THE REQUEST OF:


               BENY STEINMETZ GROUP RESOURCES LTD (BSGR), registered at the
               clerk of the court of Guernsey, under number 46565, and whose head office is
               located at West Wing, Frances House, Sir William Place, Saint-Peter Port,
               Guernsey, and represented by Mr. Dag CRAMER


               Mr. BENY STEINMETZ, born on April 2"d, 1956 in Israel, ofdual French-Israeli
               nationality, living at 23 quai du Mont Blanc 1201 GENEVA (SWITZERLAND)


         With legal representation by:

         Mr. Richard MALKA, Attomey, 226 rue du Faubourg Saint Honore 75008 PARIS.
         Tel. 01 56 59 60 20, Office C 593

         Both specifically electing domicile in his cabinet, according to the instructions of
         Article 53, Paragraph 2 of the law ofJuly 291h, 1881


         I, the U11dersigned Clerk,


         SUMMON:

         -     MARECHAL EDITIONS - LE CANARD ENCHAINE with a capital of
               100.000 €, registered at the Paris RCS (Registry of Trade and Companies) under
               number 582 093 324, and whose head office is located at 2 rue des Petits Peres
               75002 PARIS

               As liable under civil law

         -     Mr. Michel GAILLARD, publishing director of the CANARD ENCHAIN.E,
               whose offices are located at 2 rne des Petits Peres 75002 PARIS

             As defendant




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         To appear in person at the concctional hearing of the High Court of PARIS, 17th
         Chamber (Chamber of the Press), located in this city, at the Courthouse, 4 Boulevard
         du Palais, 75001 PARIS


                                          The .,,,.,. at "'   o'clock


         In the presence of the State Prosecutor to whom a copy of the current swnmons has
         been notified in the conditions provided for by Article 53 of the law of July 29th, 1881.



                                              Very important:

         You are required to appear personally at the hearing, either alone or assisted by an
         attorney. You may also, but only in certain cases. be represented by an attorney.
               I ...




         I/you Jee/ you are unable to attend the hearing, you must send a letter to the President
         of the Court in order to explain the reasons for your absence. You will attach all
         substantiating documents to your letter.

         Jj; al the hearing, your reasons are accepted by the Court.  • a new summons to appear
         will be sent for a later hearing . Otherwise, the case will be decided in your absence.


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         in any fetter you may send, you must note the date. lime and place ofthe hearing which
         you are asked to a/fend (as well as the room number indicated on the.first page).

         I am informing you that you mus/ appear at the hearing in possession of proof of
         income and your tCIX assessment or non-assessment or you must leave them with the
         attorney who represents you.

                                    MAY ITec---
                                          PLEAS_E THE COURT             ..
         Defamed by remarks of exceptional gravity in the CANARD ENCHAIN£ edition of
         September 25u', 2013, since they have been accused, no more o,r no less, of having
         prepared a coup in Guinea, in addition to various acts of corruption, the plaintiffs can
         only seek conviction of the publisher and editor of the CANARD ENCHAiNE, since it
         is impossible to identify the author of the article under prosecution, th.is article having
         bravely been signed under the name of Jerome Canard, in connection with the crime of
         public defamation of a private individual.




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         BSGR got Ƌ ¤ńèƋ permit in Ċéí.Ƌ Ņä EƋ and, in 2009, obtained a concession
         agreement.

          ŝƋ .Ƌ Č ĉƁƋ this particular company that ſƋ targeted in the  ENCHAINE
         article, 6ġ Ƌthe designation "BSG".

         êîqƋ ·DĔľ¥ƂƋ then invested over $160 million on site for drilling and feasibility
         ŲÅïƋ, but ċĲƋðƋschools, clinics and cultural centers.


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         Later, it went into a partnership with the Brazilian group VALE in order to continue
         with further exploration of mineral deposits, to exploit them, to create a railway line at
         a cost of .$1 billion and to invest over $8 billion in infrastructure i n order to transport
         the iron ore, which would have resulted in significant development of the economy in
         this region.

         Over $600 million were also invested in Guinea, of which approximately $300 million
         came from BSGR.


         1.3                      -
                The seizure of power by President Alpha CONDE

         In November 20 I 0, Mr. Alpha CONDE was elected as President of Guinea after a vote,
         the legality of which bad been widely disputed, since he received 18% of the votes in
         tbe first round, as opposed to 44% of the votes for his opponent and then, miraculously,
         52.5% in the second round.

         Since then, the legislative elections were postponed year after year, while peaceful
         demonstrations were bloodily repressed by the government and hundreds of people
         have been shot to death by bullets from the security forces of the President Alpha
         CONDE.

         Then, the new president Alpha CONDE entrusted his son Mohammed with an
         omnipotent role in the mining negotiations.

         In addition, he surrounded himself with former financier and raider George SOROS
         and with former British Prime Minister Tony BLAIR in order to renegotiate all mining
         contracts previously granted, to the great satisfaction of some of his new Chinese,
         Russian or South-African partners.

         In addition, in June 2012, the S1mday Times newspaper also revealed that a secret
         agreement had been concluded with a South-African businessman who had loaned $25
         million to the new government in exchange for a 30% interest in all mining rights of
         Guinea.

         Fonner Prime Minister Tony BLAIR, for bis part, claimed he intervened in an impartial
         role, in or<ler to help the Guinean government while he was comfortably appointed by a
         sovereign wealth fund of Abu Dhabi, which, by a strange coincidence, had just signed a
         collaboration agreement with Guinea.

         As for the billionaire George SOROS, the world's 3011, 1ichest man, thanks to his
         currency speculation which ruined entire economies, he put his American law fum of
         4,200 people, private investigators, his own p1·ivate foundations and more at the
         disposal ofthe new government.

         BSGR was then requested to go through a renegotiation of the previous contracts, so
         that the proposed transaction had no chance of being economically viable.



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         In spite of BSGR's cooperation with this process, a real enterprise of destabilization
         was initiated with false documents, accommodating reports and, above all, accusations
         of corruption allowing the expropriation ofits mines.

         Two employees of the BSGR group were also imprisoned, and then kept in detention,
         despite a decision by the Conakry Indictment Division, the government then decided to
         consider suspending the appeals to the court ofcassation, retroactively...

         Thfa is how all the elements were put together to start a strong slander and
         disinformation campaign against Mr. Beny STEINMETZ and his group, Mr. Beny
         STEINMETZ being dramatically presented as the richest man in Israel - which he is
         not -, systematically associating him with people operating in Africa he had never heard
         of before, solely because they were Israeli citizens, using all possible clichcs of the
         Israeli secret service and mercenaries of this country who might be in Africa,
         multiplying charges of conuption, etc., etc..

         For example, the British newspaper The Guardian, echoed by the magazine, M Le
         Monde, in its issue of September ih, 2013, claimed there were searches conducted by
         French and Swiss police at the request of the United States in a subsidiary branch
         belonging to BSGR, when in reality, the search had solely been conducted by the Swiss
         police, in the presence ofthe French police, since they acted on their tcni.tory, upon tbe
         request of a Guinean investigating judge and not oftbe American authorities.

         A right of reply was also later published by the French magazine.

         In addition, a few days later, the newspaper Le Monde also published a very long article
         dealing with "the Simandou billions," that was much more balanced, while still
         reporting allegations of com1ption in the entourage of President Alpha CONDE but
         also reporting "dark motives" of Tony BLAIR and George SOROS.

         It was also established that George SOROS had not hesitated to obtain data albout the
         BSGR group through a leading English communication company ... appointed by
         BSGR to defend itselfand, in fact, betrayed by it, which resulted in significant financial
         compensation in England.

         Based on these conditions, a few days before a risky legislative vote for President
         Alpha CONDE 's party, LE CANARD ENCH.AiNE published an irresponsible article,
         calling the plaintiffs into question and this article was immediately used as propaganda
         by the Guinean regime in order to call upon patriotic feelings and rekindle ethnic
         tensions.




         2.     DISCUSSION

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         2.1
                dated SEPTEMBER 2511,2013
                                           -
                The slanderous article r,ublished on page 3 of the CANARD ENCHAlNE


         Under the headline "NOTES FROM THE CIA AND THE DGSE ANNOUNCING A
         COUP IN CONAKRY" and the subheading "According to intelligence, disturbances
         could be triggered as early as next week", the article begins as follows:

         "French, South- African and Israeli mercenaries, who have contacts in Paris and in
         Ajdca, and who are supported by a king ofdiamonds, are preparing a coup in Guinea,
         a real mining paradise. This is the resounding thesis defended in two documents
         respectively written by the American and French Intelligence Services (CIA and
         DOSE), and checked by "Le Canard".

         The French document refers to a "serious risk of ongoing operations, tending to
         destabilize the Guinean state 11 and to an "operating mode", during major
                                            ,

         demonstrations, to "encourage the police and armedforces to use force and, thus, to
         create                                                                   martyrs."

         The American text, entitled "Note on Security Issues in Guinea" and dated September
         I3, refers to the "financing of opposition parties" and to the "recruitment of Fulani
         militia", an ethnic group allegedly hostile to President Alpha Conde. The background
         ofthe upcoming parliamentary elections (September 28th), he adds, will befavorable to
         "violent mass demonstrations in Conak,y and in other cities". These movements could
         "serve as a cover for targeted operations carried out by the mercenaries. "

         Then under the subtitle "Mining Goes Bust ", the article continues as follows:

         "If these words remind one of a spy novel, they rely on a reality which is not less
         fictional, which has been discussed in these columns fifteen days ago - a story of
         international corruption around afabulous iron mine.

          The story begins in 2008, when the old Guinean President Lansana Conte ends his fifth
         five-year dictatorship term. The French- Israeli billionaire Beny Steinmetz, who made a
         fortune (the first Israeli fortune) in diamonds, is this time eyeing the largest untapped
          iron ore deposits in the world, at the site ofSimandou, in the southeast of Guinea. The
         magnate woos the head of state, his wife and its ministers, while his group (BSG)
          obtains a part ofthe mining rightsfor $165 million. A Jew weeks later, he will sell half
          to    the Brazilian group Vale for the price of 2.5 billion!

         After Conte 's death (in December 2008), a militaryjunta seized power and Steinmetz
         attempted to "secure" his property. One of his agents, Victor Kenan, signed a contract
         with the Israeli security firm CST Global that is at the service of the junta. A note of
         the U.S. intelligence services claims that this company would later train and lead the
         "red berets" cresidential guard, responsible for the massacre of 157 civilians, on
         September 28' , 2009, in a stadium in Conakry.

         But in December 2010, the count1y's fi1:�t democratic election, won by Alpha Conde,
         worried Steinmetz. This socialist plans to reconsider all the mining contracts. The
         President launches a clean hands operation, with the assistance of various
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         ࠆઁှ‫׊‬ඉไࠇ‫ݤ‬ϩไࡗ୨ઌᄤ Қ୤࿃ંӈ‫צ‬ൻᄤ қϪӉॵᄤๅ୤ᄤ ๩‫׋ޑ‬ᄤ Ϊઃࠍๆ‫׌‬ՙᄤ͞็ϫ่‫׍‬ൠyᄤ ႂ‫אޒ‬య‫ל‬ᄤˇϬ઄ൡϦઅϦᄤ Ȑ୦੼้‫׎‬tൢᄤ ႃࠪ՚୥ႄᄤ ‫ޒ‬Ёൣᄤϭᄤ
         ҜϮઆॶᄤ ϯӊӋ୦࿄ઇ๊ᄤ ႅࠈ๋‫ޓ‬ᄤ ϰᄤ ۟‫ל‬ႆᄤ ਚࡘফবࠉ୧ઌᄤ ֶঋঌКర൤ᄤ ӌ‫ޔ‬Ϧઈઉ‫׷‬঍ؑ՛ᄤ‫ݜ‬୨ਚᄤ ์‫׏ޒ‬ᄤ ͟ํ‫੻ࠊא‬ਛ‫๎׷‬ჽᄤ ɪఱ୰࿅௓ᄤ Ĭᄤ

         ΀‫ੵֿމ‬ᄤ࿁੺Ք‫־‬ధᄤำ‫ֿފ‬ᄤൗ྿җิ߻ี঄‫׀‬ᄤ Ǵ঎‫ײ‬൥൦‫ב‬՜ᄤҝల‫א‬ϱ՝ᄤvǵ‫ג‬ઊႽᄤਥ୿ઋ‫ן‬Ⴞwᄤ݇ళᄤ͠ϲఴॷϳzᄤ Şë"Ƌ Ϡనุ߼Ӄ঄ׂᄤ‫ݡ‬ଡ଼‫׃‬൙ᄤଡ଼ੵᄤ
         ึ୛ᄤ൘ืϡׁุǄᄤ

          ͡ࠋાӍ‫ד‬ᄤ‫הޒ‬ᄤalso ӎϴవశࠌ‫ו‬൧ᄤ୤ઌᄤҞ࿆ගࠍઌ‫״‬൨඙ᄤࠎઍᄤɡϽ઎ӏ‫ז‬ᄤϰ੻՞ᄤ͢ႇ࡙ຨჾ‫ెח‬এϼ੼ֲᄤ ๏‫שޕ‬ᄤ०࿇൩๐ࠏӐ‫א‬൪ᄤ୤१݈࿈షᄤ൫๲ϵ๑‫ל‬൬ᄤ
         ‫϶ޖ‬ဿ‫ט‬ᄤ൭୩ਪ‫ן‬๒‫ࠐޗ‬ઘ‫ݥ‬ᄤϾ‫ݦ‬Ϸࠑ੻൮๓ᄤ๔ަॡᄤ௑‫ה‬Ϧӑۛঐᄤ՟ࠒϸਜ୪એբᄤ௑స୩բ࿂Ӎ‫י‬హĭᄤǑઐՠᄤ‫ॢޘ‬ᄤɞ఺‫੻ך‬Ӓ‫ޔ‬ᄤ۠౼࡚‫כ‬ઑա൯ᄤբ୫ᄤ੻୬๕ᄤ
         গय़๖ᄤϹᄤۡࠓ઒‫఻לݧ‬Įᄤ ʆ୭ႆ‫ם‬၀‫{఼׶‬ᄤ ঑Ϻඤ๗ᄤ̃ᄤ Ǵ‫א‬ઓႿᄤ௏ఽ‫מ‬աᄤ̄ࠔӓ୮঒ϻ൰ᄤͣϼ఻ॸୢჿჀᄤϽᄤ၁ࠕ൱࡛ຩᄤ ๘୯ᄤˈᄜోϦ‫ל‬ওǇᄤ Ƕ‫੻ן‬Ⴡᄤ
         ௒Ͼࠖգᄤ‫ۮ‬ஈాᄤϿভমᄤҟ࡜যর൲įᄤ ̴๙‫ిלޙ‬ᄤΫ̂ᄤҤࠗ‫ݦ‬ႆ࠘‫ݨ‬൳ᄤ࠙ઔᄤӵ঱ୢ൴‫א‬ᄤమ‫أ‬লϸ๚ࠚ୰ક൵ᄤႈࠛ๛‫ޒ‬ᄤ๜‫ࠜޘ‬൶ᄤ௓ϭ๝ీୱખ|ᄤ൷࿉Ӕ‫ޙ‬ᄤЀ൸ᄤʷ‫נ‬Ёગᄐ
         ɟుϽગӕ୤ࠝ൹ᄤȑୱ௔‫}ס‬ᄤ ȒঔЂ࿊ա‫ע‬ᄤɫ୦Ѓൺ‫ݥ‬࿞‫ף‬ઘᄤ୲ూᄤ́Ͼສ౽ࠞӖॹᄤǷϰকॺЕુ჏~ᄤൻ‫ޚ‬ୱႉᄤ๞‫פޘ‬ᄤർЙਝ‫ץ‬ᄤృ‫ׇ‬ᄑൽ๟ౄϦࠟઙ๠İᄤ

         ȡࠠդᄤͤ๡‫ࠡא‬ચਞ‫צ‬๢ᄀᄤ ֳӗࠢՙ‫׷‬ᄤ ๣୳ᄤ௕౞୳๤‫ה‬ӭ๷ᄤ ަࠣൾᄤ ɬ࿋ࠤઃ‫ק‬ϰછᄤ ࠥજ๥‫א౅ר‬ൿ๦඀ᄤ ҞჂᄤ ె࿌๧‫ޒ‬চ‫א‬ඁ൬ᄤ ਟ‫ש‬๲‫ޛ‬୤եංǏᄤ ʌ຀ᄤ ࠦඃᄤ ๨‫׏ޜ‬ᄤ
         Ҡ‫ת‬খࠧۚᄤ௎ᄤ๩‫׫ޝ‬ᄤ ɠే‫׬‬ઝӘ‫ޞ‬ᄤ ϼઞՙᄤ ΰͥıᄤ ඄‫ై׭‬၂ࠨә‫׮‬අᄤ ႊ‫ࠩޟ‬ӫ‫ޠ‬ᄤ զ୨ᄤ ટ୤๪ᄤ௖రୣ၃ࠪ՚‫ׯ‬ᄤௗ౉୴஋۱ᄤҡ࿍๫ᄤ ਠЄॻ‫װ‬ᄤ ආ୵ਠ‫ױ‬ᄤ
         Ӛ୨ઌઌ‫ײ‬ӛ๬ࠫୢઠඇĲᄤ ΃‫לޡ‬ᄤǑਡ‫׷‬౗ࠬӜЅડඈᄤ ‫׳‬ਚ௑‫ޒ‬Ϧඔ࠭ᄁ‫׏‬ᄤຑ‫ގ‬ІຂᄤЇᄤ ӝ‫ొ״‬๭Ϻ࠴ઢᄤ γࡢӌ๮୶ోᄤ̱඘Јౌᄤ ϰઢᄤ ʍඉ్Љ‫ל‬঳࠴ᄤϬણէᄤϧᄤ
         ᄒᄝᄞ‫׵‬Ӟ࿆౎࠮ྴᄤӍୣ੻ඊ࿎গ๯Ϧઌ๰ᄤۢୣెᄤǴͦɭᄤۣ୩౏ᄤਛϦઉჃᄤჄ‫ן‬Њ౐උ ᄤ ൬‫ޢ‬ୱႋ‫א‬՟ᄤ࿏௘ᄤ࠯તᄤʹ࿟ঘჅᄤ࠰થᄤʸ୷‫ޒ‬Ћદઃ‫ל‬ඌҢ࿂౑‫ݥ‬ᄤۤ୿౒ᄤϸᄤ
           ਦ‫౓׷‬ӟ‫׏‬ધЌ౾აᄤ౔‫׶‬Ӡౕ࿇࡝ຫਡ‫ה‬ઃ๱ᄤ ୣ௙‫ౖ׷‬К๲࠱ୣઢᄤ ᄤ Ѝඍඎ࠲ඏ๿‫׸‬ըᄤҬბᄤ๳‫׹ޣ‬ᄤͧ୸࿐๷‫ޤ‬Ğǒ۰ಁ࠳ӡЎ੻ᄤ ξ࡞঴঵‫׺‬ਢᄤ͈ϼ๴๵‫ל‬ᄤ ୸નӢ‫׏‬ᄤ
           ӣ୦੿઩‫׻‬Ӥ๲‫א‬թᄤ๶୨ᄤ๐‫׼ޒ‬ᄤ௚౿உğϭ௛Ϧ౗๷ަ‫࠴א‬բᄤ‫׽‬Ⴉ๸ౘ‫׾‬ਣ‫ה‬Ġౙ࠵‫ޥݩ‬๹ĳᄤ


         ɝ߽੶ϡইইႻxᄤ࿀੷Օ‫׃‬఩ᄤྠ‫׃‬ᄤঅϢ൚ูᄤ൚࿀Ҙྩฺআ‫׃‬ᄤΩ‫׿‬ᄤ௜ϭౚྵᄤ୤‫ۥ‬ᄤ๺‫לޒ‬ᄤ࿂‫ݥ‬ঙ჆ᄤ฻‫׃ދ‬ᄤϣధุ߾Ӆআ‫׃‬ᄤӄଢ଼੸ӆঈ࿀՗‫׃‬൛ᄤϡ൚ᄤ݆ঈইଢ଼ႁ൚ǅᄤ

         ̵‫ࡣܯ‬Ӷ࠶КশষჇ ᄤ ๻‫לޞ‬ᄤ୤ң२‫؀‬ӥ๼࠶၄‫؁‬ᄤႌКඡᄤ๽ୣᄤ‫א‬પচ࠴ඐ๾ᄤ၅୤ছ࿑ફ๿‫א؂‬ൌᄤ݉౛ᄤ̅Ǔ΄̶ᄤ ࠷નᄤǔ‫ޒݧۦ‬К੻ॣ຀ϦબĴᄤ Άޯ‫א‬౜‫݊ؤ‬ౝ‫؃‬ᄤ
         ႃ‫ޛ‬჈ᄤ ႆ‫ל‬౞‫א‬ᄤ ກަ‫ל‬ᄤ ӦϦભֵժϼຂ؄එᄤ ϼඉॼ‫ל‬բᄤ ϦҤ୹࿒๲ᄤ ຃ާ؅࠸౟ᄤ ɧ‫׷‬ઠӧާᄤ জЏમ‫ݥ‬࿠Е‫ݥ‬؆ᄤ ൬ॹ࠹নসඒᄤ Аજիᄤ ຄި‫࠺א‬ౠᄤ
                                                                                   
         ॽઃ୤ႍঝ؇ա‫ݪ‬؈ᄤ ஌۲ᄤο‫ל‬ඓ຅ᄤ Ǘ‫࠻ݝ‬ӨКǐᄤ ̆Ϧඔඕϼౡᄤ ‫ޒ‬Љඖᄤ Ϧঞ඗ୣᄤ ൟ؉ө࿃ౢ‫ײ‬լᄤຆަ‫ל‬ᄤ඘‫ל‬ఴ၊࠼Ӫ‫צ‬඙ᄤ ஊ ๷‫לޛ‬ᄤɢ౹‫ל‬ઃӫ‫ޒ‬ਤ‫צ‬યᄤ
         ͂Ϧງౣ࠽Ӭॹᄤʿট‫࠾ל‬રᄤ Ћহ࡟Ћකᄤ .0ˉ࠿‫ו‬࿓ຈ؊੼Бગ๲ᄤ ȓ‫ގ‬ϸਥҥ؋౤ຉᄤ Љ઱ᄤ ،Ⴊᄤ ࿔‫ݫ‬ঠ჆ᄤۧಀ୪ਦᄤǸ୺Ҧᄤ Ȣ‫؍‬ਚࡀϽ౥՜/ൽᄤ ຊ‫א‬Вਧᄤ
         Гલխᄤͨ຋‫׏‬၆‫ן‬ᄤǹୣঁ୻ҧᄃЛᄤ ႆީ୳ᄤ ႎࡠຬުᄤˀড؎ࡁળᄤ ௛ঢҖ؏ծᄤຌަؐᄤ౦୼ণؑᄤ୩ۨᄤКᄤඛਨЌ঺঻ᄤ௝࿕ຍගӭ‫ޛ‬ᄤϾӮ๋ࡂ၇।ຎᄤࡃ੾ᄤຏ‫ؒޘ‬ᄤ
         Ȕ୽਩୪౧୻඙ᄤʎණতЋ઴ֹᄤ঒МඝຐᄤǕ௞౨ࡡ়ĵᄤ πࡄຑ‫୾ގ‬࿖ຒᄤЁવ჉ᄤඞ࿗ӯӰ‫ײ‬ඟචĶᄤ

          ·ްؓᄤǖਪ‫ב‬౩࠴ӱД੻ᄤկ୦Ӳ࿘ਚؔશຓᄤӷঽЕࡅਚඡᄤດޫЖຕᄤ๕ެؕᄤຖ‫ޢ‬౪‫אؖ‬ᄤਥ‫א‬ષᄤ‫ޒ‬Ћ၈‫ׇ‬ᄤӳ୹੾ທ౫ࡆҨ࿙เ‫ؗ‬հᄤຘୢᄤນޭ‫ؘ‬ᄤӴ౬ؓЉບࡇ୿੾ᄤ஀۩Зᄤ
         ௟‫஁ޒ‬ઃ჊ᄤ ɮ࿚ࡈઃ‫ײ‬Ͻઃᄤ ਪஂ၉‫א‬ਫ‫ؙ‬સປᄤ ๿ޮ‫ؚ‬ᄤ̇ϦຜࡉୢહЋথᄤ ̓И౭ྶᄤ۪ஃ౮ᄤ͈‫ה઺؛‬ႏϦদᄤ ௠౯஄ҩЕҪধ჋ᄤ ජ௔୩ઋඣୢ౰‫؍‬աᄤ ҫ჌ᄤ
          ǹͦɯķᄤ ΅ީࡊඤᄤ௕Й౱ຝჍᄤ ަҕᄤ ձ౲ҋ‫؜‬ղᄤϦᄤ ਢ‫׏‬ਛ୧౳ϼથբ࿛ਬᄤඥ‫ࡋל‬ᄂ‫א‬եᄤ ҫ჎ᄤ ພ‫אޒ‬ᄤ ɰ࿙ࡌ੼‫؝‬Ўનᄤ ࡍ઻၊‫׷‬ඦຟࡎ‫ݥ‬Ϧຠஅ౴ටᄤ
         Ĺ‫ۯ‬ஆ౵‫؞‬ඨ‫ݪ઼ࡏ׏؟‬ᄤ ມާϦຢᄤǺͩɱᄤ ႐இ࿜নժᄤ ౶‫׷‬ຣϽࡐ੻ᄤ ࡑเ൬ᄤ ਟࡒમࡓઽ‫ݥ‬ᄤ ౷ࡔ‫ޛݥ‬๲ඩᄤ ࠙ઌᄤ ӌϼඪ‫״‬ᄤ ຤ަ‫׻‬ᄤ ́К౸ྷᄤ۫୰౹ᄤ ͉‫׏‬ા‫ؠ‬ႉК঩ᄤ
          ႆୱ࿝পճ௡Ё౺ລ࠴Ӹ࠴௢К๷‫א‬ᄤࡕિᄤϰᄤ۬࿜຦࿞౗‫ؠ‬ᄤ‫୿ݥ‬။‫ء‬౻ીਚ‫آ‬મວĸᄤ


         ΁‫׃ދ‬ᄤႁ‫ތ‬୞ঀʶׄࠁ൜ᄤ ӄଢ଼੶൚߿Ֆ‫׃‬ീՖᄤϡ൚ᄤ՗‫۝׃‬ϥਙϡ฼ଢ଼ൕᄤҙႼᄤ‫׃‬ϡӄ‫ލ‬ᄤଡ଼۞ᄤ฽‫׃ދ‬ᄤௐঅϤ߾੹฼ࠀ‫ܮ‬൚Īᄤ




         2.2     The defamatory accusations against Mister Beny STEINMETZ

         It is indeed clear from this ruticle that Mr. Beny STEINMETZ, mentioned by name,
         supports mercenaries preparing a coup in Gui11ea according to the alleged documents of
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         භ‫־‬Ԁధ‫຺خ‬ᄤ                                                                              මׁಏ၍ࡳӾׁඹļᄤ

         Ή޲‫־‬ಐ‫݋־‬಑‫د‬ᄤ ࡴົᄤ ࡵයᄤ бড়অ‫رݬذ‬ոᄤ ຼ޳Рຽᄤ ޴‫ز‬ᄤ ਯࡶ‫ފݭ‬຾ᄤ ‫މ‬б၎‫־‬ᄤ Үِ‫ે־‬ᄤ չࢫಗ‫غ‬ԃ຿েდᄤ ࡷૈ၏ஓৈၐ‫س‬պᄤ  Рૉᄤ ஓ௥ׁಒбເࢬஔેᄤ
         ӿஓ૊රࡸඹແࡹો‫ݮ‬ᄤ ஍ۤᄤ ‫ૂإ‬ӹୣ࿙ಂϭ‫ݪ੻ࡤݧ‬ᄤ ອ‫׷ގ‬ᄤ௣஍ূࡰӬ‫ئ‬ᄤ Нૃաᄤຮ‫הޛ‬ᄤИಃਚ‫ا‬կᄤ۳୴ుӛ‫ت‬ඬᄤ ຯ୴ᄤ ࿡ඛ‫׷‬ᄤ۴எ಄Ӻؔᄤ ϯ੻ճᄤະஏᄤ ັ‫ޱ‬࿢තᄤ
         ӻಅ‫ب‬Ϧ๢‫צ‬ᄤਝϭಆྸ്ᄤմ࿣ಇࡥૄ‫ݥ‬ᄤাϭಈ‫ؔݨ‬ᄤբ‫ب‬ਞୢઅථາ౓ϭຳࡦ஍ન඙ĺᄤ

         Ί޵ׁಓ‫݌־‬ಖׁᄤ ࢅืᄤ ࢭ඼ᄤ Ϥআ৊‫صݯش‬՗ᄤ ໂ޶бໃᄤ ˛ಔĽᄤ ͫ΋ȷʒ̈˜ȯΌχᄤ ႑ஔ࿧৉ջᄤ ௦Ғ༆ࡺԉࢭ௧Сໄ‫ض‬ᄤ ߾ૌᄤϡᄤ ಭ‫ط‬Т৊ᄤ Ԁஔ࿀௥ᄤ ໅߁Хໆᄤ
         ਰࡻ‫໇޷ݭ‬ᄤࡼ્ၑஔোၒ‫־‬ᄤռ‫ظ‬У໅޸ľᄤ

         ʐ૎ᄤ ϡ՗՗ࡾ່ࡽகૈᄤ ྠ‫ع‬ᄤ ௥ৌϡ૫૏ࡾૐ‫ݡ‬ᄤ ஓ۵ᄤ້޹ࡸඹᄤ ௨࿀໿෋Ӆ޺ᄤ ႒୛࿨৔՗ᄤ ৌ‫غ‬ФՕᄤ ‫ࡿފ‬਱ᄤ໊ஓᄤ ܺ૑Ϥ૑ԁ‫ع‬ᄤ ௦‫ފ‬ஓેეᄤ ஓ௩௩ஓලࢀ໋ࢮஞેᄤ
         ௥Фಘื߿‫ػ‬඾ᄤ໌ஓᄤಕ‫غ‬Ԋಖ࿩ࢁໍᄤ‫ػ‬༂ߋੵࢂԀᄤਯࢂ্ࢃ໎ࢄХ඿ᄤЦે՗ᄤื஖ᄤஔಪ‫ݡ‬Чੵࢅᄄ‫׀‬ᄤༀϤಕ‫ضݡ‬໏‫ى‬՗ᄤஔ௪‫غ‬ಬϡ໅ࡵஓે෋ᄤঅ‫־‬՗ᄤұპᄤ਱ׁಖԂׁૉШಭࢯ‫־‬ඹᄤ
                                                                                                     
         Щে৛ᄤ ༁߉ࢆඹᄤ ‫ݍ‬ಪᄤ໐޺‫ض‬ᄤ௩࿵ಖ௫ஓඹׁᄤ ஓ۶ᄤ௬ಮஓܻ຾ᄤඹࢰૉԆ‫ض‬ᄤ‫ࢇފ‬ඹᄤ ਲ஖໶࢈ၓЪ໊ࡵஙૈᄤ႓ஓ࿨অռᄤү‫غ‬ᄤິަ‫ة‬ᄤ௤రஎີ‫ت‬Ӽຶࡧୣ੻ᄤ ஒ ަࡨදᄤ
         ɫ࿤ࡩ੾‫ت‬ϭ੾ᄤ ࡪૅ๺‫ث‬ಉ‫ج‬ධືනᄤ ҭგᄤ ಊ࿥ຸ‫ގ‬ি؊඲ർᄤ ਭ‫ޭູה‬எյᄟ ᄤ ໑߇‫ؼ‬ᄤ intenogativc ‫ݎ‬૮૯࿷ৎЫ໒࢈ஔ૒ᄤused ࢈වᄤ ௧࿶ಯ‫ؽ‬৏ვᄤ
         УԃЬս‫־‬ਯࢉԄᄤ ශࢊ૓Ԁ‫ز‬ᄤϤ૔ზᄤ ಗ‫ؾ‬Хվ‫ؿ‬ಘᄤ ԃ৐ׁХಙ৑თᄤ࿪ૢջ‫ـ‬ಙල໓т૬ֆ඿ᄤ່޻Э໔ᄤ໕‫فފ‬ᄤ ʏඳ౜О‫ז‬ী࡫ᄤ ҝࡱনৃ࡬ஐ૆ϰ࡭ో‫!׋‬ᄤ ࢋ ෋ ᄤҗ‫ࢌ߁ق‬૕ռᄤ
         ໖‫ࢍލ‬ෂᄤ႔‫ލ‬஗৒ׁᄤஓ௭‫ك‬ರрืࢎக૖Ŀᄤ

         ˝ಚŀᄤ ǻ ‫ૈص‬იᄤͬ΍ȸʓ̉ˢȹΎψᄤ ࢏ඹᄤ ϡ৓ සஙᄤгԅԆ࿀඼ׁտᄤ ஓ۷ᄤහ࢕‫ݰ‬૔࢈ે‫ݯ‬ᄤ໗޼ಱஓ࿩‫޽ݡ‬ᄤ ஘૗ׁᄤஓ۸ᄤ޾࢐ළᄤ Х‫لݭ‬ૉ໘඼ᄤ δ࢑ԃ༃ஙధᄤ
         ˂Ⱥ̊ǘ̋ᄤ Юᄤԇஓ૪໙ಪбԆ໚ᄤ႕࢒໛‫މ‬ᄤЯ૘ᄤʔ෗ಲУ‫م‬৔࢓ᄤ ෆ‫־‬Ԉ྿ಛ࢔ྐྵᄤԉஔਲ਼௦бૈკᄤໜ޿Уໝᄤ႔ஓ࿪ঈ՗ᄤ‫މ‬аၔٓᄤໞಕЯ࢕૙ׁրᄤໟ‫صފ‬ᄤಜׁցᄤ
         Ҙ‫ض‬ಖ‫־‬໠඼ᄤ ௮ಖ‫࢖෇غ‬ւ‫ن‬૚༂ࢱϡ৕ᄤ ‫ݱ‬࿫Фಪռᄤ ಝׁ෈௭கૈව࢈Ұ৖‫׀‬ᄤ ‫ݏ‬ಕᄤ ྡ‫ن‬ᄤ ਴ϡ෋ඹФԀಞ‫־‬ᄤ ஓ۹ᄤ ƍ ƴƼᄤ ԏࢲၕࡾৎࢗб૛ൗļᄤ

         ʑੵᄤ ‫ܝ‬Ԅ໡ᄤ ˞ಟŁᄤ Ǽ‫ેه‬დᄤ ͭΌȰʖ̎˟ȱΊωᄤ ޹в෉ᄤ ે‫و‬ၖׁಠᄤ ‫ފ‬Х՗ᄤ б૭რᄤ Ԋஓੵે‫־‬Ԅืࢗஔૉᄤ ႓߿༇‫ފ‬ᄤ ྡྷ‫־‬ᄤ ්‫ى‬ԋਵࢳ༃იᄤ
         Ԇ஖ਸ਼௥гૉლᄤࢅ૜ᄤఘ࿬‫ل‬൙໢࢘ஔ੶łᄤ

         ̌‫ضྣ࢙־‬ಡᄤ‫ׁފ‬ᄤ૝ஙಢᄤǻͬɲ͊ᄤ‫־‬ၗ‫ع‬ಣᄤ߁дՕᄤˠಳŋᄤε࢚Ԋ໣ஔತᄤˁȲ̍Ǚ̍ᄤƽƹᄤმ‫خ‬дಯඹᄤஓঅ՗ᄤб෋ᄤ໤‫࢛ىފ‬ಥᄤУ‫غݯ‬૞໥Ńᄤ

         ǚ૟Օᄤ໦߀࢜඼ᄤ࢞ඹᄤбᄤ՗‫־‬໧е࢈অ ᄤұ࿭฻ᄤྤ‫غ‬ᄤඹ࿪਷ᄤ ஜ‫ۺ‬ᄤ-ƤńƵᄤҲ࢈অ৒߻ஓેᄤಕϡ࢝ළ‫ؾ‬Օᄤ‫ݐ‬ಖᄤົ޷‫ن‬ᄤ௯дಖ໨࢞Ԁ࢈௥Ϥࢴகૠᄤஓ۞ᄤ໩޷‫غ‬ᄤζǚˊȳᄤ
         ȕஓਸ௮т૩ნᄤ߁б෋ᄤોֿၘ‫ؿ‬ದᄤҳ‫ـ־‬ૡᄤ௭Ф࢟տᄤ ໕ஔᄤǽͭɳ͊ᄤ‫ݭ‬಴க྿௥¡ᄤ ՗྿‫ي‬ᄤ ໪சᄤื߂ׁᄤ‫܂‬ಸ‫ؾؾ‬ᄅࢵે‫ݲ‬ᄤ஛‫ۻ‬ᄤthe ஓ௰ًಧЫ໫࢟ஔૉᄤஓ۞ᄤ
         ່߃ׁᄤਹࢠ૑ٌ඿ᄤࢡૢၙ஘ঈၓׁփŅᄤ

         Ώஙᄤ քϡ໬‫غ‬¢ᄤ ྥ‫ن‬ᄤ௥৉ϡࢢે໭߿ܰ෌ᄤ ߄еၚٍᄤ ໩ߊ࿫භᄤ َႫ௦ஔල‫׀‬՗ᄤ਺ஓವֿᄤׁႫ௥‫ૣن‬ඹ‫ع‬෍ᄤд૏պᄤ ࢣેၛ‫ى‬ඹ໮਻‫ેغ‬໯෎ᄤ ໰޷Тેᄤ௱ಶஓܼ໱සᄤ
         ໲޷‫ؾ‬ოᄤׁжൃ‫־‬՗ᄤ‫܃‬ಹஓਯᄤ༄޷࢞භᄤืಪб૤ළ УԊ໳ࢤஓ૥ņᄤ

         ΐ߅ُᄤ"˚ಋĻᄤ ͪΦΈφ1පᄤ‫ݥ‬ಌ୮࿦௓#ᄤ ġ з૦ջ£ᄤ ื޵‫׀‬ಪِ‫ݑ‬ನ‫׀‬¤ᄤ ˡಕŇᄤ ͮΌȴʕ̋ˣȵΑϊᄤ޹ࢥ਼ා‫ؿ‬ৗ‫ۼ‬ᄤĢ ࡼ෌ᄤ и৉ළ ஓ ᄤ
         ХԀԌ࿮ැ‫׀‬օᄤஓ ‫ ۽‬ᄤ‫ފ‬йၜࢦ૧‫ݡ‬ᄤ໴ಷгૉෑ‫ܪ‬ಯಏّֆᄤ$ඵ‫ה‬၌‫ح‬಍ϭুᄤਮࡲৄ৅࡮஍ઘᄤն஑ট৆ϭಎබ%ᄤ໵ ஓ ᄤื߃ْᄤ ϡԍԀஓ࿯૚໶ᄤஔ ‫ ۾‬ᄤྦ ٓ ᄤɳ࿰ࢱ૨ٔг૓ᄤ
         ‫ٕފ‬к՗ᄤக‫ۿ‬ᄤි໊г໷ٖ3ඹᄤ႑࢈ջஓ႖ňᄤ

         ˟ಕŉᄤ ǽׁ૩პᄤ ͯΒȶʑ̬ȱ΀ϋᄤ У૪Օᄤ Ǿͯɴ͋ᄤ л಩ٗᄤ м৘ීஜᄤ Ԏ৙ׁбಪ৚ჟᄤ СԉԂ࿱඿ֿվᄤ ஖‫܀‬ᄤнԊ໸ුᄤ ஓ‫܁‬ᄤԁகಫ಺࿴௲໹ࢧஔ૕Ŋᄤ

         ʑ໊ᄤ߿඼ᄤื߆‫ેن‬ᄤϡಪ‫ݳ‬࿲‫ػ‬ջᄤ ໺߇бืᄤ໻߈‫־‬ᄤ३࿳ළ໊ࢨԏ‫෕غ‬ᄤ஘‫ۿ‬ᄤ‫ݒ‬࿴ಪᄤ ඾໶с༅ׁඹᄤ߁оၝَᄤූ஝਽ׁ໼߁ࢩૈ‫ݱ‬ᄤϡ‫ݡ‬пࢪૈූ໽ᄤ໾‫࢈މ‬ඹᄤ2uؔПӽ‫ײ‬Ɔ࡯շᄤ
         diamond-producer".                                                                     "

         1n reality, it is solely ş#Ƌųóģ¦ƋĆŴŖ3ô»Ƌ FƄouƆsĕƋCõßƋa procedure is actualJy underway in
         the United States, it ĳÑŗƋ ĴŠƋ ¸ĵĢ¹ÒŕƋ Beny STEINMETZ nor BSGR but a former
         partner of the group).
         It is also suggested, which is sufficient to characterize the slander, that "the French and
                                                                                        ·.
         American services" are convinced that Mr. Beny STEINMETZ §ŘƋ !#¼öÆÓ!ƋšĶƋĿñƋ·otect
         his interests "by ruthless methods", by carrying out a coup, since òĖėÇnGjŢƃƋafter this
         insinuatjon, "a certain Victor Narsar, an Israeli and a security ½ķĤřŶčŤHvĥťƋĈňƋBSG for
         years" is mentioned as the person that allegedly launched a ņÔºŇŵ÷ţĘwęƋ      , · campaign to
         destabilize the regime.
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         ρ࢈༈ߌᄤ ୛໗޺ً಻ෘ¥ᄤ ߍ٘ᄤ ႗ட࿸ঢ়ևᄤ ߎУၞ‫־‬ᄤ у৊ළଢ଼ᄤ Ԑ಼ٙфໃ‫غ‬ռᄤ Уᄤ &௽‫ޙ‬ୣ଒ჭᄤ ɶဏ࣡ગ‫ټ‬Ͼૂᄤ ੏ୣၭ‫ٽ‬ਮ‫੻ؗ‬฿'ºᄤ 67௾ೢୣҸЕҹ৯ხᄤ
         ෬௝஭ଓ඀இ౲‫֕پ‬ᄤҺჯᄤȁ͟ɷ(ᄤ ໃ޷з༮ᄤਾࡿ‫޹ݴ‬ໃᄤ ߌУၟٚᄤ ࿹ૈր‫ض‬೗༛Уॾ‫غ‬૰ᄤ༉ଡ଼ᄤ௳೐ଡ଼༊ٛԃ་ᄤໃ߃ٛᄤ ਿࢶૈࢷ૱‫ݭ‬ᄤ ࢸ૲༌ٛಽًෆ།ෙᄤ ଡ଼۶ᄤ༎‫ފ‬ٜᄤ
         ‫ݮ‬೅ଡ଼࿺௳Ōᄤ

         ʗ૳ᄤ௩৞хࢹેᄤ৞ц્‫ݡ‬࿻У‫¦غݵ‬ᄤ ˤಾŋᄤ ǻ ‫־‬૚ღᄤ Ͱ΍ȼ৤̳ȻΎόᄤ ‫ފ‬Уඹᄤ ༏ߏ࿼඼ᄤ ಾ‫׃‬Ԅ೑࿫ࢺໃ‫׃‬ֈᄤ਱ٝಾԑٞ૴еಿࡿ‫־‬ේᄤ ࢻ૰ᄤ ஠ಾֈٟೀᄤ ༐஡ᄤ
         ԍмോᄤ ଡ଼࿽༑ᄤ мᄤ௧࿾༒යԒߐᄤнࢼਯًֈᄤчໃᄤ௦৞шԝ࣏૵‫ݷ‬ᄤϠᄤ௴྿௦௩‫خ‬༓ᄤ௰Уೇ༖მᄤࢽ૸༔୛ᄤ௦ன႘٠ುᄤྦྷТ༔ᄤ႙ஔ࿿ৈֈᄤ௵೒஫༕١ԓ༖ᄤߑࢾෛᄤ
         ࢿૈ༗‫ؾ‬ೂ‫־‬ො໗ඹōᄤ

         ʇ஡ႚ‫غ‬ၠ‫־‬ಖ§ᄤેଡ଼੸ٝᄤ୛‫܀‬ᄤ༘ߒ‫غ‬ᄤ௥য়щࣀ૚ໃࢶܱෆᄤ‫غ‬ၡ‫غ‬૚ᄤংஔ႙ᄤ˥ಖŎᄤη࣐Ԅ༙தೃᄤ̏Ǜͱ ͲǛ͊ŏᄤ

         ɣࣕଈя৭৬შ®ᄤ˦೟œᄤǿֽଉძᄤͳͿȽʙ̐˧ȾͿύᄤࣁෝᄤѐԤԟ྾෩ֽ֐ᄤ༴஬ᄤߡѐၧ‫¯ٸ‬ᄤଊ஬ᄤ੆୚೙ֽᄤ஬ೠᄤଋ஬ᄤ৭ֽ෪෫°ᄤ೚ֽԠೝ྾߹༰ֽ֐ᄤ
         ੆ֽೠԤֽଉੇᄓ߹‫ٸ‬෪±ᄤ ௸೙ֽ௹єೝֽ֑ᄤ ѐᄤ ԡ஬ဋ௺²ᄤ ஬ೝ‫ݸ‬ѐଊࣖᄆֽ֒ᄤ ϟᄤ ၨࣛ஬৪‫ٸ‬ଊาᄤ ࣛ଑ൖဋ೟‫ֽݾ‬ଉԢჩ³ᄤ ԟ஬೛ೠဌ௺༱‫֒ٸ‬ᄤ าߡ‫ٹ‬ᄤ
         ɵဍ߹ଌ‫ٺ‬є଍ᄤ‫ݹ‬஬ၩֽ೛ଉੈֽ଎༴´ᄤ ֽ֑෫าєҶॠࣛᄇֽ֒ᄤѐᄤ ೙ֽ‫ֽ੉ࣗݹ‬ᄤҴსᄤࣞ৪৭ּ‫ݹ‬ϟ৭ᄤ ੊ֽϟଉ෪µᄤֽၪּೝცาߠ߹଎‫ݺ‬ᄤࣘଉᄤ ஬ ೚ֽ֒೜ᄤ
         ༴஬ᄤ ௺৫ёԣֽᄤ єᄤ ௺྾௺௸‫ٻ‬༲ᄤ ௻єೠ༸ძᄤ ࣙଏᄤ ௼୚႟ֽೝᄤ ѕଋ֓ᄤ า୚ᄤ ௺೙஬าֽԤ༴ᄤ ߡ߹ൖᄤ ஬Ⴀଊᄤ ੋࣚଐࣛ଑‫ݸ‬ᄤ ߹଑༳ֽ೟ֽൖ༳෫Ŕᄤ

         Γߓ٢ಢ٣ᄤࢂෞᄤ૶ஔᄤ૷‫־ؾ‬օᄤໃ୛ᄤࣂ૸඼ࣃව໅ᄤ஢ૹᄤ༚߂٠ᄤ։‫ܞغ‬ੀе຾ଡ଼ೄტᄤૺм༬ဉ೅ٛᄤଡ଼۵ᄤ༛‫خފ‬ඹ‫غ‬ᄤԔߔУೆ‫ݭ‬٤෡¨ᄤႛߕࢾ Ԟߖ©ᄤࣄ‫܄‬ᄤ௶೓பၢ‫ૻ־‬ᄤ༜ணᄤ
         ұ٥ᄤໃੁ‫ع‬ªᄤႜஔကঅ֊ᄤԕ஧ૼෆໟࣅ༝ခ໅٦ᄤԖೇࣆੂ٧ෟᄤУවᄤႛ٨২৩ᄤУාᄤУ૔ᄤࣇ૽༞٩೔૞У༟ࣈଡ଼ૈУঅᄤවԗУૈ֋У৞Œᄤ

         lƋ]^ƋmƋ   The defamatory accusations aeainst BSGR

         ֽ͌‫ݻ‬ђೞ֔ࣛੳ‫ݼ‬ᄤȀͳɨ͌¹ᄤ ߹༴ᄤ ࣛൖᄤ ֔ࣛೞֽԤา৭ძᄤ ༴ђ೟‫ֽֽ֑༵ݽ‬ᄤ ђൖᄤ ҷֽ߹ੳ‫ݽ‬ᄤ ˨ೞŕᄤ ͳͿȿʚ̑˩ɀΔώ4ൖᄤ Ԥ஬ੌ௺ѓੳძᄤ
         ༴ߡђ༴ᄤਘ߸‫ߢݾ‬༴ᄤ Ҵֽᄤ ༴‫ֽވ‬ᄤ Ҵֽ଑ֽܽԤࣛѓೠძᄤ ஬‫܉‬ᄤ༴ߡּᄤ ௺৭ђ଑଑ֽ֑ᄤ Ԥ୚྾௺¶ᄤ ༴ߢђ༴ᄤ ੌ߹‫ߡݼ‬༴ᄤ ߡєၫֽᄤൖ௺஬଑ൖ஬ೞֽ֒ᄤ ђᄤ
         ௺ߡ୚଑ძᄤ௺஬৭ࣛา߹Ԥє৭ᄤ௺ ѓೡาსᄤࣛ଑ᄤ୚ೞֽ֔೟ᄤ༴஬ᄤ௺ ೞ‫ٸ‬ൖֽ೙ၫֽᄤࣛ༴ൖᄤೠࣛ‫ߡݽ‬༴ൖᄤ஬‫܊‬ᄤֽႮ༴ೠѕԤ༴ࣛ୚଑·ᄤ༴‫ވ‬є༴ᄤႡ୚྾৭֔ᄤߡ єၬֽᄤ
         ԥ஬ೞೞဎ௺ ༴ֽ֑ᄤˋϟ଑ൖђੳѕᄤ Ȗ̷̒ͿɁᄤ5ൖᄤႢࣛ֔୚Ⴃᄤҷწᄤ༴೟ϟ଑ൖ‫ܫ‬೟ೠࣟଉ‫ݾ‬ᄤ ѕᄤ ‫ܬ‬Ⴄᄤ ੌ࣠৮৭ࣛ஬ੳᄤ ֔୚৭৮ѓೠൖᄤ า୚ᄤ ߣּೠᄤ
         ѓԤԤ୚྾ੳ༴¸ᄤ ༵ߡѓ༴ᄤ Ⴂ஬྾৭֔ᄤ ߡѓၬֽᄤ ੍ֽ௺৭஬ძּ֑ᄤ ༴ߡֽᄤ ੌ‫ٸ‬ೠԤֽ଑ђ೟ძᄤ θࣛԤา஬೟ᄤ ̒ǜͳͳǜ͌ᄤ Ⴂ‫߹ވ‬৭ֽᄤ ߹༵ᄤ ࣛ෪ᄤ
         ൖ྾‫ֽݼݾ‬ൖ༴ֽ֔ᄤ༶ߡѓ༴ᄤ༴ߡֽᄤ৭ѓ༴༴ֽೠᄤႥѕൖᄤ௺ೞֽ௺ђೞࣜଊ‫ݼ‬ᄤϟᄤ௺྾༴ൖԤߡŖᄤ

         ʘໟᄤࣉ෠ᄤ༠޹ဂහᄤԃ৉‫غ‬Фೈঅუᄤ൛ဃ‫هݷݶ‬඼༡ٝևᄤ༢‫ފ‬Уໃᄤ༭ߟ‫ؾ‬ᄤԘ஡਷௯еૈფᄤႝଡ଼ငঅռᄤ௰фೂ༃ࢰԄ࢈௦с໻‫׃‬ᄤ࣊૾ᄤ༣ߗ٪ᄤ֌‫־‬ၣ‫غ‬ৠଢ଼௩੃٫૚ໟᄤ஧‫܅‬ᄤъᄤ
         ௦စ༤ඹԙߘᄤ ࡿ૿ᄤ бᄤ ෡ஔၤ٬೉‫ݡ ࢾغ‬ଃᄤ ԍ୛࿧ૉ໣ೊქ«ᄤ ༥ߙೕଡ଼࿧‫ߚݴ‬ᄤ໛ߛ‫ض‬ᄤ྿ය‫٭‬ᄤத‫܆‬ᄤ၏࣋ଢ଼৥‫ૈ־‬༦¬ᄤ ࢂ০১ً‫ݴ‬ю৞ᄤы଀֌ᄤ Ԉೖ࣑ਿ߽ଁУৡᄤ੄‫ٮ‬ь૿෢­ᄤ
         эૡ֍ᄤႛ޷࣒৒‫ض‬ᄤဆ൘ࡿૈ‫ݮ‬ᄤԚଡ଼ಛಾည௷༧࢈ଡ଼ેŐᄤ

         Ό޲‫ٯ‬෣ٰᄤԛ߂У೘‫ضݭ‬෤ᄤюೋԜᄤ஥‫܇‬ᄤ‫ؾ‬Ⴌԏ‫ؾ‬௦༨࢕୛ેУৢᄤ‫ݱ‬ಷУၥ࢕ໃყᄤеଂֈᄤ႞‫ض‬ಛ‫٭‬ᄤ‫ض‬Ⴍ௰ಖ‫ؾ‬෍෥‫ٱ‬ռᄤ႕޹ࢧৣ‫ٲ‬ᄤૉଢ଼ҵ஦֌იᄤ‫ٳ‬ၦ‫ٴ‬ଃᄤ༩ೌ࣌‫֎ٵ‬ᄤ༪ஔᄤ
         ߜ‫־‬Уಖᄤ༫ߝ‫ض‬ᄤ஧ྨ‫್׃‬ᄤ෦࣍֌‫ٶ‬ᄤଡ଼ಖᄤ໅நᄤၓً೗࣓‫ݠ‬ᄤю଄დᄤஔ‫܈‬ᄤ༃ߞ‫غ‬ᄤ ࣝ੹‫ݓ‬੎ƎФ༷ࢗஔ੸ᄤ௰࿧ұ৞ࣔෆ޹‫ض‬ֈᄤဇ੹֏‫־‬೎ᄤб੹ᄤюଅனଆდ੅பဈ෧ᄤ
         ෨࣎‫ݯ‬ଇУ༯ဂ೏‫ٷ‬őᄤ


         2.4       The damage

         The article continued and dramatically announced in its hcadJme, in red letters, under
         the title "NOTES FROM THE CIA AND DGSE ANNOUNCE A PUTSCH IN
         CONAKRY', which consists of an assembled mix of gossip, none of which has been
         subject to any minimal verification nor any investigative journalism.

         The damage has been considerable for Mr. Beny STEINMETZ and BSGR, after this
         aniclc has been published in different countries and by different media in France,
         England, Israel ... and of course. cspeciaJty m Guinea where 1t has been extensively
         exploited by the current government, and this, on the eve of an important election.

         The harm IĸƋ ŉ_Ƌ |¾ĚƅƋ STEINME':-¢Ƌ ¨ĦÈƋ L Ƌ group's honor and reputation, and
                                                                                            9


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         һ‫࣢ڢ‬૘‫ݳ‬ᄤіԐԐ࿀්‫ع‬և»ᄤଔஔᄤ੐ஔೣ‫ٿ‬ᄤஶ೤ᄤକமᄤ৳‫ڀ‬ඹ෭¼ᄤ୛‫ۺ‬ᄤ༹೤ჷࣣଖ‫ݳ‬ᄤ༺யᄤஙၮ‫ځ‬ೲ༻߫೽ஔႁᄤбᄤ෮ஔၯ‫ع‬೥‫ݿࣤؾ‬ଗᄤ௿வႦ‫ڢ‬೦ᄤб༼ᄤ༽ߤ‫־‬ᄤԦங෯༾ᄤ
         ர۶ᄤ+੟Ѳഈྼഉง,ᄤбଘՕᄤ႑ࣥ༿‫މ‬ஙတ།ᄤ޷‫ࡵිڃ‬໅б༺ࣦଘ‫ݳ‬ᄤཀஔᄤထූ‫ع‬ᄤੑ‫ڂ‬೤ԧ‫ڃ‬ଙФ೺ࣧ‫ڄ‬ෲ½ᄤࡵමᄤ‫څ‬ႯԨ‫־‬௩ཅ࢈୛੹ї৹ţᄤ

         Ε߂‫چ‬ᄤ‫ܟ‬Ҽ೧ࢺԸј້ࣨமଚිᄤ੒љև‫ڢ‬ᄤҼႻᄤཁ޳‫ع‬ᄤȗǧ̚ǝ͙ᄤȵ̎ȗʈǝʛ̎ɂ¾ᄤ႙ߥࣦԙߥᄤտ୛‫־‬෰ᄤଛ୛ืᄤߦ‫־‬෱ࣩ໅гགًᄤགྷଡ଼ᄤ࣪૘ၰ‫د‬ଜངᄤ
         Ԑற੹ଝ‫־‬Ԍཅࢅଡ଼ଝෳᄤ Ҙ‫ླ־‬٫‫ڇ‬ଞᄤ ˴೾ŗᄤ Ȃ ‫੹ڃ‬ჰᄤ ͭΊȱʢ̛˪ɃΕϏ¿ᄤ ǻ ͱɸ͊ᄤб੹ևᄤ ࡵଝտ࣫ၱ֖࣬ဒњইෲᄤ ႓޺ஓੂᄤ ཆ߂‫ژ‬ჟᄤ ՗ࢆվᄤ
         ଘ୛༺ᄤ‫־‬ၣ‫੹־‬ᄤॿଃம႞Àᄤ࿀੹ཇएৠᄤ೨‫ڈ‬ћ࣭֗ଘ‫ݲ‬ᄤས߲‫࢞ڈ‬ಭᄤૈќ਽‫ډ‬ෳᄤࢆଘᄤྫƏ‫څ‬ᄤќ೩༺ࣦԩ৙٫Áᄤбಾ‫ڊ‬ᄤෲࢆਙఀৰჱᄤ࢞೿ഀ‫ූڋ‬ఀம૩ෲ࣮ҽৱ‫ڍ‬Řᄤ

         Ζߤ‫ڈ‬ᄤ௥࿪ૈࣦ෴޺ੂ‫੹خ‬༕ᄤ‫ݔ‬೪ᄤි࿪ԔߧᄤХᄤ ֘࢑ම࢈੹‫ݕ‬੓ƘУ཈࣯ଡ଼૲ᄤ Ԋј੔௰ѝࣰ‫ݳ‬ଃÂᄤ ႓ࡵཟ‫މ‬ᄤࡸ૔ԪУ৲Թဓ৶Уү৲‫ڌ‬ᄤ ԫ୛ଃෲ‫־‬ఙ࿪‫ڍ‬ଟԔ‫ڎ‬෵Ãᄤ
         ෶ߨஔန৞ևᄤ ੕бཉӅ޺ᄤ ເ‫ڐލ‬ᄤ ‫غ‬Ⴐཊ‫੹ڢ‬ཋᄤ ଡ଼‫܋‬ᄤ ཌ߫‫־‬ᄤ ֢ऒ෷ಾ‫ڏ‬௮ပཌྷ‫־‬ᄤ Ԭўဖ෸‫ؾ‬ֆᄤ Ҿჲᄤ ཎߩ‫־‬ᄤ ւ‫ܠڍ‬੖эཏࣱஓ૘řᄤ

         Όߤ‫־‬ᄤ Ʉȣʕ΁ʓ̺̓ͭᄤ ˫Ǟ͍ͭʈǞˌᄤ ģ ȗǞ̔ǟ͊ȣᄤ ȳ̕ȗʉǠʜ̙ɉᄤ Șலਙ௩џଠჳᄤ ўଡ֖ᄤ ˬ೫Śᄤ ˭ࣲԑߪ‫ڐ‬৳ᄤ
         ɹǡʝˍˍǥ͑ȣᄤ ႗ࣦ৞৺ᄤ ҿ‫ٶ‬ᄤ४ ஓࡵଢར৻ჴᄤ ԭଡ଼૔ր‫ع‬੗ଣ‫־‬Օᄤ ཐஔᄤ ఀХქᄤ ད޺‫ڈ‬ᄤමလਙᄤ ம‫܌‬ᄤᄙ ƍ ƇƇÄƇƈƇᄤ ࣳ੹ᄤ‫ܟ‬ၲஜ೬ᄤள‫܍‬ᄤˮഁŤᄤ
         ȃ‫ڑ‬ତდᄤͫΗȵʐ̭ɅΌϐᄤЬଝՕᄤᄚ Ɛ ƇƇÅƇƇƇᄤࡾଥᄤ‫ܡ‬ၖଡ଼೭ᄤଡ଼‫ ܍‬Ȅͭɸ͎śᄤ

         ΎʠƑ‫ڒ‬ᄤ‫ړ‬૥དྷࣴ೮‫ྺړ‬ᄤஔ܎ᄤན߫‫ڔ‬෹‫ڕ‬ᄤ‫֙੶ݟ‬෺ᄤႧ࢈ই਀ᄤҘ‫ڕ‬ᄤཧഇѮ෻‫଼ܭ‬Ĥ‫ږ‬ևᄤཔஙᄤɺဗࣵ੹‫ږ‬ѠଦᄤԮ߫ѯംࣶྻᄤழ೯‫ހ‬бଧࣷᄈѡཕࡵவନ෼Ŝᄤ

         ʣ଻ᄤЬտտऐལࣸஜ૔Æᄤ ࢀ੘௩ଡ଼೰བѢଘབྷᄤਖ਼‫ع‬С෽သ೺‫ع‬හᄤ୛܏ᄤ५ ࿧տ࢕ԯࢆгৈᄤ௥྿җਁओԔЬམࣹ୛૔ᄤЬ௩௥‫ڗ‬ћೱᄤืஙᄤҗ‫ژ‬ᄤ଩‫ڙ‬԰‫ූښ‬ෲУഃჸᄤࣺପᄤ୛ೆ֚‫ڛ‬ೲᄤ
         ཙ୛ᄤԱஶേّԲ໋ᄤཚߐ‫ڍ‬ᄤ֡Ѱਗ਼ѣ‫څݶ‬ᄤԑѤဘෲ‫ؾ‬ևŝᄤ


                                     ɤ̸͜ŞʊɊᄤǦȆ͇σʻǉ ş͏ɆǢʹ̹̖ʹᄤ


         Θ୚ᄤ‫ڜ‬ଫ‫ݖ‬೚ԣ‫ڝ‬ᄤ༺߬‫څ‬ᄤ Ԑೳࣻਜ਼ࣼੵг৴ᄤ ৵ѥႁᄤ ѧ‫ݳ‬бࣽବභืᄤ˯ࡵԳ߭‫څ‬৶ᄤɻǣʞˎˏǨ͒Ȥᄤ ѦԴԊஔ೴րࣵଭ‫ݭ‬ᄤཛ஢ᄤ೵‫غ‬చမࣾ෾ࡵའऔஓମ෿ᄤ ஷ‫ܐ‬ᄤ
         ཛྷ޺‫ؾ‬ᄤ̈́࿀Ҙৼࡵԅᄤ˜ࣿ੹ऀ฀໣ƒჵÇᄤ

         Ι୚ᄤ ֒‫ڞ‬ԟ৪ѐ೚‫ڟ‬ᄤ ˰ಫŠᄤ ǻԵଘდᄤ ͵Κɋʡ̗˱ɇΊϑᄤ ѧଯ֛ᄤ Ȅͫɼ͐ᄤ ћෳᄤ Ѩ֜ੜँභෲ࢞Ҙ৷‫־‬ᄤ ѧกᄤ Զंၳः঄ᄤ ௩ഄ୛ข‫ع‬ԉယཝऄஓରÈᄤ

         Δஸᄤ֝‫ڠ‬า‫ڞ‬೶੆अ଱‫ڡ‬ᄤthal ཞ޺‫ڈ‬ᄤќ೤༅आԨ৞‫ع‬ᄤ௥࿵җ৽࢈ූ޷‫֏ڢ‬ᄤࢆ૘ᄤื޷‫ڢ‬ᄤȞ̞ǩ͚ᄤɛफ़ᄤ୛ܑᄤ Ͷ‫ڢ‬௩໇‫ڈ‬ਙҗ‫ڐ‬೷ᄤ
         ƥƶ  Éᄤ Ʀ Ƈ Ɠ Ư Ê ᄤ ஹଲᄤ ఁб‫ڣށ‬ᄤ ư Ë ᄤဟହՕ‫ڣ‬೸ᄤ the ߮‫ڤ‬ѩֈइଘ‫ނ‬ᄤ )ᄤ *̜̻ΛɌ͸ᄤ ɦ̻˵ᄤ Ψᄤ șʾᄤ ǫ̝ȥᄤ Χɍᄤ
         Ȧʄᄤ ǩ̯̽αᄤǪᄤ Ț̼ᾴᄤ ʱᄤ ț̀˅ τ98Ñᄤ ႁ‫ތ‬ஹමׂᄤ ႗ஓ೹՗ฃᄤ Ь೺ֿᄤ ೤‫ڐ‬ఀ৾ऑԔўཤ‫֞ڈ‬ᄤ ࣦଃᄤ
         Ԑ߯б௩ཟ‫־‬೰ᄤ Ƨš Ɣᄤ ம‫܌‬ᄤའ޷ࡵคᄤ ฅရਖ਼ਫ਼୛ଳෳÌᄤ Է୛଴ිืईྲ໗‫ڥ‬ᄤ Ҏᄤ ୛‫ڃි੹־ܕܔ‬ᄤ ଡ଼۞ᄤ௥྿Ҙ৞उԃᄤ և‫ܢڈ‬਱ћ໯ࡵ஢ଘᄤ Х‫ݡ‬Ѫࣦଃฆཡᄤ бଃᄤ
         ऊଵրࢆၴࢌֆ࿪ћইÍᄤ ࣦଶᄤ໌޷ऋමᄤӆбහ‫ع‬ᄤ ˲೻Ţᄤ ǻ ‫ڗ‬ଝჶᄤ ͬΊɈʑ̘˳ȵΕϒᄤѱ଺֖ᄤȅͷɽ͊ᄤ ȗଡ଼੝ంѫ૘ჰÎᄤ еභᄤఀഅ୛ၵऌ֟ٓ֠ᄤ ‫ݗ‬೼ᄤ
         ћଘ՗ᄤ௥လଷࣻෲ߰ћӀ৞٬ᄤҘჷᄤǤ൏ऍԃই‫ڦ‬භᄤƨƱᄤÏᄤƩǂᄤ௩і೺џ‫ރ‬ഽ௰ߔᄤ ƕᄤ гସտᄤ ШಾཥऎԔ৿‫־‬ᄤƲƪᄤ௩Ю೺Ѭ‫ݴ‬ആѭ௪߱ᄤʟᄤ ஺‫ܒ‬ᄤཌྷ߂‫ڧ‬ᄤ৸гႨᄤ୛‫ܓ‬ᄤ
         ʺဝ৖დᄤƫǃืߤÐᄤ Ɩ ǀǁ Ɨ ǈ ᄤ




         Therefore,

         ĹƋÉ¿Ê©ŊÕƋøpÙƋ GAILLARD, as ŦÖƋ+ŋŷËŀ«ĎƋauthor, guilty of the offense of public
         defamation ĺàƋ ªħƋ individual, as .xōĩŽùÌ×ÍƋ ãŌƋ ¬Ĩ\Ƌ punishable by Articles 23 , 29
         paragraph l and article 32 paragraph 1 ŧìØƋď­JKƋ ĻáƋJuly 29th, 1881,

         To condemn jointly Mr. Michel GAILLARD and LES EDITIONS MARSHAL -
         CANARD ENCHAINE Company to pay each plaintiff the sum of €I 00,000 in
         damages, a sum that the civil paities undertake to transfer to Guinean charity
         associations,

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                                                                                           CGS&H p. 10
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         To order, as additional compensation, the publication of the upcoming judgment in
         ten newspapers ofthe choice ofthe plaintiffs and at the expense ofthe defendant who is
         civilly liable, while each publication may not exceed the sum of €8,000,

         To order the provisional execution ofthe upcoming judgment,

         To condemn Michel GAILLARD and LES EDITIONS MARSHAL - CANARD
         ENCHAINE to pay the plaintiffs the sum of €10,000 according to ruticle 475-1 of the
         Criminal Procedure Code as well as all costs.


         List of exhibits:

               Article in the CANARD ENCHAiNE dated September 25, 2013




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                     I                         ..
                                      CITATION DIRECTE
                         DEVANT LE TRIBUNAL CORRECTIONNEL DE PARIS




         L'AN DEUX MILLE TREIZE ET LE


         A LA REQUETE DE

               La Societc BENY STEINMETZ GROUP RESSOURCES LTD (BSGR),
               irnmatriculee au grcffe de Guemescy, sous le numero 46565 dont le siege social est
               situe West Wing, Frances House, Sir William Place, Saint-Peter Port, Guemesey,
               representee par Monsieur Dag CRAMER


               Monsieur BENY STEINMETZ, ne le 2 avril 1956 en Israel, de nationalite franco­
               israelienne, demeurant 23 quai du Mont Blanc 1201 GENEVE (SUISSE)


         Ayantpour Avocat :

         Maitre Richard MALKA, 226 rue du Faubourg Saint Honore 75008 PARIS . Tel. 01
         56 59 60 20, Vestiaire C 593

         Tous deux elisant expressement domicile en son cabinet, conformement aux
         dispositions de }'article 53 alinea 2 de la loi du 29 juillet 1881


         J'ai Huissier Soussigne,




         DONNE CITATION A :    ..
               Monsieur Michel GAILLARD, directeur de la publication du CANARD
               ENCHAINE, domicilie en cettc qualite 2 rue des Petits Pere 75002 PARIS
               En qualite de prevenu


               SA LES EDITIONS MARECHAL - LE CANARD ENCHAiNE, SA au capital
               de 100.000 €, inscrite au RCS de Paris sous le numero 582 093 324 dont le siege
               social est situe 2 rue des Petits Peres 75002 PARIS
               En qualite de civilement responsable


                                                                                                    2124


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         A comparaitre en personne a }'audience correctionnelle du Tribunal de Grande Instance
         de PARIS, 17!rne Chambre (Chambre de la Presse) siegeant en Jadite ville, au Palais de
         Justice, 4 Boulevard du Palais, 75001 PARIS


                                   Le                        a        heures


         En presence de Monsieur le Procureur de Ia Republique a qui copie de la presente
         citation est notifi.ee dans Jes conditions prevues par l'article 53 de la loi du 29 Juillet
         1881.




                                               Tres importa11t :

                                                                " audience seul ou assiste d'un
           � etes tenu de vo11s' presenter personnellement a celle
         Vous
                           .....                                 .
         avocat. Vous pouvez aussi, mais dans cenains cas seulement, vous y faire representer
         par un avocot.

                                               ...
                                                 � de venir a !'audience, vous devez adresser une
         Si vous estimez etre dans l'impossibilite
         lettre au President du Tribunal pou,· expliquer /es raisons de votre absence. Vous
                                         ..
         joindrez a votre /ettre toutes piecesjusti.ficatives.
                                                                               ..
                             s.                          •
         Si ii /'audience vos raisons sont admises pm· le Tribunal, une nouvelle citation vous
         sera adressee pour une audience ulterieure. Dans le cas contraire, l'affaire sera jugee
         malgre votre absence.

         Vous devez rappeler
                     !'"                      .. ..                        •        '
                               dans toure correspondance la date, /'heure et• le lieu de /'audience
         a laquelle vous etes convoque (ainsi que le numero de la �chambre indiquee en prem iere
         page).


         Je vo11s informe que vous devez comparaftre a /'audience en possession desjustiflcatifs
         de vos revenus ainsi que de vos avis d'imposition ou de non imposition ou /es
         communiquer a l'avocat qui vous represente.




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                                            ƤƖųƫǄƄ őŷƒƑˡƶƧƎźƹƝŶƗˡ

         ȧन‫ܣܖ‬੠‫ڨ‬൚ᄤ௦Ϥ೪ᄤ Օ‫ک‬൚ᄤః೪ଢ଼௭ଢ଼൚ᄤՕ:့‫ک‬ᄤٝႱԺ‫ک‬௦ูघଢ଼ଽି‫ک‬অਃ‫ک‬ᄤ ‫ބ‬ధѺၶकཨ‫ڨ‬ᄤ ՕѼૌ൚ᄤF‫ڨ‬Օखཨࢮଢ଼੸ᄤ՗࿀ᄤ ƬƷᄤ ൚ٝఄู‫੃ک‬ҳధ‫ک‬ᄤ
         ƭƉ ƚ Ƴ ᄤ Օ࿀ᄤ               ௦࿀ࢮ൚ఛ࿀;थঅᄤ ਂ‫ک‬ဠధᄤ ‫ک‬൚ཨᄤ न੠అ࿀ཨ‫ڨ‬Òᄤ ଽࢮᄤ ఆঅ࿀൚ᄤ ૌࢮᄤ ੠ଢ଼ࢮૌ൚Óᄤ ՗‫ک‬ᄤ
         ఄೂ‫ڨ‬௦Фೂ‫ک‬ధᄤ࿀੹ᄤԺଢ଼အ௦ᄤՕ< ‫ูڨ‬Ϥཱᄤ‫੸ک‬ᄤʀ࿀घା‫کڨ‬Ôᄤଢ଼࿀ཨధ‫ک‬ᄤՕࢮܲ‫ڪ‬ధ‫੹ک‬ཨ൚ᄤ‫ܤ‬गཨ൚ᄤՕ‫ک‬ᄤԺଢ଼൉௦ฺघଢ଼ૌÕᄤਂ‫ػ‬൚ᄤ௦ѥೂ໣घ‫ک‬൚ᄤԺकၷࢮ৞‫ک‬൚ᄤ
         ૌ‫ک‬ᄤ ௦ٝ࿀ၷ‫ک‬ૌูᄤ ఛ࿀‫ک‬ᄤ ൚ଢ଼অਂघԺࢮฺ‫ک‬ೂᄤ অѳᄤ Ԋଢ଼ૌ՗ҌିФูघଢ଼ିᄤ Օ‫ک‬ᄤ ਂѳᄤ ൚ଢ଼Ժघ‫ڨูڨ‬ᄤ ‫ګ‬ՕनཨഐकԺ‫ک‬ᄤ Օ࿀ᄤ  
                     ٝཨᄤՕ‫ک‬ᄤ൚ଢ଼ૌᄤՕकೂ‫ک‬Ժู‫ک‬࿀ధᄤՕ‫ک‬ᄤ௭࿀ҘঅनԺѥูघଢ଼ିÖᄤ‫ܥ‬࿀ཨ‫ک‬ᄤՕ‫ک‬ᄤ௦ଢ଼࿀ၷଢ଼घధᄤघՕ‫ک‬ૉ฻घܾ‫ڬ‬ഊᄤঅ=Ѻနཨ‫ک‬࿀ೂᄤ՗ٝᄤ
         ই>ϡഎ཯नӄই‫ک‬ᄤ௦ଢ଼်൚࿀ࢮၶनᄤఇ࿀߿൚జ࿩‫ک‬ᄤ Ժ‫ਂک‬࿩ࢮĥԺࢮᄤ‫ک‬൚ฺᄤ Ժଢ଼࿀ధФ‫ݡ‬ٝ࿀൚‫ୃػ੃ک‬ཨᄤ൚ࢮ‫ڨିݱ‬ᄤʼ‫ڭ‬ధ஻੡‫ک‬ᄤ ȜϤ੹Фధ֣×ᄤ ೂϤघ൚ଢ଼ૌᄤ
         Օ࿀ᄤՕ‫ڮ‬অङཨᄤՕٝᄤՕࢮܳѴ੃Ϥูࢮଢ଼ૌᄤ௦࿀ҳਂदఛ࿀‫ک‬ᄤ‫ک‬ૌၷ‫ک‬ೂ൚ᄤ௦Ϥ೪཰चԻဢঅध‫ک‬೪ťᄤ



         Ɯūᄤ     ŬˑȽᄤǎ̾̐ͿȽςΔᄠᄤ

         ƛŪƙᄤ      '$++#+%!                    ()" &+            *+
         ːФᄤ ͬଢ଼Ժघ‫ڰูگ‬ᄤǻ ͯɾ͓ᄤ ‫ک‬൚ูᄤ ࿀੸‫ک‬ᄤ ൚ଢ଼Ժࢮ‫ڨ‬ཀྵ‫ڨ‬ᄤ੃ࢮଽन‫ڱ‬ഋٝᄤ జ࿀छᄤ ‫ک‬੢అইଢ଼क‫ک‬ᄤఈೂ‫ڱ‬൚ᄤ ՗‫ک‬ᄤ ƺᄤƊƉƉᄤ௦‫ک‬ధ൚ଢ଼੹ૌ‫ک‬൚Øᄤ ՕФି൚ᄤ
         Օଢ଼࿀ᄉ‫ک‬ᄤ௦ѥჺ൚ᄤՕ߿ܴ‫ڲ‬ೂ‫໌੹ک‬൚Ŧᄤ

         Ȩ‫ک‬௦࿩ज൚ᄤ൚Фᄤ Ժధ‫ڴ‬Фཨࢮଢ଼ૌᄤ ‫ูک‬ᄤ Օ‫ک‬௦࿀ࢮ൚ᄤ௦೪‫ڱ‬൚ᄤ՗‫ک‬ᄤ Ƴ Ʒ ᄤѥ੹൚Ùᄤ ‫ک‬অঅ‫ک‬ᄤ੸? Ф ᄤ६Ϥ੠ѥक൚ᄤ‫ูࢮܦ‬ᄤঅ@஼ҳ७‫ک‬ཨᄤՕ‫ک‬ᄤ ਂϤᄤ੃஽߿ૌָ‫ک‬ᄤ
         ФԺԺ࿀൚Фཪझଢ଼ૌᄤ Օ‫ک‬ᄤ ӄ஽ൊ௦ཨࢮଢ଼੹ᄤ ‫ཫک‬ᄤ ൚Aଢ଼Ҙਂघ‫کݱ‬Úᄤ ௦ѥధᄤ Ϥࢮਂ਄‫ک‬࿀ధ൚Ûᄤ  घ੹Ժঅ်‫ک‬ᄤ ՕϤૌ൚ᄤ Ժ‫ލ‬ѳԺ࿀ૉᄤ Օ‫ک‬ᄤ ൚‫ک‬จᄤ
         ௯ధଢ଼‫ݡ‬ೂѸ੃੧‫ک‬൚ᄤ ࿀੸‫ک‬ᄤ ‫ݘ‬ഌ཯‫ک‬ᄤ Օࢮ੠‫ڬ‬ૌ൚ࢮଢ଼ૌᄤ ‫ک‬ૉၶࢮഌଢ଼୙‫ک੃ک‬ૌཨФঅ‫ک‬Üᄤ ՗‫ڨ‬ၷ‫ک‬অଢ଼௭అѵାཬᄤ Օ‫ک‬൚ᄤ అೂଢ଼‫ބ‬ధϤ੠੢‫ک‬൚ᄤ
         ൚ଢ଼ӄࢮФ࿀ႲÝᄤ ੠‫ڳ‬ՕङԺѥ࿀Ⴕᄤ ‫ูک‬ᄤ߳ဣ੠ҏञฺѹघధ‫ک‬൚Þᄤ टૌၶ‫ک‬൚ูठ൚൚ѵୁཨᄤ ௦Ϥ഍ᄤ ѹटঅঅ‫ک‬ျ൚ᄤ ՗ѵୁ൚ᄤ অԽ൚ᄤ௭ధ஼‫ބ‬ధѳ੦੠‫ک‬൚ᄤ Օ‫ک‬ᄤ
         Օ‫ڨ‬ၚ‫ک‬অଢ଼௦௦‫ڬ੃ک‬ૌ཭ᄤ‫ګ‬Ժଢ଼ୀଢ଼੣नజ࿀‫ک‬ᄤՕ‫ک‬൚ᄤ௯ѥჹ൚ᄤԺଢ଼ૌԺ‫ک‬੤‫ڴ‬൚ŧᄤ

         ˶ଢ଼੸൚ࢮٝအధᄤ ǻ ‫ک‬ૌჹᄤ ͯΜɎʤ̮ȱΌϓßᄤ ‫ݙ‬ૌ֣Ѻฺٝ࿩ధᄤ Օ‫ک‬ᄤ Ժ‫ک‬ᄤ ‫ޅ‬ഊଢ଼࿀௭‫ک‬àᄤ Фᄤ ௭Ϥధѻਂਂ‫ڵ‬অ‫ک‬੠ٝૌูᄤ Ժ೪‫ڨڴ‬ᄤ ਂФᄤ
         ‫੹ݙ‬ՕϤཨडଢ଼੹ᄤ ԺѥೂढཨѴྪၷ‫ک‬ᄤ Ǭ‫ބ‬ૌ‫ڱ‬൚ᄤ ‫ูک‬ᄤ ǻ ‫ک‬ૌႻᄤ ͵΀ɏʑ̕˷ɐΊϔᄤ ఝနकᄤ ࢮૌู‫ک‬೪ၹन‫ک‬ૌཨᄤ ՕҐฉᄤ ԺߴѳԼးᄤ ՗ٝᄤ Ժ‫ک‬൚ᄤ
         ௦Фჺ൚Ũᄤ



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         Ȩ‫ک‬௯࿀߿൚ᄤƭƉƉƺáᄤইФᄤ ͯ஼Ժघ‫ڨูڨ‬ᄤǻ ͯɲ͔ᄤ൚B‫ک‬൚ฺᄤࢮ੃అঅघఞန‫کڨ‬ᄤՕѳૉ൚ᄤՕकၶٝధ൚ᄤ௦ధଢ଼८‫ูک‬൚ᄤ‫ک‬ૌᄤɿ࿀ࢮૌ‫کڭ‬âᄤ੃ٝିѥିูᄤ
         Օ‫ک‬൚ᄤཀྵ഑ФၸϤဤႳᄤ ՕD ٝႳ௦ইଢ଼ధФูकଢ଼੹ᄤ Օ‫ک‬ᄤ ൚ଢ଼ૌᄤ ൚ଢ଼࿀൚Ħ൚ଢ଼অãᄤ ഊࢮԺ‫کލ‬ᄤ ٝૌᄤ ՗ࢮܵ‫ڶ‬ഌ‫ک‬ାཨ൚ᄤ ੡ࢮି‫ک‬ೂФࢮ൚äᄤ ਂ Cࢮૌ൚ཨФ೪ᄤ Օ‫ک‬ᄤ
         Ҙࢮ‫੸ک‬ᄤՕ DФ࿀ྫྷ‫ک‬ชᄤ൚ଢ଼ӄ߽‫ڨูڨ‬൚ᄤ੠चૌࢮ‫ڱ‬ೂ‫ک‬൚ᄤकૌ໣‫ک‬ൄϤูࢮଢ଼ૌФਂ‫ک‬൚ũᄤ

         ˌФᄤɲ࿀णૌ‫کڨ‬åᄤՕଢ଼੸໣ᄤঅФᄤ௭ଢ଼௦ဣঅФูतଢ଼ૌᄤФཨཨ‫ک‬घૌཨᄤՕࢮႴᄤ੥घঅঅटଢ଼੹൚ᄤ՗E‫ލ‬ФҘࢮ཮Ϥୂู൚æᄤ ‫ک‬൚ูᄤ࿀ૌᄤ՗‫ک‬൚ᄤ௦ѥႻ൚ᄤঅ‫ک‬൚ᄤ௦অ࿀൚ᄤ
         ௯Ѷ࿀ၚഊ‫ک‬൚ᄤՕ࿀ᄤਹଢ଼ૌՕ‫ک‬çᄤ‫ک‬ૌᄤՕ‫ڰ‬௦घཨᄤՕ‫ڬ‬ᄤ൚‫ک‬൚ᄤధࢮӄ‫کލ‬൚൚‫ک‬൚ᄤૌФ཭࿀ధ‫ਂਂک‬ٝ൚èᄤ‫ک‬ཨéᄤԺ‫ک‬êᄤٝૌᄤ௯ѷഏིࢮԺ࿀ঈन‫ک‬ధᄤధϤࢮชଢ଼ૌᄤՕٝᄤ
         son instabilite  úŨłLƋ ,7Ƌ$Īũ9$Ƌ ī(Î ®µěÀĜƋ         · l'aboutissement de tout projet a
         long terme, a tel point ,ƋĐƋ ûĬ9ŭ( Ƌ;,,t
                                                         ƇƋcd`Ƌ..aPQiUVyM=¡>;A?<B:Ƌ l'ont qualifie de « pays de
                                                               ƈrn"t;"n,mv
         ressources maudites ».

         ¯Ƌ Â %Ū%ƋBSGR a malheureusement fait !'experience de cette malediction...

         En effet, en 2008, le gouvcrn"      m"ntbghƋ Ƌ ŸüĭÚƋ annulait des licences d'exploitation
                                          ReƉNSfƊƋ
         accordees au gcant minier RIO TINTO /ŎƋƋåýĝT[ĮO/Ƌ      · de minerais de fer situes dans
         la region du SIMANDOU, a raison ÏƋ)°Ƌ&â')´ÁrƋde cette societe a respecter le code
         minicr et a explorer lcs territoires dont @ƀ 'ū±Ŭþ įƋlui avait ete concedee.

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         La Societc BSGR se voyait alors accorder un permis de recherches dans cette region,
         puis, en 2009, un accord de concession.

         C'est done bien cette societe qui est visee par l'article du CANARD ENCHAINE sous
         l'appellation « BSG ».

         Cette societe investissait alors plus de 160 millions de dollars sur place en forages et en
         etudes de faisabilite, mais aussi en ecoles, dispensaires, centres culturels.

         Elle s'associait par la suite au groupe bresilien VALE, aux fins de continuer
         !'exploration des gisements miniers, de les exploiter, de creer une ligne de chemin de
         fer passager pour un cout d'un milliard de dollars et d'investir plus de 8 milliards de
         dollars en infrastructure, afin de transporter le minerais de fer, ce qui aurait eu pour
         effct de developper considerablement l'economie de cette region.

         Plus de 600 millions de dollars supplementaires etaient en outre investis en Guinee,
         dont approximativement 300 millions de dollars par la Societe BSGR.


         1.3                                    -
                La prise dupouvoir par le President Alpha CONDE

         Au mois de novembre 2010, Monsieur Alpha CONDE a ete elu President de la Guinee
         au terme d'un scrutin dont la regularite a ete tres Jargement contestee, celui- c i ayant
         obtenu 18 % des votes au premier tour, contre 44 % a son opposant, puis,
         miraculeusement, 52,5 % au deuxieme tour.

         Depuis, les elections legislatives ont ete repoussees d'annee en annee, alors que des
         manifestations pacifiques etaient reprimees dans le sang par le pouvoir, des centaines
         de personnes y trouvant la mort sous les balles des forces de l'ordre du President Alpha
         CONDE.

         Le nouveau President Alpha CONDE confiait alors a son fils Mohamed un role
         omnipotent dans les tractations minieres.

         Il s'entourait en outre de l'ancien financier et raider Georges SOROS et de l'aocien
         premier ministre britannique Tony BLAIR afin de renegocier tous les contrats miniers
         precedcmment accordes, a la plus grande satisfaction de certains de scs nouveaux
         partenaires chinois, russes ou sud-africains.

         En juin 2012, le journal Sunday Times a en outre revele qu'un accord secret avait ete
         conclu avec un homme d'affaires sud-africain ayant prete 25 millions de dollars au
         nouveau pouvoir en echange d'une participation de 30 % sur tous les droits miniers de
         la Guinee.

         L'ex-premier ministre Tony BLAIR, pour sa part, pretendait intervenir en aide, a titre
         totalement desinteresse, au pouvoir guineen, alors qu'il etait confortablement appointe
         par un fonds souverain d' Abou DHABI qui, par une singuliere coi'ncidencc, avait
         justement signe un accord de collaboration avec la Guinee.


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         Quant au milliardaire Georges SOROS, trentieme fortune roondiale grace a ses
         speculations sur des monnaies ayant pour effet de ruiner des economies entieres, il
         mettait a la disposition du nouveau pouvoir son cabinet d'avocats americain de 4 200
                                       ..
         personnes, des cnqueteurs prives, ses fondations particulieres, etc ...

         Il etait alors reclame a la Societe BSGR une renegociation des contrats passes, telle que
         }'operation envisagee n'avait plus aucune chance d'etre economiquement viable.

         En depit de la cooperation du groupe BSGR a ce processus, une veritable entreprise de
         destabilisation etait initiee avec faux documents, rapports complaisants et surtout
         accusations de corruption permettant }'expropriation de ses mines.

         Deux employes du groupe BSGR etaicnt egalement incarceres, puis maintenus en
         detention, en depit d'une decision de la chambre d'accusation de Conakry, le
         gouvemement decidant alors de considerer comme suspensif les pourvois en cassation
         et ce, avec effet retroactif. ..

         Tous les elements etaient ainsi reunis pour demarrer une lourde campagnc de calomnie
         et de desinformation a l'encontre de Monsieur Beny STEINMETZ et de son groupe,
         Monsieur Beny STEINMETZ etant spectaculairement presente comme l'homme le plus
         riche d'Israel - ce qu'il n'est pas -, l'associant systematiquement a des personnages
         operant en Afrique et dont il n'avait jamais entendu parter auparavant, au seul pretexte
         qu'ils etaient de nationalite israelienne, utilisant tous les poncifs possibles sur les
         services secrets israeliens et les mercenaires de ce meme pays qui se trouveraient en
         Afrique, multipHant Jes accusations de corruption, etc, etc.

         Pour exemple, le journal anglais The Guardian, relaye par le magazine M Le Monde,
         dans son edition du 7 septembre 2013, pretendait a la realisation de perquisitions
         menees par des polices fran9aises et suisses a la demande des Etats-Unis dans une
         filiale du groupe BSGR, alors qu'en realite cette perquisition etait menee par la seule
         police suisse, en presence de la police fran9aise, puisqu'agissant sur son sol, a la
         demande, non pas des autorites americaines, mais d'un juge d'instruction guineen.

         Un droit de reponse etait d'ailleurs publie par le magazine francais par la suite.

         Le journal Le Monde publiait en outre, quelques jours plus tard, un tres long article
         consacre « aux milliards de Simandou », beaucoup plus equilibre, bien que faisant
         toujours etat des accusations de corruption de }'entourage du President Alpha CONDE
         mais relevant aussi bien les « motivations obscures » de Tony BLAIR et de Georges
         SOROS.

         n a ete d'ailleurs etabli que ce dernier n'avait pas hesite a obtenir des informations sur
         le groupe BSGR par l'intermediaire d'une importante socicte de communication
         anglaise ... mandatee par BSGR pour se defendre, et, en fait, trahie par celle-ci, ce qui a
         donne lieu a un important dedommagement financier en Angleterre.



         C'est dans ces conditions que, quelgues jours avant un scrutin legislatif a risque pour le
         parti du President Alpha CONDE, LE CANA.RD ENCHAiNE publiait un article
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         irresponsable, mettant en cause les parties civiles et d'ailleurs immediatement utilise
         par la propagande du regime guineen pour appeler au sentiment patriotique ct raviver
         des tensions ethniqucs.


         2.      DISCUSSION


         2.1
                 ....   -
                 L'article diffamatoire publie en page 3 du CANARD ENCHAINE DU 25
                 SEPTEMBRE 2013

         Sous le titre « DES NOTES DE LA CIA ETDE LA DGSE ANNONCENT UN COUP
         D'ETAT A CONAKRY» et le sous-titre « Selon les services secrets, /es troubles
         pourraient etre declenches des la semaine prochaine )), l'article debute ainsi :

         « Des mercenaires fran9ais, sud-africains et israe/iens, disposant de relais a Paris et
         en Afrique et soutenus par un roi du diamant, preparent un coup d'Etat en Guinee,
         ven·table e/dorado minier. C'est la these retentissante de/endue dans deux notes
         redigees respectivement par /es services de renseignement americain (CIA) etfran9ais
         (DGSE), et que « Le Canard» a pu consulter.
         Le document fran9ais evoque « de serieux risques d'operations en cours, tendant a
         destabiliser l'Etat guineen ». Et un « mode operatoire » consistant, /ors de grandes
         manifestations, a « inciter la police et les forces armees a recourir a la force et ainsi
         Creer des martyrs ».
         Le texte americain, intitule « Note sur les questions de securite en Guinee » et date du
         13 septembre, evoque le « financement de partis d'opposition » et le « recrutement de
         mi/ices peules », ethnie supposee hostile au president, Alpha Conde. Le contexte des
         prochaines elections legislatives (28 septembre), ajoute-t-il, sera propice a « de
         violentes manifestations de masse a Conakry et dans d'autres villes ». Ces mouvements
         pourraient « servir de couverture a des operations ciblees, menees par les
         mercenaires».

         Puis sous l'intertitre « Culbute miniere », l'article se poursuit ainsi :

         « Si ces ecrits ont des relents de roman d'espionnage, ifs s'appuient sur une realite non
         mains romanesque, evoquee dans ces colonnes ii y a quinze }ours. Une affaire de
         corruption internationale autour d'unefabuleuse mine defer.

         L'histoire commence en 2008, a/ors que le vieux president guineen Lansana Conte
         termine son cinquieme quinquennat de dictature. Le milliardaire franco-israelien Beny
         Steinmetz, qui a faitfortune (la premiere d'/srae/) dans le diamant, lorgne cetle fois le
         plus grand gisementferreux non exploite de la planete, le site de Simandou, au sud-est
         de la Guinee. Le magnat courtise le chef de l'Etat, son epouse, ses ministres, et son
         groupe (BSG) recupere pour 165 millions de dollars une partie des droits d'extraction.
         Quelques semaines plus tard, il en revendra la moitie au groupe bresilien Vale au prix
         de 2,5 milliards !
         A Ia mort de Conte (en decembre 2008), une junte militaire prend le pouvoir et
         Steinmetz tente de « securiser » son bien. Un de ses agents, Victor Kenan, passe un
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         par BSG >>. Ce parti a redige un « memorandum, saisi par /es enqueteurs guineens »,
         prevoyant que BSG conserverait ses droits d'extraction, « au cas ou le Parti du
         renouveau participerait .gouvemement ».

         L'ensemble de cet article   diffamatoire par clJacune des parties civiles.




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         ǝ߽੹൚कðᄤ ˷୞੶൚߾‫ن‬်ᄤ Ȉ ‫੶ض‬Ⴛᄤ ͲΌȸʲ˜ȱΌϖᄤ ௧ϡ൒कӄकఄ‫ن‬఩ϡकืᄤ               ࿵੹ᄤ ၺ‫ڨ‬ೂ߾ཨϡӁঈ‫غ‬ᄤ Ԅ௃࿁ఄᄤ ւK ‫ڨ‬ໟϡ໢ᄤ జ੪ᄤ
         कਲ਼௯আकజ࿁‫ن‬ഒϡकืᄤ՗‫ض‬൚ᄤਲ਼୞ഘ྄൚Űᄤ

         ȩ‫ں‬ᄤ ੠‫ڻ‬੫‫ں‬ñᄤ ਇѳᄤఄഖ‫ڨ‬ఄϡధСཷर௄େᄤ Օ‫ڒ‬ᄤ Ղ‫ں‬ᄤ ఄဣླྀจՃߵᄤ ਊZѳਲ਼‫ڼ‬ୈ‫ں‬ജѳऱูᄤ ݀େґՄ‫غ‬ధᄤՕ‫ں‬ฑᄤఄ Сధ྅߾จᄤ ՗L௅ఄఄ௅ฒ߽ຼ߾୞୉ᄤ
         ӁकՕ୞੹บòᄤ  ಟ‫ن‬Ձഘ࿫ู‫ن‬ഗᄤՕ‫ڬ‬൚ᄤ੧कআकӄ‫ن‬ณᄤ‫੹މཹض‬लజ࿵‫ن‬൚ᄤ‫ن‬຾ᄤ ୞ೂ‫ޅ‬ϡ੶क൚‫ض‬఩ᄤՕ‫ن‬൚ᄤ୞ఄ‫ڨ‬ഝϡูक୞੶൚ᄤԄकӁ৔‫نڨ‬൚ᄤਲ਼‫غ‬୊‫غڨ‬൚ᄤఉϤೂᄤ
         ւ‫ن‬൚ᄤਲ਼‫ن‬ഒԄ‫੶ن‬ϡकഗ‫غ‬൚óᄤ ཨெ࿵ืᄤ Ձ‫ڢ‬Ԅ߾ᄤఉϡഒᄤ ‫ن‬൚ఄഒकืᄤւ‫ڢ‬ᄤআဂӄഒ‫غ‬ᄤ௧྿क൚డိMकআᄤ ൚Nϡ‫ޅ‬क఩Ϥकืᄤւ‫ڢ‬ᄤ ᄍᄤยϦူ၆‫ݦל‬Ѕర֫‫״‬రᄤ ม‫״‬ยᄤ
         ࠡગྋ‫׎‬പ‫ྌۆ‬รᄤ‫ݦ‬ေॄઞ‫ۃۄ‬ગรᄤ఍҆തᄤ ֪‫؁‬รᄤ ਚஎ჈‫୒ۃ‬รᄤ 2ɤȉʞˡᄖôᄤ৔ϡᄤ ‫ݚ‬കਲ਼တঈб໅क୞੶ᄤक੶ེ‫غ‬ಟഒ୞‫ކ‬Сู߽ၺ‫غ‬ᄤ࿵ཨकআी൚‫نڽ‬ᄤ‫ڨ‬໢ϡૈཻᄤ
         ఄ࿫ഒ‫ض‬੡‫ู੹ض‬ᄤ ϡӄϤՕ‫ڨ‬ਲ਼कఛ࿁‫ڬ‬õᄤ ู୞࿁ูᄤ ঈ‫ن‬Ԅู‫ن‬࿵ടᄤ Ԅ୞੡௦ధ‫੶ن‬С୏ูᄤ ӄআб߽఩‫ن‬ਲ਼‫ن‬୊ูᄤ ఛတ‫غ‬ᄤ ৔‫ن‬ᄤ ᄎᄤਞॆ਎ਏࠡϰിॅഫ‫ۃ‬ᄤ
         ࠶එതϰ‫ۇ‬਌ॆ‫ל‬ગᄤᄗᄤ൚‫ن‬ధϡकูᄤՕ‫ن‬ഛഒ़‫ڱ‬ഒ‫ن‬ᄤูநတู‫ڢ‬ᄤԄ‫نྱڢ‬ᄤ୞ఄ‫ڨ‬ഛϤูक௃੹űᄤ

         ʨʩᄤ‫غ‬ด໢ᄤ‫ޅڨ‬Ϥঈ‫غ‬੡‫ู੹ن‬ᄤकਲ਼ఄတོ‫ګ‬ᄤ  ˺୞੶൚क‫ض‬࿵఩ᄤȈ‫੹ن‬Ⴛᄤ͹Όȸʳ˷ȴΌϖᄤՕOϡၺ୞߽ధöᄤఄϤഘᄤৢPषૈื‫غ‬ೂ਷‫ڨ‬Օळбकക‫ض‬ᄤՕ‫ن‬ᄤ
         ঈQ࿁੹ᄤ Օ‫ض‬ᄤ ൚‫ن‬൚ᄤϡ‫ู੹غޅ‬൚÷ᄤ ιऴԄูநഒᄤ˃ȸ̠ǝ̕øᄤ ఄϡ൚൚‫ڨ‬ᄤ တ୊ᄤ ӄ୞੶ྮϡูᄤ Ϥၻ‫ن‬Ձᄤတ୊‫غ‬ᄤ ൚୞Ձव‫ڨ‬໢‫ڨ‬ᄤ क൚఩Ϥ‫ڨ‬ਈक‫੹ن‬୅‫ن‬ᄤ ՗‫ن‬ᄤ
         ൚‫ڨ‬Ԅဣಶकู‫ڨ‬ᄤ ఛတकᄤ Ϥ࿵ధϡ߾ูᄤ ‫ྯ੹ن‬ϡश੶‫ڨ‬ᄤ আϡᄤ ‫ޅ‬ϤഒՕ‫غ‬ᄤ ఄഒ‫ڨ‬൚कՕ‫ཹ੹غ‬क‫ن‬ঈআ‫غ‬ᄤ Օ‫ن‬൚ᄤҘ‫ڨ‬ഒ‫ูغ‬൚ᄤ ഒ୞တ‫ڢއ‬൚ᄤೂ‫ن‬൚௦୞੹൚ϡӁআ‫غ‬ᄤ ֧ဧᄤ
         ੡Ҁ൚൚ϡՁధ‫ض‬ᄤ՗‫ن‬ᄤ Ɲ ƷƾᄤԄकၸ߾ঈ൚Ųᄤ

         ȱ੶ᄤഒ‫ڨ‬бঈู߽‫ڨ‬ùᄤ˻୞੶൚ष‫ن‬ါഒᄤȈ ‫੹غ‬ႻᄤͲΌȴʥ̠˭ɃΞϖᄤ੶Rϡᄤ९ бਲ਼ϡक൚ᄤ‫ض‬࿁ᄤঈ‫ن‬ᄤਲ਼୞क੶Օ఩‫غ‬ᄤআक‫੹ض‬ᄤϡၺ‫غ‬Ԅᄤ ਉϤᄤ൚୞Ԅु‫ڹ‬໢‫ڨ‬ᄤ
         Օ‫ڢ‬ᄤตՅԄ࿵఩क໅‫ڨ‬ᄤ‫੶ن‬ᄤద‫غ‬ฐูक୞੶ųᄤ

         ʪƠᄤେ S б ᄤఊҁถᄤՕϡၶ҂େཽ҂‫نބ‬ᄤ‫غ‬ဨᄤఋே࿵ങᄤ҂‫ھބ‬ୋཾᄤ˼ேୋทस‫غ‬࿁ങᄤκहՆཿைചᄤ˄ɓ̡Ǭ̡úᄤ ֨‫غ‬ᄤƿƻᄤбୋธûᄤఄѼนᄤఄঅ࿁จᄤ
         జ࿁‫ڢ‬ᄤঈϡᄤ͹௃ӄक‫ڨ‬໅‫ڨ‬ᄤȇ͵ɿ͕Ŷᄤ

         ȱูᄤӄ T‫ن‬൚ูᄤ࿵੹ᄤՕ‫ྀڨ‬Ϥऺঈüᄤ੬Ϥकบᄤঈϡᄤ൚୞੡੦‫ض‬ᄤ Օ‫ن‬ᄤƭýƸᄤਲ਼कঈঈकϡഒՕ൚ᄤՕ‫غ‬ᄤՕ୞অআϤട൚ᄤ‫ڨ‬ၼ୞ఠတ‫ضڨ‬ᄤఄ୞࿁఩ᄤఄഒ߾Ⴖᄤ՗‫ن‬ᄤআϡᄤ
         ఄбధ໢कԄकఄϤูऻ୞੶ᄤՕ‫غ‬ᄤঈϡᄤ͵ ௅Շू‫ڹูڨ‬ᄤλǚ˓ȱᄤୌUСᄤ९ С਷Ϥ़൚ᄤ‫ڨ‬໅‫ڨ‬ᄤၺ‫غ‬ಶ൚‫ضګ‬ᄤС࿁ᄤ‫ޅ‬ధ୞࿁ఌ‫ن‬ᄤȉͺʁ͎þᄤ‫੶ڢ‬ᄤಟϡक൚୞୍ᄤ ւ࿁ᄤ
         ‫ڢݱ‬ঈᄤ֦‫غ‬ᄤʦVᄤ‫غ‬Ⴒఄঈ୞क໢ϡ໢߾୞੶ᄤւ‫غ‬൚ᄤਲ਼ऽ੶‫غ‬൚ᄤԄ୞ૈԄۜ‫نڨ‬൚Ŵᄤ

         ǚᄤ Ԅ‫غ‬ᄤ९୞ီഡÿᄤ ঈ‫ن‬൚ᄤఄϤഠ྄ा‫غ‬൚ᄤ Ԅकၼकঈ‫غ‬ปᄤ ୞ૈืᄤ ϡक੶൚षᄤ ‫ڢ‬Ⴕఅ୞൚‫ڨ‬ᄤ ఄ਋ာ൚ᄤՕ‫ض‬ᄤՕ‫ڨ‬ఄ‫੶ن‬൚‫غ‬ฐᄤ ‫ཱྀڢ‬ᄤ ՕWक੹ၼ‫ن‬൚ูक൚൚‫ض‬ਲ਼‫ྂ୎ض‬൚Āᄤ
         జဩX ‫غ‬আঈ‫ض‬ผᄤ੶Y୞੶ูᄤఄ‫ڿ‬ഞǍǌဪᄤՕ‫غ‬ᄤఄഗ୞ู݁൚ᄤผ࿀ഒᄤԄ‫نูྀن‬ᄤ୞ఄ‫ڭ‬ഛϡ໅क୞੶ŵᄤ

         11 est egalement impute « au groupe de ļİśĀÜźŏƋ           �rz
                                                                     kƋ », et done a lui-rneme,
         d'avoir nourri de« plusieurs millions » le compte de la veuvc chef d'Etat guinccn.

         n est ainsi clairement impute a Monsieur Beny STEINMETZ ct a la Societe }ƋÛŚƋ
         actes de corruption.

         II 0ŮƋ 0Ź 3Ƌ prctendu que la ć81ůÿƋ Ƌ quatrc 41Ƌ en voudrait dcsormais          a   cc
         « paisible diamantaire ».



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                                                                                               CGS&H p. 19
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                                          Pg 102 of 216




         I ˡ%$(ĽˡÔŦˡ, ĉAɌNˡoˡ%ˡ,.)%ˡɞ),NL9ˡA)$ .Bà<ˡđ$ˡ) .ˡH9Ǳ)ïˡ,ʲˡȞÄN$kG ˡ.Bˡ
         95ˡ¦ˎˡINŐƽ 1ľˡ%%.ˡBˡ > ɰˡvˡ <)hˡŻB˓ˡ[¿ImƚI¿ǁˡB$ˡ%ˡ [>Lˡ
         ż[ƍƩˡGÔˡ¥ɸˡ  ˡʺ 1ˡǳ¦ˡA5ēŞˡ

         m¸ˡ(ˡA%G ʳˡ)ÎAĿˡCˡæ$ˡ)Ƞ(ˡ 9OǧNȊh.êˡFˡo$ȗȚGO$ ŀˡ å|ˡúˡ਍‫ל‬รᄤ ฦ‫ל‬Ĩोӝ‫؁‬ฦᄤ
         ‫୕ݞ‬഼҈ौൺᄤ‫ྑ׿‬ᄤ έͼᄤ ©ˡ â(ˡ %Áˡ9Bk>NBˡåVˡ ,$ȋ¥hˡŽ øˡ [ImIǂˡ ǒ)ɍˡ_>1_Éˡ:ˡ
         VõA:ˡ ,ʟˡ 1ɴòȌˡ ĒˡఓКതᄤ ִฦᄤ ਞோ჻‫઻ל‬ൺᄤ ਞ࿂ൺӑਓ‫ۄ‬ฦ ᄕċᄤ  ˡ O%ʠǓuˡ ) ˡ C5vˡ :ĊŁˡ
         }g5ċɲɳ:1(Ü (ˡ ɿȍ¡ˡ 9{ˡ 1u, 5Oʼułˡ ŧˡ <¢ˡ țˡ Êʴˡ úˡ֬b࿂઻ᄤ ӻ‫ל‬യ๬҉ॏ઻ᄤ νՏྒௌరᄤ
         ̲ൺКറČᄤ ्รാ‫ۏ‬਒ॎ‫୕ל‬ᄤ‫ྒྷې‬ᄤՐ௉୕รဳ਍ྔ҆୒྇ᄤร‫ۇ‬ӥ࿂రॏ྇‫ۇ‬ᄤ௜௉࿂രᄤǴͽɮᄤ֭‫ל‬ఓ࿠ॐൺᄤִวᄤϦ઻઻‫׬ۇ‬ศᄤ ˟Ńˡ g5ˡǔ¦$ˡÙɷ9ˡ
         ˅ <ˡHȎO ˡoˡ<ʖ(G ˡã|ˡ_ǕǛLFˡFˡȯ1Gşˡ

         ~k>ˡ:Č 5îńˡLɥˡ}$(ˡ_č%%ˇ,ˡCˡ˙ˡ࿠୕ᄤ ੯୦࿠ၽ‫ל‬ਞ‫ྕ୕ۑ‬ᄤ‫ݧ‬࿂ࠚ઻‫ૂ׿ۄ‬ᄤҤַ॑୕ᄤ ˠŅˡXˡรК୕ฦᄤ ֭୦࿠྇‫ל‬ᄤ
         ฦ௜௉୕ว௉ദौඤ‫ۇ‬ᄤఔ҆റᄤǴͽʂᄤ ©ˡ<ʵˡg}ˡ y<ˡ(ˡ AAˡ HîÉÎˡ%¡ˡÖß(ʶˡÜàˡ:VˡA5Šˡ

         Ɔ ˡ>ÙǖÕëņˡºɽɵ,ÕȏVìˡžq ˔ˡƱƸƇƏơºIǃˡǗˡÅȐˡëqǨíˆ(ˡo.ˡɱ.ʉǩqɎìqˡHãˈˡʊ%ɓʡ<íˡ)ˡ
         H5òyCȶˡ:$áˡ HF9.ˡVˡH Vkɏˡ) ˡvǘêʻÖˡȜß(Äȷˡg)ɐˡHï(ÊȰ.ˡ,ˡ (šˡ

         ƣŇˡ)>| ˡ:<ˡÁ{$yˡCk1FˡɶˡʢO$ʷˡÝGˡʃ|ˡʣˡƛu)ˡƾCˡ~Ʋ[~ƪŢˡ

         ȿଉᄤ ֒‫ܛ߹ྍ߹୓݂ۈ‬āᄤ߹ॉᄤֽฤྍᄤ߹੆ఎ྾า‫ۈ‬ᄤ  ˽୚ଉฤ߹ֽ྾ೞᄤ ǿֽଉსᄤͳΘȿʚ̣˽ȽͿϗᄤ֑[ϟၫ୚߹ೞᄤଉ߹ᄤఏ৮྾ൖᄤଉ߹ᄤ੭୚߹ଉൖᄤ
         ೞּԤೞ྾า‫ۉ‬ᄤ ּ֒ൖᄤ ੭ּೞՍּଉ҇߹ೞּൖĂᄤ ఏೞ‫ۉ‬఑҇ೞ‫ۉ‬ᄤ ဲଉᄤ Ԥ୚྾఑ᄤ ֒\‫ۉ‬าϟาăᄤ ୚ೞ‫ݽ‬ϟଉ߹ൖ‫ۉ‬ᄤ ྾ੳּᄤ ߹ଉൖ྾ೞೞֽԤา߹୚ଉᄤ
         ၫ߹୚਑ֽଉาֽĄᄤ Ԥ୚ೞೞ୚੆ఐ྾ᄤ ਐּᄤ ఐ୚྾ၫ୚߹ೞᄤ ‫ݽ‬྾߹ଉ‫ֽۈ‬ଉąᄤ ֒‫ۉ‬ൖྍϟҷ߹৮߹ൖ‫ۈ‬ᄤ ྾ଉᄤ ೞ‫߹ݽۉ‬੮ֽᄤ ఑ ѓೞᄤ ּ֒ฤᄤ ੆୚სֽଉฤᄤ
         ॊ৮ਐ‫ݽۈ‬ϟ྾ႮĆᄤ৮ּᄤྍ୚྾ྍᄤఐ୚྾ೞᄤఐ਑҇Ԥּೞᄤϟ྾ᄤ఑୚྾ၫ୚߹ೞᄤ྾ଉᄤఎϟೞྍॊᄤ‫ܧ‬ଉྍ୚Ԥ߶ֽᄤֽาᄤ఑ೞ୚า‫ֽݽۉ‬ೞᄤൖֽฤᄤ߹୔า‫ۈ‬ೞ‫ۊ‬าฤᄤ
         ੭߹଑ྎֽೞฤŷᄤ

         m¸ˡ Ďøˡˡ 5FFG. {ˡǜ.,ä$ ˡ_ď ,1ˡ¢5hˡF.ˡ99ȑhˡ:ɑȘȝÞäL.ˡ:ˡC,ˡ1Þv5ʸ ˡæňˡ
         1ˡ %%<¡ˡ 1 (ˡ õyŉˡ >B(L(}ɒ Nˡ ǲ¢ˡ C$Ý,ˡ ¥,,1ˡ ǝâˡ g)Đ) ˡ >áÅ%ˡ
         $ {ʒʹLB%ţˡ


            ˋּൖᄤ߹੆ఒ྾า҇าࣛ୚ଉൖᄤ֒߹‫܉܉‬ϟ੆ϟྍ୚߹ೞֽฤᄤ ৭aּԤ୚୔าǋᄢŸᄣֽ֒ᄤ਑ѓᄤൖ୚Ԥ߹‫ۉྍۉ‬ᄤȊͻɨ͖ᄤ

         ͳ ]ѓ‫߹ݽ‬ฤฤϟଉྍᄤֽ֒ᄤਐϟᄤͳொԤ߹‫ۋ‬า‫ۈ‬ᄤȋͳɨ͌ćᄤֽ৮਑ֽᄤֽฤྍᄤ֑߹ೞֽԤྍֽ੆ֽଉาᄤၫ߹ฤ‫ֽۈ‬ᄤԤ୚੆੍ֽᄤ‫ྍۉ‬ѓ୔าᄤ৮ϟᄤฤ୚Ԥ߹‫ۈྍۈ‬ᄤֽ֒ᄤ
         ˾୚୓ฤ߹ֽ྾ೞᄤȌּଉძᄤͳΟȿʚ̣˾ȿΠώᄤఢ྾߹ᄤฤֽೞϟ߹ྍᄤҷ‫ۈ‬ੳ‫݂ۉ‬Ԥॊϟ߹ೞּᄤ֒྾ᄤԤ୚྾ఎᄤ ֒^‫ྏ҇ྏی‬ᄤֽଉၫ߹ฤ҇‫ۈݽ‬Ĉᄤణ྾߹ᄤ
         ѓ྾ೞѓ߹าᄤ ฤఐொ୓ฤ୚ೞ߹ฤ‫ۉ‬ᄤ ྾଑ᄤ ఑҇ೞྐ߹ᄤ ఑୚৮߹ྏ߹ఢ྾ֽᄤ ҷ߹֑୚ଉᄤ ϟ྾Ⴎᄤ ݃୓ൖᄤ ּ֒ᄤ Ԥ୚୓ลֽೞၫֽബᄤ ฤֽൖᄤ ֔ഭ୚ैาൖᄤ
         ֒_‫ۍ‬ႷྍೞѓԤา߹୚ଉĉᄤ త྾߹ᄤ ҇྾୘าᄤ Վ୚ೞೞ୚੍఑྾ᄤ ৮ϟᄤၬּ྾ၬֽᄤ ּ֒ᄤ ˋ҇ଉൖϟଉϟᄤ ȝ̸̤Ρȿᄤ ּଉᄤ ଉ୚྾ೞೞ߹ൖൖϟଉาᄤ
         ฤ୚଑ᄤԤ୚੆ఎาֽᄤֽ֒ᄤఎਐ྾ൖ߹ֽ྾ೞൖᄤ੆߹ਐ৮߹୚ଉൖĊᄤఢ྾߹ᄤϟ྾ೞϟ߹าᄤּ୓‫ݼ‬ϟ‫یݽ‬ᄤ৮ֽᄤ੮ֽമԤּଉѓ߹ೞּᄤμ߹Ԥྐ୚ೞᄤ̣ǭͳͻǭ͗ᄤ
         ѓਐ୚ೞൖᄤణ྾`߹৭ᄤּൖ༴ᄤฤ྾‫ۉݼݽ‬ೞ‫ێ‬ᄤఢ྾ֽᄤԤֽᄤֽ֔ೞଉ߹ּೞᄤఏೞ‫ۉ‬ఐϟೞϟ߹ྍᄤ྾଑ᄤఎ྾าൖԤߡŹᄤ

         TI est ainsi ÐāŐÃĞ5Ƌ2æç - ƋŃŻƋ54Ƌ 2 Ă Ű Ƌparticiperait a l'elaboration d'un coup
         d'etat dans un pays ŜĽżžŒWƋ Ł²Ƌ *"Ƌ - 6 Ƌ a des moyens violents, illegaux et
         criminels, et en usant de corruption.

         Ces ğ8űă XƋ d 'une exceptionnelle gravite, ont ete formulees sans meme que
         quiconque Ƌ őıƋ đtƋ peine, de maniere contradictoire, de verifier la moindre des
         infonnations diffuse.es sous une signature anonyme.



         2.4      
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         ˓cᄤϡ൓ࢵԐਂ‫׃‬ᄤ௨ଢ଼࿨ഒ൚࿨ࢵၺࢵčᄤ‫ྖ׃‬ᄤ൚క‫׃‬ՑྖϡԐ࿨ਔϡࢵല‫׃‬਱‫ุੵ׃‬ᄤϡੵੵଢ଼ੵԐ‫ڨ‬ᄤ‫ੵ׃‬ᄤήੵ‫׃‬Ďᄤ‫ੵ׃‬ᄤਂ‫ุื׃‬ല‫׃‬൚ᄤഷଢ଼ဠ‫׃ݱ‬൚ďᄤ൚ଢ଼࿀൚ᄤਂ‫׃‬ᄤุࢵุೂ‫׃‬ᄤ
         ᄏᄤȮɜᄤ̩̼Τɖ͸ᄤȬɖᄤ˙ǲᄤ Țʰǰᄤ ɖΥᄤȦɗᄤ˘ǫᄤȬʅᄤǱ̰Υᄤί̞ᄤ Ț̼βᄤȭ sɘΤǰ Τ Ǳ                               ᄤᄤ
         Ƞˆυ ᄘĜᄤ Ւଢ଼ੵษྖग़྘ဂ‫׃‬ᄤဠੵᄤၾ‫ڨ‬ല॒ྖϡҙਂ‫׃‬ᄤϡ൚൚‫׃‬਱ҙ৊ϡ‫׃ݱ‬ᄤՕ‫׃‬ᄤളϡ‫ݱ‬ଢ଼ุ൚Đᄤ Օଢ଼ੵྖᄤϡဠՓ࿨ੵᄤੵdϡᄤ‫ܨ‬यྖᄤਂeଢ଼ҙ॰‫ྖ׃‬ᄤ
         Օ‫׃‬ᄤਂϡᄤ਱ଢ଼ࢵੵՕ೪‫׃‬ᄤၺ‫ڨ‬ೂ݄॓Ԑϡุ॓ଢ଼ૌᄤ‫ྖ׃‬ᄤ֮ဠᄤਙଢ଼॓ੵտല‫׃‬ᄤุೂϤၿϡࢵ৊ᄤॱଢ଼နൄϡਂ॓൚ุ॒జ࿨‫׃‬źᄤ

         ˓‫׃‬ᄤ௨ല‫ॲڨ‬ဠ՗ࢵԐ‫׃‬ᄤ ‫ੵ׃‬ᄤ ϡᄤ ‫ڨุڨ‬ᄤ Ԑଢ଼ੵ൚ࢵՕ‫ڨ‬ೂϡҗ৊‫׃‬ᄤ ௨்࿬೪ᄤ ˜்੸൚ࢵ‫׃‬ြᄤ ȇ‫ੵ׃‬Ⴛᄤ ͱ΀Ɉʵ́ɐ΀ψᄤ ‫ุ׃‬ᄤ ਂϡᄤ ͯଢ଼Ցࢵ‫ڨྖڨ‬ᄤ
         ȍͯɲ͕đᄤ Ԑ‫ุ׃‬ᄤ ϡೂོࢵՑਂ‫׃‬ᄤ ϡႻϡੵྗᄤ ‫ڨุڨ‬ᄤ ല‫׃‬௩ೂ॓൚ᄤ ՕϤੵ൚ᄤ Օࢵܷ‫ے‬ല‫ྖੵ׃‬൚ᄤ ௩ϡႻ൚ᄤ ‫ุ׃‬ᄤ ௰ϡഴᄤ Օࢵܸ‫ۓ‬ല‫ྖੵ׃‬൚ᄤ ੠‫ڨ‬ՕࢵϤฮᄤ ‫ੵ׃‬ᄤ
         ɥവϡ੶Ւ‫׃‬Ēᄤ ‫ੵ׃‬ᄤǚੵ‫׃ุ׃ਂݱ‬഻ശ‫׃‬ēᄤ ‫ੵ׃‬ᄤʤ൚ലϡ‫۔‬৊ƅᄤŻ ż ᄤ‫ྖ׃‬ᄤ ҙࢵ‫ੵ׃‬ᄤ ‫ڨ‬ႀ॓Օ‫׃‬െ‫ྖੵ׃‬Õᄤ ൚࿨൐ଢ଼࿀ྖĔᄤ ‫ੵ׃‬ᄤ ɿ࿀ࢵੵ‫׃ڨ‬ᄤ ॓ਂᄤ Ϥᄤ 
         ϡӂ୞ੵְҍ‫ྖ੸׃‬ᄤ ‫׃‬Ⴖ௨ਂଢ଼ࢵุ‫ڨ‬ᄤ ௨ϡೂᄤ ই‫׃‬ᄤ ௰ଢ଼࿀ၺଢ଼ࢵലᄤ ‫ੵ׃‬ᄤ ௰ਂϡԐ‫׃‬ĕᄤ ‫ྖ׃‬ᄤ Ԑ‫׃‬ᄤ  ইϡᄤ ၺ‫׃ਂਂࢵ׃‬ᄤ Օf࿨ੵ‫׃‬ᄤ ‫ڨ‬Ԑ߷‫ڨ‬ϡ੸Ւ‫׃‬ᄤ
         ‫׃ਂە‬Ւีଢ଼ೂϡਂ‫׃‬ᄤप਱௩ଢ଼ೂཱིϡ੸྘‫׃‬Žᄤ

         ˔gϡྙྖ‫׃ྚੵࢵ׃‬ᄤ  ਂ h‫ދ‬ଢ଼ੵੵۖဠലᄤ ‫ྖ׃‬ᄤ  ਂϡᄤ Ցଢ଼ૌ൚॔Օ‫ڨ‬ലϡྖॕଢ଼ૌᄤ Օ‫׃‬ᄤ ˻்ૌ൚ॖ‫׃‬࿨ഒᄤ Ȏ‫ੵ׃‬Ⴛᄤ ͵΢ɔʮ̧˷ɔ΀χᄤ ‫׃‬฼ᄤ ֺᄤ
         ‫ݱ‬ലଢ଼ီగ‫׃‬ᄤȇ͵ɲ͊ĖᄤϡՒՑ࿀൚‫ڨ‬൚ᄤ੸क़ᄤకਂဴ൚ᄤ ੵ॓ᄤ਱ଢ଼ࢵੵ൚ᄤտ i ϡႀଢ଼࢈ೂᄤၺଢ଼࿨ਂ࿶ᄤ ೂ‫׃‬ૌၺ‫׃‬ല൚‫׃‬ലᄤဵୖᄤ௨ଢ଼࿨ၺଢ଼ࢵലᄤ൚ଢ଼ဠၺ‫׃‬ೂϡࢵੵᄤ
         ϡဠᄤ ఖലनႸᄤ de    ‫ྖ׃‬ᄤ ‫ੵ׃‬ᄤ ੵj߫‫ڨ‬สॗྛѯੵྜᄤ ௦Ϥหᄤ  ല‫׃‬Ղଢ଼࿨സज़ഊᄤ  Օ‫׃‬ฬᄤ ੰ‫׃‬ലՂ‫ੵ׃‬ϡक़ല‫׃‬൚ėᄤ ‫׃‬อྜྷᄤ
         ‫׃‬ႴԐ‫׃‬కྖࢵଢ଼੸੸‫ਂ׃‬৊‫׃‬žᄤ

         ˓‫׃‬൚ᄤϡ‫ܩܜ‬ӂ࿀ਂҊྖࢵଢ଼ੵ൚ᄤֱံᄤȟ̩ǰ͘Ȭᄤɚ̫ड़̪əĝᄤఝနࢵᄤ୅k޼‫ڨ‬൚॓ྞ‫׃‬ᄤ௰ϡ൚ᄤ॓ੵၺ‫׃ྖੵک‬ളᄤ՗‫׃‬൚ᄤਂࢮ‫ੵ׃‬ฮᄤ‫ྖੵ׃‬ല‫׃‬ᄤ
         ˤଢ଼ੵ൚ख़‫׃‬ဠಥᄤ Ȉ‫ੵ׃‬Ⴛᄤ ;Σȱʬ̦ˤȱ΀ϓĘᄤ ৊Хᄤ ͯଢ଼Ԑ߼‫ڨุڨ‬ᄤ ȇͱɲ͕ᄤ ‫ྖ׃‬ᄤ Օ‫׃‬൚ᄤ ॓ੵպࢵၸࢵֻ൚ᄤ Օ୞ੵཀྵᄤ ࢵਂ൚ᄤ ੵ‫׃‬ᄤ
         Ւଢ଼ੵੵϡࢵ൚൚ϡࢵ‫ุੵ׃‬ᄤ਱ۗ਽‫ڬ‬ᄤ௰Ϥ൚ᄤਂ r‫׃‬Ⴙ॓൚ุ‫ੵ׃‬Ԑ‫׃‬ᄤСၺϡੵุᄤտ‫׃‬ᄤਕ॓ೂ‫׃‬ᄤਂ‫׃‬࿀ೂᄤੵଢ଼਽ᄤ֮ϡੵ൚ᄤਂlϡഺཀྵ࢚Ԑਂ‫׃‬ᄤ௰ଢ଼ဠ೪൚࿀ग़ၺࢵęᄤ൚ଢ଼ੵྟᄤ
         ุ୞࿀ྖᄤ൚ࢵ਽௩ਂ‫׃‬ਫ਼‫ุ੸׃‬ᄤࢮൈۘฮ௨ଢ଼ੵ൚ϡҘਂ‫׃‬൚ſᄤ

         ˓ϡᄤ บϡੵՒྖࢵଢ଼ੵᄤ Օm࿨ੵ‫׃‬ᄤྖ‫׃‬ইਂ‫׃‬ᄤ ‫׃‬ૌྖല‫׃‬కല॓ฯ‫׃‬ᄤ֮‫׃‬ᄤ֯‫ڨ‬൚ࢵੵ‫ുݑ‬ϡྖࢵଢ଼੸Ěᄤϡ࿨ႱᄤՑଢ଼ੵ൚‫ڨ‬థ࿀‫ੵ׃‬Ց‫׃‬൚ᄤࢵੵՑϡਂՑဠইϡҘই‫׃‬൚ěᄤ
         ְଢ଼॓ྖᄤۙྰ‫׃‬ᄤ ইϡᄤ߷ϡ࿨ྖ‫׃‬࿀ೂᄤ֮࿀ᄤ֮ࢵ൚Ԑല‫ڨ‬Օࢵืᄤ‫ྖૈ׃‬ഹϡढ़੸‫ڨ‬ᄤ௰ϡಥᄤইСᄤְࢵܹϡ਱ϡྖࢵ்ੵᄤೂ‫ڨ‬ϡਖࢵ൚‫׃ڨ‬ƀᄤ

         ˔ϡᄤ͵ଢ଼Ւक‫ڨྙڨ‬ᄤ˔ȴͱᄤȶȪʫΣʬ̥̿ͱᄤ˿Ǭ͎ȴȗʋǮ˕ᄤħ ˖ȴᄤ ȗǳǚ͛ᄤȱ̦ȗʋǬʴɉᄤ‫ྖ׃‬ᄤ̀ଢ଼ੵ൚ࢮ‫׃‬࿨೪ᄤ
         ˻ࢮՆ‫ਂ׃ދ‬ᄤʃǯʭ˓˗ǚ͔ȫᄤ ะ‫׃‬ೂଢ଼ੵྖᄤϡࢵੵ൚ࡵᄤ൚ଢ଼ਗࠀՕϤ॓ല‫׃‬਽‫ੵ׃‬་ᄤԐଢ଼ੵՕϡਙ੸‫ڨ‬൚ᄤϡ࿀ᄤ௨ϡࢵ‫ྖੵ׃ੱ׃‬ᄤՕn္‫׃‬ᄤ ൚ଢ଼ਙ੠‫׃‬ᄤ
         Օ‫׃‬ᄤơ ƉƉƁƋƉƉᄤᄛᄤϡ࿀ᄤ௨ല஼݅ྖᄤՕ‫׃‬ᄤ˻ଢ଼ੵ൚ࢵ‫׃‬࿨ೂᄤȇ‫ੵ׃‬ჼᄤ ͯ΀Ɉʯ̨˭ɐ΢Ϙᄤ‫ྖ׃‬ᄤՕ‫׃‬ᄤ Ƣ ƉƉƂƉƋƉᄤᄛᄤϡ࿨ᄤ௨ലଢ଼ุܿᄤՕ‫ک‬ᄤਂϡᄤ
         ͵ଢ଼Ԑࢵ‫ڨุڨ‬ᄤȈ͵ʃ͕ƃᄤ

         ˓ o ࣇੵุ‫ݱڨ‬ലϤই॓ྖ‫ڨ‬ᄤՕ‫׃‬ᄤՄ‫׃‬ฮᄤฮଢ଼੠ੲ‫׃‬ฮᄤ൚‫׃‬ലϡᄤၺ‫׃‬ശ൚‫׃ڨ‬ᄤ Օ‫׃‬൚ᄤϡ൚൚ଢ଼Ԑ॓ϡุ॓ଢ଼ੵ൚ᄤՑғ߿ྖϡོࢵၺ‫ั׃‬ᄤ‫ݱ‬ဠॖੵ‫׃ڨ‬ୗ੸‫׃‬൚Ƅᄤ

         ɕੵᄤଢ଼࿀ุೂ‫׃‬ÕᄤՕpࢵ਱௰ଢ଼ഒོϡੵྖ‫׃‬൚ᄤ਱‫׃‬൚࿨ല‫׃‬൚ᄤՕ‫׃‬ᄤ௨࿀ҙਂ॓Ԑϡื॓ଢ଼ੵᄤॳ࿀ְࢵՑࢵϡࢵല‫׃‬ᄤϡ௰௳ϡഺϡࢵ൚൚‫ื੸׃‬ᄤੵ‫ڨ‬Ԑ‫׃‬൚൚ϡ॓ല‫׃‬൚ᄤ௨ଢ଼࿀ೂᄤ
         ല‫ڨ‬௰ϡല‫׃‬ೂᄤਂ qϡྗཱི‫׃ྖੵࢵ׃‬ᄤԐϡ࿩൚‫׃ڨ‬ůᄤ



                                                          

         Faire application de Ƌ  ĄƋ +&Ƌ        Monsieur     Michel z{Ƌ selon les
         requisitions du Ministere 7¶ąYƋ

         ÝÄĒ³œÞŔƋ Monsieur Beny ēĠZ£Ƌ et *Ƌ Societe ~Ƌ recevables en leur
         constitution de partie civile,


         Dire et juger quc !'article publie dans !'edition du CANARD ENCHAiNE du 25
         septembre 2013, en page 3, sous le titre « DES NOTES DE LA CIA ET DE LA IJGSE
         ANNONCENT UN COUP D 'ETAT A CONAKRY» et dont les propos sont reproduits
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         au chapitre 2.1 de la presente citation, constitue le delit de diffamation publique envers
         un particulier, en l'espece Monsieur Beny STEINMETZ et la Societe BSGR, tel que
         prevu et reprime par les articles 23, 29 alinea I et 32 alinca 1 de la loi du 29 juillet
         1881

         En consequence,

         Declarer Monsieur Michel GAILLARD coupable, en sa qualite d'auteur principal, du
         delit de diffamation publique envers un particulier, prevu et reprime par les articles 23,
         29 alinea 1 et 32 alinea 1 de la Joi du 29 juillet 1881,

         Condamner solidairement Monsieur Michel GAILLARD et la Societe LES
         EDITIONS MARECHAL - LE CANARD ENCHAINE a payer a chaque partie civile
         la somme de 100.000 € a titre de dommages et interets, somrne que Jes parties civiles
         s'cngagent a verser a des associations caritatives guineennes,

         Ordonner a titre de reparation complementaire la publication du jugement a intervenir
         dans dix journaux au choix des parties civiles et aux frais du prevenu et du civilement
         responsable, sans que chaque publication puisse exceder la somme de 8.000 €,

         Ordonner !'execution provisoire du jugement a intervenir,

         Condamner Monsieur Michel GAILARD et la Societe LES EDITIONS MARECHAL
         - LE CANARD ENCHAINE a payer aux parties civiles la somme de 10.000 € au titre
         de l'article 475-1 du Code de Procedure Penale ainsi qu'aux. entiers depens.


         Liste des pieces :

               Article du CANARD ENCHAiNE du 25 septembre 2013




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                          Exhibit N
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      Technology

      Mining Billionaire Ends Bitter Guinea
      Dispute After Months of Secret
      Negotiations
      By Franz Wild and Thomas Biesheuvel
      February 25, 2019 1:30 AM Updated on February 25, 2019 3:10 AM

          Israeli mining tycoon’s company reconciles with Guinea
          Mick Davis to start developing iron ore mine in Guinea




      Beny Steinmetz Source: Dag Lars Cramér on behalf of Nornverdandi



      LISTEN TO ARTICLE       Israeli mining tycoon Beny Steinmetz is making a dramatic
                              return to Guinea after the billionaire ended a bitter dispute
              6:21
                              with the West African country that brought his business
      In this article         empire to its knees.
        RIO
        RIO TINTO PLC
                              The settlement, brokered by former French President
        4,842.50 GBp
           +62.50 +1.31%      Nicolas Sarkozy, ends a seven-year-old dispute centered
        VALE3                 around one of the world’s richest mineral deposits that
        VALE SA
        52.59   BRL
                              included a colorful list of characters from billionaire George
           -0.10 -0.19%
                              Soros to former U.K. leader Tony Blair and mining
        IOE1                  heavyweights Rio Tinto Group and Vale SA.
        Generic 1st 'IOE'
        Future
        899.50       CNY/MT
           +4.50 +0.50%



                              After months of secret negotiations, Steinmetz’s BSG
                              Resources Ltd. agreed with Guinean President Alpha Conde
                              to withdraw allegations of corruption leveled against each
                              other over years and to drop a two-year-old arbitration case
                              over one of the world’s most-fabled mineral deposits -- the
                              Simandou iron-ore project. Guinea also agreed to partner




https://www.bloomberg.com/news/articles/2019-02-25/steinmetz-stages-guinea-comeback-... 7/19/2019
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                              with mining grandee Mick Davis, who will develop the
                              Zogota iron-ore mine once the disputes have been settled,
                              marking a comeback for one of the industry’s biggest
                              names.


                              The reconciliation puts Steinmetz, BSGR and Davis in prime
                              position to lead the development of Guinea’s massive iron-
                              ore reserves. Mining giants like Rio Tinto, Vale and
                              Aluminum Corp. of China have all failed to develop projects
      Nicolas                 in the country.
      Sarkozy Photogrpaher:
      Jean-Christophe
      Magnenet/AFP via
      Getty Images
                              “A good agreement is much better than any war,"
                              Steinmetz, who acts as an adviser to BSGR, said in a phone
                              interview on Sunday. "We were enemies. Now we are
                              friends and partners with the Guinean government. We
                              have both put aside the past and BSGR and its employees
                              and advisers have been vindicated."


                              For Steinmetz, the heir to one of Israel’s premier diamond
                              businesses, the arrangement is a remarkable return to favor
                              in Guinea. BSGR entered administration a year ago to
                              protect itself from the outcome of litigation and arbitration
                              it was involved in related to the country. In 2012, Guinea
                              stripped BSGR of its rights to Zogota and half of Simandou,
                              thought by miners to be the world’s biggest undeveloped
                              iron-ore deposit. A government committee alleged he and
                              his officials paid millions in bribes to obtain the rights.




                              Mick Davis Photographer: Gianluca Colla/Bloomberg


                              "We are all really pleased with the situation," Steinmetz
                              said. "Guinea wants to work and they see us as the pioneers
                              of the iron-ore situation, because nobody else has picked it
                              up. Production and export of iron ore will be expedited and
                              this is a win-win situation for everyone.”


                              Sarkozy, who was in office between 2007 and 2012, had a
                              relationship with both sides and was able to broker the
                              deal, according to a person with knowledge of his role.


                              Long-time director Dag Cramer negotiated the deal for
                              BSGR, a firm owned by a Steinmetz family foundation.




https://www.bloomberg.com/news/articles/2019-02-25/steinmetz-stages-guinea-comeback-... 7/19/2019
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                               Under its terms, the company relinquishes rights to
                               Simandou and Zogota, and Davis will develop the smaller
                               deposit.


                               BSGR keeps an economic interest in Zogota, which,
                               according to Steinmetz, will move toward producing "very
                               fast." The company will get a share of the revenue from the
                               new project, which will be developed by Davis in
                               partnership with Guinea.


                               ‘Win-Win’

                               "We’re pleased with the agreement," Guinea’s Mines
                               Minister Abdoulaye Magassouba said in an emailed
      Beny Steinmetz and       statement, adding that the new projects will be in line with
      Alpha Conde. Source:     the country’s new mining code. "It’s for the good of the
      Dag Lars Cramér on
      Behalf of Nornverdandi   people. It’s with this aim that the government will try hard
                               to work in a win-win partnership with the investors."


                               The reconciliation suited both sides. Guinea faced the
                               possibility of an embarrassing loss in arbitration court,
                               while BSGR would have been able to do little with an award
                               by the tribunal if Guinea’s government remained hostile.
                               The government withdrew all allegations of corruption
                               against BSGR and Steinmetz.




                               null


                               Steinmetz, 62, was originally sent out by his family to
                               secure supplies of rough diamonds, introducing him to
                               difficult environments across the globe. He developed a
                               diamond mine in Sierra Leone before setting his sights on
                               Simandou in neighboring Guinea. Ailing President Lansana
                               Conte stripped Rio Tinto of its rights to half of the asset,
                               which the Anglo-Australian miner hadn’t developed in a
                               decade of control. The rights lost by Rio were transferred to
                               Steinmetz weeks before the president passed away in 2008.


                               BSGR rapidly sold half of its Guinean assets to iron-ore
                               mining giant Vale SA for $2.5 billion.




https://www.bloomberg.com/news/articles/2019-02-25/steinmetz-stages-guinea-comeback-... 7/19/2019
Steinmetz Ends Guinea Mining Dispute After Sarkozy Brokers Deal - Bloomberg                Page 4 of 5
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                    Simandou Source: Rio Tinto



                    Mining Review

                    After Conde was elected in 2010, he announced a review
                    and clean-up of the mining industry, Guinea’s main source
                    of income. Billionaire hedge fund manager George Soros
                    and former U.K. Prime Minister Tony Blair advised on and
                    funded Conde’s initiative. A lurid dossier of alleged
                    corruption against Steinmetz became the basis for BSGR’s
                    loss of rights in 2012.


                    Steinmetz and BSGR always denied any wrongdoing and
                    insisted they would one day be vindicated. Rio Tinto,
                    meanwhile, is now under investigation in the U.K. and
                    Australia for payments it made to a consultant to try to
                    restore its rights to Simandou.


                    The Guinean saga has been more than just a painful
                    business loss for Steinmetz. He has been the subject of
                    investigations by authorities in the U.S., Switzerland,
                    Romania and Israel, where he was briefly detained in 2016
                    and then placed under house arrest.


                    Though Simandou has long been a fabled asset, developing
                    it may be impossible. It would require an investment of $20
                    billion, including the construction of railway lines across a
                    mountainous country. Rio attempted to later sell its share of
                    the project to Aluminum Corp. of China, but the deal
                    collapsed last year.


                    Mick the Miner

                    Davis may have a favorable solution, with the government
                    allowing him to export via an existing railway line through
                    neighboring Liberia, using his newly formed Niron Metals
                    venture.


                    “Niron believes that the Zogota deposit can be brought into
                    production on an accelerated timetable, thereby helping to
                    unlock the potential of Guinea’s rich resources for the




https://www.bloomberg.com/news/articles/2019-02-25/steinmetz-stages-guinea-comeback-... 7/19/2019
Steinmetz Ends Guinea Mining Dispute After Sarkozy Brokers Deal - Bloomberg                                            Page 5 of 5
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                                  benefit of all stakeholders, including the Government and
                                  people of Guinea,” the company said in a statement.


                                  Davis, nicknamed Mick the Miner, was one of the industry’s
                                  most successful operators in the early part of the decade as
                                  the mining industry boomed on China’s rampant
                                  industrialization. As Xstrata Plc’s chief executive officer,
                                  Davis led a team renowned for transforming the coal
                                  producer through about 40 deals worth $35 billion over 10
                                  years from 2002, before agreeing to a friendly merger with
                                  commodity trader Glencore Plc, where Ivan Glasenberg
                                  managed to beat him to the top job.


                                  Since then, the U.K. Conservative Party treasurer has
                                  struggled to regain a footing. His private equity vehicle X2
                                  Resources folded after failing to make any deals amid
      Have a confidential
      tip for our                 volatile commodity prices and disparate investors who
      reporters?
                                  couldn’t agree on what assets to buy.
      GET IN TOUCH



                                  (Updates with comments from Niron comments in third from
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                                            CERTIFICATION



    This is to certify that the attached translation is, to the best of my knowledge and belief, a true

    and accurate translation from French into English of the attached article "When Nicolas Sarkozv

    Plays a Business Intermediary," dated August 23, 2019.




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                       When Nicolas Sarkozv Plays a Business Intermediary
                                                               Le Monde
                                                         Friday, August 23, 2019


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Le Monde
Section: LE MONDE; Pg. 4
Length: 764 words
Byline: Ch. Ct
Highlight: The former head of the French State, who became an attorney, was with Beny Steinmetz on a
trip to Conakry, in February.

Body


       The French Embassy at Conakry only learned about it at the last moment. And only because of the
presence on the plane of armed French security officers, charged with protecting a VIP individual. On February
21, Nicolas Sarkozy is all smiles in front of the Guinean President, Alpha Condé. As a former head of state,
attorney, business intermediary? Probably a little of each, to try to unravel the Simandou file, the largest iron ore
reserve in the world...

      Nicolas Sarkozy knows the Franco-Israeli billionaire Beny Steinmetz, the main protagonist in the case,
who managed – only for a time – to get his hands on this treasure before being deprived of it in 2004 by Alpha
Condé.

       It is therefore alongside Mr. Steinmetz, and in the businessman’s private plane, that Nicolas Sarlozy
arrived in Conakry. A few days later, a press release announced the conclusion of an agreement between Guinea
and the Beny Steinmetz Group Resources (BSGR), one of the nebulous entities of the Franco-Israeli’s mining
companies.

       The text, not definitive, to which Le Monde had access, opens the way – its signatories hope – to freezing
a certain number of judicial proceedings between the two parties – in particular before the International Center for
the settlement of the disputes concerning investments (Cirdi) – and to reinstate Beny Steinmetz in Guinea. The
protocol of agreement stipulates that BSGR renounce all claims against Simandou, but at the same time offers
the Franco-Israeli billionaire the opportunity to position himself on another Guinean mining concession, that of
Zogota.

“Putting an End to All This”

        How can we explain this about-face when Guinea seemed to have an opportunity to win the proceedings
before the Cirdi? “It had been going on for too long, the procedure was likely to be delayed again and cost us
millions of dollars in attorney fees,” claimed President Alpha Condé in Le Monde. It also discouraged investors
from taking an interest in Simandou. We had to put an end to all this.” The chances of recovering hundreds of
millions of dollars in compensation were not guaranteed either. “The BSGR was placed under judicial
management [in March 2018]. It is almost an empty shell, with no assets to recover for Guinea,” says a
participant in the case.
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                              When Nicolas Sarkozy Plays a Business Intermediary
“For several months, Beny Steinmetz insisted I settle the dispute. In Lomé, in Nouakchott... I always refused,”
adds the Guinean President. Before the meeting in Conakry, several confidential meetings were held in the
rooms of the Plaza Athénée, the Parisian palace that Beny Steinmetz frequents. Around him were his friend
Ivory Coast Defense Minister Hamed Bakayoko and a special adviser to the Guinean President who became
State Minister, Tibou Kamara, to facilitate the search for an agreement. At the end of the negotiations, Nicolas
Sarkozy was invited as a mediator. He had previously met with Mr. Steinmetz in Paris in his offices on
Miromesnil Street.

“(Nicolas) Sarkozy has been a friend of (Beny) Steinmetz for a long time, states Alpha Condé, and when he told
me we could talk to him, I said OK.” For his part, the former Socialist Minister Michel Sapin states that “Alpha
[Condé] was very happy with its effect. I’m in Heaven!” Michel Sapin was in Conakry a few days before the arrival
of Nicolas Sarkozy in the company of François Hollande, who had come to visit his old Guinean comrade. “Alpha
was too happy that Sarkozy asked him for a favor,” Sapin adds.

        A little air of revenge, for the Guinean president? When Sarkozy was at the Élysée, Alpha Condé
suspected him of interference in the Ivorian case. “I sleep a lot better since the election of François [Hollande],”
he once told a French diplomat. Asked by Le Monde about his role in this reconciliation, mediation and his
possible remuneration, Nicolas Sarkozy did not follow up. In a letter dated April 15, 2019, BDO – the international
accounting firm that administers the BSGR – explained that it had not “mandated Mr. Sarkozy” and had not paid
him emoluments. The agreement between Guinea and Mr. Steinmetz does not put an end to the accusations of
corruption brought against him by the Swiss courts in the Simandou case. His trial is expected to be held soon in
Switzerland.

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                  Quand Nicolas Sarkozy joue les intermédiaires d’affaires
                                                               Le Monde
                                                          vendredi 23 août 2019


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Section: LE MONDE; Pg. 4
Length: 764 words
Byline: Ch. Ct
Highlight: L’ancien chef de l’Etat français, devenu avocat, était aux côtés de Beny Steinmetz lors d’un
déplacement à Conakry, en février

Body


       L’ambassade de France à Conakry ne l’avait appris qu’au dernier moment. Et seulement en raison de la
présence à bord de l’avion d’officiers de sécurité français armés, chargés de la protection d’une haute personnalité.
Le 21 février, Nicolas Sarkozy se présente tout sourire devant le président guinéen, Alpha Condé. En tant
qu’ancien chef de l’Etat, avocat, intermédiaire d’affaires ? Sans doute un peu des trois, pour tenter de dénouer le
dossier Simandou, du nom de la plus grande réserve au monde de minerai de fer…

       Nicolas Sarkozy connaît le milliardaire franco-israélien Beny Steinmetz, le personnage central du dossier,
parvenu – pendant un temps seulement – à mettre la main sur ce trésor avant d’en être privé en 2004 par Alpha
Condé.

        C’est donc aux côtés de M. Steinmetz, et dans l’avion privé de l’homme d’affaires, que Nicolas Sarlozy est
arrivé à Conakry. Quelques jours plus tard, un communiqué de presse annonçait la conclusion d’un accord entre la
Guinée et la Beny Steinmetz Group Ressources (BSGR), l’une des entités de la nébuleuse de sociétés du minier
franco-israélien.

        Le texte, non définitif, auquel Le Monde a eu accès, ouvre la voie - espèrent ses signataires - au gel d’un
certain nombre de procédures judiciaires entre les deux parties – notamment devant le Centre international pour le
règlement des différends relatifs aux investissements (Cirdi) – et à remettre Beny Steinmetz en selle en Guinée.
Le protocole d’accord stipule ainsi que la BSGR renonce à toute prétention sur Simandou, mais il offre dans le
même temps au milliardaire franco-israélien la possibilité de se positionner sur une autre concession minière
guinéenne, celle de Zogota.

« Mettre un terme à tout ça »

        Comment expliquer ce revirement alors que la Guinée semblait avoir la possibilité de gagner la procédure
engagée devant le Cirdi ? « Cela durait depuis trop longtemps, la procédure risquait de traîner encore et de nous
coûter des millions de dollars en avocats, explique au Monde le président Alpha Condé. Elle décourageait aussi les
investisseurs de s’intéresser à Simandou. Il fallait mettre un terme à tout ça. » Les chances de récupérer des
centaines de millions de dollars de dédommagements n’étaient pas garanties non plus. « La BSGR a été placée
sous administration judiciaire [en mars 2018]. C’est quasiment une coquille vide, sans actifs à récupérer pour la
Guinée », précise un acteur du dossier.
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                             Quand Nicolas Sarkozy joue les intermédiaires d’affaires

« Depuis plusieurs mois, Beny Steinmetz me faisait des appels du pied pour régler le contentieux. A Lomé, à
Nouakchott… J’avais toujours refusé », ajoute le président guinéen. Avant la rencontre de Conakry, plusieurs
réunions confidentielles s’étaient tenues dans les salons du Plaza Athénée, le palace parisien où Beny Steinmetz
a ses habitudes. Autour de lui se trouvaient son ami le ministre ivoirien de la défense, Hamed Bakayoko, et un
conseiller spécial du président guinéen devenu ministre d’Etat, Tibou Kamara, chargé de faciliter la recherche d’un
accord. Sur la fin des négociations, Nicolas Sarkozy était convié en tant que médiateur. Il avait auparavant reçu M.
Steinmetz à Paris dans ses bureaux de la rue Miromesnil.

« [Nicolas] Sarkozy est un ami de [Beny] Steinmetz depuis longtemps, assure Alpha Condé, et quand il m’a dit
qu’on pouvait discuter avec lui, j’ai fait : OK. » De son côté, l’ancien ministre socialiste Michel Sapin assure
qu’« Alpha [Condé] était très content de son effet. Aux anges ! » Michel Sapin était à Conakry quelques jours avant
l’arrivée de Nicolas Sarkozy en compagnie de François Hollande, venu rendre visite à son vieux camarade
guinéen. « Alpha était trop content que Sarkozy lui demande une faveur », ajoute M. Sapin.

         Un petit air de revanche, pour le président guinéen ? Du temps où M. Sarkozy était à l’Elysée, Alpha Condé
le soupçonnait d’ingérence dans le dossier ivoirien. « Je dors beaucoup mieux depuis l’élection de François
[Hollande] », avait-il un jour confié à un diplomate français. Sollicité par Le Monde sur son rôle dans cette
réconciliation, la médiation et son éventuelle rémunération, Nicolas Sarkozy n’a pas donné suite. Dans un courrier
du 15 avril 2019, BDO – le cabinet international d’expertise comptable qui administre la BSGR – expliquaitqu’il
n’avait pas « mandaté M. Sarkozy » et ne lui avait pas versé d’émoluments. L’accord conclu entre la Guinée et M.
Steinmetz ne met pas un terme aux accusations de corruption portées contre lui par la justice helvétique dans
l’affaire Simandou. Son procès devrait se tenir prochainement en Suisse.


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   YNZRO[LPQLNÿLMQLÿLMNbÿLMNÿQYZHOH[LPQLRP[ÿMQTNÿQILHTNSbÿPNTNOLNYÿQObÿ[NLLSNZNOLÿQ^[NOL
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   BKDHEÿQHFOLÿBXXRCHIÿQYÿDMHÿ>RFOHBOÿLJZHEOSHODÿJKÿMBZFOLÿJQDBFOHIÿDMHÿ=FSBOIJRÿEFLMDCÿRCFOL
   QEFQHEY[ÿCGBE\FOLÿGEJQHCÿFOÿDMHÿ]=ÿBOIÿ=AFD^HEPBOI_ÿ=DHFOSHD^C̀ÿLEJRGÿBPABYCÿIHOFHIÿDMH
   BXXRCBDFJOC[ÿBOIÿMBIÿGRECRHIÿ>RFOHBÿDMEJRLMÿFODHEOBDFJOBPÿBEQFDEBDFJOÿDJÿDEYÿDJÿEHXPBFSÿDMH
   EFLMDC[ÿQRDÿDMHÿDAJÿCFIHCÿIEJGGHIÿBPPHLBDFJOCÿBLBFOCDÿHBXMÿJDMHEÿFOÿaHQERBEYÿBCÿGBEDÿJKÿDMHÿIHBP
   FOÿAMFXMÿbBZFCÿABCÿBGGJFODHIÿDJÿIHZHPJGÿNJLJDB_ÿcFEJOÿABCÿFODEJIRXHIÿDJÿ>RFOHBÿQY
   =DHFOSHD^[ÿAMJÿAJRPIÿEHXHFZHÿBÿCMBEHÿJKÿcFEJOC̀ÿGEJXHHICÿKEJSÿNJLJDB_ÿdDÿABCÿBOOJROXHI
   CJJOÿQHKJEHÿDMHÿeJOIJOÿfJREDÿJKÿdODHEOBDFJOBPÿgEQFDEBDFJOÿJEIHEHIÿ<=>?ÿDJÿGBYÿhV_TiQOÿDJ
   jBPH[ÿFDCÿKJESHEÿkJFODlZHODREHÿGBEDOHEÿFOÿ>RFOHB[ÿBKDHEÿmOIFOLÿ<=>?ÿPFBQPHÿKJEÿRCFOLÿQEFQHEYÿDJ
   AFOÿSFOFOLÿEFLMDC_ÿ<=>?ÿIHOFHCÿBOYÿXJEERGDFJOÿBOIÿFCÿBGGHBPFOL_
   jBPHÿFCÿBDDHSGDFOLÿDJÿHOKJEXHÿDMHÿBABEI[ÿBOIÿMBCÿQHHOÿFOZHCDFLBDFOLÿDMHÿNJLJDBÿIHBPÿAFDMÿB
   ZFHAÿDJÿDEYFOLÿDJÿXPBFSÿDMHÿBCCHD_
   cFEJOÿFCÿGBEDlJAOHIÿQYÿDMHÿ<BMBSFBOÿGEFZBDHÿHnRFDYÿJRDmDÿ>=oe[ÿAMFXMÿMBCÿMBIÿIHBPFOLCÿAFDM
   =DHFOSHD^ÿJZHEÿBÿOFX\HPÿZHODREHÿFOÿpBXHIJOFB_ÿjBPHÿXPBFSCÿDMHEHÿBEHÿPFO\CÿQHDAHHOÿ>=oeÿBOI
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                          Exhibit Q
Settlement of the Dispute between the Republic of Guinea and BSG Resources | Business ... Page 1 of 1
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          Settlement of the Dispute between the Republic of Guinea
                             and BSG Resources
         February 25, 2019 02:00 AM Eastern Standard Time

         LONDON--(BUSINESS WIRE)--The Republic of Guinea and Nysco, the 100% shareholder of BSG
         Resources ("BSGR") (together "the parties"), jointly announce the settlement of their dispute over
         mining concessions and licenses in the Republic of Guinea (“Guinea”).

         Following this agreement, BSGR relinquishes its claims on blocks 1 and 2 of SIMANDOU and both
         parties waive all outstanding procedures.

         At the request of the Republic of Guinea, a new group of investors (presented by and including Mr.
         Beny Steinmetz) will exploit the ZOGOTA deposit, in order to export iron ore, according to an
         accelerated timetable.

         The parties are delighted that this agreement opens a new chapter in their relationship that enables
         the development of a world-class mining project for the benefit of the people of Guinea.


         Contacts
         For BSGR:
         Buchanan
         Bobby Morse, +44 (0)20 7466 5000
         Senior Partner
         BSGR@buchanan.uk.com




https://www.businesswire.com/news/home/20190224005124/en/Settlement-Dispute-Repu...                             7/19/2019
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                          Exhibit R
Mick Davis comeback orchestrated by Beny Steinmetz’s group | Financial Times                             Page 1 of 3
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    Mining
    Mick Davis comeback orchestrated by Beny Steinmetz’s group




  Mick Davis, the former head of Xstrata, is also treasurer of the Conservative party in the UK

  Neil Hume and David Sheppard in London APRIL 15, 2019


  Mick Davis, the Conservative party chief executive and former head of Xstrata, has
  launched his comeback to the mining industry through a deal orchestrated by BSGR, the
  miner that has been embroiled in bribery and corruption investigations.

  Niron Metals, an investment vehicle co-founded and chaired by Sir Mick, was asked to
  develop an iron ore deposit in Guinea by BSGR and its advisers, according to people
  familiar with the deal.

  BSGR is the mining group controlled by the family of Beny Steinmetz, the Israeli diamond
  trader. It has always denied allegations of wrongdoing.

  The deal formed part of a wider agreement hammered out between BSGR and the
  government of Guinea that helped end a long-running dispute over mining rights in the




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Mick Davis comeback orchestrated by Beny Steinmetz’s group | Financial Times            Page 2 of 3
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  resource-rich west African country, centred on allegations of corruption against Mr
  Steinmetz, an Israeli billionaire.

  Sir Mick, who is also treasurer of the UK’s governing Conservative party, is one of the
  most recognised names in mining, having run Xstrata until it was bought by Glencore in
  2013.

  After leaving Xstrata, Sir Mick set up X2 Resources, another mining vehicle that secured
  billions of dollars of commitments from investors but ultimately failed to pull off a deal.

  Niron, whose directors include Greek fund manager Marcos Camhis and Varda Shine, a
  former head of diamond trading for De Beers, was registered in the UK last year and
  marks his latest return to the industry.

  Little is known about Niron. Only one shareholder, a Bermuda-based private equity group
  called Global Special Opportunities Ltd, has been publicly disclosed at UK Companies
  House.

  Its new interest in the Zogota iron ore deposit will establish links to Mr Steinmetz and
  BSGR, which has been embroiled in corruption and bribery investigations in the US,
  Switzerland and Israel.

  It will also take Sir Mick into one of the most difficult mining jurisdictions in the world.
  Almost every company that has tried to develop an iron ore project in the former French
  colony has run into difficulties.

  In the late 1990s Rio Tinto won the rights to develop the huge Simandou iron ore deposit
  during the dictatorship of Lansana Conté. But in 2008 the regime stripped Rio of half
  those rights, saying it had missed a deadline to start mining.

  It handed them to BSGR, which subsequently struck a $2.5bn deal to develop Simandou
  with Vale, the world’s biggest producer of iron ore, the key ingredient in steelmaking.

  Mr Conté’s successor, Alpha Condé, later launched an inquiry into how BSGR came to
  obtain the rights and concluded in 2014 that they had been won through bribery and
  cancelled its claim on Simandou as well Zogota.




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Mick Davis comeback orchestrated by Beny Steinmetz’s group | Financial Times          Page 3 of 3
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  BSGR and Mr Steinmetz denied any wrongdoing and launched an international
  arbitration case. Guinea filed counterclaims and the two sides were waiting for a ruling
  before they suddenly agreed to end their legal fight in February.

  In return for waiving its claims, Guinea asked BSGR to find an investor prepared to
  develop the Zogota deposit. It picked Sir Mick and Niron Metals.

  Niron said the company had started work on a feasibility study and was in discussions
  with Guinea on a number of issues, including payments and project milestones.

  “Niron believes the Zogota deposit can be brought into production on an accelerated
  timetable therefore the study will be expedited within six months as an approximate
  guide at this stage,” it said.

  BSGR is reckoned to have spent $160m on preliminary development work at Zogota,
  which could be capable of producing 5m to 10m tonnes of iron ore a year.

  Niron confirmed GSOL and Sir Mick were shareholders in Niron.

  “Sir Mick Davis is the majority shareholder of Niron and currently holds 75 per cent of the
  equity. GSOL holds the remaining minority stake,” it said.

  “Beny Steinmetz does not have a participation in Niron through GSOL but may have a
  minority participation directly in Niron in the future depending on the development and
  success in the project.”

  A spokesman for Mr Steinmetz and BSGR, which was placed into administration last year
  to protect itself from the outcome of litigation, also refused to comment on whether he
  was a shareholder in Niron.

  Sir Mick’s plans to develop Zogota still require backing of BDO, administrator to BSGR.
  Niron will also have to navigate the fallout from a separate arbitration case brought by
  Vale against BSGR.

  Last week, Vale was awarded almost $1.3bn by a London tribunal “for fraud and breaches
  of warranty by BSGR in inducing Vale to enter into a joint venture” in Guinea. Vale plans
  to pursue collection of the award.




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                          Exhibit S
Beny Steinmetz denies Swiss bribery charges over mining deal | Financial Times                                                  Page 1 of 4
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       Africa
       Beny Steinmetz denies Swiss bribery charges over mining deal




   Beny Steinmetz and two associates are alleged to have paid $10m to one of the wives of Lansana Conté to secure mining rights ©
   FINANCIAL TIMES

   Neil Munshi in Lagos and Sam Jones in Zurich AUGUST 13, 2019


   Israeli diamond tycoon Beny Steinmetz has denied charges made by Swiss prosecutors
   that he bribed Guinean officials to win lucrative mining licences in the west African
   country.

   Mr Steinmetz and two associates are alleged to have paid $10m to one of the wives of
   Lansana Conté, the former president of Guinea, in order to secure rights to one of the
   world’s largest untapped reserves of iron ore, partially through Swiss bank accounts.
   Prosecutors are seeking prison terms of two to 10 years for the three.

   The Israeli billionaire has been enmeshed in legal battles around the globe stemming
   from allegations that his business orchestrated a bribery scheme to win the prized mining
   prospect, a source of the key ingredient needed to make steel.




https://www.ft.com/content/26bc2c9c-bddd-11e9-89e2-41e555e96722                                                                     9/6/2019
Beny Steinmetz denies Swiss bribery charges over mining deal | Financial Times                      Page 2 of 4
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   In an indictment filed with Geneva’s criminal court, a prosecutor accused Mr Steinmetz of
   “bribing foreign officials and forgery” in Guinea between 2005-2010 while operating his
   business from Geneva.

   Claudio Mascotto, the Geneva prosecutor, said he had been investigating the case since
   2013. The bribery allegations were first revealed in the Financial Times in 2012.

   Mr Steinmetz paid “bribes to one of the wives of former Guinean president Lansana Conté
   with a view to ousting a competitor and granting Beny Steinmetz Group Resources
   [BSGR] mining rights in the region of Simandou,” the prosecutor’s office said in a
   statement.

                                                        The bribes were hidden using forged documents
                                                        and “false invoices”, according to the
   The indictment                                       indictment.
   announced by the Swiss
   prosecutor’s office is as                            Marc Bonnant, Mr Steinmetz’s Geneva-based

   misjudged as it is absurd                            lawyer, said the charges were baseless.

   in view of the dropping of                           “Beny Steinmetz denies categorically any
   all claims against BSG                               wrongdoings,” he told the FT. “He never paid a
   Resources and Beny                                   single cent to any president in Guinea or to any
   Steinmetz by the Guinean                             public agent in Guinea, neither did he ever give
   government                                           instructions for such monies to be paid.”

   BSGR                                                 Mr Steinmetz now lives in Israel, but returned
                                                        to be questioned by prosecutors and attended
                                                        every hearing over the past six years, Mr
   Bonnant said. The billionaire will attend the trial, he added.

   Mr Steinmetz has long denied wrongdoing in his dealings in Guinea, which have been the
   subject of a series of corruption probes in Guinea, the US, Switzerland and Israel, where
   he was detained and questioned by police in 2016.

   Earlier this year, Mr Steinmetz reached a settlement with Guinean authorities over the
   rights to portions of the giant Simandou project in which both parties agreed to “waive all
   outstanding procedures”.




https://www.ft.com/content/26bc2c9c-bddd-11e9-89e2-41e555e96722                                       9/6/2019
Beny Steinmetz denies Swiss bribery charges over mining deal | Financial Times             Page 3 of 4
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   The Guinean government also granted another mining license to a group in which Mr
   Steinmetz is an investor.

   “Not only do the Guinean authorities recognise today that there has never been
   corruption, but they give back [another mining license] to the alleged corruptor,” Mr
   Bonnant said.

   The deal in February brought an end to a saga that began in 2008 when Mr Conté
   stripped Anglo-Australian miner Rio Tinto of its license for the northern half of the
   deposit. Days before he died later that year, Mr Conté granted the same rights to BSGR, a
   mining arm of Mr Steinmetz’s business empire.

   His successor, Alpha Condé, later launched an inquiry into the deal and concluded the
   rights had been won through bribery. He cancelled BSGR’s claims on Simandou and
   Zogota, another large deposit, though the company denied any wrongdoing and fought
   the decision through international arbitration.

   Under the February deal, BSGR relinquished its rights to blocks 1 and 2 of the project,
   and Guinea asked a group of investors, including Mr Steinmetz and former Xstrata boss
   Mick Davis, to develop Zogota.

   BSGR said: “The indictment announced by the Swiss prosecutor’s office is as misjudged
   as it is absurd in view of the dropping of all claims against BSG Resources and Beny
   Steinmetz by the Guinean government.”

   Last year BSGR was placed into administration in the face of the legal battles swirling
   around its dispute with Guinea.

   BSGR was ordered to pay iron ore producer Vale $1.25bn after it was found liable for
   fraudulent misrepresentations, including a bribery scheme, by a London arbitration
   court.

   Details of the award, made in April, emerged in the US where Vale is seeking a court
   order to enforce the decision, which relates to an ill-fated joint venture in Guinea.



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https://www.ft.com/content/26bc2c9c-bddd-11e9-89e2-41e555e96722                              9/6/2019
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                          Exhibit T
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          DATED: \~   .Ll?c.Q_~         2018




          NVSCO MANAGEMENT CORP.


          and

          BSG RESOURCES LIMITED (In administration)


          and

          WILLIAM CALLEWAERT AND MALCOLM COHEN as joint administrators of BSG RESOURCES LIMITED




          FUNDING AGREEMENT




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       This Agreement is made on Ii DecfM~2018 by and between:

       (1)      NVSCO MANAGEMENT CORP., a company incorporated in the British Virgin Islands with
                registered number 299796, whose registered office is at Rodus Building, Road Reef Marina, Road
                Town, Tortola, British Virgin Islands (the Parent);

       (2)      BSG RESOURCES LIMITED, a company incorporated In Guernsey with registered number 46565
                whose registered office is at West Wing, Frances House, Sir William Place, St Peter Port,
                Guernsey, GV11GX acting by the Administrators (the Company); and

       (3)      WILLIAM CALLEWAERT of BOO Limited of Rue du Pre, St Peter Port, Guernsey, GYl 3LL and
                MALCOLM COHEN of BOO LLP of 55 Baker Street, London, WlU 7EU in their capacity as joint
                administrators of the Company (the Administrators and each an Administrator),

                each a Party and together, the Parties.

       BACKGROUND

       (A)      Pursuant to an order of the Guernsey Court dated 6 March 2018, the Administrators were
                appointed to the Company for the purposes set out in that order and the laws of Guernsey.

       (BJ      In order to achieve the purposes referred to in Recital (A) above, the Company requires funding
                to pay certain fees, costs and expenses arising in connection with its administration and the
                Parent has agreed to provide the Loan (as defined below) on the terms and upon the conditions
                set out in this Agreement to fund the payment of such fees, costs and expenses on behalf of the
                Company.

      (C}      The Parties acknowledge that the General Costs Facility and the Adverse Costs Facility (each as
                defined below), shall be facilities of the last resort and shall only be drawn by the Administrators
                if the Company does not otherwise have sufficient funds available to meet the relevant
                obligations.

      (0)       By entering Into this Agreement, the Parties have agreed that this Agreement shall supersede
                and replace the funding letter dated 27 February 2017 [sic], but in fact executed on 27 February
                2018, and that payments made pursuant to that letter and/or the payments made by the Parent
                on behalf of the Company with the pre-approval of the Acjministrators (as listed in Schedule 1)
                shall be treated as deemed drawdowns under this Agreement and shall be repayable by the
                Company in accordance with this Agreement.

       It is agreed as follows:

      1.        INTERPRETATION

                In this Agreement, unless the context otherwise requires, the definitions and interpretation set
                out in this clause 1 apply:


                                                             2




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           1.1     Definitions

                   Administration means the administration of the Company pursuant to an order of the Guernsey
                   Court dated 6 March 2018;

                   Administration Account means the account with account details: W Callewaert & M Cohen
                   Administrators of BSG Resources Limited, sort code 15-10-00 and account number 29463681 (or
                   such other account as the Administrators may designate from time to time by notice in writing to
                   the Parent) in whlch the Buffer Amount is or will be held by the Administrators on behalf of the
                   Company;

                   Administration Budget means the itemised budget of Administration Fees and Expenses, General
                   Costs and, to the extent known and/or foreseeable by the Administrators, Adverse Costs that the
                   Administrators anticipate, to the best of their knowledge in the then current circumstances, will
                   be Incurred during the subsequent 12 month period following each anniversary of the
                   Administration;

                   Administration Fees and Expenses means any remuneration, costs, charges and expenses
                   properly Incurred by the Company and/or the Administrators in respect of the Administration
                   (Including, without limitation, any Advisors' fees and all other costs, disbursements and expenses
                   payable In the Administration such as running costs of the office, salaries of key employees
                   (including any associated payroll taxes) and other disbursements, including any applicable VAT or
                   other local sales taxes payable in any relevant jurisdiction) pursuant to section 383 of the
                   Companies (Guernsey) Law 2008;

                   Adverse Costs means any fees, costs and expenses which the Company or the Administrators
                   may be required to pay pursuant to an order of any court or tribunal or other body of similar
                   nature of competent jurisdiction, to any party to Proceedings (including, without llmltation, any
                   arbitration costs, any litigation costs, any costs for applying for mutual recognition of the

0                  Administration in a foreign jurisdiction, any professional advisors' fees and all other costs and
                   disbursements) and whether such order Is awarded against the Company or the Administrators
                   but excluding Excluded Adverse Costs;

                   Adverse Costs Facility has the meaning given to such term in clause 2.1.3;


                   Advisors means any professional service provider engaged by the Administrators;

                   Approved Administration Budget means Administration Budget as approved by the Parent in
                   accordance with clause 4.1;

                   Approved Fees and Expenses means:

                   (a)    any Pre-Administration Fees and Expenses; and

                   (b)    any Administration Fees and Expenses

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                   which are approved by the Royal Court or any other payments made by or on behalf of the
                   Company and which have been approved by the Administrators from time to time;


                   ATE Insurance Cover has the meaning given to it in clause 7.1;


                   Availability Period means the period from the date of this Agreement up to and including the
                   earlier of:


                             (a)   the date on which the Administrators (including any additional or replacement
                                   administrator or liquidator from BDO Limited and/or BOO LLP, as appropriate)
                                   cease to act as Administrators of the Company; and


                             (b)   subject to the exceptions set out in clause 8 (Cancellation), the date specified by

Q                                  the Parent in accordance with the terms of any notice given under clause 8.1;


                   Budgeted Costs means the itemised budget of costs and expenses to be incurred by the Advisors
                   in respect of any Litigation Fees and Expenses as agreed between the Company and Parent from
                   time to time;


                   Buffer Amount means the amount of £100,000 or, £180,000 upon the release to the Parent,
                   pursuant to the terms of the escrow agreement, of an amount of at least £500,000 of the Escrow
                   Amount following the Company receiving ATE Insurance Cover to be maintained at all times in
                   the Administration Account;


                   Business Day means a day (other than a Saturday or Sunday) on which banks are open for
                   general business in St Peter Port, Guernsey and London, England;


                   Company Account means the account with account detalls: W Callewaert & M Cohen
                   Administrators of BSG Resources Limited, sort code 15-10-00 and account number 29457665 (or
                   such other account as the Administrators may designate from time to time by notice in writing to

0                  the Parent) opened by the Administrators on behalf of the Company;


                   Disputed Part has the meaning set out in clause 5.3;

                   Escrow Amount(s) means the amount of GBP 1,500,000 In respect of the ICSID Proceedings as
                   may be varied under the terms of clause 7.1, and such other amount as may be requested by the
                   Administrators in accordance with clause 7.2;


                   Excluded Adverse Costs means:


                   (a)    any Adverse Costs which were Incurred prior to the making of the administration order in
                          relation to the Company;


                   (b)    any Adverse Costs which do not rank as an expense of the Administration pursuant to
                          section 383 of the Companies (Guernsey) Law 2008; and


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               (c)    any Adverse Costs which have been fully recovered under any after the event insurance
                      policy held by the Company;


               Facility means any of the Adverse Costs Facility, the Litigation Fees and Expenses Facility and/or
               the General Costs Facility and Facilities means any or all of them;


               Fees, Costs and Expenses means each or all of the Pre-Administration Fees and Expenses, the
               Litigation Fees and Expenses, the Historic Fees and Expenses, the General Costs and/or any
               Adverse Costs;


               General Costs means:

               (a)    any Administration Fees and Expenses that may be incurred by the Administrators on
                      behalf of Company In order to effect the day to day running of the Company; and


               (b)    any and all costs Itemised in each Approved Administration Budget;


               but excluding any Adverse Costs or Litigation Fees and Expenses;


               General Costs Facility has the meaning given to such term in clause 2.1.1;

               Historic Fees and Expenses means those fees and expenses paid by the Parent with the consent
               of the Administrators on behalf of the Company prior to the date of this Agreement as set out in
               Schedule 1;


               ICSID Proceedings means BSG Resources limited, BSG Resources (Guinea) Limited and BSG
               Resources (Guinea) Sari ("BSGR") v. The Republic of Guinea ("Guinea"} (ICSID Case No.
               ARB/14/22);


               Lltlgatlon Fees and Expenses means any Administration Fees and Expenses properly incurred by
               the Company and/or the Administrators in contemplation of, and/or as a result of, any
               Proceedings (Including, without limitation, any arbitration costs, any litigation costs, any costs for
               applying for mutual recognition of the Administration in a foreign jurisdiction, any professional
               advisors' fees and all other costs and disbursements but excluding, for the purposes of this
               definition only, (I) the US Proceedings to the extent the US Proceedings are funded by a third
               party funder; and (ii) any element relating to the Administrators' fees included within the scope
               of Administrators Approved Fees and Expenses in respect of which funding is separately provided
               under the General Costs Facility;


               Litigation Fees and Expenses Faclllty has the meaning given to such term in clause 2.1.2;


               Loan means any principal amounts advanced or deemed to have been advanced by the Parent In
               connection with the Facilities, provided always that it shall not include the Escrow Amount;




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               Parent's Debt means all indebtedness of the Company to the Parent that exists or arises
               otherwise than by virtue of this Agreement;

               Pre-Administration Fees and Expenses means any remuneration, costs, charges and expenses
               properly incurred by the Administrators or their Advisors in respect of the Company prior to
               commencement of the Administration;

               Proceedings means each of the following:

               (a)     Vale S.A. v BSG Resources limited (LCIA Arbitration No. 142683);

               (bl     the ICSID Proceedings;

               (c)     the US Proceedings;

               (d)     all litigation arising from the Company's Investment in Cunico Co-op, lncludlng but not
                       limited to the Dutch proceedings issued by Cunico Resources N.V. in the Chamber of
                       Commerce (KvK) in the Netherlands (KvK-number 34273235), except in relation to any
                       appeal of the first instance decision In the Dutch proceedings KvK-number 34273235;

               (e)     any recognition or similar proceedings relating to the Administration In (i) England, (ii)
                       France, (iii) the Netherlands, (iv) the US or (v) such other Jurisdictions as may be agreed
                       between the Parent and the Company from time to time;

               (f)     any proceedings commenced directly against the Company or the Administrators, other
                       than where initiated by the Parent;

               (g)     any proceedings commenced by, or in respect of, any creditor of the Company, including
                       but not limited to Standard Chartered Bank;

               {h)     any arbitration, litigation, tribunal, court proceedings or other body of similar nature of
                       competent jurisdiction, in connection with the proceedings listed In sub-paragraphs (a)
                       to (g) inclusive above in any Jurisdiction to which the Company or the Administrators is
                       or may be party to from time to time; and

               (i)     any proceedings initiated to enforce any judgment, award or settlement in connection
                       with the proceedings listed in sub-paragraphs (a) to (i) inclusive above;

               Royal Court means the Royal Court of Guernsey;

               Unpaid Fees, Costs and Expenses means any Fees, Costs and Expenses which are due and
               payable but remain unpaid from time to time;

               US Proceedings means the proceedings in the United States District Court for the Southern
               District of New York against George Soros and his Open Society Foundations but excludes any



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                   Proceedings in respect of the recognition of the Administration pursuant to Chapter 15 of the US
                   Bankruptcy Code or otherwise; and

                   Utlllsation Request has the meaning as set out In clause 5.1 of this Agreement;

                   VAT means:

                   {al     any tax Imposed in compliance with the Council Directive of 28 November 2006 on the
                           common system of value added tax (EC Directive 2006/112); and

                   (bl     any other tax of a similar nature, whether imposed in a member state of the European
                           Union in substitution for, or levied in addition to, such tax referred to in paragraph (a)
                           above, or imposed elsewhere.

          1.2      References to one gender shall include all genders and references to the singular shall include
                   the plural and vice versa.

          1.3      References to clauses and recitals are references to clauses and recitals of this Agreement.
                   Headings shall be ignored in construing this Agreement.

          1 .4     References to:

                   1.4.1     a person shall include any Individual, company, partnership, joint venture, association,
                             organisation, institution, trust or agency or unincorporated association {whether or not
                             having separate legal personality); and

                   1.4.2     a company shall include any company, corporation or any body corporate, wherever
                             incorporated.

          1.5      The word "including" shall be construed as being by way of illustration or emphasis only and
                   does not limit the generality of any preceding words.

0          1.6     References to statutes or other legislation includes all re-enactments, modifications and
                   amendments.

           1.7     Reference to the Administrators means all or any one of them, as appropriate and includes any
                   person appointed as an additional or replacement administrator or liquidator from time to time
                   (provided such appointee is from the firm of BOO Limited or BOO LLP) and (as appropriate) each
                   of those persons in their capacities as former administrators or liquidators.

           1.8     References to "USO" or       "$" are references to United States dollars and references to "GBP" or
                   "£" are references to British pound sterling.

           2.      THE LOAN

           2.1     Subject to the terms of this Agreement, the Parent makes available to the Company:

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               2.1.1    a GBP loan in an aggregate amount which is equal to no   more than

                        (a)    £1,575,539.07 (which includes the amounts set out in clause 2.4 below as
                               calculated in accordance with Schedule 2) for the period from the date of this
                               Agreement until 5 March 2019; and

                        (bl    from 6 March 2019 onwards, such amounts as set out in each Approved
                               Administration Budget,

                        in each case to be used for the purposes of funding the General Costs (the "General
                        Costs Faclllty'');

               2.1.2    a GBP loan in an aggregate amount which is equal to the Litigation Fees and Expenses
                        agreed in accordance with clause 6.2 (the "Litigation Fees and Expenses Facility''); and

               2.1.3    a GBP loan in an aggregate amount of £1,500,000, or as may otherwise be requested by
                        the Administrators in accordance with clause 7, for the purposes of meeting any
                        Adverse Costs (the "Adverse Costs Facility") which shall be paid into an escrow account
                        pending utilisation.

      2.2      The Parties agree that the General Costs Facility and the Adverse Costs Facility shall only be
               drawn by the Company if the Administrators, acting reasonably, believe that the funds are
            required to meet the relevant Fees, Costs and Expenses and the Company does not otherwise
               have sufficient funds available to meet such Fees, Costs and Expenses.

      2.3   The Parties agree that a certificate from the Company as to the aggregate amount of the Loan
               and any interest accrued on the same at any time shall, in the absence of manifest error, be
               conclusive.

      2.4   The Parties acknowledge that the Parent made three payments of (i) £435,000, (ii) £91,000, and
               (iii) £300,000 pursuant to the terms of a letter agreement dated 27 February 2017 [sic], but in
            fact executed on 27 February 2018, which has been used by the Administrators prior to the date
               of this Agreement to meet certain Fees, Costs and Expenses .

      2.5      Subject to clause 9 (Ranking) and clause 10 (Repayment), the principal amounts of each advance
               made under any Facility from time to time shall accrue interest daily at a rate of 3 per cent per
               annum.

      2.6      Notwithstanding the purposes of the Facilities, the Parent is not directly engaging the
               Administrators and this Agreement does not seek to replace the statutory requirements or any
               commonly accepted industry guidance relating to the conduct of administrations of this nature
               generally. The Parent hereby agrees and acknowledges that nothing in this Agreement or in the
               arrangements contemplated by it, shall fetter or prejudice the Administrators' statutory duties
               and obligations.



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      3.       THE BUFFER AMOUNT

      3.1      On the first day of the Availability Period, the Parent shall transfer the Buffer Amount into the
               Administration Account.

      3.2      The Buffer Amount shall be utilised by the Company and/or the Administrators for the following
               purposes:

               3.2.1    if the Parent fails to comply with its obligations under this Agreement and In such
                        circumstances the Administrators shall be entitled to issue a notice requiring the Parent
                        to top up the Administration Account and the Parent shall within 15 Business Days of
                        receiving such notice transfer sufficient funds to the Administration Account to ensure
                        the Buffer Amount is maintained at all times during the Availability Period; or


               3.2.2    at the sole election of the Administrators, and where funds are not already held in an
                        escrow account for this purpose, for the payment of any Adverse Costs Itemised in each
                        Approved Administration Budget or as separately approved by the Parent. In such
                        circumstances the Administrators shall be entitled to Issue a notice requiring the Parent
                        to top up the Administration Account and the Parent shall within 15 Business Days of
                        receiving such notice transfer sufficient funds to the Administration Account to ensure
                        the Buffer Amount Is maintained at all times during the Availability Period or

               3.2.3    at the sole election of the Administrators, prior to the end of the Availability Period, for
                        the payment of Fees, Costs and Expenses itemised in each Approved Administration
                        Budget and provided always that a Utilisation Request Is delivered in accordance with
                        clause 5 (Drawdawn).

      3.3   Subject to clause 3.2.3 above, the Company shall return any unused balance of the Buffer
               Amount to the Parent Immediately prior to the end of the Administration.

      3.4      To the extent that the Buffer Amount or any part thereof is applied towards Fees, Costs and
               Expenses in accordance with this Agreement, such application shall be deemed as a drawdown of
               the relevant Facility.

      4.       ADMINISTRATION BUDGET

      4.1      On the first anniversary of the Administration, and each anniversary thereafter (or such shorter
               periods as may be agreed between the Parties), the Administrators shall submit the
               Administration Budget to the Parent. Subject to the remaining part of this clause 4.1, the Parent
               shall agree the Administration Budget within 15 Business Days of submission of the same. If the
               Parent is not satisfied with any part of the Administration Budget, the Parties agree to discuss the
               Administration Budget in good faith to reach an agreed Administration Budget within 10 Business
               Days of submission. The Approved Administration Budget may be used by the Administrators in
               any application to the Royal Court for Approved Fees and Expenses.


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       4.2     The Parties acknowledge and agree that the Administration Budget for the period up to 5 March
               2019 has been agreed between the Parties and has been submitted to the Royal Court for
               approval and is attached hereto as Schedule 3.

       4.3     The Parties acknowledge and agree that there will be occasions where it will not be possible to
               foresee all Fees, Costs and Expenses and submit these in the Administration Budget. The Parent
               hereby authorises the Administrators to take such steps as are reasonably necessary in order to
               preserve the Company's position in, and/or preserve, the Administration, such steps which may
               include the incurrence of any fees, costs and disbursements.

       4.4     Any costs incurred pursuant to clause 4.3 above shall be limited to £25,000 per instance and the
               Administrators shall promptly notify the Parent of any costs incurred and shall, as soon as
               reasonably possible, provide the Parent with reasonable details of such costs.

       45      If the Parent fails to comply with the time period set out in clause 4.1, the Parent hereby
               irrevocably and unconditionally authorises the Administrators to fund the relevant Fees, Costs
               and Expenses from the Buffer Amount until such time as the Administration Budget Is approved.

      5.       DRAWDOWN

      5.1      Subject to the terms of this Agreement and except as set out in clause 6.2 (Utigation Fees and
               Expenses), the Parent will, subject to the Parent receiving a request (the "Utlllsatlon Request")
               from the Company, transfer an amount as detailed In the Utilisation Request to the Company
               Account or to such other account as may be specified in the Utilisation Request. Each Utilisation
               Request must:

               5.1.1   be in writing, signed by at least one of the Administrators on behalf of the Company,
                       and sent to the Parent by email to m.bonnant@bon-a.ch or such email address notified
                       to the Administrators from time to time, and/or such other person or persons at the
                       Parent as may be notified by the Parent In writing to the Administrators;

               5.1.2   state which Facility It relates to and the amount requested, by reference to the
                       Approved Administration Budget or this Agreement;

               5.1.3   specify the purpose or purposes for which the amount will be used;

               5.1.4   provide copies of such relevant Invoices, court orders and any other documentation as
                       the Parent may reasonably request, including, In the case of the Administrator's fees, a
                       detailed breakdown (together with narrative) of such fees;

               5.1.5   state the Business Day on which payment of the amount is to be made whic:h shall be
                       not less than 15 Business Days from the date of the Utilisation Request and shall be In
                       the Avallability Period.




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           5.2     Except with the prior consent of the Parent, no Utilisation Request may be made in respect of the
                   General Costs Facility where such utilisation would breach the limits on the General Costs Facility
                   set out in clause 2.1.1.

           5.3     If the Parent is not satisfied with certain payments requested as part of the Utilisation Request
                   only, whether in relation to the purpose specified and/or the amount proposed (the "Disputed
                   Parn, the Parent shall specify which purpose(s) and/or amount(s) ls/are not agreed and shall
                   promptly consult with the Administrators, and in any case within 5 Business Days of the date of
                   the Utilisation Request, regarding the Disputed Part. The Parent shall not delay the transfer of
                   any non-disputed payments request In such Utilisation Request which do not comprise the
                   Disputed Part.

           5.4     Subject to clause 5.3, if the Parent fails to comply with the time period contained In the
C                  Utilisation Request, the Parent hereby irrevocably and unconditionally authorises the
                   Administrators to pay all such Invoices In full from the Buffer Amount.

           6.      LITIGATION FEES AND EXPENSES

           6.1     The Administrators will use their reasonable endeavours to ensure that the Advisors shall, from
                   time to time, and prior to incurring any Litigation Fees and Expenses, submit the Budgeted Costs
                   to the Administrators and the Parent for their approval.

           6.2     The Parent shall be responsible for the payment of all Litigation Fees and Expenses to each
                   respective Advisor in respect of: (i) the ICSID Proceedings, (ii) the Proceedings described in sub-
                   paragraphs (a) to (d) of the definition of Proceedings in clause 1.1 (Definitions), and (iii) any other
                   Proceedings where agreed in advance between the Parent and the Administrators from time to
                   time, and such payments shall be deemed utilisations for the purposes of this Agreement and
                   form part of the Litigation Fees and Expenses Facility.


           6.3     Except as described in clause 6.2, the Company shall be responsible for the payment of all other
                   Litigation Fees and Expenses to each respective Advisor in respect of all other Proceedings, which
                   shall be agreed between the parties from time to time and transferred by the Parent to the
                   Company Account in accordance with clause 5 (Drawdown).

           6.4     If the Parent fails to meet the Litigation Fees and Expenses for which it is responsible pursuant to
                   clause 6.2 above, the Parent hereby Irrevocably and unconditionally authorises the
                   Administrators to pay such amount to the respective Advisor from the Buffer Amount.

           6.5     The Parties agree to discuss, in good faith, any litigation Fees and Expenses that are incurred in
                   excess of the Budgeted Costs.

           6.6     The Parties acknowledge and agree that there will be occasions where it wlll not be possible to
                   submit Budgeted Costs in advance of Incurring any Litigation Fees and Expenses. The Parent
                   hereby authorlses the Administrators to take such steps as are reasonably necessary in order to


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               preserve the Company's position in any relevant arbitration or litigation or otherwise and/or in
               preserving the Administration, such steps which may include the incurrence of any fees, costs
               and disbursements and/or use of the Buffer Amount.

       6. 7    Any costs incurred pursuant to clause 6.6 above shall be limited to £25,000 per instance and the
               Administrators will promptly notify the Parent of the necessity of Incurring the costs and, shall as
               soon as reasonably possible, provide the Parent with details of such costs including Invoices
               evidencing the same where possible and appropriate.

       7.      ADVERSE COSTS


       7.1     The Parties acknowledge that the Parent has paid the Escrow Amount to Ogier, to be held in their
               client account and, following the execution of an escrow agreement, in an escrow account to be
               held by Ogier in accordance with the escrow agreement, pending the final determination of the
               ICSID Proceedings. Upon confirmation that the Company has obtained "after the event
               insurance" insuring against Adverse Costs of up to £1,000,000 ("ATE Insurance Cover") which
               may arise from the ICSID Proceedings, the Escrow Amount shall be reduced by an amount equa l
               to the ATE Insurance Cover and returned to the Parent.

      7.2      Notwithstanding clause 7.1, the Parties acknowledge and agree that Proceedings may Incur
               additional Adverse Costs and, as such, the Escrow Amount may be increased from time to time.
               Within 15 Business Days of being notified of any Proceedings pursuant to which Adverse Costs
               may arise, the Parent undertakes, upon the written request of the Administrators, to place such
               additional Escrow Amount into either (I) the escrow account specified in clause 7.1, or (ii) such
               other escrow account to be held by Ogier or other relevant Advisors in accordance with an
               escrow agreement, pending the final determination of the respective Proceedings.

      7.3      The Parties acknowledge and agree that the Escrow Amount shall be used to meet the Adverse
               Costs in accordance with the terms of the relevant escrow agreement. Any payment from the
               Escrow Amount shall be a deemed drawdown under this Agreement and form part of the
               Adverse Costs Facility.

      7.4      If the Parent fails to comply with the time period contained in this clause 7 or, If, on final
               determination of the Proceedings, a shortfall exists, the Parent hereby irrevocably and
               unconditionally authorises the Administrators to pay all such Adverse Costs from the Buffer
               Amount.

      7.5      In the event of any conflict between the terms of this clause 7 and any relevant escrow
               agreement, the terms of such escrow agreement shall prevail.

      8.       CANCELLATION


      8.1      The Parent may, if it gives the Administrators and the Company not less than three months' (or
               such shorter period as the Administrators may agree) prior notice In writing, cancel its obligation


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               to advance further monies under the Facilities following expiration of such three month period.
               All other obligations of the Parent under this Agreement shall remain in full force and effect.


       8.2     The cancellation of the Parent's obligation to advance further monies under the Facilities shall
               not affect the Parent's obligation to pay any Fees, Costs and Expenses which (i) have been
               incurred or (ii) will be incurred and which cannot reasonably be avoided, whilst preserving the
               Company's position in each relevant arbitration or litigation or otherwise, and working towards
               the Implementation of an orderly termination of the Administration. Any Adverse Costs
               transferred into an escrow account In accordance with clause 7 shall not be affected by any
               notice provided by the Parent pursuant to clause 8.1.


       9.      RANKING

       9.1     The Parties acknowledge that the Administrators' remuneration and any costs, charges and
               expenses properly incurred in the Administration (which, for the avoidance of doubt, Includes
               the Fees, Costs and Expenses) are payable from the Company's assets In priority to all other
               claims pursuant to section 383 of the Companies (Guernsey) Law, 2008.


       9.2     It is hereby agreed that the repayment of the Loan and any interest outstanding hereunder shall
               be subordinate to:


               9.2.1     firstly, to any secured creditors that take priority over any Fees, Costs and Expenses in
                         accordance with Guernsey law; and


               9.2.2     secondly, to the payment of all other Fees, Costs and Expenses (including, to the extent
                         relevant, any Unpaid Fees, Costs and Expenses).


      10.      REPAYMENT

      10.1     Subject to clause 9 (Ranking), immediately prior to the end of the Availability Period, the
               Company shall repay to the Parent the Loan and any interest outstanding hereunder.


      10.2     Subject to clause 10.4, to the extent funds are available within the Company, the Company may
               (at the discretion of the Administrators) repay the Loan and/or any interest (or part thereof) to
               the Parent at any time during the course of the Administration.


       10.3    Where the Company wishes to make a prepayment or payment to the Parent pursuant to clause
               10.2 it shall:


               10.3.1    provide advance written notice to the Parent specifying the amount of such prepayment
                         or payment and to which Facility the prepayment or payment relates; and


               10.3.2    ensure that the prepayment or payment amount Is for no less than £50,000.




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       10.4    The Parent acknowledges and agrees that where there are insufficient funds available in the
               Company to repay the Loan and any interest outstanding hereunder, the Parent shall have no
               recourse to any asset of the Administrators or of the Company.


      11.      OBLIGATIONS AND RESTRICTION

      11.1     The Parent undertakes that it shall not, at any time during the Availability Period, do anything (or
               omit to do something) that may prejudice its ability to meet its obligations under this Agreement.

      11.2     The Parent expressly reserves its rights against all subsidiaries of the Company.

      12.      REPRESENTATIONS AND WARRANTIES

      12.1     Each of the following representations and warranties is made by the Parent as at the date of this
               Agreement:

               12.1.1   it is a limited liability company, duly incorporated and validly existing under the laws of
                        the British Virgin Islands, with power to own its assets and to carry on Its business (and
                        other activities) as they are being conducted;

               12.1.2   it has the power and authority to enter into this Agreement and to perform its
                        obligations and exercise its rights under it;


               12.1.3   entering into this Agreement and performing its obligations and exercising its rights do
                        not conflict with any law applicable to it, its memorandum and articles of association or
                        any agreement binding upon it (or its assets);

               12.1.4   it is able to pay its debts as they fall due and will not become unable to do so as a
                        consequence of entering into this Agreement; and

               12.1.5   it is not insolvent or bankrupt under the laws of any jurisdiction nor will it become
                        insolvent or bankrupt under the laws of any jurisdiction as a consequence of entering
                        Into this Agreement and it has not, In any jurisdiction, commenced or had commenced
                        against it any proceedings or other actions for or indicative of Insolvency or bankruptcy.

      13.      PAYMENTS

      13.1     All payments due to be made under this Agreement shall be made:

               13.1.1   in British pounds sterling or such other currencies as agreed between the Parties in
                        immediately available funds without any set-off or counterclaim; and


               13.1.2   to such account as notified to the Parent by the Administrators in writing from time to
                        time, or pursuant to the terms of this Agreement.




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           13.2    When any payment under this Agreement would otherwise be due on a day which is not a
                   Business Day, the due date for payment shall be extended to the next following Business Day
                   unless such Business Day falls in the next calendar month In which case payment shall be made
                   on the immediately preceding Business Day.

           14.     WHOLE AGREEMENT

           14.1    This Agreement sets out the whole agreement between the Parties relating to the subject matter
                   of this Agreement at the date of this Agreement to the exclusion of any terms implied by law
                   which may be excluded by contract and supersedes any previous written or oral agreement
                   between the Parties in relation to the matters dealt with In this Agreement.

           14.2    This Agreement supersedes each other agreement or arrangement between the Parties
0                  regarding any matter of the type for which this Agreement provides (including, without
                   limitation, the letter dated 27 February 2017 [sic], but in fact executed on 27 February 2018,
                   from the Parent to the Administrators) and each such agreement or arrangement has no further
                   effect.

          15.      SURVIVAL

           15.1    If any Administrator is:

                   15.1.1     removed from office by order of the Royal Court;

                   15.1.2     resigns his office by giving notice of resignation to the Royal Court;

                   15.1.3     vacates his office If the administration order is discharged; or

                   15.1.4     In any other way ceases to be an administrator of the Company,

                   each a Vacation of Office, any Vacation of Office shall not affect any rights or remedies of that
                   Administrator that may have accrued up to the date of his Vacation of Office, including the right
                   to claim damages in respect of any breach of this Agreement which existed at or before the date
                   of his Vacation of Office, and the Parties hereby agree that such rights or remedies shall be
                   capable of enforcement by the Administrators on and from the date of his Vacation of Office.


           16.     NO SET OFF

                   The Parent may not set off any obligation of the Company to the Parent (including any
                   contingent or unmatured obligation) or any part thereof against any obligations and liabilities
                   (whether present or future, actual or contingent) of the Parent under this Agreement or any part
                   thereof.




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       17.     ASSIGNMENT

               No Party may, without the prior written consent of the others, assign, hold on trust or otherwise
               transfer the benefit of all or any of Its obligations under this Agreement, or any benefit arising
               under or out of this Agreement.

       18.     NOTICES

       18.1    Any notice or other communication In connection with this Agreement (each, a "Notice") shall
               be:

               18.1.1    in writing;

               18.1.2    delivered by email, hand, pre-paid first class post or courier; and

               18.1.3   sent to the address set out in the header of this Agreement or such other address as
                         may be notified to the sending Party by the other Parties from time to time.

      18.2     A Notice shall be effective upon receipt and shall be deemed to have been received:

               18.2.1   72 hours after posting, if delivered by pre-paid first class post;

               18.2.2   at the time of delivery, if delivered by hand or courier; or

               18.2.3    24 hours after it was sent, if sent by email.

      18.3     The Parent irrevocably appoints Perla Limited as process agent in Guernsey to accept service of
               notices pursuant to this Agreement on its behalf, such appointment to take effect from the date
               of this Agreement.

      18.4     If any person appointed as agent for service is unable for any reason to act as agent for service of
               process, the Parent must immediately (and in any event within five days of such event taking
               place) appoint another agent on terms acceptable to the Parties.

       19.     ADMINISTRATORS' LIABILITY

      19.1     The Administrators are party to this Agreement solely to receive the benefit of this Agreement.

       19.2    None of the Administrators, their company, firm, partners, personal representatives or
               employees, shall incur any personal liability under, by virtue of or in connection with this
               Agreement or under or in connection with any document entered into pursuant to or in
               connection with this Agreement.

       19.3    The Parties hereby declare, acknowledge and agree that such exclusion of personal liability in
               respect of this Agreement and the transactions contemplated by this Agreement shall extend to
               any matter or claim howsoever, whenever, and wherever arising, and whether such claim is


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               formulated in contract, tort or restitution or by reference to any other remedy or right, and in
               whatever jurisdiction or forum.

       19.4    Whether or not acting as agent of the Company, the Administrators shall when acting in the
               name and on behalf of the Company incur no personal liability by reason of acting in such
               capacities.

       19.5    The exclusion of liability in this clause 19 shall continue notwithstanding termination of this
               Agreement and shall be In addition to and not qualified by or in substitution for, any right of
               indemnity, recovery, or relief otherwise available to the Administrators and apply to claims in
               contract, tort or otherwise.

       20.     CONFIDENTIALITY


               This Agreement is confidential between the Parties and (save as required by law or current
               Insolvency practice) shall not be disclosed to any other person without the consent of all other
               Parties to this Deed.

      21.      NO THIRD PARTY RIGHTS


               The Parties do not intend that any term of this Agreement shall be enforceable by any person
               who is not a Party, except for any successors in office (provided that, in the case of the
               Administrators, any such successors are from BOO LLP or BOO Limited) or permitted transferees
               or assignees of such Party.

      22.      COUNTERPARTS


               This Agreement may be executed in any number of counterparts each of which shall be deemed
               an original, but all the counterparts shall together constitute one and the same instrument.

      23.      GOVERNING LAW

               This Agreement shall be governed by and construed in accordance with laws of Guernsey and the
               Parties irrevocably agree that the courts of Guernsey are to have jurisdiction to settle any
               disputes which may arise out of or In connection with this Agreement.

      This Agreement has been entered Into by the Parties or their duly authorised representatives on the date
      first set out above.




                                                          17




                                                                                                              042
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         Schedule 1
         Historic Fees and Expenses
         means those fees and expenses paid by the Parent with the consent of the Administrators on behalf of
         the Company prior to the date of this Agreement as set out in Schedule 1;




         Operating Costs
          Staff costs including tax ft social security contributions                                    92,396
          Legal and Professional fees                                                                   22,255
          General office costs                                                                             369

0                                                                                                      115,020
         Legal Fees   a: Associated Costs
          Legal Fees                                                                                   927,721
          lT Services                                                                                   64,843

                                                                                                       992,564
        Joint Administrator's Fees
          Joint Administrators' pre-appointment fees                                                    64,500
          Joint Administrators' post-appointment fees                                                  296,780
          Joint Administrators' general disbursements                                                    3,175

                                                                                                       364,455

         Total loaned to BSG Resources Ltd (ln Administration)                                      1,472,038




                                                                                                                 043
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     Schedule 2
     Clause 2.1.1 (a) Calculation


    General Costs to 5 March 2019                                      £

                                       Budget to 5 March 2019         901,239.07
                                       Estimated Administrators'
                                       Expenses                      354,300.00
                                       Operational Costs             320,000.00

                                                                    1,575,539.07


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          Schedule 3
          Budget - 6 March 2018 to 5 March 2019
                 --                                ----
          A1 - Discussions with the Board                                  35.75         20,110.98     562.54
          A2 - Preparing Papers for Appointment                             8.80          3,691.08     419.44
          Al - Preparing for Trading and Control                           16.50          8,094.60     490.58
          A4 - Attendance at Hearing                                       15.00
          AS - Statutory Matters                                            5.40



         ~ D ,Q ·'MA
         81 - Statutory notices                                             7.25         3,143.03      433.52
         82 - Internal set ups                                             20.50         9,050.10      441.47
         83 - Attending site                                               13.00         4,212.00      324.00
         B4 • Establishing control                                         26.75        11,393.33      425.92
0)       BS - Setting up banking facilities
         B6 - Notices to creditors
                                                                            2.50
                                                                           15.20
                                                                                            746.28
                                                                                         4,745.48
                                                                                                       298.51
                                                                                                       312.20
         f                                                                 85,20   • . >133!'2 .0,2:   39_0g3"'


         C1 · Initial meetings with lawyers                                26.50        16,464.35      621.30
         C2 • Review of documentation                                      20.00         9,831.81      491.59
         C3 - Further meetings                                             40.00        19,665.17      491.63
         C4 - Development and documenatlon of strategy and funding         40.45        23,030.33      569.35
         CS - Implementation of strategy (year 1 only)                    111.85        48,393.33      432.66
         C6 - Cunico Settlement                                            59.75        30,183.24      505.H,
         C7 - ICSID Arbitration                                           249.40       137,985.59      553.27
         ca - Adverse Costs                                               112.55        61,435.31      545.85
         C9 - Mutual Recognition
         f,

         D1 - Debtor revfew                                                22.00         8,302.20      377.37
         D2 - Subsidiary Engagement and Agreements                         80.00        33,663.96      420.80
         D3 - Monitoring cashflow                                         130.00        41,468.89      318.99
         D4 - Preparing/ Authorising payment runs                          98.00        38,087.90      388.65
         05 - Maintaining contact with mgmt                               114.00        37,882.08      332.30
         06 - Employee liaising                                            36.00        10,788.20      299.67
         D7 - Review of strategy                                           24.50        11,799.38
         08 - O II: O and Other Insurance




          E1 - Advice on steps to maintain residency                        8.00         4,016.55      502.07
          E2 - Meetings in Guernsey                                        54.85        37,120.75      676.77
          E3 - Other ad-hoc matters                                         6.00         2,990.96      498.49
         6                                                               - 68 85

                                                                                                        ,-,   -
          F1 • Reporting requirements                                      37.50        13,502.80      360.07
          F2 · Companies House filings



          !'.; Ga:!!:                                                                                         .....:l
          G1 - Cashiering entries                                          21.00         2,050.68       97.65
          Gl - Internal checklists and reviews                            123.10        60,887.29      494.62




                                                                                                                        045
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         H1 - Discussions with Star West                                  5.00      2,327.00    465.40
         H2 - Review of group structure                                   5.00      2,458.00    491.60
         HJ - Dealing with enquiries                                     33.00     16,859.42    510.89
         H4 - Management Meeting                                        154.10     61,886.41    401.60
         HS - Standard Chartered                                        113.20     56,422.69    498.43
         H6 - Funding Issues/ Agreement                                                         513.42
                                                                                                116'3.:.if)
                                                                       4264.20    977,095.52    229.14
        Agreed Discounts
        - Additional 10% discount on the additional breakdowns                   ( 10,196.00)
        - Additional forensics work on ICSID closing submissions                 (53,969.00)
        · Further Discount - Contested Time                                      ( 11,691.45)
        Total Discounts Applied                                                  (75,856.45)

        Totals
                                                                   ~             .91l'~OZ . 2f.i1Q_s ;




0




                                                                                                              046
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                                                Pg 154 of 216




                                  r

                                                    EXECUTION




       SIGNED by
       on behalf of N SCO MANAGEMENT CORP.
                /     t:, ~l<:e (._ \-= (



      SIGNED for and on behalf of BSG RESOURCES LIMITED (in administration) by William Callewaert as joint
      Administrator (acting as agent and without personal liability)




       SIGNED by WILLIAM CALLEWAERT for and on behalf of the Administrators (without personal liability)




                                                        20




                                                                                                             047
     19-11845-shl             Doc 46-1      Filed 09/09/19 Entered 09/09/19 18:00:38                       Exhibits A-HH
                                                      Pg 155 of 216



                                                                            EXECUTION




             SIGNED by
             on behalf of NVSCO MANAGEMENT CORP,



                                         .
                     'N-
             ......................      ................................
             SIGNED for and on behalf of BSG RESOURCES LIMITED (in administration} by Willlam Callewaert as joint
             Administrator (acting as agent and without personal liability)


.c
             SIGNED by WILLIAM C LLEWAERT for and on behalf of the Administrators (without personal liabillty)




                                                                              20




                                                                                                                    048
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                          Exhibit U
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                                                                                                                A-HH    C-393
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      To:        'Ben . Brewerton@FTIConsulting .com'[Ben .Brewerton@FTI Con s u lti n g . com]
      Cc:        Dag Cramer[dag@onyxfa .com] ;
      'asher@bsgresou rces.com'[asher@bsgresources.com] ;
      'Oliver.Winters@fticonsulti n g . com'[Oliver.Winte rs@fticonsu lti n g . com]
      From:      Beny Stein metz
      Sent:      Sun 04/1 1 /2 0 1 2 8:04 : 08 AM
      Subject: Re : Draft formal release for Monday

      Dear a l l , Am th i n king hard on our press re lease . And th i n k we should be harder and more focus
      and even answer the algetion aginst BSGR i n more specif way ! Am repeating , that it is not a
      fight a bout keeping the assets or fight a lgeation aginst us , it is a figh t on BSGR a n d my Ebny
      Ste i n metz reputation . So every word is i mportan t and need to be punchy and ! I th i n k that the
      genera l of the p ress release is good , especialy the start , what is lacking is the follwoing : (not
      nesserly by order)
      - we d iscove r Zogota ,tota l g reenfield . Because of that , and because Rio had done noth ing ( 6
      holes over 1 0 years in block 1 /2 ) Conte adviced Rio a n d took it away from the m already i n
      bege ining o f 2008. At e n d 2008 BSGR was awared these two blocks , a s nobody e lse applied fo r
      the m ( worried from R i o reaction ) .
      - BSGR i n vested a lot of money a n d i n record time drilled . . . . . . . Meters , and have done Pre
      feisabilty study on th is exploartin area wh ich was just an promising exploration area !
      All that i n the worst political time i n G u inea , when everybody else stoped working , and u n der 4
      d ifferenet reg ims .
      BSGR were speaking with few potential startegic i nvetors to join ,when it was a pparant by the
      ban ks commison by BSGR to ra ise dent for deve lopment , that there is n o debt ava i lble for
      G u i nea . Vale apprtoched BSGR and at record time close a deal , w h i ch Vale thought was a very
      good deal and was extren ly i mpressed from the tech incal jog BSGR have preformed . BSGR sold
      part , also with con d itional milestone with exit possibilties for Vale d u ring the time . Vale is the n u
      1 I ro n o re prod ucer i n the world , and have bothe financial and techn ical capacity to execute th is
      heavy log istical project . GoG wellcomed Vale and VBG (BSGR Nale ) got all the needed
      approval from all GoG bodies /enteties concerned . ( Many of the people are stil l curren t minsietrs
      , i ncl M i n ister Finance a n d min ister mining .
      Th is g reat achivment was cust by the arrival of AC ,who ,as has been learned later have
      promised "sold " our asset in return for e lection money and additional mon ey after eelction , for
      accoun ts u n known , public and private .
      l mistaly afe r election , AC have stoped VBG project , (the cancan conakry rai l and addtiona l work
      on exit rai l to Liberi as per our mining l iecncse ) .
      -tha n came demands for 50% of the assets from us , ( to GoG and to private ) , and intd i mation
      camag i n started . Saying we had n o right to sel l to Vale 5 1 % .
      - tha n with h is best friend Soros long time enemy of Beny , who promised h i m evidn ce of mal
      practice . 2 years of invstig ation have come with n oth ing .Soros , and old Billionaire , convicted
      criminal for inside trad ing in France have made it h is new l ife mission to take the assest and
      smear Beny .
      I n order to gather more leg itmicy ,one of Soros fou n ation have h i red Tony Bla ire services as well .
      I n mean time , a report of Collier , i ndepent Franco/Canadian law fi rm , costing 300000k e u ro
      financed by Glencore , who a lso tried to sn iff around the asset w ith a target of getting it , said
      clearly that all BSGR NBG acts and le icnses a re i norder and by the book a n d to best practice .
      AC h a ve choosen to h ide th is report as it went a g inst h is plans .
      I n the meantime , Muhamd , AC son , closest to h i m , who tool an official postion as advisor few
      months ago , was i n volved i n a l l the murky and corru pte tran saction . Starting "Pa lad i no" ,(owned
      by u n ke n SA person and Tokyo Siku ha le from SA ) where against ( as said before ) money , for
      millions of $ was g i ven to AC in return to a sta ke in the Guinea public who will keep the
      goverment stakes in all mining co ! . Mohamed have got d u ring th is perion mi llions of $ to h is
      private accounts . Whe n the scandal bro ke publicy ,the GoG return so cal led the lawn .
      AIOC . C I F . And latest B@A /agneilli who have worked closely w ith AC son last few months to
      take ove r the logtics of the whole iron ore i n the country and a lso the mining s itelf . Also the public
      cry over it have stoped the plot .




                                                                                                           BSGR-LC IA-0002750
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      All th is h appening u nder the so called su pervision and w ith the people of Soros and Blaire at the
      minsitries
      The l atest joke is the so ca l led commite . . . . . .


      I th i n k we should say i t strongly !
      I deas




      ----- Orig i n a l Message ----­
      From: Beny Ste i n metz
      To : Brewerto n , Ben <Be n . Brewerton@FTIConsu l ting .com>
      Cc: dag @onyxfa . com <dag@o nyxfa . com>; asher@bsgresources .com
      <asher@bsgresources . com>; Wi nters , Oliver <Oliver.Winte rs@fticonsu ltin g . com>; Brewerton ,
      Ben <Ben . Brewerton@FT IConsu lti n g .com>
      Sent: S u n Nov 04 07:40:27 201 2
      Subject: Re : D raft forma l release for Monday

      I s there anyth ing i n the ST ?

      Sent fro m my iPad

      On 3 Nov 201 2 , at 23: 1 0, "Brewerton , Ben" <Ben . B rewerto n@FTIConsu lti n g . co m> wrote :


      1 1 am U K time works fin e for me.

      I've attached a latest d raft for us to use as basis for tomorrow's call

      The Sunday Ti mes has n ot posted tomorrow's stories on line as yet but I'll circ ulate the story
      tomorrow morn i n g .

      Rega rds

      Ben



      From: Beny Ste i n metz [beny@onyx-su isse .com]
      Sent: 03 November 201 2 2 1 :20
      To : Brewerto n , Ben ; 'dag@onyxfa . com'; 'asher@bsg resources.com'
      Cc: Win ters, Olive r
      Subject: Re : D raft forma l release for Monday

      Tomorrow we do confg cal l between 1 1 to 1 1 . 3H U K ti me as I w i l l be busy before

      ----- Orig i n a l Message -----
      From: Brewerton , Ben < Be n . B rewerton@FTI Con s u lting . com>
      To : Beny Stei n metz; 'dag@onyxfa . co m' <dag @onyxfa .com>; 'asher@bsgresources .com'
      <asher@bsgresources .com>
      Cc: Winters, Olive r <Oliver.Winters@fticonsulti n g . com>
      Sent: Sat Nov 03 1 4 : 38:46 2 0 1 2
      Subject: Re : D raft forma l release for Monday




                                                                                                    BSG R-LC IA-00027 50_0002
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      Thanks Beny, I'll tvveak release and send round again ton ight ahead of call tomorrovv morn ing.
      Could we possibly do tomorrow's call at 1 0.30am rather than 1 O?

      Thanks



      ----- Original Message -----
      From: Beny Steinmetz [maiito:beny@onyx-suisse.com]
      Sent: Saturday, November 03, 201 2 01 :39 PM
      To: Brewerton , Ben ; 'dag@onyxfa.com' <dag@onyxfa.com>; 'asher@bsgresources.com'
      <asher@bsgresources.com>
      Cc: Winters, Oliver
      Subject: Re: Draft formal release for Monday

      Beside the few little points I mention before , here is my advice that on Asher quate,that he will
      say n that over 4 years of work , BSGR have inveted over 1 60m$ of it own money in the country
      and manage to create hugh value but have a greenfield discovery and develop anther rescource
      in a record time , (on which other compny were sitting for 1 Oyears doing nothing . It is this hugh
      value that gave appiatete to corapte and bad people to try and steal it away from BSGR . This will
      not happen ! BSGR is proud to be the pioneer of the iron business in Guinea ! "

      ----- Original Message -----
      From: Brewerton , Ben <Be n .Brewerton@FTIConsulting .com>
      To: Beny Steinmetz; 'dag@onyxfa.com' <dag@onyxfa .com>; 'asher@bsgresources.com'
      <asher@bsgresources.com>
      Cc: Brewerton , Ben <Ben . Brewerton@FTIConsu lting.com>; Winters, Oliver
      <Oliver. Winters@fticonsu lting . com>
      Sent: Sat Nov 03 1 2:36:58 2 0 1 2
      Subject: Draft formal release for Monday


      All

      Just to start the ball rolling while I was online, please find attached a d raft statement for release
      via PRNewswire on Monday.

      It is an edited version of the lawyer's version , with a quote included which is the punchier parts of
      the statement we issued this morn ing.

      Th is morning's statement has been distributed and I've drawn it to people's attention and am
      waiting for them to review it and come back to me.

      Regards

      Ben




      Confidentiality Notice:
      Th is email and any attach ments may be confidential and protected by legal privilege. If you are
      not the intended recipient, be aware that any disclosure, copying , distribution or use of the e-mail
      or any attachment is prohibited. If you have received th is email in error, please notify us




                                                                                                 BSG R-LC IA-0002750_0003
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      immediately by replying to the sender and then delete this copy and the reply from your system.


      <BSGR Announcement Regarding Simandou Project, Guinea v2 word.doc>




                                                                                           BSG R-LC IA-00027 50_0004
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                          Exhibit V
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                                            Pg 162 of 216                 Exhibit C-731


  To:       'asher@bsgresources.com'[asher@bsgresources.com]; David
  Barnett[david@bsgms.com]
  From:     Beny Steinmetz
  Sent:      Mon 09/05/201 1 2 : 1 3:46 PM
  Subject: Re: Symposium.

  Wi ll try to sort it with Roger this evening . Leave it with me


  ----- Original Message -----
  From: Asher Avidan <asher@bsgresources.com>
  To: Beny Steinmetz; 'david@bsgms.com' <david@bsgms.com>
  Sent: Mon May 09 1 6 : 04 : 1 9 201 1
  Subject: Fw: Symposium.

  Th is is very bad , I will make a comment and then leave to the lawyers . . . . We are damag ing the
  brand of Vale!



  From: ricardo.saad@vale.com <ricardo.saad@vale.com>
  To: Asher Avidan
  Cc: Beny Steinmetz <beny@onyx-suisse.com>; daniela.chimisso@vale.com
  <daniela.chimisso@vale.com>; David Barnett <david@bsgms.com>;
  eduardo.ledsham@vale.com <eduardo. ledsham@vale.com>
  Sent: Mon May 09 1 4:54 : 05 201 1
  Subject: Re: Symposium.



  Dear Asher,

  Just let you know that we are revising the delegates list, because there was a confusion among
  the organizers and VBG Commun ication team. I will send you the revised one asap.

  Regarding the communication strategy applied in both events (Liberia and Gu inee) we are
  following a corporate approach, where it is assumed that Vale has a strong brand , so it makes
  more effective and powerful! the communication process. We are doing the same as Rio and
  BHP, where they use the corporate branding.
  I understand we have talked about it some times and I assumed you have agreed with .

  best regards
  Ricardo Saad




  Asher Avidan <asher@bsgresources.com>

  09/05/201 1 08:25
  Para
         "ricardo.saad@va le.com" <ricardo.saad@vale.com>
  cc
      Beny Stein metz <beny@onyx-suisse.com>, "eduardo.ledsham@vale.com"
  <eduardo. ledsham@vale.com>, "dan iela.chimisso@vale .com" <dan iela.chimisso@vale.com>,




                                                                                                CGS&H p. 1
                                                                                                   BSGR-LC IA-0002337
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  David Barnett <david@bsgms.com>
  Assunta
       Symposium.




  Dear Ricardo, Since I haven't heard anything and on the meantime we are waiting I wou ld
  appreciate If you'll send me the list of the delegation to the Symposium, as was sent to the
  organize rs.

  Thanks


  Asher Avidan

  President BSGR

  www .bsgms.com

  7 Old Park Lane
  London W1 K 1 QR
  United Kingdom




  -----Orig inal Message----­
  From: Asher Avidan
  Sent: Sunday, May 08, 201 1 6:42 PM
  To: ricardo.saad@vale.com
  Cc: Beny Steinmetz; 'eduardo.ledsham@vale.com'; daniela.ch imisso@vale.com; 'David Barnett'
  Subject: FW: I M G0 1 85 1 -201 1 041 0-1 228.jpg
  I mportance : High

  Ricardo.

  I got another call about it just now from another official that visited the stands, and I attached the
  picture from Liberia Symposium and which I refuse to believe that in the beginning BSGR logo
  was in the boot, but you r guy (Abubacar Camara) Hided it and took it off. I totally disagree to this.
  TOTALLY.

  Asher Avidan




  Dear Ricardo.

  Following our discussion (you and me) and in accordance with our JV agreement- I u rge you to
  make sure and re verify that BSGR will be mentioned and appear as much as VALE on all the
  domains and media. It should be on : The Logo, the signs, publicity, presentation , brochures,




                                                                                               CGS&H p. 2
                                                                                            BSGR-LCIA-0002337_0002
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  Reception etc.
  Since I don't want to repeat the mistakes from the last ceremony in Guinea and recently the same
  mistake was made in Liberia, I feel like I must remind you this issue, and especially after I heard
  today from the organizers of the Symposium that the "Cervice de comonication" of Vale
  demanded them and insisted to take out the Logo of BSGR and leave Vale only! If this will be the
  case it will damage and jeopardize our Lobby and efforts that we do today vis-a-vis the people of
  the entire Administration and especially THE PRESEDENT. I don't want to remind and mention
  the damage we had on experience, This time it will be crucial. Moreover, the steering committee
  (pilotage) of the Symposium just phoned me to stress that only Vale is mentioned on the booth
  and I q uote "GoG has no convention with Vale whatsoever and we are starting to make a scandal
  about this as it is shocking to us".

  I thank you for the cooperation .
  Good luck.
  Asher

  Asher Avidan

  President BSGR

  www .bsgms.com

  7 Old Park Lane
  London W1 K 1 QR
  United Kingdom




  Th is message has been scanned for malware by Viatel MailControl, a service from Viatel




                                                                                            CGS&H p. 3
                                                                                         BSGR-LCIA-0002337_0003
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                      Exhibit W
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                                                                                                         A-HH    C-398
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     To:        'asher@bsgresources.com'[asher@bsgresources.com]
     From:      Beny Steinmetz
     Sent:      Mon 09/05/201 1 4:21 :48 PM
     Subject:   Re: Symposium.

     I think it is very good , just the legal staff in begeining should go to end , and don't speak about
     conseceanse . Just say again that it is against our legal agreement. That is all . Don't threathen .
     Most imprtant is the rest ! Also say that BSGR always acted and acts in good face and trying to
     make the best for VBG , and will continoue doing so !

     ----- Original Message -----
     From: Asher Avidan <asher@bsgresources.com>
     To: Beny Steinmetz
     Sent: Mon May 09 1 8: 1 1 :28 201 1
     Subject: RE: Symposium.

     Beny- ita€ ™ s strong but I think ita€ ™ s good. Advisea€:



     Ricardo- Th is is a very serious legal issue and I assume you have consulted with your legal
     department before responding. However, although I think you are totally wrong with your legal
     approach , allow me to comment as a Director of VBG, and as someone who u ndersta nds the
     inside politics of the country and the sensitivity to the our partnership.

     With all due respect to the brand of Vale which I admire very much , allow me to remind you that
     the brand of Rio Tinto did not protect them from losing it. GoG have never signed with Vale and
     Vale does not exist in Guinea as far as iron ore is concerned .

     From your answer below, I understand that there is a deliberate approach from Vale Corporate to
     see BSGR as damaging your name and image in Gu inea and Liberiaa€: However, in all due
     respect, allow me to stress that it is the exact contrary in Guinea. In spite of what you might think
     BSGR has still lots of admiration in this country. To make a long story short, take my humble
     advise and act according to our official agreement by putting BSGR beside Vale in order avoid
     tomorrow confrontations and serious questions from the Symposium audience which we will not
     be able to prevent or control.

      The long term damage from the consequences of this ambiguous message risks to legitimating
     the message and attempt of the President to separate BSGR from VBG and all what comes with
     it.

     Clearly this approach which have been repeated in the past, in our opinion , is damaging the
     project/BSGR/and VBG.



     For the record, please note again that I have never agreed to subscribe to this as you implied
     below.



     Good luck again.

     Asher




                                                                                                    BSGR-LCIA-0002338
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     Asher Avidan



     President BSGR



     www .bsgms.com <http://www.bsgms.com>



     7 Old Park Lane

     London W1 K 1 QR

     United Kingdom




     From: ricardo.saad@vale.com [mailto:ricardo.saad@vale .com]
     Sent: Monday, May 09, 201 1 2:54 PM
     To: Asher Avidan
     Cc: Beny Steinmetz; dan iela.chimisso@vale.com; David Barnett; eduardo. ledsham@vale.com
     Subject: Re: Symposium.




     Dear Asher,

     Just let you know that we are revising the delegates list, because there was a confusion among
     the organizers and VBG Communication team. I will send you the revised one asap.

     Regarding the communication strategy applied in both events (Liberia and Gu inee) we are
     following a corporate approach , where it is assumed that Vale has a strong brand, so it makes
     more effective and powerful! the communication process. We are doing the same as Rio and
     BHP, where they use the corporate branding.
     I understand we have talked about it some times and I assumed you have agreed with .

     best regards
     Ricardo Saad




                                                                                          BSG R-LC IA-0002338_0002
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     Asher Avidan <asher@bsgresources.com>

     09/05/201 1 08:25

               Para

               "ricardo.saad@vale .com" <ricardo.saad@vale.com>


     cc

            Beny Steinmetz <beny@onyx-suisse.com>, "eduardo. ledsham@vale.com"
     <eduardo. ledsham@vale.com>, "daniela.chimisso@vale .com" <daniela.chimisso@vale.com>,
     David Barnett <david@bsgms.com>


     Assunta

               Symposium.




     Dear Ricardo, Since I haven't heard anything and on the meantime we are waiting I wou ld
     appreciate If you'll send me the list of the delegation to the Symposium, as was sent to the
     organizers.

     Thanks


     Asher Avidan

     President BSGR

     www .bsgms.com

     7 Old Park Lane
     London W1 K 1 QR
     United Kingdom




     -----Orig inal Message----­
     From: Asher Avidan
     Sent: Sunday, May 08, 201 1 6 :42 PM




                                                                                            BSG R-LC IA-0002338_0003
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     To: ricardo.saad@vale.com
     Cc: Beny Steinmetz; 'eduardo.ledsham@vale.com'; daniela.ch imisso@vale.com; 'David Barnett'
     Subject: FW: IMG0 1 85 1 -201 1 04 1 0-1 228.jpg
     I mportance : High

     Ricardo.

     I got another call about it just now from another official that visited the stands, and I attached the
     picture from Liberia Symposium and which I refuse to believe that in the beginning BSGR logo
     was in the boot, but your guy (Abubacar Camara) Hided it and took it off. I totally disagree to this.
     TOTALLY.

     Asher Avidan




     Dear Ricardo.

     Following our discussion (you and me) and in accordance with our JV agreement- I urge you to
     make sure and re verify that BSGR will be mentioned and appear as much as VALE on all the
     domains and media. It should be on : The Logo, the signs, publicity, presentation , brochu res,
     Reception etc.
     Since I don't want to repeat the mistakes from the last ceremony in Guinea and recently the same
     mistake was made in Liberia, I feel like I must remind you this issue, and especially after I heard
     today from the organizers of the Symposium that the "Cervice de comonication" of Vale
     demanded them and insisted to take out the Logo of BSGR and leave Vale only! If this will be the
     case it will damage and jeopardize our Lobby and efforts that we do today vis-a-vis the people of
     the entire Administration and especially THE PRESEDENT. I don't want to remind and mention
     the damage we h ad on experience, This time it will be crucial . Moreover, the steering committee
     (pilotage ) of the Symposium just phoned me to stress that only Vale is mentioned on the booth
     and I q uote "GoG has no convention with Vale whatsoever and we are starting to make a scandal
     about this as it is shocking to us".

     I thank you for the cooperation .
     Good luck.
     Asher

     Asher Avidan

     President BSGR

     www .bsgms.com

     7 Old Park Lane
     London W1 K 1 QR
     United Kingdom




                                                                                               BSG R-LC IA-0002338_0004
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                          Exhibit X
           19-11845-shl           Doc 46-1
                                         Filed 09/09/19 Entered 09/09/19 18:00:38 Exhibits A-HH
                                                   Pg 171 of 216                  Exhibit C-717
  From:               mahmoud.thiam@gmail.com
  Sent:               Tuesday, May 26, 2009 9:47 AM
  To:                 D s2 DS2 <beny@onyx-suisse. com>
  Subject:            Re:


  Yes. Very good
  ------Original Message -----­
  From: D s2 DS2
  To: Malnnoud Thiam 1
  Subject: Re:
  Sent: May 26, 2009 13:32

  Have y given the Letter from PM ? Good ?

  ----- Original Message -----
  From: mahmoud.thiam@gmail.com <mahmoud.thiam@gmail.com>
  To: Beny Steinmetz
  Sent: Tue May 26 05 : 15 :50 2009

  Pres wants to send me to see lybians father or son to clarify. Wants to call father tom to tell him kouyate does not talk for guinea and
  will never be pres in guinea
  Sent from my BlackBerry® wireless device


  Sent from my BlackBerry® wireless device




                                                                                                                  CGS&H p. 1
CONFIDENTIAL                                                                                                                        MT01 4983
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                          Exhibit Y
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                                                                                                             A-HH    C-330
                                            Pg 173 of 216




     To:       Asher Avidan[Asher.Avidan@bsgresources.gg]; Marc
     Struik[Marc.Struik@bsgresources.gg]; 'Beny Steinmetz'[beny@bsg-investments.com]
     Cc:       Patrick Saada[Patrick.Saada@bsgresources.gg]
     From:     Beny Steinmetz
     Sent:     Tue 1 8/09/2007 6:48 : 1 9 AM
     Subject: [SPAM] Re: Aredor and bloc 1 &2

     Hi Asher ,
     Myua dvice is to go on Aredor for the whole , both Kimberlite and alluvial as it is a must ,
     otherwise we will face lots of problem in future . And we can wait a bit more time .
     On additional iron or block , say 1 and 2 , I agree that we prepare a very good presanatation and
     show how well we have done and doing etc as you suggested . We should NOT talk about Rio in
     any written paper , as it is not our problem and goverment should do their own desicon and
     otherwise it can come back to us as a bomerag !
     Thanks Beny
     Sent from my Blackberry

     -----Orig inal Message-----
     From: "Asher Avidan" <asher@bsgresources.com>
     Date: Tue, 1 8 Sep 2007 01 :30:05
     To:<ma rc@bsgresources.com>, "Beny Steinmetz" <beny@bsg-investments.com>
     Cc:"Patrick Saada" <patrick@bsgresou rces.com>
     Subject: Aredor and bloc 1 &2

     Dear all,

     Here is the latest news I received today from the Minister of mines re-our request to h ave Aredor
     and blocks 1 and 2 :
     First and above a l l w e are going to have i t and now i t i s just a matter of techn ical issues.
     Aredor:
     The minister has decided to hand it over to us, so as from tomorrow he will write a letter to the
     President that will officially terminate Aredor contract.
     The on ly problem we have with this for the time being, is that the Minister decided to give us the
     permit only for the kimberlite and to let the alluvial for the a rtisans in the region . If we
     should accept this formula it will take up to two weeks. On the other hand, if we will insist to have
     the alluvial as well it might take some more time.

     My personal opinion is that we have to go for the alluvial as well and like that we will prevent any
     misunderstanding that we might face with the local people in the future.
      I strongly thin k that that's the best way to go or at least give it a try. On the other hand if we will
     leave it as he proposed I am sure that we will control the products from the artisans since I know
     all of the main chiefs and the key people in the area.

     Blocks 1 and 2:
     Since we are talking about taking them away from a h uge company like Rio Tinto, they will need
     to h ave a real arg u ment to hand it over to us. Therefore the minister suggested that we prepare a
     presentation of all the investments that we have made and all the work that we have done over
     the past 1 2 months. Soon after this presentation , the President will take it away from Rio
     Tinto who are not doing anything in those two blocks, and will hand it over to BSGR.

     In the next few days I am going to meet some of the key people in the cou ntry including the Prime
     minister, the Lady and maybe the President to push them forward so as to reduce some techn ical
     and administrative problems.
     I suggest that Marc should present our activities in Simandou and for that I will fix a date which I
     will inform you of.
     For Aredor I would like to have your opinion whether to keep it as was suggested or to insist for




                                                                                                         BSGR-LCIA-0001 066
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     the alluvial.

     Best Regards,
     Asher Avidan




                                                                           BSG R-LC IA-000 1 066_0002
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                          Exhibit Z
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                                                                                                         A-HH    C-403
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     To:       'dag@bsgms.com'[dag@bsgms.com]
     From:     Beny Steinmetz
     Sent:     Sun 03/1 0/201 0 7:48:37 AM
     Subject:  Fw: Guinea sets deadline for Rio's ore blocks (Reuters) / Guinea presidential runoff
     may be delayed again (CNN)

     Dag , try and get hold of Jon to work on it now . . . .

     ----- Original Message -----
     From: Beny Steinmetz
     To: 'asher@bsgresources.com' <asher@bsgresources.com>; 'Jon .Simmons@fd .com'
     <Jon . Simmons@fd .com>; 'n ina. mitz@fd .com' <n ina. mitz@fd.com>
     Cc: 'dag@bsgms.com' <dag@bsgms.com>; 'marc@bsgresources.com'
     <marc@bsgresou rces.com>
     Sent: Sun Oct 03 09: 1 7:50 201 0
     Subject: Re: Guinea sets deadline for Rio's ore blocks (Reuters) / Guinea presidential runoff may
     be delayed again (CNN)

     Jon , it is really impossible and u psetting to see this . Pis contact Rueters and let them change
     and or come with appology !! Pis today ! !

     Beny

     ----- Original Message -----
     From: Asher Avidan <asher@bsgresources.com>
     To: Jon .Simmons@fd .com <Jon .Simmons@fd.com>; nina.mitz@fd .com <n ina. mitz@fd.com>
     Cc: Beny Steinmetz; 'Dag Cramer' <dag@bsgms.com>; marc@bsgresources.com
     <marc@bsgresou rces.com>
     Sent: Sun Oct 03 09:01 :47 201 0
     Subject: FW: Guinea sets deadline for Rio's ore blocks (Reuters) / Guinea presidential runoff may
     be delayed again (CNN)

     Jon- I just had enough from this disinformation and bulshit coming deliberately from Reuters and
     ita€ ™ s not the first time. I have the impression that someone external is on it and we sleep in our
     watch .

     la€ ™ m referring to this: Guinea stripped Rio of the two blocks during the rule of former President
     Lansana Conte, who died in December 2008 and was replaced in a bloodless cou p by a military
     junta .

     BSG, which i s controlled by Israeli billionaire diamond trader Benny Stein metz, won the two
     blocks from the junta-led transitional government in April and sealed a deal with Brazilian mining
     giant Vale (VALES.SA <http://www.reuters.com/finance/stocks/overview?symbol=VALE5.SA> )
     (VALE.N <http://www.reuters.com/finance/stocks/overview?symbol=VALE.N> ) to explore them.

     We never got the blocks from the a€ce Junta- Led transitional Gov in Aprila€ as you know. I n
     fact- w e h a d nothing from the Junta .



     I think we must d o all it takes to change it ASAP.



     Thanks.




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     Asher




     From: Galia Ben lshay [mailto:galia@bsg-investments.com]
     Sent: Sunday, October 03 , 201 0 7:57 AM
     To: beny@bsg-investments.com; yossie@bsgresources.com; asher@bsgresources.com; 'Marc
     Struik'
     Cc: patrick@bsgresources.com; 'Ohad Schwartz'; aviv@bsg-investments.com
     Subject: Guinea sets deadline for Rio's ore blocks (Reuters) / Guinea presidential runoff may be
     delayed again (CNN)



     Guinea sets deadline for Rio's ore blocks

     REUTERS - By Saliou Samb

     CONAKRY I Sat Oct 2, 201 0 1 2: 09pm EDT

     CONAKRY (Reuters) Rio Tinto has until February to formally give up its rights to part of Gu inea's
     giant Simandou iron ore concession or it will risk losing its remaining stakes, the West African
     state's top min ing official said .

     The Anglo-Australian miner (RIO.AX
     <http://www. reuters.com/finance/stocks/overview?symbol=RIO .AX> ) (RIO .L
     <http://www. reuters.com/finance/stocks/overview?symbol=RIO.L> ), which has invested $680
     million in what it says is the world's largest u ndeveloped iron ore deposit, has been in dispute with
     Guinea over blocks 1 and 2, wh ich the government gave to BSG Resources in April.

     "We have asked in vain for Rio Tinto to g ive us written confirmation (that) they have given up half
     of Simandou in accorda nce with the min ing code ," Mines Minister Mahmoud Thiam told Reuters
     in an interview late on Friday.

     "If th is isn't done by February 201 1 , Rio risks losing the other two blocks under its control and
     cou ld definitively lose its rights to the zone," he said.

     A Rio spokesman declined to comment specifically on the two blocks but said , "We continue to
     engage with the Guinean government on a range of matters and are committed to developing the
     project and realizing the benefits for the people of Guinea."

     Rio in June said it retained "full rights" to the entire Simandou concession . It signed a $ 1 .35 billion
     deal with Aluminum Corp of China, known as Chinalco, in July for development of the Simandou
     deposit.

     Guinea stripped Rio of the two blocks during the rule of former President Lansana Conte, who
     died in December 2008 and was replaced in a bloodless cou p by a military junta .

     BSG, which i s controlled by Israeli billionaire diamond trader Benny Stein metz, won the two
     blocks from the junta-led transitional government in April and sealed a deal with Brazilian mining
     giant Vale (VALES.SA <http://www.reuters.com/finance/stocks/overview?symbol=VALE5.SA> )
     (VALE.N <http://www.reuters.com/finance/stocks/overview?symbol=VALE.N> ) to explore them.




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     CONTRACT SECURITY

     Guinea is in the midst of elections, which are meant to return the former French colony to civilian
     rule, and the country's two presidential front-runners have both said they will review mining deals
     signed during the transition .

     Analysts have said , however, they do not expect either candidate to take an aggressive
     approach , given Gu inea's reliance on mining for revenues and infrastructure projects.

     "It will be very difficult for a future government to unilaterally cancel the mining deals that we have
     passed during the transition period," Thiam said.

     He said all of the deals were in accordance with the country's mining laws, guaranteed swift
     development of resources and provided key infrastructure.

     Guinea has yet to set a date for a run-off election between former Prime Minister Cellou Dallein
     Diallo and veteran opposition leader Alpha Conde amid political infighting over poll preparations.

     Thiam also said a deal signed with U.S. oil firm Hyperdynamics (HOY.A
     <http://www. reuters.com/finance/stocks/overview?symbol=HDY.A> ) in March giving the
     company rights to develop 24,000 square kilometers offshore was unlikely to be overturned by
     the next government regardless of who wins, because it had preserved 70 percent of the
     exploration zone for Guinea instead of 66 percent before the accord.

     He said international oil firms, including Malaysia's Petronas (PETR.KL
     <http://www. reuters.com/finance/stocks/overview?symbol=PETR.KL> ), and Ivory Coast's Petroci
     had expressed interest in exploring for oil off the coast of Guinea in the remaining area.

     He added that UK-listed miner Bellzone's (BZM . L
     <http://www. reuters.com/finance/stocks/overview?symbol=BZM.L> ) iron ore mine and railway
     spur project connecting the Kalia mine site and the deepwater port of Matakan would probably
     cost $5 billion . Bellzone h as said the China Investment Fund will help fund the project.

     (Writing and additional reporting by Richard Valdmanis, editing by Jane Baird)

     http://www.reuters.com/article/idUSTRE691 1 3F201 0 1 002
     <http://www. reuters.com/article/idUSTRE69 1 1 3F201 01 002>



     Guinea presidential runoff may be delayed again

     CNN - From Joe Penny

     October 3, 201 0 -- Updated 0224 GMT (1 024 H KT)

     Conakry, Guinea (CNN) -- Miscommunication , technical issues and a big soccer game mean the
     proposed date for Guinea's runoff presidential election is no longer viable, the electoral
     commission said.

     "The October 1 0th date is no longer feasible," Th ierno Seydou Bayo, spokesperson for Guinea's
     National I ndependent Electoral Commission (CE N I ) said regarding a second-round presidential
     poll between two candidates, Cellou Dalein Diallo and Alpha Conde, which was originally
     scheduled for September 1 9 but delayed because of election violence.




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     Bayo indicated the runoff in the West African nation may occur later this month .

     The news Friday came more tha n one week after CENI submitted the October 1 0 date to the
     president's secretary for verification , according to Bayo.

     Military junta leader Gen . Sekouba Konate, who serves as president, said Wednesday on state
     TV that he never received the date proposal .

     Konate said h e was creating a committee to ensure the election process would take place i n a
     timely manner.

     Meanwhile, Diallo <http://topics.edition .cnn.com/topics/Cellou_Dalein_Diallo> 's party has
     accused CENI chief Louseny Camara of being an Alpha Conde activist and threatened to boycott
     elections if he remained head of the commission . Camara has denied the allegations.

     I n a public communique on state TV Wednesday, the National Transitional Council, a
     governmental consulting body, recommended Camara's immediate dismissal.

     The electoral commission crisis and miscommun ication with the president is compounded by
     techn ical difficu lties holding the election back, such as the posting of voter lists outside polling
     stations and the shipment of new alphanumeric voting cards.

     "The cards were printed in South Africa. We received most of them but not all, so we made
     another order," Bayo said.

     Analysts are worried that a drawn-out election process cou ld bring violence or an army takeover.

     One person was killed and some 50 injured in street clashes in the nation's capital between
     supporters of Diallo and Conde <http://topics.edition .cnn.com/topics/Alpha_Conde> in
     September.

     Konate told the French public radio station RFI in an interview this week that "if the two
     candidates cannot get along, I will make my rounds and if necessary I will install a civilian as
     head of state by force."

     "The risk of the army taking over if things go wrong is real," Said Djinnit, the U . N .'s top officer for
     West Africa, told Reuters recently.

     In addition , Bayo noted that the even if all the voting materials were ready, the national soccer
     team is scheduled to play Nigeria at home on October 1 0. An election on that date would curtail
     turnout, he said.

     Diallo won nearly 44 percent of the first ballot in J une, far outpacing Conde, who finished second,
     according to official returns.

     http://edition .cnn.com/201 0/WORLD/africa/1 0/02/gu inea. runoff/
     <http://edition .cnn.com/201 0/WORLD/africa/1 0/02/guinea. runoff/>




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                    Exhibit AA
    19-11845-shl Doc 46-1
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[see original for English]




AFFIDAVIT

My name is Mamady Touré. I am a Guinean citizen. I have spent most of my life in Guinea, and I am currently living in the
United States.

Some representatives of the company BSGR came to see me and indicated to me that the Republic of Guinea was
accusing them of acts in which I was allegedly involved. They explained to me what those acts were, and they asked me if
I agreed to say what I thought about them. I agreed because what they reported to me is false, and today I wish to attest
to the following.

My family situation

I am the half-sister of Mr. Ibrahim Touré, and not his sister. We have never been very close, but rather have been
rivals.

I was never married to President Conté, who is now deceased. It seems that it is being said that I was his fourth wife.
That is false.

My relationship with the BSGR company

It seems that it is being said that I allegedly signed some agreements with BSGR and that BSGR was to pay me fees in
exchange for my services for their benefit.

That is false. I have never signed any agreements with BSGR, either directly, or through anyone whatsoever.

It appears that it is being said that I allegedly interceded with official leaders of Guinea for the benefit of BSGR so that
BSGR could obtain mining rights in Guinea.

That is false. I have never intervened with Guinean leaders for the benefit of BSGR. I have never given instructions or
asked anyone to make decisions in favor of BSGR. I have never had an interest in the country’s mining business.

It appears that it is being said that BSGR allegedly paid me some money. That is false. I have never received money from
BSGR either directly or indirectly. There has been talk about a USD 7 million check that they allegedly delivered to me.
That never happened. It is said that they allegedly delivered money to me in cash, some sums of USD 2.5 million and USD
150,000. That is false. They have never paid me those sums, nor, furthermore, any sum, either to me, directly, or to
anyone else on my behalf. Nor have they promised to pay anything either to me or to anyone whomsoever on my behalf.

Finally, I would like to say that it is ridiculous that I allegedly moved to the United States because I was allegedly afraid
that BSGR would harm me physically. That idea has never entered my mind.
                                                                                                     CGS&H p. 1
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I am very shocked by the facts that BSGR has set forth to me. My name is being used, and I have nothing to do with this
company or with the acts of which they are being accused.

In            ,
On                 April 2013

Sent from my BlackBerry® wireless device


Advisor




Th<:; �:;':t<: nts oi th� i!'•<f':'il!l ore c<mf:dcntlaito the : 1;'(:tptent na:'!)�d .r:�<:\tC. Ifyov a,� pot l: narrY�d rt,,,c: p:Cflt pteJ: $C riDtify Hl<';; r�n&: ,r :�i :d' <;;nsurr:; th�! thr; e·,rnr:i;
t$- <kl etcd and not t<:ad er 0t:;pix;ct erdin<.l•YJ-e<l l<· Hflyotm �: ·lse. ONYX F!r:anc: ai f\dvi<;ot� (Vt<'} Lim1 tH<i t�s regi6-tered i n Er�gia!'1<! aPC ;tJa�s F<+g!s.t, :·md ::ddrc�s.
7 Gtc Pad, t:.iff:e! L,>{Xk: n 'vV : K · 1QR, l.:K R-�.g l�t;;�rcd No 0545�227




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Message
Fro m :          Advisor [advisor@onyxfa . com]
Sent :           05/04/2013 1 1 :4 1 :40
To :             Daniel Pol l a k [/O=BSG RESO U RCES/O U = EXCHAN G E ADM I N ISTRATIVE G RO U P
                 ( FYDI BOHF23SPDLT)/CN=REC I P I E NTS/CN=DAN I EL. POLLAK]
Subject :        Re: Draft


Hi Daniel , yo u have send me the below wh ich have noth ing to d o with me ? , I g u ess it is the suggestion of J Vie l off
on have it as part of BSGR response to th e so called CT ,which I th i n k make sense . Anyway I can't h e l p or advice on
it and leave this entirely to o u r lawyers . I met that only once in my life for 5 m i n as she was present in the room , but
we haven't spoken etc , so I have noob in or knowledge of her .
Best Beny

Sent from my i Pad

On 5 Apr 20 1 3 , at 1 2 :4 1 , "Daniel Pollak" <daniel@bsgreso u rces . com> wrote : ity

STR ICTLY CON F I D ENTIAL


ATTESTATION

Je m'appelle Mamady Tou re . Je s u is de nation a l ite g u ineen n e , j'ai vecu la plus g rande partie d e ma vie en G u inee et
j'habite a uj o u rd'h u i a ux Etats-U n is .

Des representants de la societe BSG R sont venus me voir e t m'ont indique q u e la Repu bliq u e d e G u inee l e u r
re prochait d e s faits d a n s lesq uels j'aurais ete i m pliq u e e . l ls m'ont expose q u e ls eta ient ces faits e t m'ont demande si
j'eta is d'accord pou r d i re ce q u e j'en pensa is . J'ai ete d 'accord parce q u e ce q u' i ls m'ont rapporte est faux et je
so u h a ite auj o u rd ' h u i attester ce qui s u it.


Ma situation familiale

Je s u is la d e m i-sre u r d e M. I brah i m Tou re , et non sa sreu r. Nous n'avons jamais ete tres proches mais plutot des
rivaux.

Je n'ai jamais ete marie avec le Presid ent Conte aujo u rd ' h u i decede . II pa rait qu'on d it que j'a i ete sa q u atrieme
epouse , c'est faux.

Mes relations avec la societe BSGR

II parait qu'on d it q u e j'aurais sig n e des contrats avec BSGR et que BSGR devait me payer d es commissions en
co ntrepartie de mes services en leur faveu r.

C'est faux. Je n'ai jamais sig n e aucun co ntrat avec BSGR n i d i rectement, n i par l'i ntermediaire de q u i q u e ce soit.

I I parait qu'on d it que j'aurais intercede au pres de d i rigeants officiels de Gu inee en fave u r de BSGR po u r que BSGR
obtie n n e d es d roits miniers en G u i n e e .

C'est faux. Je ne s u is jamais interve n u e au pres de d i rigea nts g u ineens e n fave u r d e BSG R . Je n ' a i jamais d o n n e
d'instructions n i d emande a q u ico nque de prendre d e s decisions en fave u r de BSG R . Je ne me s u is jamais
interessee aux affaires minieres d u pays .

I I parait qu'on d it q u e BSG R m'a u ra it verse de !'argent. C'est faux. Je n'ai jamais touche d'arg e nt de la part de BSGR
n i d i rectement, n i indirecte ment. On parle d'un cheq u e de 7 ou 1 O m i l l ions USD q u 'ils m'a u raient rem is . Ca ne s'est
jamais passe. On d it q u 'ils m'a u raient remis de !'arg e nt en liq u id e , des sommes de 2 , 5 mill ions USD et 1 50.000
USD. C'est faux, ils ne m'ont jamais verse ces sommes n i d 'aille u rs aucu n e somme, n i a moi n i d i rectement, n i a
q u e lq u ' u n d'autre pou r mon com pte . l ls ne m'ont pas non plus pro m is de me verser q u o i q u e ce soit, n i a moi, n i a q u i
que c e so it pou r m o n compte .

Enti n , je voudra is d i re q u e c'est rid icu le d e d i re q u e j'aurais demenage a ux Etats-U n is parce q u e j'a u rais eu peu r q u e
BSGR porte atte inte a ma person n e . Cette idee ne m'est pas passee p a r la tete .
                                                                                                                    CGS&H p. 3


                                                                                                                         BSG R_LC IA_00 1 9854
           19-11845-shl    Doc 46-1   Filed 09/09/19 Entered 09/09/19 18:00:38                   Exhibits A-HH
                                                Pg 184 of 216
Je suis tres choq uee par les faits que m'a exposes BSGR. On utilise mon nom, je n'ai rien   a voir avec cette societe ni
avec les faits q u'on leur reproche.


Fait   a
Le           avril 201 3

Sent from my BlackBerry® wireless device


Advisor



            ONYX




                                                                                                 CGS&H p. 4


                                                                                                     BSGR_LC IA_001 9855
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                    Exhibit BB
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                    rnsey Re istry                                                                                 Guernsey Registry
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Statement of the Register
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BSG RESOURCES LIMITED                                                                                              ,,v,vw.g1Jemseyregisliy .corn




Registered Number;            46565                                                      09.Mar-2007             Status            Normal

                               BSG RESOURCES LIMITED                                                              Effective Date              09-Mar-2007


Alteniative Name               N/A


Registered Address             VVest Wlng                                                                         Effective Date
                               Frances House
                               Sir Wi!liam Place
                               St Peter Port
                               Guernsey
                               GY1 1 GX


Entity Type               Non Cellular Company                                         Liability Type                   Urnited by Shares


Economic Activity         Asset property, lrwestment, intellectual property and other holding companies




 ! hereby certi fy that the attached statement of the register for BSG RESOURCES LIMITED, registration number
 46585 provides a full extract of al! publicly available information presently held 011 the e!BL'tronic Register maintained
 at the Guernsey Registry.




    Darnon Hackley
    Reglstrar
    Monday, February 26, 201 6




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              19-11845-shl        Doc 46-1         Filed 09/09/19 Entered 09/09/19 18:00:38                     Exhibits A-HH
                                                             Pg 187 of 216



 Effective Date          Previous Name




Please note: in some cases !he director appointment dates may reflect the company re-registration date (after 1 July
ZOOf.Hhe date on which the new Companies Law came into force) rather than the actual appointment data of the director;


Start Date         End oate             Director Type          Name
28-Nov-2008        18-0ct-2013          Director               Kevin McAu!iffe
2S·NOV·2008        14-Apr-2014          Director               Davld MichaeJ Clark
2fHJov-2008                             Director               Dag Lars Cramer                      'Nest V'Jing Frances House Slr V\Jllliam
                                                                                                    Place St Peter Port Guernsey GY1 lGX
28-Nov-2008        31 -Jan-2016         Director               Sandra Merloni-Horemans
28-Nov-2008        18-Mar-2010          Director               David Granot
28-Nov-2008        31 -May-2012         Director               Stephen Douglas Oke
01-Jun-2013        28-Feb-2015          Director               David ,Jeremy Mallory
                                                               Trafford
'!4-Apr�zo 14                           Director               Peter Hamid Driver                   West Wing Frances House Sir V\/llliam
                                                                                                    Place St P.eter Port Guernsey GY1 1 GX
01-May-2016                             Director               Gustaf Ftedrik Bodin                 Morra Fiskartorpiwagen 98 Stockholm
                                                                                                    SV\/EDEN SE - 1 1 5 41




  Start Date          End Date           Agent Type             Name                              Service Address
 28-Nov-2008         14-Apr-2014        Resident Agent         David Michael Clark
 14-Apr-2014                            Hesictent Agent        Peter Harold Driver




Please note: not al! documents that were flied with the Registry before 1 July 20D8 will show on the electronic record.

Ref               Received          Status                Submission I Document Type                     Regist.ere<J      Sc:armed
                                                                                                                           Pages
 OM652004         07-Jan-2008       Registered             Armual Retum/Amiua! Return                     07-Jan�200S          2

 OM9773           1 O-Jul-2007      Registered             A!lotments/A!lo!ments                          10-Jul-2007          1

 148978           08-Jan-2009       Registered             AV Ne,o Regulated Companies/Annual             08-,lan-2009
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 1 84132          26-Mar-2007       Registered             Migration In/Migration Documenis               26-Mar-2007          49

 '1 841 32        26-Mar-2007       Registered             Migration !n/Memomm:lum of                     26-Mar-2007          16
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 '1 841 32.       26-Mar-2007       Registered             Migration In/Articles of Association           26-Mar-2007          30


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 257747                   19-Jan-2010                  Registered                      Res -- Audit Exempt -·                   19-Jan-2010
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 257781                  ·\9-Jan-2010                  Registered                      AV Amendment/AV Amendment                19,Jan•20iO       5
 276078                   18-Mar-2010                  Registered                       Change Director/Change of Director      18-Mar�2010
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 277356                  01 -Apr-2010                  Registered                       Res - Alt�r Article1:"1ResoluHon Form   01 -Apr-2010      2
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 31 9467                 04-sJa.n-2Di 1                Registeted                       AV Non Regulated Companies/Anm.ia!      04-Jan-201 1
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  384872                 03-Jan-2012                   Registered                       AV Non Regulated Companies/Annual       03-Jan-201 2
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 421000                   31-May-201 2                 Registered                       Change Director/Change of Director      31-May-2012
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  535098                  14-Apr-201 4                  Registered                      Change Director/Change of Director      i4,Apr¢2:014      2
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DISCLAIMER

This 'S!Jlement of The Regisler' reflects the information held on the Register at the date and time of production of the
Statement !t should be noted that legJsJation governing registered eritit!es requires certain actlons and events to be
notified, and in some cases certain documents to be delivered, to the Registry within prescribed time frames, It is possible
tnat actions or events affecting the information provided rn this Statement have taken place that have not yet been notified
to, or in the case of paper submissions processed by the Registry, Thls "statement of The Register" therefore only reflects
actions and events of which the Registry has been notified in the appropriate form, and in the case of paper submissions
those which have been processed at the dale and time of production of this Statement




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Bloomberg                                                                                                                                                                News Story


03/07/2018             16:53:20 [BN] Bloomberg News



Beny Steinmetz Puts Mining Company BSGR Into Administration (1)

            BSGR fighting multiple legal battles over Guinea iron deposit
            U.S., Israeli prosecutors said rights were obtained corruptly

By Thomas Biesheuvel


(Bloomberg) -- Billionaire Beny Steinmetz’s mining company put itself into administration as it fights legal battles
on multiple fronts over the disputed rights to one of the world’s biggest untapped iron ore deposits.

“We’re not in liquidation, no one is forcing this upon us,” Dag Cramer, a director of BSGR, said by phone. “This is
drawing up the drawbridge, filling up the moat, putting some sharks in the moat, to make sure we can stay the
distance on both the arbitration and litigation that we have, even if there are adverse awards or developments that
would normally prevent us from doing this.”

BSG Resources Ltd. is seeking compensation at the World Bank arbitration tribunal in Paris after Guinea stripped it
of a license to mine half the giant Simandou deposit in 2014. The company also is suing George Soros, claiming
the billionaire cost it $10 billion through a defamation campaign that caused it to lose the rights.

Brazil’s Vale SA filed its claim at the private arbitration court after Guinea stripped its joint venture with BSGR of its
rights to Simandou following a government probe that found licenses were obtained through corruption. Vale is
seeking the award to cover an upfront payment to BSGR and money it invested in the West African nation. BSGR
has previously said it’s confident it will prevail in the dispute.

Steinmetz Probe

At the same time, Steinmetz is being probed by Israeli prosecutors, who accuse BSGR of paying millions of dollars
in bribes to Guinean officials to secure the rights. He was detained in 2016 and released on bail and his travel was
restricted, before those restrictions were lifted last year. He has also faced a U.S. investigation. Steinmetz has
denied any wrongdoing.

BDO LLP was appointed as administrator yesterday by the Royal Court of Guernsey, where BSGR is registered.
Cramer said this will not impact the trading of any of its subsidiary businesses, including the Koidu diamond mine
in Sierra Leone.

“We’re putting ourselves in the hands of professionals who will protect us during the remainder of the race,” he
said.

(Updates with arbitration details in fourth paragraph.)
Related ticker:
3600258Z IA (BSG Resources Ltd)

To contact the reporter on this story:
Thomas Biesheuvel in London at tbiesheuvel@bloomberg.net




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Bloomberg ®                                                                                 Printed on 06/06/2019                                                                            Page 1 of 2
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Bloomberg                                                                                                                                                                News Story


To contact the editors responsible for this story:
Lynn Thomasson at lthomasson@bloomberg.net
Nicholas Larkin, Alex Devine




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Bloomberg ®                                                                                 Printed on 06/06/2019                                                                            Page 2 of 2
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                                                                                                    to solvency - Reuters
                                                              Pg 194 of 216



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     BUSINESS NEWS
     MARCH 8, 2018 / 12:57 PM / A YEAR AGO




     Administrators seek to return Steinmetz's mining ﬁrm BSGR to
     solvency




     LONDON (Reuters) - Administrators for BSG Resources (BSGR) said on Thursday they
     would work to return the mining ﬁrm to solvency and pay creditors in full after it voluntarily
     entered administration to protect it from legal disputes related to a project in Guinea.


     BSGR, the mining arm of billionaire Beny Steinmetz’s businesses, is caught up in a row linked
     to Guinea’s vast Simandou iron ore reserves. BSGR and Steinmetz deny any wrongdoing in the
     dispute.


     BSGR is also suing ﬁnancier George Soros for $10 billion (7.24 billion pounds) in damages
     over lost contracts. Soros has sought to have the lawsuit dismissed. A judge put the case on
     hold in November.


     BSGR Director Dag Cramer told Reuters on Wednesday that going into administration was to
     protect the company against “any adverse or malicious development out of our control.”


     “It’s very, very simple. This is not a liquidation. This is not a bankruptcy. We have voluntarily
     put ourselves into administration,” he said.




https://uk.reuters.com/article/uk-bsgr-lawsuit-administration/administrators-seek-to-return-steinmetzs-mining-firm-bsgr-to-solvency-idUKKCN1GK2KM   1/2
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                                                                                                    to solvency - Reuters
                                                              Pg 195 of 216
    Cramer said he would stay on as director and the technical procedure would not aﬀect daily
    operations of subsidiaries or the ﬁrm’s determination to “go the distance” with arbitration
    over Guinea.


    Accountancy and business advisory ﬁrm BDO said in a statement emailed on Thursday that its
    representatives in London and in Guernsey had been appointed by a court as joint
    administrators on March 6.

    “Our primary objective is to return BSGR to solvency and to ensure that all creditors will be
    paid in full,” BDO said.


    “If the company can be returned to solvency and continue as a going concern, the
    administration will end and the company will revert to the control of its directors,” it added.


    BSGR is a private ﬁrm registered in Guernsey whose subsidiaries include the Koidu diamond
    mine in Sierra Leone.


    A BSGR spokesman told Reuters that Steinmetz did not sit on BSGR’s board or have an
    executive role, but “is the beneﬁciary of the foundation that owns BSG Resources”.

     As part of international eﬀorts to improve transparency, Guinea’s government under President
     Alpha Conde, elected in 2010, launched a review of mining contracts signed before 2011.


     Within its review the West African nation investigated how BSGR obtained rights to the
     Simandou deposit, the world’s largest untapped iron ore reserves, in 2008.


     Anglo-Australian mining group Rio Tinto (RIO.AX) (RIO.L) and BSGR have made legal claims
     against each other over the mining rights in Simandou.


     Reporting by Barbara Lewis; Editing by Alexander Smith and Edmund Blair
    Our Standards:            The Thomson Reuters Trust Principles.


     MORE        FROM         REUTERS




https://uk.reuters.com/article/uk-bsgr-lawsuit-administration/administrators-seek-to-return-steinmetzs-mining-firm-bsgr-to-solvency-idUKKCN1GK2KM   2/2
19-11845-shl   Doc 46-1   Filed 09/09/19 Entered 09/09/19 18:00:38   Exhibits A-HH
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                     Exhibit EE
19-11845-shl         Doc 46-1   Filed 09/09/19 Entered 09/09/19 18:00:38            Exhibits A-HH
                                          Pg 197 of 216
Witness Statement of Sandra Merloni-Horemans




 IN TH E MATTE R OF AN ARBITRATION UNDER THE ARB ITRATION RULES O F
T H E LON DON I N TERNATIONAL COURT OF ARB ITRATION

                                       CASE NO 1 42683

                                          BETWEEN




                                           VALE S.A.

                                          (C laimant)




                                               and




                                  BSG RESOURCES LI M ITED

                                         (Respondent)




                                      Witness Statement


                                SAN DRA MERLON I-HOREMANS




 I, SAN D RA M ERLON I-HOREMANS, will state as follows:

      A. I NTR4:)DUCTION

 I.      I am a Belgian citizen. My native language is Dutch and I also speak French, English and
         Italian .

 2.      I make� this statement in relation to the claim by Vale SA ("Vale") against BSG Resources
         Limited ("BSGR"). Save where I indicate otherwise, the facts and matters set out in this
         statement are based on my own knowledge and recollection.
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Witness Statement of Sandra Merloni-Horemans

3.           This witness statement has been prepared with the assistance of BSG R's lawyers, Mishcon
            de Reya. I have refreshed my memory by looking at correspondence and other documents
            from the relevant time. I have also reviewed Vale's Request for Arbitration and Statement
            of Claim, along with the accompanying documents and witness statements.

       B. PERSONAL BAC KG ROUND

4.           I started my career in 1 989 as an administrative and trading assistant to the rough diamond
            trading division at R. Steinmetz & Sons NV in Antwerp (Belgium). In 1 994 I resigned from
             R. Steinmetz & Sons NV and moved to Onyx B.V.B.A. (Belgium), where I worked as a
             senior management assistant between 1 994 and 1 998.

5.           From 1 998 to December 20 1 4 I worked as Director and Head of Administration of O nyx
             Financial Advisors S.A. in Geneva and Onyx Financial Advisors Ltd, B.V.I . including its
             subsidiaries in the United Kingdom, the Netherlands, Italy and South Africa ("Onyx").

6.          While working for Onyx, I was responsible for the administration of the O nyx Financial
            Advisors S.A. team based in Geneva. This involved keeping the clients' corporate back up
             office and maintaining the clients' corporate files, constitutional documents, minutes books
             and legal files. I also acted as director, proxy holder or company secretary to boards of
             directors of clients' companies if and where required. I provided clients with advice as to
             fiscal optimization of international holding and trading structures for both private and
             corporate clients. I also assisted the clients' M&A teams and front offices for transactions
             related to diamonds, mining & metals, natural resources, energy, real estate and capital
             markets.

7.           When working at Onyx, I reported to Dag Cramer, but in relation to the day to day
             matters I operated mostly independently. I only contacted him to discuss the bigger
             strategic points when I felt that it was necessary to do so.

8.           Throughout the time period relevant to these proceedings, 2005 to 20 1 3, I refer the
             Tribunal to the structure chart of the Onyx group detailing the Onyx group of companies
             which is correct as at 3 1 December 20 1 4. 1 One of Onyx's main clients was the BSG group
             of companies. Onyx Financial Advisors Limited BVI was under contract to the Balda
             Foundation, which ultimately holds the BSG group of companies. Onyx provided
             management, corporate, administrative and financial services to the foundation and the
             underlying companies. As pointed out above, my main responsibility in Geneva was to keep
             the corporate back office of the BSG group of companies and other clients' companies. As



 1
     Onyx Group Structure Chart dated 3 1 December 20 1 4 (Exhibit R-240).

                                                        2
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                    Exhibit FF
The Panama Papers May Help Unravel The Corruption "Deal Of The Century"                           Page 1 of 9
   19-11845-shl Doc 46-1 Filed 09/09/19 Entered 09/09/19 18:00:38                          Exhibits A-HH
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             WORLD



             The Panama Papers
             May Help Unravel The
             Corruption "Deal Of
             The Century"
             Anti-corruption investigators who have spent years
             probing a deal between an Israeli diamond dealer and the
             West African country of Guinea hope the Panama Papers
             will shed light on one of the most lucrative mining
             contracts in Africa's history.

                      Monica Mark
                      BuzzFeed News World Correspondent

             Last updated on April 7, 2016, at 2:37 p.m. ET
             Posted on April 6, 2016, at 10:08 p.m. ET




            A woman walks past a diamond mining company owned by Israeli diamond magnate
            Beny Steinmetz in Sierra Leone
            Issouf Sanogo / AFP / Getty Images




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             When Israeli tycoon Beny Steinmetz signed a deal for
             a 50 0/0 stake in one of the world's richest mineral
             deposits, he expected it would rake in the kind of
             money that had propelled him to the top of global rich
             lists. As a prolific buyer of De Beers' diamonds, and a
             supplier to the likes of Tiffany & Co., Steinmetz was
             used to maneuvering the murky world of mining. The
             Simandou mine, filled with iron ore and located in a
             remote forest in West Africa's Guinea, was supposed
             to be no different.

             But Steinmetz's investment, made in 2008, sucked
             him into a scandal of staggering proportions. The first
             cracks appeared when a new government came to
             power in 2010 and began investigating mining
             contracts. Since then, there have been raids on offices
             linked to the billionaire in Switzerland, alleged
             associates nabbed by FBI stings, purported allies
             turned informants, and a lengthy and bitter public
             battle with the current government of Guinea, where
             an independent inquiry concluded that he acquired
             the stake through corruption under former dictator
             Lansana Conte. Steinmetz's company, BSG Resources
             Ltd. (BSGR), denies paying any bribes and all other
             charges against them.


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             The scandal has gone on for years now as investigators
             build their case, attempting to show that BSGR used a
             shell company to bribe the wife of the country's
             former dictator in exchange for their stake in a mine
             valued at $4 billion - for which they paid nothing.
             That Mamadie Toure took bribes isn't in question. But
             there was always one piece missing - how do you go
             about proving the bribes came from BGSR? Now that
             may be about to change.

             On Sunday, journalists around the world, coordinated
             by the International Consortium of Investigative
             Journalists (ICIT}, began publishing information from
             one of the top offshore law firms in the world,
             Mossack Fonseca. Within the documents, called the
             Panama Papers, is an email that may hand
             transparency campaigners their evidence.

             "BSG uses off shore companies and structures as part
             of its legitimate and fiscally responsible tax
             planning," a spokesman for the company, which goes
             by both BSG and BSGR, wrote to BuzzFeed News by
             email in response to questions about information
             within the Panama Papers. "When relevant disclosure
             of these arrangements is required by law or regulators
             it is given. There has been no wrongdoing by BSG."

             An independent inquiry in Guinea - later accepted by
             the government - did not think the same. It
             concluded in 2014 that BSGR acquired its mining



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             permits through "corrupt practices," and stripped the
             company of them.

             The mining sector is one of the worst afflicted by
             corruption, but nailing it has been notoriously
             difficult. It has been estimated that Africa loses at
             least $50 billion annually - though some estimates
             put it three times as high - through illicit outflows
             that are then stashed in tax havens like Panama. Anti­
             corruption and pro-transparency organizations like
             Global Witness now hope that the information in the
             Panama Papers - including names linked to
             Steinmetz - may expose the corrupt practices
             underpinning what has come to be known as "the deal
             of the century."

             The confidential documents from Mossack Fonseca,
             which were leaked to German newspaper Suddeutsche
             Zeitung and shared with the ICIJ and more than 100
             news organizations worldwide, names at least 18
             Africans so far. Almost all of them are linked to the
             continent's vast natural wealth industry, which
             routinely enriches African elites while doing little to
             improve the lives of most citizens. Journalists have so
             far examined only a fraction of the 11 million
             documents that were leaked.




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             Guinean President Alpha Conde
             Remy De La Mauviniere /AP


             On the surface, Steinmetz's investments in Guinea, a
             country that consistently languishes at the bottom of
             global poverty indexes, appeared straightforward
             enough. Buried beneath the Simandou mine, in the
             country's hilly interior, were thousands of tons of iron
             ore needed to fuel a global construction boom. In
             2008, government officials accused the mine's
             operator, British-Australian mining giant Rio Tinto, of
             deliberately leaving it fallow for over a decade, mainly
             to block competitors from acquiring it while they
             themselves concentrated on other mines. The
             government stripped Rio Tinto of ownership in 2008
             and handed half of the mine's four concessions to
             Steinmetz's company, BSGR.

             The dramatic change in ownership was pushed
             through just a few days before former dictator
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             Lansana Conte died at age 74 in December 2008. BSGR
             didn't actually pay for the mine, but instead pledged
             to invest $ 165 million into exploring and upgrading it.
             Two years later, they sold 51 0/0 of their stake to
             another company - this time for $2.5 billion.

             Put another way, BSGR netted a profit of some $2.2
             billion - then worth twice the entire GDP of Guinea
             - in return for investing just $165 million. That
             prompted Mo Ibrahim, the Sudanese billionaire whose
             foundation promotes good governance in Africa, to
             ask whether "the Guineans who did that deal" were
             "idiots, or criminals, or both."

             Investigators from Global Witness believe BSGR's
             backdoor entrance to the deal was Toure, Conte's
             fourth wife. She has told investigators she was offered
             millions in bribes by a representative of BSGR in
             exchange for guaranteeing they got the concessions.

             Alpha Conde, who was elected president in 2010,
             vowed to crack down on corruption in the mining
             sector upon coming to power, and looked into the deal
             as part of that pledge. Using evidence from the
             Guinean government's report, the FBI and
             Department of Justice began their own probes into
             whether the Foreign Corrupt Practices Act had been
             violated. FBI agents had Toure, the former dictator's
             wife, wear a wire and tape a conversation in which a
             BSGR representative, a French citizen named Frederic



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             Cilins, offered her millions of dollars to destroy
             potentially incriminating documents. When agents
             later swooped in on Toure's Florida property, where
             she was then living, they seized $1 million worth in
             assets, including properties and restaurant equipment
             they claimed were connected with the alleged bribes.
             Cilins was jailed for two years on charges of
             obstructing an anti-corruption investigation.

             From there, though, the trail became too tangled to
             trace. Transcripts from the wiretaps, released by the
             Guinean investigations team, include a conversation
             in which Cilins tells Toure to destroy apparently
             corrupt contracts "urgently" - instructions he says
             come directly from Steinmetz. The Guinean probe had
             found checks and contracts purportedly exchanged
             between the two, which it said were evidence of the
             bribes.

             BSGR has argued in court that Cilins was not a formal
             employee at the time and therefore his actions were
             independent of the company, and said the evidence
             from the Guinean probe is "fabricated," Global
             Witness campaigners said. Steinmetz is also suing the
             company for their reports.

             "Investigators are trying to prove that BSGR bribed its
             way to getting Simandou and for that they need
             access to the offshore documents," Daniel Balint­
             Kurti, a Global Witness researcher, told BuzzFeed



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             News. "One of the important things the Panama
             Papers is doing is revealing the ownership of secret
             companies like Onyx and Pentler, which were
             shrouded in mystery."

             These two companies are at the heart of the
             investigations. One payment of at least $2 million was
             made to Toure through Matinda, a company
             incorporated in the British Virgin Islands that she
             owned, and which in turn had received that cash from
             a company called Pentler Holdings Ltd., according to
             documents that form the basis of the indictment by
             the feds. Co-founded by Cilins, Pentier itself came
             under investigation by Mossack Fonseca's legal
             department in 2014, as they tried to determine the
             owner behind it. The question came down to Onyx - a
             company that helped incorporate Pentler.

             "Onyx is important because it set up ... Pentler
             Holdings, a shadowy offshore company that signed
             corrupt deals in one of the world's biggest mining
             scandals," Leigh Baldwin from Global Witness told the
             ICIJ.

             And here's where BSGR comes back in. Onyx is a
             company that provides administrative and
             management services for BSGR. Onyx's chief
             executive is also a director on the board of BSGR.




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             BSGR has described Onyx as wholly separate and fully
             independent. Mossack Fonseca, according to the
             leaked Panama documents, came to a different
             conclusion in 2014: "They are the same," an email
             from the Mossack Fonseca's compliance department
             said.

             "This email tightens the noose around BSGR. It makes
             it much harder for them to argue that they were
             independent of the companies involved in the
             Simandou bribery case," Global Witness's Balint-Kurti
             told Buzz Feed News.

             BSGR claims the Guinean government are corrupt,
             and have launched a case against them which will
             open in January 2017. Neither Steinmetz nor BSGR
             have been charged in the Swiss or American inquiries,
             which are both in the preliminary stages. "When it
             goes to court, we can expect BSGR to use the same
             argument it's been using in public, which is that
             whatever [bribes were paid] did not engage BSGR or
             Beny Steinmetz," Balint-Kurti said.


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                       Got a confidential tip? Submit it here.




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    Steinmetz will ﬁght corruption charges in Geneva court -
    lawyer

    Stephanie Nebehay



    * Israeli diamond trader rejects Swiss indictment


    * Will ﬁght charges in court, lawyer tells Reuters


    * Revives headache after BSGR left Guinea iron ore project


    By Stephanie Nebehay


    GENEVA, Aug 13 (Reuters) - Israeli billionaire Beny Steinmetz rejects Swiss corruption
    charges against him in connection with winning mining contracts in Guinea and will appear in
    court to ﬁght them, his Geneva lawyer told Reuters on Tuesday.




https://www.reuters.com/article/swiss-guinea-bsgr/steinmetz-will-fight-corruption-charges-in-geneva-court-lawyer-idUSL8N2593DE       1/4
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                                                          fight corruption charges in 09/09/19
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    Geneva prosecutors’ indictment of the diamond trader and two others this week revives a
    headache that appeared to have eased this year when Beny Steinmetz Group Resources
    (BSGR) walked away from a giant iron ore project in the West African nation.


    BSGR abandoned the Simandou project as part of a settlement announced in February ending
    a long-running dispute, the company and Guinea’s government said at the time.


    Claudio Mascotto, a Geneva prosecutor, said on Monday he was seeking prison terms of two to
    10 years for Steinmetz and two associates over the alleged payment of $10 million in bribes for
    mining licences between 2005 and 2010.


    “His defence is simple, he absolutely contests all the charges against him,” Marc Bonnant, a
    prominent Geneva lawyer representing Steinmetz, told Reuters.


    “They have no basis in the facts or in law,” he said.



    Swiss newspapers identiﬁed the co-defendants as a Frenchman and a Belgian woman. A trial is
    not expected for months.




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                                                                                      Geneva court 18:00:38
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    The prosecutor accused the three of “having promised in 2005 and then paid or had bribes paid
    to one of the wives of former Guinean President Lansana Conte”, so as to have mining rights in
    Simandou allocated to BSGR.


    “Just as the Guinea government has backtracked on its claims, here too it will be proven that
    there was no wrongdoing in Steinmetz’s activities,” the billionaire’s spokesman said on
    Tuesday.


    “It should be emphasised that the investigation was launched in Switzerland at the request of
    the Guinea government, and under international arbitration Guinea has retracted its claims,
    which is why these are baseless charges.”


    Guinea’s mines minister, Abdoulaye Magassouba, told Reuters on Monday that the government
    was not involved in trying to prosecute Steinmetz, given February’s agreement.


    “We have signed speciﬁc agreements with Steinmetz and we will fully respect the terms of the
    agreement. It is not possible for a hostile action against BSGR to come from the government,”
    he said.


    Administrators for BSGR, a private ﬁrm registered in Guernsey, said in March 2018 they would
    work to return the mining ﬁrm to solvency and pay creditors in full after it voluntarily entered
    administration to protect it from legal disputes related to the project in Guinea.


    The Conakry government is no longer party to the Geneva criminal case, but Mascotto pressed
    ahead after six years of investigation and multiple requests abroad for legal assistance.


    The Geneva daily Le Temps reported he had sought assistance from Guinea, Israel and Ukraine
    to trace alleged ﬁnancial ﬂows and identify account owners.




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    Steinmetz, a former resident of Geneva who moved back to Israel in 2016, returned to attend
    questioning sessions by the prosecutor, Bonnant said.


    “He has given all the indications he could and all the documents to which he had access,”
    Bonnant said. “And of course he will attend the trial.” (Reporting and writing by Stephanie
    Nebehay; Additional reporting by Steven Scheer in Jerusalem and Saliou Samb in Conakry;
    Editing by Michael Shields and Mark Potter)


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Top Skills                                  Summary
Accounting
                                            Experienced Financial Specialist with a demonstrated history of
Business Planning
                                            working in the banking, private equity & mining & metals industry.
Business Strategy
                                            Skilled in Negotiation, Business Planning, Investor Relations,
Languages                                   Entrepreneurship, and Accounting. Strong finance professional
                                            graduated from University of South Africa. ACA,CA(SA).
English (Native or Bilingual)
Hebrew (Native or Bilingual)
Afrikaans (Professional Working)
                                            Experience
Certifications
                                            OCTEA LIMITED
Chartered Accountant                        Strategic Financial Specialist
                                            March 2017 - Present
                                            Guernsey

                                            Provision of professional services including advisory services to Octea’s Board
                                            and support to its mining operations team.


                                            BSG
                                            Strategic Financial Specialist
                                            September 2003 - February 2017 (13 years 6 months)
                                            Participated in capital raisings involving corporate bond issuances(Israel),
                                            IPO’s and project finance for resource projects in Africa, Asia and other
                                            locations. Involved in the M&A, evaluation and due diligence of a number
                                            of large scale mining and resource transactions across Africa and Eastern
                                            Europe.


                                            Investec
                                            4 years 1 month

                                            Global Finance Manager Specialised and Structured Finance
                                            January 2001 - September 2003 (2 years 9 months)
                                            Involved travel to other offices in South Africa, London and Mauritius.
                                            Other offices were Ireland and Australia.

                                            Internal Auditor/Forensic Accountant
                                            September 1999 - January 2001 (1 year 5 months)
                                            https://www.investec.co.za/
                                                                               Page 1 of 2
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                           PKF
                           Senior Accountant
                           February 1996 - August 1999 (3 years 7 months)
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                           Education
                           University of South Africa/Universiteit van Suid-Afrika
                           Bachelor of Commerce (BCom); BCompt(Hons),CTA · (1990 - 1997)


                           Institute of Chartered Accountants in England and Wales
                           ACA · (2015)


                           SAICA: South African Institute of Chartered Accountants
                           CA(SA) · (1999)




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